 Case 20-3837, Document 41, 02/23/2021, 3042809, Page1 of 302




          20-3837
      United States Court of Appeals
                 FOR THE SECOND CIRCUIT
                    Docket No. 20-3837


         KNIGHT FIRST AMENDMENT INSTITUTE AT
                 COLUMBIA UNIVERSITY,
                                              Plaintiff-Appellee,
                              —v.—

UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES,
 UNITED STATES DEPARTMENT OF STATE, UNITED STATES
      IMMIGRATION AND CUSTOMS ENFORCEMENT,
                                         Defendants-Appellants,
 UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
      UNITED STATES DEPARTMENT OF JUSTICE,
  UNITED STATES CUSTOMS AND BORDER PROTECTION,
                                                     Defendants.

     ON APPEAL   FROM THE UNITED STATES DISTRICT COURT
          FOR THE   SOUTHERN DISTRICT OF NEW YORK

                    JOINT APPENDIX
                     VOLUME I OF II
                 (Pages JA-1 to JA-300)


KNIGHT FIRST AMENDMENT             AUDREY STRAUSS ,
INSTITUTE AT COLUMBIA              United States Attorney for the
UNIVERSITY                         Southern District of New York,
Attorney for Plaintiff-Appellee.   Attorney for Defendants-
206 Kent Hall                      Appellants.
New York, New York 10027           86 Chambers Street, 3rd Floor
(212) 854-1607                     New York, New York 10007
                                   (212) 637-2743
SAMUELSON   LAW TECHNOLOGY
AND PUBLIC  POLICY CLINIC
Attorney for Plaintiff-Appellee.
U.C. Berkeley School of Law
Berkeley, California 94720
(510) 643-4800
             Case 20-3837, Document 41, 02/23/2021, 3042809, Page2 of 302




                                     TABLE OF CONTENTS

                                                                                                       PAGE

U.S. District Court, Southern District of New York,
      Civil Docket for Case No. 17 Civ. 7572 (ALC) ........................................ JA 1

Amended Complaint,
    dated March 14, 2018 .............................................................................. JA 22

Freedom of Information Act Request,
      dated August 7, 2017 ............................................................................... JA 36

Declaration of Eric F. Stein,
      dated February 26, 2019 .......................................................................... JA 44

Declaration of Carrie DeCell, Esq.,
      dated March 28, 2019 ............................................................................ JA 102

Declaration of Eric F. Stein,
      dated May 3, 2019 ................................................................................. JA 160

Declaration of Jill A. Eggleston,
      dated March 14, 2019 ............................................................................ JA 168

Declaration of Toni Fuentes,
      dated March 15, 2019 ............................................................................ JA 188

Declaration of Carrie DeCell, Esq.,
      dated April 16, 2019 .............................................................................. JA 250

Declaration of Jill A. Eggleston,
      dated May 14, 2019 ............................................................................... JA 550

Declaration of Toni Fuentes,
      dated May 17, 2019 ............................................................................... JA 555

Notice of Appeal, dated November 12, 2020 .................................................. JA 574
                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page3 of 302
                                                                     JA-1
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                                                                                                          STAYED,APPEAL,ECF

                                              U.S. District Court
                                  Southern District of New York (Foley Square)
                                CIVIL DOCKET FOR CASE #: 1:17-cv-07572-ALC


 Knight First Amendment Institute at Columbia University v.                           Date Filed: 10/04/2017
 Department of Homeland Security et al                                                Jury Demand: None
 Assigned to: Judge Andrew L. Carter, Jr                                              Nature of Suit: 895 Freedom of Information
 Cause: 05:552 Freedom of Information Act                                             Act
                                                                                      Jurisdiction: U.S. Government Defendant
 Plaintiff
 Knight First Amendment Institute at                                  represented by Aditya Kamdar
 Columbia University                                                                 Durie Tangri LLP
                                                                                     217 Leidesdorff Street
                                                                                     San Francisco, CA 94111
                                                                                     415-362-6666
                                                                                     Email: akamdar@durietangri.com
                                                                                     TERMINATED: 08/29/2019

                                                                                      Caroline Decell
                                                                                      Knight First Amendment Institute At
                                                                                      Columbia University
                                                                                      206 Kent Hall
                                                                                      New York, NY 10027
                                                                                      (212)-854-1607
                                                                                      Email: carrie.decell@knightcolumbia.org
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Catherine Newby Crump
                                                                                      Samuelson Law Technology & Public
                                                                                      Policy Clinic
                                                                                      U.C. Berkeley School of Law
                                                                                      Berkeley, CA 94720
                                                                                      510-643-4800
                                                                                      Fax: 510-643-4625
                                                                                      Email: ccrump@clinical.law.berkeley.edu
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Leena M. Charlton
                                                                                      Pryor Cashman
                                                                                      7 Times Square
                                                                                      New York, NY 10036
                                                                                      212-326-0843
                                                                                      Email: lcharlton@pryorcashman.com
                                                                                      TERMINATED: 11/13/2020

                                                                                      Megan Kathleen Graham
                                                                                      Samuelson Law, Technology & Public
                                                                                      Policy Clinic At U.C. B
                                                                                      354 Boalt Hall
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                                         1/21
                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page4 of 302
                                                                     JA-2
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                                                                                      Berkeley, CA 94720
                                                                                      (510)-664-4381
                                                                                      Email: mgraham@clinical.law.berkeley.edu
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Xiangnong Wang
                                                                                      Knight First Amendment Institute at
                                                                                      Columbia University
                                                                                      475 Riverside Drive
                                                                                      Suite 302
                                                                                      New York, NY 10115
                                                                                      646-745-8500
                                                                                      Email: george.wang@knightcolumbia.org
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jameel Jaffer
                                                                                      Knight First Amendment Institute at
                                                                                      Coumbia University
                                                                                      475 Riverside Drive, Suite 302
                                                                                      New York, NY 10115
                                                                                      (646)-745-8500
                                                                                      Email: jameel.jaffer@knightcolumbia.org
                                                                                      ATTORNEY TO BE NOTICED


 V.
 Defendant
 U.S. Department of Homeland Security                                 represented by Jennifer Ellen Blain
                                                                                     United States Attorney's Office, SDNY
                                                                                     One Saint Andrew's Plaza
                                                                                     New York, NY 10007
                                                                                     (212)637-2743
                                                                                     Fax: (212) 637-2730
                                                                                     Email: Ellen.Blain@usdoj.gov
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 U.S. Immigration and Customs                                         represented by Jennifer Ellen Blain
 Enforcement                                                                         (See above for address)
 TERMINATED: 01/16/2018                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 U.S. Citizenship and Immigration                                     represented by Jennifer Ellen Blain
 Services                                                                            (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 U.S. Department of Justice                                           represented by Jennifer Ellen Blain
                                                                                     (See above for address)

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                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page5 of 302
                                                                     JA-3
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

 Defendant
 U.S. Department of State                                             represented by Jennifer Ellen Blain
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 U.S. Customs and Border Protection                                   represented by Jennifer Ellen Blain
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 U.S. Immigration and Customs                                         represented by Jennifer Ellen Blain
 Enforcement                                                                         (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
  10/04/2017              1 COMPLAINT against Citizenship and Immigration Services, Customs and Border
                            Protection, Department of Homeland Security, Department of Justice, Department of
                            State, Immigration and Customs Enforcement. (Filing Fee $ 400.00, Receipt Number
                            0208-14203758)Document filed by Knight First Amendment Institute at Columbia
                            University. (Attachments: # 1 Exhibit Exhibit A (FOIA Request))(Jaffer, Jameel)
                            (Entered: 10/04/2017)
  10/04/2017              2 CIVIL COVER SHEET filed. (Jaffer, Jameel) (Entered: 10/04/2017)
  10/04/2017              3 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document
                            filed by Knight First Amendment Institute at Columbia University.(Jaffer, Jameel)
                            (Entered: 10/04/2017)
  10/04/2017              4 FILING ERROR - DEFICIENT SUMMONS REQUEST - CAPTION TITLE
                            ERROR REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Customs and Border
                            Protection, re: 1 Complaint,. Document filed by Knight First Amendment Institute at
                            Columbia University. (Jaffer, Jameel) Modified on 10/5/2017 (kl). (Entered: 10/04/2017)
  10/04/2017              5 FILING ERROR - DEFICIENT SUMMONS REQUEST - CAPTION TITLE
                            ERROR REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Department of
                            Homeland Security, re: 1 Complaint,. Document filed by Knight First Amendment
                            Institute at Columbia University. (Jaffer, Jameel) Modified on 10/5/2017 (kl). (Entered:
                            10/04/2017)
  10/04/2017              6 FILING ERROR - DEFICIENT SUMMONS REQUEST - CAPTION TITLE
                            ERROR REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Department of Justice,
                            re: 1 Complaint,. Document filed by Knight First Amendment Institute at Columbia
                            University. (Jaffer, Jameel) Modified on 10/5/2017 (kl). (Entered: 10/04/2017)
  10/04/2017              7 FILING ERROR - DEFICIENT SUMMONS REQUEST - CAPTION TITLE
                            ERROR REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Department of State,

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                                3/21
                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page6 of 302
                                                                     JA-4
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               re: 1 Complaint,. Document filed by Knight First Amendment Institute at Columbia
                               University. (Jaffer, Jameel) Modified on 10/5/2017 (kl). (Entered: 10/04/2017)
  10/04/2017              8 FILING ERROR - DEFICIENT SUMMONS REQUEST - CAPTION TITLE
                            ERROR REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Immigration and
                            Customs Enforcement, re: 1 Complaint,. Document filed by Knight First Amendment
                            Institute at Columbia University. (Jaffer, Jameel) Modified on 10/5/2017 (kl). (Entered:
                            10/04/2017)
  10/04/2017              9 FILING ERROR - DEFICIENT SUMMONS REQUEST - CAPTION TITLE
                            ERROR REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Citizenship and
                            Immigration Services, re: 1 Complaint,. Document filed by Knight First Amendment
                            Institute at Columbia University. (Jaffer, Jameel) Modified on 10/5/2017 (kl). (Entered:
                            10/04/2017)
  10/05/2017                   CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                               assigned to Judge Andrew L. Carter, Jr. Please download and review the Individual
                               Practices of the assigned District Judge, located at
                               http://nysd.uscourts.gov/judges/District. Attorneys are responsible for providing courtesy
                               ----------
                               copies to judges where their Individual Practices require such. Please download and
                               review the ECF Rules and Instructions, located at http://nysd.uscourts.gov/ecf_filing.php.
                               (kl) (Entered: 10/05/2017)
  10/05/2017                   Magistrate Judge Katharine H. Parker is so designated. Pursuant to 28 U.S.C. Section
                               636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed
                               before a United States Magistrate Judge. Parties who wish to consent may access the
                               necessary form at the following link: http://nysd.uscourts.gov/forms.php. (kl) (Entered:
                               10/05/2017)
  10/05/2017                   Case Designated ECF. (kl) (Entered: 10/05/2017)
  10/05/2017                   ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR
                               ISSUANCE OF SUMMONS. Notice to Attorney Jameel Jaffer to RE-FILE
                               Document No. 9 Request for Issuance of Summons, 8 Request for Issuance of
                               Summons, 4 Request for Issuance of Summons, 7 Request for Issuance of Summons,
                               6 Request for Issuance of Summons, 5 Request for Issuance of Summons,. The filing
                               is deficient for the following reason(s): PLEASE ENTER ALL PARTIES IN THE
                               CAPTION TITLE THAT ARE VIEWABLE OR ENTER ET AL. Re-file the
                               document using the event type Request for Issuance of Summons found under the
                               event list Service of Process - select the correct filer/filers - and attach the correct
                               summons form PDF. (kl) (Entered: 10/05/2017)
  10/05/2017             10 REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Customs and Border Protection,
                            re: 1 Complaint,. Document filed by Knight First Amendment Institute at Columbia
                            University. (Jaffer, Jameel) (Entered: 10/05/2017)
  10/05/2017             11 REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Department of Homeland
                            Security, re: 1 Complaint,. Document filed by Knight First Amendment Institute at
                            Columbia University. (Jaffer, Jameel) (Entered: 10/05/2017)
  10/05/2017             12 REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Department of Justice, re: 1
                            Complaint,. Document filed by Knight First Amendment Institute at Columbia
                            University. (Jaffer, Jameel) (Entered: 10/05/2017)
  10/05/2017             13 REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Department of State, re: 1
                            Complaint,. Document filed by Knight First Amendment Institute at Columbia
                            University. (Jaffer, Jameel) (Entered: 10/05/2017)

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                                    4/21
                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page7 of 302
                                                                     JA-5
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

  10/05/2017             14 REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Immigration and Customs
                            Enforcement, re: 1 Complaint,. Document filed by Knight First Amendment Institute at
                            Columbia University. (Jaffer, Jameel) (Entered: 10/05/2017)
  10/05/2017             15 REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Citizenship and Immigration
                            Services, re: 1 Complaint,. Document filed by Knight First Amendment Institute at
                            Columbia University. (Jaffer, Jameel) (Entered: 10/05/2017)
  10/06/2017             16 ELECTRONIC SUMMONS ISSUED as to U.S. Customs and Border Protection. (kl)
                            (Entered: 10/06/2017)
  10/06/2017             17 ELECTRONIC SUMMONS ISSUED as to U.S. Department of Homeland Security. (kl)
                            (Entered: 10/06/2017)
  10/06/2017             18 ELECTRONIC SUMMONS ISSUED as to U.S. Department of Justice. (kl) (Entered:
                            10/06/2017)
  10/06/2017             19 ELECTRONIC SUMMONS ISSUED as to U.S. Department of State. (kl) (Entered:
                            10/06/2017)
  10/06/2017             20 ELECTRONIC SUMMONS ISSUED as to U.S. Immigration and Customs Enforcement.
                            (kl) (Entered: 10/06/2017)
  10/06/2017             21 ELECTRONIC SUMMONS ISSUED as to U.S. Citizenship and Immigration Services.
                            (kl) (Entered: 10/06/2017)
  10/20/2017             22 AFFIDAVIT OF SERVICE. U.S. Citizenship and Immigration Services served on
                            10/10/2017, answer due 10/31/2017; U.S. Customs and Border Protection served on
                            10/10/2017, answer due 10/31/2017; U.S. Department of Homeland Security served on
                            10/10/2017, answer due 10/31/2017; U.S. Department of Justice served on 10/10/2017,
                            answer due 10/31/2017; U.S. Department of State served on 10/10/2017, answer due
                            10/31/2017; U.S. Immigration and Customs Enforcement served on 10/10/2017, answer
                            due 10/31/2017. Service was made by Mail. Document filed by Knight First Amendment
                            Institute at Columbia University. (Jaffer, Jameel) (Entered: 10/20/2017)
  10/20/2017             23 AFFIDAVIT OF SERVICE. Service was made by Mail. Document filed by Knight First
                            Amendment Institute at Columbia University. (Jaffer, Jameel) (Entered: 10/20/2017)
  11/09/2017             24 AFFIDAVIT OF SERVICE. U.S. Citizenship and Immigration Services served on
                            11/6/2017, answer due 11/27/2017; U.S. Customs and Border Protection served on
                            11/6/2017, answer due 11/27/2017; U.S. Department of Homeland Security served on
                            11/6/2017, answer due 11/27/2017; U.S. Department of State served on 11/7/2017,
                            answer due 11/28/2017; U.S. Immigration and Customs Enforcement served on
                            11/6/2017, answer due 11/27/2017. Service was made by Mail. Document filed by Knight
                            First Amendment Institute at Columbia University. (Attachments: # 1 Delivery
                            Confirmation)(Jaffer, Jameel) (Entered: 11/09/2017)
  11/13/2017             25 LETTER MOTION for Extension of Time to File Answer addressed to Judge Andrew L.
                            Carter, Jr. from AUSA Ellen Blain dated November 13, 2017. Document filed by U.S.
                            Citizenship and Immigration Services, U.S. Customs and Border Protection, U.S.
                            Department of Homeland Security, U.S. Department of Justice, U.S. Department of State,
                            U.S. Immigration and Customs Enforcement.(Blain, Jennifer) (Entered: 11/13/2017)
  11/14/2017             26 ORDER: granting 25 Letter Motion for Extension of Time to Answer. The application is
                            granted. U.S. Citizenship and Immigration Services answer due 12/28/2017; U.S.
                            Customs and Border Protection answer due 12/28/2017; U.S. Department of Homeland
                            Security answer due 12/28/2017; U.S. Department of Justice answer due 12/28/2017;
                            U.S. Department of State answer due 12/28/2017; U.S. Immigration and Customs

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                            5/21
                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page8 of 302
                                                                     JA-6
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               Enforcement answer due 12/28/2017. (Signed by Judge Andrew L. Carter, Jr on
                               11/14/2017) (ap) (Entered: 11/14/2017)
  12/28/2017             27 ANSWER to 1 Complaint,. Document filed by U.S. Citizenship and Immigration
                            Services, U.S. Customs and Border Protection, U.S. Department of Homeland Security,
                            U.S. Department of Justice, U.S. Department of State.(Blain, Jennifer) (Entered:
                            12/28/2017)
  12/28/2017             28 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated
                            December 28, 2017 re: Immigration and Customs Enforcement Request for Pre-Motion
                            Conference re Motion to Dismiss. Document filed by U.S. Immigration and Customs
                            Enforcement.(Blain, Jennifer) (Entered: 12/28/2017)
  01/11/2018             29 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT -
                            STIPULATION OF VOLUNTARY DISMISSAL It is hereby stipulated and agreed by
                            and between the parties and/or their respective counsel(s) that the above-captioned action
                            is voluntarily dismissed, WITHOUT prejudice against the defendant(s) U.S. Immigration
                            and Customs Enforcement pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
                            Procedure. Document filed by Knight First Amendment Institute at Columbia University.
                            (Jaffer, Jameel) Modified on 1/12/2018 (km). (Entered: 01/11/2018)
  01/11/2018             30 LETTER addressed to Judge Andrew L. Carter, Jr. from Counsel for Plaintiff dated
                            January 11, 2018 re: U.S. Immigration and Customs Enforcement Request for Pre-
                            Motion Conference re Motion to Dismiss. Document filed by Knight First Amendment
                            Institute at Columbia University.(Jaffer, Jameel) (Entered: 01/11/2018)
  01/12/2018                   ***NOTE TO ATTORNEY TO E-MAIL PDF. Note to Attorney Jameel Jaffer for
                               noncompliance with Section 18.3 of the S.D.N.Y. Electronic Case Filing Rules &
                               Instructions. E-MAIL the PDF for Document 29 Stipulation of Voluntary Dismissal
                               with handwritten signatures of the attorneys to: judgments@nysd.uscourts.gov.
                               (km) (Entered: 01/12/2018)
  01/16/2018             31 STIPULATION OF VOLUNTARY DISMISSAL OF U.S. IMMIGRATION AND
                            CUSTOMS ENFORCEMENT PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii): IT IS HEREBY
                            STIPULATED AND AGREED by and between the parties' respective counsels that the
                            above-captioned action is voluntarily dismissed, without prejudice, against the defendant
                            U.S. Immigration and Customs Enforcement pursuant to Federal Rule of Civil Procedure
                            41(a)(1) (A)(ii). U.S. Immigration and Customs Enforcement terminated. (Signed by
                            Judge Andrew L. Carter, Jr on 1/16/2018) (rj) (Entered: 01/16/2018)
  02/08/2018             32 NOTICE OF CHANGE OF ADDRESS by Jameel Jaffer on behalf of Knight First
                            Amendment Institute at Columbia University. New Address: Knight First Amendment
                            Institute at Columbia University, 475 Riverside Drive, Suite 302, New York, NY, USA
                            10115, 646-745-8500. (Jaffer, Jameel) (Entered: 02/08/2018)
  02/12/2018             33 ORDER: The Court will hold a status conference in this matter on February 23, 2018 at
                            3:00 p.m. The parties (and/or counsel) should appear in person in Courtroom 1306 at the
                            Thurgood Marshall United States Courthouse, 40 Foley Square, New York, NY, on the
                            date and time specified above. SO ORDERED. Status Conference set for 2/23/2018 at
                            03:00 PM in Courtroom 1306, 40 Foley Square, New York, NY 10007 before Judge
                            Andrew L. Carter Jr. (Signed by Judge Andrew L. Carter, Jr on 2/12/2018) (rj) (Entered:
                            02/12/2018)
  02/15/2018             34 NOTICE OF APPEARANCE by Catherine Newby Crump on behalf of Knight First
                            Amendment Institute at Columbia University. (Crump, Catherine) (Entered: 02/15/2018)
  02/16/2018             35 MOTION for Megan Kathleen Graham to Appear Pro Hac Vice . Filing fee $ 200.00,
                            receipt number 0208-14712008. Motion and supporting papers to be reviewed by
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                               6/21
                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page9 of 302
                                                                     JA-7
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               Clerk's Office staff. Document filed by Knight First Amendment Institute at Columbia
                               University. (Attachments: # 1 Affidavit, # 2 Exhibit Certificate of Good Standing, # 3
                               Text of Proposed Order)(Graham, Megan) (Entered: 02/16/2018)
  02/16/2018                   >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No.
                               35 MOTION for Megan Kathleen Graham to Appear Pro Hac Vice . Filing fee $
                               200.00, receipt number 0208-14712008. Motion and supporting papers to be
                               reviewed by Clerk's Office staff.. The document has been reviewed and there are no
                               deficiencies. (ma) (Entered: 02/16/2018)
  02/20/2018             36 ORDER FOR ADMISSION PRO HAC VICE granting 35 Motion for Megan Kathleen
                            Graham to Appear Pro Hac Vice. (Signed by Judge Andrew L. Carter, Jr on 2/20/2018)
                            (rj) (Entered: 02/20/2018)
  02/20/2018             37 LETTER addressed to Judge Andrew L. Carter, Jr. from Megan Graham dated 2/20/2018
                            re: Request to Appear Telephonically at Status Conference. Document filed by Knight
                            First Amendment Institute at Columbia University.(Graham, Megan) (Entered:
                            02/20/2018)
  02/23/2018             38 MEMO ENDORSEMENT on re: 37 Letter regarding Request to Appear Telephonically
                            at Status Conference filed by Knight First Amendment Institute at Columbia University.
                            ENDORSEMENT: SO ORDERED. (Signed by Judge Andrew L. Carter, Jr on
                            2/21/2018) (rj) (Entered: 02/23/2018)
  02/23/2018                   Minute Entry for proceedings held before Judge Andrew L. Carter, Jr: Status Conference
                               held on 2/23/2018. Jameel Jaffer, Carrie Decell, Alex Abdo, Catherine Crump and Megan
                               Graham for Plaintiff(s). Jennifer Bain for Defendant(s). See Docket No. 39 for complete
                               details. (Court Reporter: Steven Griffing) (tdh) (Entered: 02/26/2018)
  02/26/2018             39 ORDER: As discussed during the February 23, 2018 status conference in this matter,
                            Defendants will complete their searches for responsive documents by March 30, 2018.
                            Defendant U.S. Customs and Border Protection will complete document production by
                            March 30, 2018. The parties shall submit a joint status report by April 9, 2018. SO
                            ORDERED. (Signed by Judge Andrew L. Carter, Jr on 2/23/2018) (rj) (Entered:
                            02/26/2018)
  03/12/2018             40 FILING ERROR - DEFICIENT PLEADING - FILED AGAINST PARTY ERROR
                            - AMENDED COMPLAINT amending 1 Complaint, against U.S. Citizenship and
                            Immigration Services, U.S. Customs and Border Protection, U.S. Department of
                            Homeland Security, U.S. Department of Justice, U.S. Department of State, U.S.
                            Immigration and Customs Enforcement.Document filed by Knight First Amendment
                            Institute at Columbia University. Related document: 1 Complaint. (Attachments: # 1
                            Exhibit A: Letter With Written Consent to File Amended Complaint Pursuant to FRCP
                            15(a)(2), # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                            Exhibit G, # 8 Exhibit H)(Crump, Catherine) Modified on 3/13/2018 (sj). (Entered:
                            03/12/2018)
  03/12/2018             41 EXHIBIT TO PLEADING re: 40 Amended Complaint,,. Document filed by Knight First
                            Amendment Institute at Columbia University.(Crump, Catherine) (Entered: 03/12/2018)
  03/13/2018                   ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to
                               Attorney Catherine Newby Crump to RE-FILE re: Document No. 40 Amended
                               Complaint. The filing is deficient for the following reason(s): all of the parties listed
                               on the pleading were not entered on CM ECF; the wrong party/parties whom the
                               pleading is against were selected; (U.S. Immigration and Customs Enforcement was
                               previously terminated and must be added back to the docket). Docket the event type
                               Add Party to Pleading found under the event list Complaints and Other Initiating

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                                 7/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page10 of 302
                                                                     JA-8
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               Documents.. Re-file the pleading using the event type Amended Complaint found
                               under the event list Complaints and Other Initiating Documents - attach the correct
                               signed PDF - select the individually named filer/filers - select the individually named
                               party/parties the pleading is against. (sj) (Entered: 03/13/2018)
  03/14/2018             42 AMENDED COMPLAINT amending 1 Complaint, against U.S. Citizenship and
                            Immigration Services, U.S. Customs and Border Protection, U.S. Department of
                            Homeland Security, U.S. Department of Justice, U.S. Department of State, U.S.
                            Immigration and Customs Enforcement.Document filed by Knight First Amendment
                            Institute at Columbia University. Related document: 1 Complaint,. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                            Exhibit G, # 8 Exhibit H)(Crump, Catherine) (Entered: 03/14/2018)
  03/14/2018             43 REQUEST FOR ISSUANCE OF SUMMONS as to U.S. Immigration and Customs
                            Enforcement, re: 42 Amended Complaint,,. Document filed by Knight First Amendment
                            Institute at Columbia University. (Crump, Catherine) (Entered: 03/14/2018)
  03/15/2018             44 ELECTRONIC SUMMONS ISSUED as to U.S. Immigration and Customs Enforcement.
                            (sj) (Entered: 03/15/2018)
  03/15/2018             45 NOTICE OF CHANGE OF ADDRESS by Catherine Newby Crump on behalf of Knight
                            First Amendment Institute at Columbia University. New Address: Samuelson Law,
                            Technology & Public Policy Clinic, U.C. Berkeley School of Law, 433 Boalt Hall (North
                            Addition), Berkeley, CA, United States 94720, 510-642-5049. (Crump, Catherine)
                            (Entered: 03/15/2018)
  03/22/2018             46 AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,. U.S. Immigration
                            and Customs Enforcement served on 3/19/2018, answer due 4/9/2018. Service was made
                            by Mail. Document filed by Knight First Amendment Institute at Columbia University.
                            (Attachments: # 1 Delivery Confirmation)(Graham, Megan) (Entered: 03/22/2018)
  04/03/2018             47 ANSWER to 42 Amended Complaint,,. Document filed by U.S. Citizenship and
                            Immigration Services, U.S. Customs and Border Protection, U.S. Department of
                            Homeland Security, U.S. Department of Justice, U.S. Department of State, U.S.
                            Immigration and Customs Enforcement. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                            Exhibit C, # 4 Exhibit D)(Blain, Jennifer) (Entered: 04/03/2018)
  04/09/2018             48 STATUS REPORT. Joint Status Report Document filed by Knight First Amendment
                            Institute at Columbia University.(Crump, Catherine) (Entered: 04/09/2018)
  04/13/2018             49 MEMO ENDORSEMENT on re: 48 Status Report filed by Knight First Amendment
                            Institute at Columbia University. ENDORSEMENT: The proposed briefing schedule is
                            adopted. A status conference is scheduled for May 14, 2018 at 10:00 am. SO ORDERED.
                            Status Conference set for 5/14/2018 at 10:00 AM before Judge Andrew L. Carter Jr.
                            (Signed by Judge Andrew L. Carter, Jr on 4/13/2018) (rj) (Entered: 04/13/2018)
  04/13/2018             50 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated April
                            13, 2018 re: Joint Status Update re ICE. Document filed by U.S. Immigration and
                            Customs Enforcement.(Blain, Jennifer) (Entered: 04/13/2018)
  04/16/2018             51 MEMO ENDORSEMENT on re: 50 Letter regarding Joint Status Update re ICE filed by
                            U.S. Immigration and Customs Enforcement. ENDORSEMENT: SO ORDERED.
                            (Signed by Judge Andrew L. Carter, Jr on 4/16/2018) (rj) (Entered: 04/16/2018)
  04/20/2018             52 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated April
                            20, 2018 re: Processing and Production Schedule for State and ICE. Document filed by
                            U.S. Department of State, U.S. Immigration and Customs Enforcement.(Blain, Jennifer)
                            (Entered: 04/20/2018)
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                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page11 of 302
                                                                     JA-9
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

  04/20/2018             53 OATH of Eric F. Stein in Support of State Processing Rates. Document filed by U.S.
                            Department of State. (Attachments: # 1 Exhibit 1)(Blain, Jennifer) (Entered: 04/20/2018)
  04/20/2018             54 OATH of Catrina Pavlik-Keenan in Support of ICE Production Rates. Document filed by
                            U.S. Immigration and Customs Enforcement. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2,
                            # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                            Exhibit 9, # 10 Exhibit 10)(Blain, Jennifer) (Entered: 04/20/2018)
  05/04/2018             55 LETTER addressed to Judge Andrew L. Carter, Jr. from Megan Graham dated May 4,
                            2018 re: Processing and Production Schedule for State and ICE. Document filed by
                            Knight First Amendment Institute at Columbia University.(Graham, Megan) (Entered:
                            05/04/2018)
  05/04/2018             56 OATH of Carrie DeCell in Support of the Knight Institute's Letter [ECF 55]. Document
                            filed by Knight First Amendment Institute at Columbia University.(Graham, Megan)
                            (Entered: 05/04/2018)
  05/14/2018             57 ORDER: Plaintiff and Defendants U.S. Department of State and U.S. Immigration and
                            Customs Enforcement shall confer regarding processing and production rates in this case
                            and shall submit a joint status report by May 21, 2018. SO ORDERED. (Signed by Judge
                            Andrew L. Carter, Jr on 5/14/2018) (anc) (Entered: 05/14/2018)
  05/14/2018             58 LETTER addressed to Judge Andrew L. Carter, Jr. from Carrie DeCell dated 05/14/2018
                            re: New Information and Proposed DOS Processing Schedule. Document filed by Knight
                            First Amendment Institute at Columbia University.(Decell, Caroline) (Entered:
                            05/14/2018)
  05/14/2018                   Minute Entry for proceedings held before Judge Andrew L. Carter, Jr: Status Conference
                               held on 5/14/2018. Megan Graham and Carrie Decell for Plaintiff(s).Jennifer Bain for
                               Defendant(s). See Docket No. 57. (Court Reporter: Andrew Walker) (tdh) (Entered:
                               05/24/2018)
  05/15/2018             59 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated May
                            15, 2018 re: Plaintiffs' Letter Dated May 14, 2018. Document filed by U.S. Department
                            of State.(Blain, Jennifer) (Entered: 05/15/2018)
  05/15/2018             60 ORDER: The Court is in receipt of Plaintiff's letter dated May 14, 2018. (ECF No. 58.)
                            Defendant U.S. Department of State shall respond stating its position by May 16, 2018 at
                            12:00 p.m. (Signed by Judge Andrew L. Carter, Jr on 5/15/2018) (ap) Modified on
                            5/16/2018 (ap). (Entered: 05/15/2018)
  05/18/2018             61 ORDER: The Court is in receipt of Defendant U.S. Department of State's ("DOS")
                            response to Plaintiff' s letter dated May 14, 2018. ECF No. 59. In its letter, DOS stated
                            that it could determine the precise number of responsive pages to Plaintiff's FOIA request
                            by May 17, 2018. Id. DOS is ordered to file a status report providing the number of
                            responsive pages by 3:00 p.m. today. SO ORDERED. (Signed by Judge Andrew L.
                            Carter, Jr on 5/18/2018) (rj) Modified on 5/18/2018 (rj). (Entered: 05/18/2018)
  05/18/2018             62 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated May
                            18, 2018 re: State's Number of Pages to Process. Document filed by U.S. Department of
                            State.(Blain, Jennifer) (Entered: 05/18/2018)
  05/18/2018             63 ORDER: Accordingly, Plaintiff sought production of all such documents by June 15,
                            2018. Id. DOS filed a response the following day indicating that it could identify the
                            precise number of responsive pages by May 17, 2018. ECF No. 59. Following an Order
                            by this Court, on May 18, 2018 DOS filed a letter stating that 72 documents, totaling
                            1,719 pages, are most likely responsive to Plaintiff's request. ECF No. 62. DOS reiterated
                            its request for a schedule of 300 pages per month. ECF No. 62. Having considered the
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                                 9/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page12 of 302
                                                                    JA-10
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               respective parties' proposals and the various arguments made, the Court hereby ORDERS
                               Defendant DOS to complete its processing and production of all responsive documents
                               no later than June 28, 2018. Furthermore, DOS should produce those documents that they
                               identify as responsive to Plaintiff's request on a rolling basis. The Court determines that
                               this schedule provides a reasonable time frame for DOS to respond to, Plaintiff's request.
                               SO ORDERED. ( Responses due by 6/28/2018) (Signed by Judge Andrew L. Carter, Jr
                               on 5/18/2018) (rj) (Entered: 05/21/2018)
  05/21/2018             64 STATUS REPORT. Second Joint Status Report Document filed by Knight First
                            Amendment Institute at Columbia University.(Decell, Caroline) (Entered: 05/21/2018)
  05/23/2018             65 ORDER. The Court is in receipt of the parties' joint status report dated May 21, 2018.
                            ECF No. 64. Defendant U.S. Immigration and Customs Enforcement ("ICE") shall
                            submit a status report advising the Court how many pages of records are responsive to
                            Plaintiff's narrowed request by June 18, 2018 or as soon as ICE completes its
                            responsiveness review, whichever is sooner. Defendant U.S. Department of Justice-Office
                            of Legal Counsel ("DOJ-OLC") shall submit a declaration by May 28, 2018 explaining in
                            more detail the bases for its proposed production schedule. SO ORDERED. (Signed by
                            Judge Andrew L. Carter, Jr on 5/23/2018) (rjm) (Entered: 05/23/2018)
  05/29/2018             66 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated May
                            29, 2018 re: OLC Production Schedule with Declaration. Document filed by U.S.
                            Department of Justice. (Attachments: # 1 Affidavit Paul P. Colborn)(Blain, Jennifer)
                            (Entered: 05/29/2018)
  05/31/2018             67 ORDER: The Court is in receipt of Defendant U.S. Department of Justice-Office of Legal
                            Counsel ("DOJ-OLC")'s declaration dated May 29, 2018. ECF No. 66. The Court hereby
                            orders DOJ-OLC to complete its processing and production of all responsive documents
                            no later than July 16, 2018. Furthermore, DOJ-OLC should produce those documents that
                            they identify as responsive to Plaintiff's request on a rolling basis. The Court determines
                            that this schedule provides a reasonable time frame for DOJ-OLC to respond to Plaintiff's
                            request. SO ORDERED. (Signed by Judge Andrew L. Carter, Jr on 5/31/2018) (ne)
                            (Entered: 05/31/2018)
  06/18/2018             68 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated June
                            18, 2018 re: Status Update on Behalf of ICE. Document filed by U.S. Immigration and
                            Customs Enforcement.(Blain, Jennifer) (Entered: 06/18/2018)
  06/22/2018             69 ORDER: In a joint status report dated May 21, 2018, Defendant United States
                            Immigration and Customs Enforcement ("ICE") proposed to produce records responsive
                            to Plaintiffs Freedom of Information Act ("FOIA") request on a rolling basis, to be
                            completed by December 31, 2018. ECF No. 64. Plaintiff requested a production deadline
                            of August 31, 2018. Id. At that time, ICE did not know how many documents were
                            responsive to Plaintiff's narrowed request. Id. On May 23, 2018, this Court ordered ICE
                            to submit a status report by June 18, 2018 indicating how many pages of records are
                            responsive to Plaintiff's narrowed request. ECF No. 65. On June 18, 2018, ICE wrote to
                            this Court stating that it has determined that 99 pages of documents are most likely
                            responsive to the narrowed request. ECF No. 68. Plaintiff shall file a response by June
                            25, 2018 indicating its position on a deadline for ICE's production in light of this
                            information. SO ORDERED. (Signed by Judge Andrew L. Carter, Jr on 6/21/2018) (rj)
                            (Entered: 06/22/2018)
  06/22/2018             70 LETTER addressed to Judge Andrew L. Carter, Jr. from Carrie DeCell dated June 22,
                            2018 re: ICE's Letter dated June 18, 2018. Document filed by Knight First Amendment
                            Institute at Columbia University.(Decell, Caroline) (Entered: 06/22/2018)
  06/26/2018             71 ORDER: The Court hereby ORDERS Defendant U.S. Immigration and Customs
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                                10/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page13 of 302
                                                                    JA-11
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               Enforcement ("ICE") to complete its processing and production of all responsive
                               documents no later than July 3, 2018. Furthermore, ICE should produce those documents
                               that they identify as responsive to Plaintiff's request on a rolling basis. SO ORDERED.
                               Responses due by 7/3/2018. (Signed by Judge Andrew L. Carter, Jr on 6/26/2018) (rj)
                               (Entered: 06/26/2018)
  07/18/2018             72 LETTER addressed to Judge Andrew L. Carter, Jr. from Carrie DeCell dated July 18,
                            2018 re: Request for Clarification of Orders Setting DOS and ICE Production Schedules.
                            Document filed by Knight First Amendment Institute at Columbia University.
                            (Attachments: # 1 Declaration of Carrie DeCell)(Decell, Caroline) (Entered: 07/18/2018)
  07/20/2018             73 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated July
                            20, 2018 re: Plaintiff's July 18, 2018 Letter. Document filed by U.S. Department of State,
                            U.S. Immigration and Customs Enforcement.(Blain, Jennifer) (Entered: 07/20/2018)
  07/24/2018             74 ORDER: The Court is in receipt of Plaintiff's letter dated July 18, 2018 (ECF No. 72) and
                            Defendants' response dated July 20, 2018 (ECF No. 73). Defendant United States
                            Department of State ("DOS") shall produce all responsive documents by July 31, 2018.
                            Defendant United States Immigration and Customs Enforcement ("ICE") shall make a
                            further submission to this Court stating how many of the referred pages are responsive to
                            Plaintiff's narrowed request and when the review of those pages will be complete by July
                            25, 2018 at 11:00 a.m. (Signed by Judge Andrew L. Carter, Jr on 7/24/2018) (mro)
                            (Entered: 07/24/2018)
  07/24/2018             75 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated July 24
                            2018 re: ICE July 24 Update. Document filed by U.S. Immigration and Customs
                            Enforcement.(Blain, Jennifer) (Entered: 07/24/2018)
  07/26/2018             76 ORDER: The Court is in receipt of Defendant United States Immigration and Customs
                            Enforcement ("ICE")'s letter dated July 24, 2018 (ECF No. 75). ICE shall submit a status
                            report informing the Court how many documents are responsive to Plaintiff's narrowed
                            request by July 27, 2018. ICE shall also refer any such remaining responsive documents
                            to the relevant agencies no later than July 27, 2018. The Court defers ruling on a
                            production date for any such documents until it receives ICE's status report. SO
                            ORDERED. (Signed by Judge Andrew L. Carter, Jr on 7/26/2018) (rj) (Entered:
                            07/26/2018)
  07/27/2018             77 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated July
                            27, 2018 re: Further ICE Update. Document filed by U.S. Immigration and Customs
                            Enforcement.(Blain, Jennifer) (Entered: 07/27/2018)
  10/05/2018             78 LETTER addressed to Judge Andrew L. Carter, Jr. from the Knight Institute dated
                            10/05/2018 re: Status Update. Document filed by Knight First Amendment Institute at
                            Columbia University.(Graham, Megan) (Entered: 10/05/2018)
  11/09/2018             79 LETTER addressed to Judge Andrew L. Carter, Jr. from Carrie DeCell dated November
                            9, 2018 re: Request for Pre-Motion Conference re Motion for Partial Summary Judgment.
                            Document filed by Knight First Amendment Institute at Columbia University.(Decell,
                            Caroline) (Entered: 11/09/2018)
  11/28/2018             80 MEMO ENDORSEMENT on re: 79 Letter regarding Request for Pre-Motion Conference
                            re Motion for Partial Summary Judgment, filed by Knight First Amendment Institute at
                            Columbia University. ENDORSEMENT: SO ORDERED. (Signed by Judge Andrew L.
                            Carter, Jr on 11/28/2018) (rj) (Entered: 11/29/2018)
  12/18/2018             81 NOTICE OF APPEARANCE by Caroline Decell on behalf of Knight First Amendment
                            Institute at Columbia University. (Decell, Caroline) (Entered: 12/18/2018)

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                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page14 of 302
                                                                    JA-12
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

  12/27/2018             82 STANDING ORDER M10-468: The United States Attorney's Office shall notify the
                            Court immediately upon the restoration of Department of Justice funding. (As further set
                            forth in this Order.) (Signed by Judge Colleen McMahon on 12/27/2018) (anc) (Entered:
                            01/02/2019)
  12/27/2018                   Case Stayed. (anc) (Entered: 01/14/2019)
  02/01/2019             83 NOTICE OF CHANGE OF ADDRESS by Caroline Decell on behalf of Knight First
                            Amendment Institute at Columbia University. New Address: Knight First Amendment
                            Insitute at Columbia University, 475 Riverside Drive, Suite 302, New York, New York,
                            United States of America 10115, (646) 745-8500. (Decell, Caroline) (Entered:
                            02/01/2019)
  02/06/2019             84 MOTION for Aditya Vijay Kamdar to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                            number ANYSDC-16304455. Motion and supporting papers to be reviewed by
                            Clerk's Office staff. Document filed by Knight First Amendment Institute at Columbia
                            University. (Attachments: # 1 Affidavit, # 2 Certificate of Good Standing, # 3 Text of
                            Proposed Order)(Kamdar, Aditya) (Entered: 02/06/2019)
  02/06/2019                   >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No.
                               84 MOTION for Aditya Vijay Kamdar to Appear Pro Hac Vice . Filing fee $ 200.00,
                               receipt number ANYSDC-16304455. Motion and supporting papers to be reviewed
                               by Clerk's Office staff.. The document has been reviewed and there are no
                               deficiencies. (bcu) (Entered: 02/06/2019)
  02/07/2019             85 ORDER FOR ADMISSION TO PRACTICE PRO HAC VICE granting 84 Motion for
                            Adi Kamdar to Appear Pro Hac Vice. (Signed by Judge Andrew L. Carter, Jr on
                            2/7/2019) (ks) (Entered: 02/07/2019)
  02/13/2019             86 LETTER MOTION for Extension of Time of Proposed Briefing Schedule, on Consent
                            addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated February 13,
                            2019. Document filed by U.S. Citizenship and Immigration Services, U.S. Customs and
                            Border Protection, U.S. Department of Homeland Security, U.S. Department of Justice,
                            U.S. Department of State, U.S. Immigration and Customs Enforcement.(Blain, Jennifer)
                            (Entered: 02/13/2019)
  02/15/2019             87 ORDER granting 86 Letter Motion for Extension of Time. SO ORDERED. (Signed by
                            Judge Andrew L. Carter, Jr on 2/15/2019) (mro) (Entered: 02/15/2019)
  02/15/2019                   Set/Reset Deadlines: Cross Motions due by 4/15/2019. Motions due by 3/15/2019.
                               Responses due by 5/15/2019 Replies due by 5/29/2019. (mro) (Entered: 02/15/2019)
  02/26/2019             88 LETTER MOTION for Leave to File Excess Pages On Consent, and a Status Update
                            Regarding DHS addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated
                            February 26, 2019. Document filed by U.S. Citizenship and Immigration Services, U.S.
                            Customs and Border Protection, U.S. Department of Homeland Security, U.S.
                            Department of Justice, U.S. Department of State, U.S. Immigration and Customs
                            Enforcement.(Blain, Jennifer) (Entered: 02/26/2019)
  02/26/2019             89 MOTION for Summary Judgment as to OLC, ICE and the State Department. Document
                            filed by U.S. Department of Justice, U.S. Department of State, U.S. Immigration and
                            Customs Enforcement.(Blain, Jennifer) (Entered: 02/26/2019)
  02/26/2019             90 MEMORANDUM OF LAW in Support re: 89 MOTION for Summary Judgment as to
                            OLC, ICE and the State Department. . Document filed by U.S. Department of Justice,
                            U.S. Department of State, U.S. Immigration and Customs Enforcement. (Blain, Jennifer)
                            (Entered: 02/26/2019)
  02/26/2019             91 DECLARATION of Toni Fuentes in Support re: 89 MOTION for Summary Judgment as
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                            12/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page15 of 302
                                                                    JA-13
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               to OLC, ICE and the State Department.. Document filed by U.S. Department of Justice.
                               (Attachments: # 1 Exhibit, # 2 Exhibit)(Blain, Jennifer) (Entered: 02/26/2019)
  02/26/2019             92 DECLARATION of Paul P. Colborn in Support re: 89 MOTION for Summary Judgment
                            as to OLC, ICE and the State Department.. Document filed by U.S. Department of
                            Justice. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                            Exhibit E)(Blain, Jennifer) (Entered: 02/26/2019)
  02/26/2019             93 DECLARATION of Eric F. Stein in Support re: 89 MOTION for Summary Judgment as
                            to OLC, ICE and the State Department.. Document filed by U.S. Department of State.
                            (Attachments: # 1 Exhibit 1 - Vaughn Index, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, #
                            5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Blain, Jennifer) (Entered: 02/26/2019)
  02/27/2019             94 ORDER granting 88 Letter Motion for Leave to File Excess Pages. SO ORDERED.
                            (Signed by Judge Andrew L. Carter, Jr on 2/27/2019) (ne) (Entered: 02/27/2019)
  03/15/2019             95 MOTION for Summary Judgment as to USCIS and ICE. Document filed by U.S.
                            Citizenship and Immigration Services, U.S. Immigration and Customs Enforcement.
                            (Blain, Jennifer) (Entered: 03/15/2019)
  03/15/2019             96 MEMORANDUM OF LAW in Support re: 95 MOTION for Summary Judgment as to
                            USCIS and ICE. . Document filed by U.S. Citizenship and Immigration Services, U.S.
                            Immigration and Customs Enforcement. (Blain, Jennifer) (Entered: 03/15/2019)
  03/15/2019             97 DECLARATION of Jill A. Eggleston in Support re: 95 MOTION for Summary Judgment
                            as to USCIS and ICE.. Document filed by U.S. Citizenship and Immigration Services.
                            (Blain, Jennifer) (Entered: 03/15/2019)
  03/15/2019             98 DECLARATION of Toni Fuentes in Support re: 95 MOTION for Summary Judgment as
                            to USCIS and ICE.. Document filed by U.S. Immigration and Customs Enforcement.
                            (Attachments: # 1 Exhibit Vaughn Index)(Blain, Jennifer) (Entered: 03/15/2019)
  03/28/2019             99 LETTER MOTION for Leave to File Excess Pages on Consent addressed to Judge
                            Andrew L. Carter, Jr. from Carrie DeCell dated March 28, 2019. Document filed by
                            Knight First Amendment Institute at Columbia University.(Decell, Caroline) (Entered:
                            03/28/2019)
  03/28/2019           100 MOTION for Summary Judgment as to ICE, OLC, and DOS. Document filed by Knight
                           First Amendment Institute at Columbia University.(Decell, Caroline) (Entered:
                           03/28/2019)
  03/28/2019           101 MEMORANDUM OF LAW in Support re: 100 MOTION for Summary Judgment as to
                           ICE, OLC, and DOS. . Document filed by Knight First Amendment Institute at Columbia
                           University. (Decell, Caroline) (Entered: 03/28/2019)
  03/28/2019           102 DECLARATION of Carrie DeCell in Support re: 100 MOTION for Summary Judgment
                           as to ICE, OLC, and DOS.. Document filed by Knight First Amendment Institute at
                           Columbia University. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Decell, Caroline)
                           (Entered: 03/28/2019)
  04/01/2019           103 ORDER granting 99 Letter Motion for Leave to File Excess Pages. SO ORDERED.
                           (Signed by Judge Andrew L. Carter, Jr on 4/1/2019) (mro) (Entered: 04/01/2019)
  04/15/2019           104 MOTION for Summary Judgment as to ICE and USCIS. Document filed by Knight First
                           Amendment Institute at Columbia University.(Decell, Caroline) (Entered: 04/15/2019)
  04/15/2019           105 MEMORANDUM OF LAW in Support re: 104 MOTION for Summary Judgment as to
                           ICE and USCIS. . Document filed by Knight First Amendment Institute at Columbia
                           University. (Decell, Caroline) (Entered: 04/15/2019)

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                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page16 of 302
                                                                    JA-14
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

  04/15/2019           106 DECLARATION of Carrie DeCell in Support re: 104 MOTION for Summary Judgment
                           as to ICE and USCIS.. Document filed by Knight First Amendment Institute at Columbia
                           University. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Decell, Caroline)
                           (Entered: 04/15/2019)
  04/16/2019           107 NOTICE of Errata and Corrections re: 105 Memorandum of Law in Support of Motion,
                           106 Declaration in Support of Motion,. Document filed by Knight First Amendment
                           Institute at Columbia University. (Decell, Caroline) (Entered: 04/16/2019)
  04/16/2019           108 MEMORANDUM OF LAW in Support re: 104 MOTION for Summary Judgment as to
                           ICE and USCIS. CORRECTION OF ECF No. 105 . Document filed by Knight First
                           Amendment Institute at Columbia University. (Decell, Caroline) (Entered: 04/16/2019)
  04/16/2019           109 DECLARATION of Carrie DeCell in Support re: 104 MOTION for Summary Judgment
                           as to ICE and USCIS.. Document filed by Knight First Amendment Institute at Columbia
                           University. (Attachments: # 1 Exhibit A, # 2 Exhibit B [CORRECTED], # 3 Exhibit C)
                           (Decell, Caroline) (Entered: 04/16/2019)
  04/22/2019           110 LETTER MOTION for Extension of Time to File Response/Reply addressed to Judge
                           Andrew L. Carter, Jr. from AUSA Ellen Blain dated April 22, 2019. Document filed by
                           U.S. Department of Justice, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement.(Blain, Jennifer) (Entered: 04/22/2019)
  05/03/2019           111 MEMORANDUM OF LAW in Support re: 95 MOTION for Summary Judgment as to
                           USCIS and ICE. and In Opposition to Plaintiff's Motion. Document filed by U.S.
                           Department of Justice, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement. (Blain, Jennifer) (Entered: 05/03/2019)
  05/03/2019           112 DECLARATION of Eric Stein in Support re: 95 MOTION for Summary Judgment as to
                           USCIS and ICE.. Document filed by U.S. Department of State. (Blain, Jennifer) (Entered:
                           05/03/2019)
  05/03/2019           113 DECLARATION of Toni Fuentes in Support re: 89 MOTION for Summary Judgment as
                           to OLC, ICE and the State Department.. Document filed by U.S. Immigration and
                           Customs Enforcement. (Blain, Jennifer) (Entered: 05/03/2019)
  05/03/2019           114 MEMORANDUM OF LAW in Support re: 89 MOTION for Summary Judgment as to
                           OLC, ICE and the State Department. CORRECTED. Document filed by U.S. Department
                           of Justice, U.S. Department of State, U.S. Immigration and Customs Enforcement.
                           (Blain, Jennifer) (Entered: 05/03/2019)
  05/13/2019           115 LETTER MOTION for Extension of Time to File Response/Reply by Two Days, On
                           Consent addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated May 13,
                           2019. Document filed by U.S. Citizenship and Immigration Services, U.S. Immigration
                           and Customs Enforcement.(Blain, Jennifer) (Entered: 05/13/2019)
  05/13/2019           116 ORDER granting 110 Letter Motion for Extension of Time to File Response/Reply re 110
                           LETTER MOTION for Extension of Time to File Response/Reply addressed to Judge
                           Andrew L. Carter, Jr. from AUSA Ellen Blain dated April 22, 2019., 115 LETTER
                           MOTION for Extension of Time to File Response/Reply by Two Days, On Consent
                           addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated May 13, 2019. ;
                           granting 115 Letter Motion for Extension of Time to File Response/Reply re 110
                           LETTER MOTION for Extension of Time to File Response/Reply addressed to Judge
                           Andrew L. Carter, Jr. from AUSA Ellen Blain dated April 22, 2019., 115 LETTER
                           MOTION for Extension of Time to File Response/Reply by Two Days, On Consent
                           addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated May 13, 2019.
                           ENDORSEMENT: SO ORDERED. Responses due by 5/17/2019 Replies due by

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                          14/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page17 of 302
                                                                    JA-15
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               5/31/2019. (Signed by Judge Andrew L. Carter, Jr on 5/13/2019) (rj) (Entered:
                               05/13/2019)
  05/17/2019           117 REPLY MEMORANDUM OF LAW in Support re: 100 MOTION for Summary
                           Judgment as to ICE, OLC, and DOS. . Document filed by Knight First Amendment
                           Institute at Columbia University. (Decell, Caroline) (Entered: 05/17/2019)
  05/17/2019           118 REPLY MEMORANDUM OF LAW in Support re: 95 MOTION for Summary Judgment
                           as to USCIS and ICE. And In Opposition to Plaintiff's Cross-Motion. Document filed by
                           U.S. Citizenship and Immigration Services, U.S. Immigration and Customs Enforcement.
                           (Blain, Jennifer) (Entered: 05/17/2019)
  05/17/2019           119 DECLARATION of Jill Eggleston in Support re: 95 MOTION for Summary Judgment as
                           to USCIS and ICE.. Document filed by U.S. Citizenship and Immigration Services.
                           (Blain, Jennifer) (Entered: 05/17/2019)
  05/17/2019           120 DECLARATION of Elliot Viker in Support re: 95 MOTION for Summary Judgment as
                           to USCIS and ICE.. Document filed by U.S. Citizenship and Immigration Services.
                           (Blain, Jennifer) (Entered: 05/17/2019)
  05/17/2019           121 DECLARATION of Toni Fuentes in Support re: 95 MOTION for Summary Judgment as
                           to USCIS and ICE.. Document filed by U.S. Immigration and Customs Enforcement.
                           (Blain, Jennifer) (Entered: 05/17/2019)
  05/31/2019           122 REPLY MEMORANDUM OF LAW in Support re: 104 MOTION for Summary
                           Judgment as to ICE and USCIS. . Document filed by Knight First Amendment Institute at
                           Columbia University. (Decell, Caroline) (Entered: 05/31/2019)
  06/28/2019           123 LETTER addressed to Judge Andrew L. Carter, Jr. from the Knight First Amendment
                           Institute dated 06/28/2019 re: Request for Oral Argument. Document filed by Knight
                           First Amendment Institute at Columbia University.(Graham, Megan) (Entered:
                           06/28/2019)
  07/01/2019           124 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated July 1,
                           2019 re: DHS Status Update. Document filed by U.S. Department of Homeland Security.
                           (Blain, Jennifer) (Entered: 07/01/2019)
  07/02/2019           125 ORDER: The Court is in receipt of Plaintiff's letter dated June 28, 2019 (ECF No. 123)
                           and Defendants' letter in response dated July 1, 2019. ECF No. 124. The Court will hold
                           a status conference in this matter on July 9, 2019 at 3:00 p.m. The parties (and/or
                           counsel) should appear in person in Courtroom 1306 at the Thurgood Marshall United
                           States Courthouse, 40 Foley Square, New York, NY, on the date and time specified
                           above. SO ORDERED. Status Conference set for 7/9/2019 at 03:00 PM in Courtroom
                           1306, 40 Foley Square, New York, NY 10007 before Judge Andrew L. Carter Jr. (Signed
                           by Judge Andrew L. Carter, Jr on 7/2/2019) (rj) (Entered: 07/03/2019)
  07/08/2019           126 LETTER addressed to Judge Andrew L. Carter, Jr. from Knight First Amendment
                           Institute dated 07/08/2019 re: Request to Appear Telephonically. Document filed by
                           Knight First Amendment Institute at Columbia University.(Graham, Megan) (Entered:
                           07/08/2019)
  07/08/2019           127 ORDER: Due to a change in the Court's schedule, the status conference previously
                           scheduled for July 9, 2019, is ADJOURNED to July 16, 2019, at 3:00 p.m. The parties
                           should appear in person in Courtroom 1306 at the Thurgood Marshall United States
                           Courthouse, 40 Foley Square, New York, NY, on the date and time specified above. SO
                           ORDERED., Status Conference set for 7/16/2019 at 03:00 PM in Courtroom 1306, 40
                           Foley Square, New York, NY 10007 before Judge Andrew L. Carter Jr. (Signed by Judge
                           Andrew L. Carter, Jr on 7/8/2019) (rj) (Entered: 07/08/2019)
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                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page18 of 302
                                                                    JA-16
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

  07/16/2019                   Minute Entry for proceedings held before Judge Andrew L. Carter, Jr: Status Conference
                               held on 7/16/2019. Aditya Kamdar, Caroline Decell, and Megan Graham for
                               Petitioner(s). AUSA Jennifer Blain for Government. Andre Manuel, Summer Intern
                               present. See Docket No. 128 for details. (Court Reporter: Sonya Ketter Moore) (tdh)
                               (Entered: 07/26/2019)
  07/17/2019           128 ORDER SETTING ORAL ARGUMENT: The Court hereby schedules oral argument for
                           July 31, 2019 at 11:00 a.m. The parties should appear in person at the Thurgood Marshall
                           United States Courthouse, 40 Foley Square, in Courtroom 1306 on the date and time
                           specified above. Furthermore, as discussed in the July 16, 2019 proceeding, the parties
                           are directed to submit joint status reports on or before July 19, 2019 and August 2, 2019
                           respectively. (Oral Argument set for 7/31/2019 at 11:00 AM in Courtroom 1306, 40
                           Centre Street, New York, NY 10007 before Judge Andrew L. Carter Jr..) (Signed by
                           Judge Andrew L. Carter, Jr on 7/17/2019) (ne) (Entered: 07/17/2019)
  07/19/2019           129 STATUS REPORT. Third Joint Status Report Document filed by Knight First
                           Amendment Institute at Columbia University.(Graham, Megan) (Entered: 07/19/2019)
  07/22/2019           130 LETTER addressed to Judge Andrew L. Carter, Jr. from the Knight First Amendment
                           Institute dated 07/22/2019 re: DHS's new search. Document filed by Knight First
                           Amendment Institute at Columbia University.(Decell, Caroline) (Entered: 07/22/2019)
  07/31/2019                   Minute Entry for proceedings held before Judge Andrew L. Carter, Jr: Oral Argument
                               held on 7/31/2019. Caroline Decell, Megan Graham, and Aditya Kamdar for Plaintiff(s).
                               AUSA Jennifer Blain for the Defendant(s). Defendant(s) Supplemental Affidavit Due:
                               8/7/19. Plaintiff(s) Response Due: 8/14/19. (Court Reporter: Lisa Smith) (tdh) (Entered:
                               08/01/2019)
  08/02/2019           131 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated August
                           2, 2019 re: Status Update re DHS's Search. Document filed by U.S. Department of
                           Homeland Security.(Blain, Jennifer) (Entered: 08/02/2019)
  08/07/2019           132 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated August
                           7, 2019 re: ICE Searches of the Office of the Director and ERO. Document filed by U.S.
                           Immigration and Customs Enforcement.(Blain, Jennifer) (Entered: 08/07/2019)
  08/07/2019           133 DECLARATION of Alexander Choe in Support re: 89 MOTION for Summary Judgment
                           as to OLC, ICE and the State Department.. Document filed by U.S. Immigration and
                           Customs Enforcement. (Blain, Jennifer) (Entered: 08/07/2019)
  08/07/2019           134 DECLARATION of Eliman Jussara Solorzano in Support re: 89 MOTION for Summary
                           Judgment as to OLC, ICE and the State Department.. Document filed by U.S.
                           Immigration and Customs Enforcement. (Blain, Jennifer) (Entered: 08/07/2019)
  08/09/2019           135 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated August
                           9, 2019 re: DHS Status Update. Document filed by U.S. Department of Homeland
                           Security.(Blain, Jennifer) (Entered: 08/09/2019)
  08/14/2019           136 LETTER addressed to Judge Andrew L. Carter, Jr. from Knight First Amendment
                           Institute dated 08/14/2019 re: ICE Searches of the Office of the Director and ERO.
                           Document filed by Knight First Amendment Institute at Columbia University.(Decell,
                           Caroline) (Entered: 08/14/2019)
  08/21/2019           137 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated August
                           21, 2019 re: DHS Search Status Update. Document filed by U.S. Department of
                           Homeland Security.(Blain, Jennifer) (Entered: 08/21/2019)
  08/28/2019           138 MOTION for Adi Kamdar to Withdraw as Attorney FOR PLAINTIFF. Document filed
                           by Knight First Amendment Institute at Columbia University.(Kamdar, Aditya) (Entered:
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                               16/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page19 of 302
                                                                    JA-17
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               08/28/2019)
  08/29/2019           139 MEMO ENDORSED ORDER granting 138 Motion to Withdraw as Attorney.
                           ENDORSEMENT: SO ORDERED. Attorney Aditya Kamdar terminated. (Signed by
                           Judge Andrew L. Carter, Jr on 8/29/2019) (rj) (Entered: 08/29/2019)
  09/13/2019                   ***DELETED DOCUMENT. Deleted document number 140 Opinion and Order.
                               The document was incorrectly filed in this case. (js) (Entered: 09/16/2019)
  09/13/2019           140 OPINION AND ORDER re: 100 MOTION for Summary Judgment as to ICE, OLC, and
                           DOS filed by Knight First Amendment Institute at Columbia University. For the
                           foregoing reasons, Defendants' partial motion for summary judgment is GRANTED in
                           part and DENIED in part. Plaintiff's Cross Partial Motion for Summary Judgment is
                           GRANTED in part and DENIED in part. The Clerk of Court is respectfully directed to
                           terminate the Motion at docket entry 100. (Signed by Judge Andrew L. Carter, Jr on
                           9/13/2019) (ne) (Entered: 09/16/2019)
  09/23/2019           141 OPINION AND ORDER re: 95 MOTION for Summary Judgment as to USCIS and ICE
                           filed by U.S. Immigration and Customs Enforcement, U.S. Citizenship and Immigration
                           Services, 89 MOTION for Summary Judgment as to OLC, ICE and the State Department
                           filed by U.S. Department of State, U.S. Immigration and Customs Enforcement, U.S.
                           Department of Justice, 104 MOTION for Summary Judgment as to ICE and USCIS filed
                           by Knight First Amendment Institute at Columbia University. For the foregoing reasons,
                           Defendants' Motions for Summary Judgment are GRANTED in part and DENIED in
                           part, and Plaintiff's Cross-Motion for Summary Judgment is GRANTED in part and
                           DENIED in part as follows: (1) ICE's Motion is granted and Plaintiff's Cross-Motion is
                           denied with respect to its application of Exemption 5 to the First Amendment Concerns
                           Memo, the 235(c) Memo, the EO Implementation Memo. (2) Plaintiff's Cross-Motion is
                           granted and ICE's Motion is denied with respect to the Extreme Vetting Memo, the
                           Foreign Policy Provisions Memo, and the HSI Updates Memo. ICE must re-assess its
                           applied exemptions to these records, using this Opinion as guidance, and disclose all
                           responsive non-exempt materials that can reasonably be segregated from exempt
                           materials. (3) USCIS' Motion is granted and Plaintiff's Cross-Motion denied with respect
                           to the TRIG Options Paper and TRIG Exemptions. (4) Plaintiff's Cross-Motion is granted
                           and USCIS' motion is denied with respect to the Acting Director Memo and Senior
                           Policy Council Paper. USCIS must release the reasonably segregable information in these
                           records. (5) The government's motions for summary judgment regarding the
                           unchallenged documents are granted. (Signed by Judge Andrew L. Carter, Jr on
                           9/23/2019) (ne) (Entered: 09/23/2019)
  09/24/2019           142 NOTICE OF APPEARANCE by Leena M. Charlton on behalf of Knight First
                           Amendment Institute at Columbia University. (Charlton, Leena) (Entered: 09/24/2019)
  09/30/2019           143 MOTION for Reconsideration in Part of the Court's September 16 and 23 Orders.
                           Document filed by U.S. Citizenship and Immigration Services, U.S. Department of State,
                           U.S. Immigration and Customs Enforcement.(Blain, Jennifer) (Entered: 09/30/2019)
  09/30/2019           144 MEMORANDUM OF LAW in Support re: 143 MOTION for Reconsideration in Part of
                           the Court's September 16 and 23 Orders. . Document filed by U.S. Citizenship and
                           Immigration Services, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement. (Blain, Jennifer) (Entered: 09/30/2019)
  10/04/2019           145 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated
                           October 4, 2019 re: ICE Status Update. Document filed by U.S. Immigration and
                           Customs Enforcement.(Blain, Jennifer) (Entered: 10/04/2019)
  10/11/2019           146 LETTER addressed to Judge Andrew L. Carter, Jr. from Knight First Amendment

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                          17/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page20 of 302
                                                                    JA-18
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               Institute dated 10/11/2019 re: ICE, DHS, and Item 1 Searches. Document filed by Knight
                               First Amendment Institute at Columbia University.(Decell, Caroline) (Entered:
                               10/11/2019)
  10/15/2019           147 MEMORANDUM OF LAW in Opposition re: 143 MOTION for Reconsideration in Part
                           of the Court's September 16 and 23 Orders. . Document filed by Knight First
                           Amendment Institute at Columbia University. (Decell, Caroline) (Entered: 10/15/2019)
  10/22/2019           148 REPLY MEMORANDUM OF LAW in Support re: 143 MOTION for Reconsideration in
                           Part of the Court's September 16 and 23 Orders. . Document filed by U.S. Citizenship
                           and Immigration Services, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement. (Blain, Jennifer) (Entered: 10/22/2019)
  12/06/2019           149 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated
                           December 6, 2019 re: Status of DHS's Search. Document filed by U.S. Citizenship and
                           Immigration Services, U.S. Customs and Border Protection, U.S. Department of
                           Homeland Security, U.S. Department of Justice, U.S. Department of State.(Blain,
                           Jennifer) (Entered: 12/06/2019)
  12/20/2019           150 STATUS REPORT. (Joint) Document filed by U.S. Citizenship and Immigration
                           Services, U.S. Customs and Border Protection, U.S. Department of Justice, U.S.
                           Department of State, U.S. Immigration and Customs Enforcement.(Blain, Jennifer)
                           (Entered: 12/20/2019)
  01/30/2020           151 NOTICE OF CHANGE OF ADDRESS by Megan Kathleen Graham on behalf of Knight
                           First Amendment Institute at Columbia University. New Address: Samuelson Law,
                           Technology & Public Policy Clinic, U.C. Berkeley School of Law, Berkeley, CA, 94720,
                           510-664-4381. (Graham, Megan) (Entered: 01/30/2020)
  02/21/2020           152 LETTER MOTION for Extension of Time from February 21 to February 24 to file joint
                           status report addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated
                           February 21, 2020. Document filed by U.S. Citizenship and Immigration Services, U.S.
                           Customs and Border Protection, U.S. Department of Homeland Security, U.S.
                           Department of Justice, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement..(Blain, Jennifer) (Entered: 02/21/2020)
  02/24/2020           153 ORDER granting 152 Letter Motion for Extension of Time. SO ORDERED. (Signed by
                           Judge Andrew L. Carter, Jr on 2/24/2020) (ks) (Entered: 02/24/2020)
  02/24/2020           154 STATUS REPORT. Document filed by U.S. Citizenship and Immigration Services, U.S.
                           Customs and Border Protection, U.S. Department of Homeland Security, U.S.
                           Department of Justice, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement..(Blain, Jennifer) (Entered: 02/24/2020)
  05/14/2020           155 STATUS REPORT. (Joint) Document filed by Knight First Amendment Institute at
                           Columbia University..(Decell, Caroline) (Entered: 05/14/2020)
  08/13/2020           156 STATUS REPORT. (Joint) Document filed by Knight First Amendment Institute at
                           Columbia University..(Decell, Caroline) (Entered: 08/13/2020)
  09/03/2020           157 MOTION for Leena Charlton to Withdraw as Attorney . Document filed by Knight First
                           Amendment Institute at Columbia University..(Charlton, Leena) (Entered: 09/03/2020)
  09/13/2020           158 OPINION & ORDER re: 143 MOTION for Reconsideration in Part of the Court's
                           September 16 and 23 Orders. filed by U.S. Department of State, U.S. Immigration and
                           Customs Enforcement, U.S. Citizenship and Immigration Services. For the reasons set
                           forth below, Defendants' motion for reconsideration is hereby DENIED. I had enough
                           information from DOS's and USCIS's affidavits to conduct the required de novo review
                           of the agencies' withholdings. I determined that the 7(E) exemption did not apply to
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                            18/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page21 of 302
                                                                    JA-19
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               certain sections of the FAM and the TRIG questions. No supplemental submissions or in
                               camera review is necessary. Defendants have not met the burden to warrant
                               reconsideration of these determinations. Defendants' motion for reconsideration is
                               DENIED in full. (Signed by Judge Andrew L. Carter, Jr on 9/13/2020) (rj) (Entered:
                               09/14/2020)
  10/16/2020           159 LETTER MOTION for Extension of Time to Submit Status Report, with Consent
                           addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated October 16,
                           2020. Document filed by U.S. Citizenship and Immigration Services, U.S. Customs and
                           Border Protection, U.S. Department of Homeland Security, U.S. Department of Justice,
                           U.S. Department of State, U.S. Immigration and Customs Enforcement..(Blain, Jennifer)
                           (Entered: 10/16/2020)
  10/19/2020           160 ORDER granting 159 Letter Motion for Extension of Time. SO ORDERED. (Signed by
                           Judge Andrew L. Carter, Jr on 10/19/2020) (nb) (Entered: 10/19/2020)
  10/20/2020           161 STATUS REPORT. (Joint) Document filed by Knight First Amendment Institute at
                           Columbia University..(Decell, Caroline) (Entered: 10/20/2020)
  10/21/2020           162 ORDER: The Court is in receipt of the parties' joint status report. (ECF No. 161). The
                           parties shall file a joint status report by December 11, 2020. So Ordered. (Signed by
                           Judge Andrew L. Carter, Jr on 10/21/2020) (js) (Entered: 10/21/2020)
  11/04/2020           163 FILING ERROR - DEFICINT DOCKET ENTRY - MOTION for Xiangnong Wang to
                           Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-22441979. Motion
                           and supporting papers to be reviewed by Clerk's Office staff. Document filed by
                           Knight First Amendment Institute at Columbia University. (Attachments: # 1 Affidavit
                           (notarized), # 2 Certificate of Good Standing, # 3 Text of Proposed Order).(Wang,
                           Xiangnong) Modified on 11/4/2020 (vba). (Entered: 11/04/2020)
  11/04/2020                   >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                               VICE. Notice to RE-FILE Document No. 163 MOTION for Xiangnong Wang to
                               Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-22441979.
                               Motion and supporting papers to be reviewed by Clerk's Office staff... The filing is
                               deficient for the following reason(s): missing Certificate of Good Standing from
                               SUPREME COURT OF OREGON;. Re-file the motion as a Motion to Appear Pro
                               Hac Vice - attach the correct signed PDF - select the correct named filer/filers -
                               attach valid Certificates of Good Standing issued within the past 30 days - attach
                               Proposed Order.. (vba) (Entered: 11/04/2020)
  11/10/2020           164 MOTION for Xiangnong Wang to Appear Pro Hac Vice with corrected Certificate of
                           Good Standing. Motion and supporting papers to be reviewed by Clerk's Office staff.
                           Document filed by Knight First Amendment Institute at Columbia University.
                           (Attachments: # 1 Affidavit (notarized), # 2 Corrected Certificate of Good Standing, # 3
                           Text of Proposed Order).(Wang, Xiangnong) Modified on 11/10/2020 (bcu). (Entered:
                           11/10/2020)
  11/10/2020                   >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No.
                               164 MOTION for Xiangnong Wang to Appear Pro Hac Vice with corrected
                               Certificate of Good Standing. Motion and supporting papers to be reviewed by
                               Clerk's Office staff.. The document has been reviewed and there are no deficiencies.
                               (bcu) (Entered: 11/10/2020)
  11/10/2020           165 FILING ERROR - NO ORDER SELECTED FOR APPEAL - NOTICE OF
                           APPEAL. Document filed by U.S. Citizenship and Immigration Services, U.S.
                           Department of State, U.S. Immigration and Customs Enforcement. Form C and Form D


https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                             19/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page22 of 302
                                                                    JA-20
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               are due within 14 days to the Court of Appeals, Second Circuit..(Blain, Jennifer)
                               Modified on 11/10/2020 (tp). (Entered: 11/10/2020)
  11/10/2020                   ***NOTICE TO ATTORNEY REGARDING DEFICIENT APPEAL. Notice to
                               attorney Blain, Jennifer to RE-FILE Document No. 165 Notice of Appeal. The filing
                               is deficient for the following reason(s): the order/judgment being appealed was not
                               selected. Re-file the appeal using the event type Corrected Notice of Appeal found
                               under the event list Appeal Documents - attach the correct signed PDF - select the
                               correct named filer/filers - select the correct order/judgment being appealed. (tp)
                               (Entered: 11/10/2020)
  11/11/2020           166 CORRECTED NOTICE OF APPEAL re: 165 Notice of Appeal, 158 Memorandum &
                           Opinion,,, 140 Memorandum & Opinion,, 141 Memorandum & Opinion,,,,,,,. Document
                           filed by U.S. Citizenship and Immigration Services, U.S. Department of State, U.S.
                           Immigration and Customs Enforcement..(Blain, Jennifer) (Entered: 11/11/2020)
  11/11/2020           167 MEMO ENDORSEMENT on MOTION FOR ADMISSION PRO HAC VICE OF
                           XIANGNONG WANG AS ADDITIONAL COUNSEL FOR PLAINTIFF: granting 164
                           Motion for Xiangnong Wang to Appear Pro Hac Vice. ENDORSEMENT: SO
                           ORDERED. (Signed by Judge Andrew L. Carter, Jr on 11/11/2020) (ama) (Entered:
                           11/11/2020)
  11/12/2020                   Appeal Fee Not Required for 166 Corrected Notice of Appeal. Appeal filed by U.S.
                               Government. (tp) (Entered: 11/12/2020)
  11/12/2020                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 166 Corrected Notice of Appeal.(tp) (Entered: 11/12/2020)
  11/12/2020                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                               Electronic Files for 166 Corrected Notice of Appeal, filed by U.S. Department of State,
                               U.S. Immigration and Customs Enforcement, U.S. Citizenship and Immigration Services
                               were transmitted to the U.S. Court of Appeals. (tp) (Entered: 11/12/2020)
  11/13/2020           168 ORDER granting 157 Motion to Withdraw as Counsel for Plaintiff Attorney Leena M.
                           Charlton terminated. So Ordered. (Signed by Judge Andrew L. Carter, Jr on 11/13/2020)
                           (js) (Entered: 11/13/2020)
  12/09/2020           169 LETTER addressed to Judge Andrew L. Carter, Jr. from AUSA Ellen Blain dated
                           December 9, 2020 re: Clarification of Government Position, or in the alternative, Request
                           for a Stay Pending Appeal. Document filed by U.S. Citizenship and Immigration
                           Services, U.S. Department of State, U.S. Immigration and Customs Enforcement..(Blain,
                           Jennifer) (Entered: 12/09/2020)
  12/10/2020           170 ORDER: The Court is in receipt of the Defendants' letter. (ECF No. 169). Accordingly,
                           the Court stays this matter pending the disposition of the appeal. SO ORDERED. (Signed
                           by Judge Andrew L. Carter, Jr on 12/10/2020) (jca) (Entered: 12/10/2020)
  12/11/2020           171 STATUS REPORT. (Joint) Document filed by Knight First Amendment Institute at
                           Columbia University..(Decell, Caroline) (Entered: 12/11/2020)
  02/09/2021           172 STATUS REPORT. (Joint) Document filed by U.S. Citizenship and Immigration
                           Services, U.S. Customs and Border Protection, U.S. Department of Homeland Security,
                           U.S. Department of Justice, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement..(Blain, Jennifer) (Entered: 02/09/2021)
  02/10/2021           173 MEMO ENDORSEMENT on re: 172 Status Report, filed by U.S. Department of
                           Homeland Security, U.S. Department of State, U.S. Immigration and Customs
                           Enforcement, U.S. Department of Justice, U.S. Customs and Border Protection, U.S.
                           Citizenship and Immigration Services. ENDORSEMENT: The parties shall file a joint
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?129160791225754-L_1_0-1                                             20/21
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page23 of 302
                                                                    JA-21
2/11/2021                                                        SDNY CM/ECF NextGen Version 1.2

                               status report by April 9, 2021. So Ordered. (Signed by Judge Andrew L. Carter, Jr on
                               2/10/2021) (js) (Entered: 02/10/2021)



                                                        PACER Service Center
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       Case 20-3837, Document 41, 02/23/2021, 3042809, Page24 of 302
                                            JA-22
         Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 1 of 13




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


KNIGHT FIRST AMENDMENT INSTITUTE
AT COLUMBIA UNIVERSITY,
                                                             No. 1:17-cv-07572-ALC
                       Plaintiff,

                v.

U.S. DEPARTMENT OF HOMELAND
SECURITY, U.S. CUSTOMS AND BORDER
PROTECTION, U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT, U.S.
CITIZENSHIP AND IMMIGRATION
SERVICES, U.S. DEPARTMENT OF
JUSTICE, and U.S. DEPARTMENT OF
STATE,

                       Defendants.


             FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF1

       Plaintiff Knight First Amendment Institute at Columbia University (the “Knight Institute”),

by and through its attorneys, hereby complains as follows against Defendants U.S. Department of

Homeland Security (“DHS”), U.S. Customs and Border Protection (“CBP”), U.S. Immigration and

Customs Enforcement (“ICE”), U.S. Citizenship and Immigration Services (“USCIS”), U.S.

Department of Justice (“DOJ”), and U.S. Department of State (“DOS”):

                                       INTRODUCTION

       1.      In this action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, for

injunctive and other appropriate relief, the Knight Institute seeks the immediate release of agency


   1
     Plaintiff files this amended complaint pursuant to Federal Rule of Civil Procedure 15(a)(2).
Defendants’ counsel provided written consent for the filing of an amended complaint on March 8,
2018, which Plaintiffs have submitted by letter to the Court. ECF No. 41. A true and correct copy
of that letter, along with Defendants’ written consent, is attached hereto as Exhibit A.
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page25 of 302
                                             JA-23
         Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 2 of 13




records concerning the exclusion or removal of individuals from the United States based on their

speech, beliefs, or associations.

       2.      During his 2016 presidential campaign, then-candidate Donald Trump evoked a

Cold War-era “ideological screening test” for admission into the United States and proclaimed that

a “new screening test” involving “extreme, extreme vetting” was overdue.2

       3.      A week after his inauguration, President Trump issued Executive Order 13,769,

declaring that the United States “must ensure that those admitted to this country do not bear hostile

attitudes toward it and its founding principles” and “cannot, and should not, admit those who do

not support the Constitution.” Exec. Order No. 13,769, 82 Fed. Reg. 8,977 (Jan. 27, 2017). The

President subsequently explained that only individuals who “want to love our country” should be

admitted into the United States.3

       4.      Following legal challenges to the January 27, 2017 order, the President issued a

revised order on March 6, 2017. That order directed the Secretary of State, the Attorney General,

the Secretary of Homeland Security, and the Director of National Intelligence to develop a more

robust vetting program for visa applicants and refugees seeking entry into the United States,

involving, among other things, “collection of all information necessary for a rigorous evaluation

of all grounds of inadmissibility.” Exec. Order No. 13,780, 82 Fed. Reg. 13,209, 13,215 (Mar. 6,

2017). The order further required the Secretary of Homeland Security, in conjunction with the

Secretary of State, Attorney General, and Director of National Intelligence, to make periodic

reports through October 2, 2017 on their progress in developing the new vetting program. Exec.


   2
    Karen DeYoung, Trump Proposes Ideological Test for Muslim Immigrants and Visitors to the
U.S., Wash. Post (Aug. 15, 2016), https://perma.cc/G9SC-EPHT.
   3
    Trump Defends Immigration Restrictions, Wants People ‘Who Love Our Country,’ Chi. Trib.
(Feb. 6, 2017), http://trib.in/2vIQeuw.



                                                 2
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page26 of 302
                                            JA-24
         Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 3 of 13




Order No. 13,780, 82 Fed. Reg. at 13,215.

       5.      Pursuant to President Trump’s order, DHS and DOS have been developing new

vetting policies.4 For example, following approval by the U.S. Office of Management and Budget

in late May 2017, DOS adopted a new questionnaire for certain visa applicants requesting any

social media platforms and handles used during the last five years. 82 Fed. Reg. 20,956, 20, 957

(May 4, 2017).5 More recently, DHS modified its system of immigration records to include the

“social media handles, aliases, [and] associated identifiable information,” as well as “publicly

available information obtained from the internet, . . . and information obtained and disclosed

pursuant to information sharing agreements.” 82 Fed. Reg. 43,556, 43,557 (Sept. 18, 2017). This

modification covers not only visa applicants, but also naturalized U.S. citizens and lawful

permanent residents, id. at 43,560, and it took effect on October 18, 2017, id. at 43,556.

       6.      The public has an urgent need to know about these and other new vetting policies,

and about the government’s understanding of its authority to base immigration decisions on

individuals’ speech, beliefs, or associations. Furthermore, the public has a right to evaluate the

government’s past and ongoing reliance on existing statutory provisions to exclude or remove

individuals from the United States on those grounds.

       7.      Toward that end, the Knight Institute submitted an identical FOIA Request (the




   4
     See Jordan Fabian & Morgan Chalfant, Trump Quietly Puts Teeth Into His ‘Extreme Vetting’
Policy, The Hill (June 29, 2017), https://perma.cc/5J5C-TDW3. But see Michael D. Shear & Ron
Nixon, Despite Trump’s Tough Talk on Travel Ban, Few Changes to Vetting, N.Y. Times (June
11, 2017), https://www.nytimes.com/2017/06/11/us/politics/as-trump-sounds-urgent-note-on-
travel-ban-a-vetting-revamp-grinds-on.html?mcubz=0.
   5
   Yeganeh Torbati, Trump Administration Approves Tougher Visa Vetting, Including Social
Media Checks, Reuters (May 31, 2017), https://perma.cc/2BUE-FLKJ.



                                                 3
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page27 of 302
                                             JA-25
         Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 4 of 13




“Request”) to DHS, CBP, ICE, USCIS, DOJ,6 and DOS on August 7, 2017. The Request sought,

among other things, information about any new vetting policies, and about the government’s

understanding of its authority to base immigration decisions on individuals’ speech, beliefs, or

associations.

       8.       On September 29, 2017, ICE released 1,666 pages of records responsive to the

Request but withheld all but thirteen of those pages, claiming exemptions under FOIA. The Knight

Institute sought review of this response in an administrative appeal submitted on December 22,

2017 and amended on January 5, 2018.

       9.       On February 6, 2018, ICE responded to the administrative appeal. ICE affirmed the

withholdings in its initial production, but remanded the Request to the ICE FOIA Office to conduct

new and/or additional searches. On February 13, 2018, ICE informed the Knight Institute that it

had completed its search and would begin processing the potentially responsive records. On March

7, 2018, ICE released a small subset of those records. ICE has failed to release, or even to describe,

the full set of records responsive to the Request.

       10.      All other Defendants have failed to release any records responsive to the Request.

       11.      The Knight Institute now seeks the injunctive relief necessary to ensure

Defendants’ timely compliance with FOIA’s requirements.

                                 JURISDICTION AND VENUE

       12.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331.

       13.      Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B).



   6
    Specifically, the Knight Institute submitted the Request to the DOJ Office of Public Affairs
(“OPA”), Office of Information Policy (“OIP”), and Office of Legal Counsel (“OLC”).


                                                     4
         Case 20-3837, Document 41, 02/23/2021, 3042809, Page28 of 302
                                              JA-26
           Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 5 of 13




                                              PARTIES

          14.    The Knight Institute is a New York not-for-profit corporation based at Columbia

University that works to preserve and expand the freedoms of speech and the press through

strategic litigation, research, and public education. Public education is essential to the Knight

Institute’s mission. Obtaining information about government activity, analyzing that information,

and publishing and disseminating it to the press and public are among the core activities the Knight

Institute was established to conduct. The Knight Institute is a “person” within the meaning 5 U.S.C.

§ 551(2).

          15.    DHS is an “agency” within the meaning of 5 U.S.C. § 552(f). CBP, ICE, and USCIS

are components of DHS. DHS and these components have possession and control over some or all

of the requested records.

          16.    DOJ is an “agency” within the meaning of 5 U.S.C. § 552(f). DOJ has possession

and control over some or all of the requested records.

          17.    DOS is an “agency” within the meaning of 5 U.S.C. § 552(f). DOS has possession

and control over some or all of the requested records.

                                   FACTUAL ALLEGATIONS

                                         The FOIA Request

          18.    On August 7, 2017, the Knight Institute submitted identical versions of the Request7

to all Defendants.

          19.    In general, the Request seeks information about any new vetting policies, and about

the government’s understanding of its authority to base immigration decisions on individuals’

speech, beliefs, or associations. The Request further seeks information about the government’s


   7
       A true and correct copy of the Request is attached hereto as Exhibit B.


                                                   5
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page29 of 302
                                             JA-27
         Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 6 of 13




past and ongoing reliance on existing statutory provisions to exclude or remove individuals from

the United States on those grounds.

       20.     The relevant statutory provisions include the “endorse or espouse provisions” of

the Immigration and Nationality Act (“INA”), which make inadmissible any alien who “endorses

or espouses terrorist activity or persuades others to endorse or espouse terrorist activity,” 8 U.S.C.

§ 1182(a)(3)(B)(i)(VII), or who is a representative of “a political, social, or other group that

endorses or espouses terrorist activity,” 8 U.S.C. § 1182(a)(3)(B)(i)(IV)(bb). The endorse or

espouse provisions provide a basis for removal as well. See 8 U.S.C. § 1225(c) (expedited removal

of arriving aliens); 8 U.S.C. § 1227(a)(4)(B) (removal of admitted aliens); see also 8 U.S.C.

§ 1158(b)(2)(A)(v) (removal of refugees otherwise qualified for asylum on similar grounds).

       21.     The relevant statutory provisions also include the “foreign policy provision” of the

INA, which makes inadmissible any “alien whose entry or proposed activities in the United

States . . . would have potentially serious adverse foreign policy consequences.” 8 U.S.C.

§ 1182(a)(3)(C)(i). Under certain circumstances, such aliens are inadmissible even where the

determination of inadmissibility is based on “beliefs, statements or associations [that] would be

lawful within the United States.” 8 U.S.C. § 1182(a)(3)(C)(iii); see also 8 U.S.C. §§ 1225(c)(1),

1227(a)(4)(C) (providing for expedited removal and removal on the same grounds).

       22.     Specifically, the Request seeks (1) communications from the White House to any

federal agency since January 19, 2017, regarding consideration of individuals’ speech, beliefs, or

associations in connection with immigration determinations. The Request further seeks the

following records created on or after May 11, 2005: (2) all memoranda concerning the legal

implications of excluding or removing individuals from the United States based on their speech,

beliefs, or associations; (3) all legal or policy memoranda concerning the endorse or espouse




                                                  6
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page30 of 302
                                             JA-28
         Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 7 of 13




provisions, or the foreign policy provision as it relates to “beliefs, statements or associations”;

(4) all records containing policies, procedures, or guidance regarding the application or waiver of

the endorse or espouse provisions or the foreign policy provision; (5) all Foreign Affairs Manual

sections (current and former) relating to the endorse or espouse provisions or the foreign policy

provision, as well as records discussing, interpreting, or providing guidance regarding such

sections; and (6) all records concerning the application or waiver of the endorse or espouse

provisions to exclude or remove individuals from the United States, or the application or waiver

of the foreign policy provision to exclude or remove individuals from the United States based on

“beliefs, statements or associations.”

       23.     The Knight Institute requested expedited processing of the Request on the ground

that there is a “compelling need” for the documents because they contain information “urgent[ly]”

needed by the Knight Institute, an organization “primarily engaged in disseminating information,”

in order to “inform the public concerning actual or alleged Federal Government Activity.” 5 U.S.C.

§ 552(a)(6)(E)(v)(II).

       24.     The Knight Institute also requested a waiver of document search, review, and

duplication fees on the grounds that (a) disclosure of the requested records is in the public interest

and that disclosure is “likely to contribute significantly to public understanding of the operations

or activities of the government and is not primarily in the commercial interest of the requester,” 5

U.S.C. § 552(a)(4)(A)(iii); (b) the Knight Institute is an “educational . . . institution” whose

purposes include “scholarly . . . research” and the records are not sought for commercial use, 5

U.S.C. § 552(a)(4)(A)(ii)(II); and (c) the Knight Institute is a “representative of the news media”

within the meaning of FOIA and the records are not sought for commercial use, 5 U.S.C.

§ 552(a)(4)(A)(ii)(II).




                                                  7
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page31 of 302
                                              JA-29
         Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 8 of 13




                            ICE Responses and Administrative Appeal

       25.     By email dated August 23, 2017, ICE acknowledged receipt of the Request and

assigned it reference number 2017-ICFO-43023. ICE invoked a ten-day extension of its response

time, granted the Knight Institute’s request for a fee waiver, and initially denied its request for

expedited processing. Following an administrative appeal of that denial, ICE granted the request

for expedited processing on September 26, 2017.

       26.     On September 29, 2017, ICE sent the Knight Institute a “final response” to its FOIA

request “for 1. All directives, memoranda, guidance, emails, or other communications sent by the

White House to any federal agency since January 19, 2017, regarding consideration of individuals’

speech, beliefs, or associations in connection with immigration determinations, including

decisions to exclude1 [sic] or remove individuals from the United States (please see request for

more details).” The letter mentioned no other Item of the Request and contained no other indication

that it constituted a response to the entire Request.8

       27.     As part of its September 29, 2017 response, ICE released 1,666 pages of records

responsive to the Request. ICE withheld 1,653 of those pages in full, however, claiming FOIA

exemptions (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E).

       28.     On October 4, 2017, the Knight Institute filed its original Complaint against all

Defendants, including ICE. Thereafter, ICE informed the Knight Institute of its position that the

Knight Institute had failed to exhaust its administrative remedies with respect to ICE’s September

29, 2017 response. On December 21, 2017, the Knight Institute submitted an administrative appeal

requesting review of ICE’s response to Item 1 of the Request, on the view that ICE had responded


   8
    A true and correct copy of ICE’s September 29, 2017 response letter is attached hereto as
Exhibit C.



                                                  8
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page32 of 302
                                                 JA-30
              Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 9 of 13




only as to that Item.9

            29.     On December 28, 2017, ICE filed a pre-motion letter with the Court indicating its

intent to pursue a motion to dismiss. ECF No. 28. Characterizing its September 29, 2017 response

as a final response to the entire Request, ICE argued that the Knight Institute had failed to exhaust

its administrative remedies prior to filing suit. Id. at 2–3. Based on ICE’s characterization of its

September 29, 2017 response, the Knight Institute amended its administrative appeal by letter

dated January 5, 2018, to request review of ICE’s response to the entire Request.10

            30.     On January 11, 2018, the Knight Institute and counsel for ICE filed a stipulation of

voluntary dismissal, without prejudice, of ICE from this lawsuit. ECF No. 29. On January 16,

2018, the Court dismissed ICE without prejudice. ECF No. 31.

            31.     On February 6, 2018, ICE responded to the Knight Institute’s amended

administrative appeal, concluding that the withholdings in its initial production were “proper in all

respects,” but determining that “new search(s) or modifications to the existing search(s) . . . could

be made,” and remanding the Request to ICE’s FOIA Office for further processing and retasking.11

            32.     On February 13, 2018, ICE informed the Knight Institute that ICE had located

approximately 14,000 pages of “potentially responsive documents,” and that it would “commit to

reviewing and processing a minimum of 500 pages per month.” ICE indicated that the first

production would be made on March 7, 2018, with subsequent productions on the seventh day of



     9
     A true and correct copy of the Knight Institute’s December 21, 2017 administrative appeal is
attached hereto as Exhibit D.
     10
     A true and correct copy of the Knight Institute’s January 5, 2018 letter amending its
administrative appeal is attached hereto as Exhibit E.
     11
          A true and correct copy of ICE’s February 6, 2018 response letter is attached hereto as Exhibit
F.



                                                      9
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page33 of 302
                                                JA-31
             Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 10 of 13




each month thereafter.12

            33.    By letter dated March 7, 2018, ICE informed the Knight Institute that it had

processed 560 pages of records and referred 87 of those pages to other agencies. Along with the

letter, ICE released 463 pages, redacting certain pages and withholding others in their entirety on

the basis of FOIA exemptions (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E).13

            34.    To date, ICE has failed to respond adequately to the Request as required by FOIA.

                                            Other Agency Responses

            35.    By letter dated August 17, 2017, DHS acknowledged receipt of the Request and

assigned it reference number 2017-HQFO-01179. DHS invoked a ten-day extension of its response

time but granted the Knight Institute’s request for expedited processing and a fee waiver. To date,

DHS has released no records responsive to the Request.

            36.    On August 15, 2017, CBP sent the Knight Institute an email notification confirming

receipt of the Request and assigning it tracking number CBP-2017-080352. CBP did not issue a

formal acknowledgement letter. To date, CBP has not responded to the Knight Institute’s requests

for expedited processing and a fee waiver, nor has it released any records responsive to the

Request.

            37.    USCIS effectively acknowledged receipt of the Request in emails dated September

8, 2017 and September 18, 2017, requesting clarification regarding the scope of certain items of

the Request and assigning it reference number COW2017000956. To date, USCIS has not

responded to the Knight Institute’s requests for expedited processing and a fee waiver, nor has it

released any records responsive to the Request.


     12
          A true and correct copy of ICE’s February 13, 2018 email is attached hereto as Exhibit G.
     13
          A true and correct copy of ICE’s March 7, 2018 response letter is attached hereto as Exhibit
H.


                                                    10
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page34 of 302
                                             JA-32
        Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 11 of 13




       38.        By letter dated August 17, 2017, DOJ OIP acknowledged receipt of the Request

and assigned it reference number DOJ-2017-005910. DOJ OIP noted that the Request required a

search in another office and therefore involved “unusual circumstances,” granted the Knight

Institute’s request for expedited processing, and stated that it had not reached a decision regarding

the Knight Institute’s request for a fee waiver. To date, DOJ OIP has released no records responsive

to the Request.

       39.        By letter dated August 21, 2017, DOJ OLC acknowledged receipt of the Request

and assigned it reference number FY17-275. DOJ OLC noted that it had tentatively assigned the

Request to the “complex” processing track, denied the Knight Institute’s request for expedited

processing, and stated that it had not reached a decision regarding the Knight Institute’s request

for a fee waiver. The Knight Institute submitted an administrative appeal challenging DOJ OLC’s

denial of expedited processing to DOJ OIP on August 31, 2017, but has yet to receive a decision.

To date, DOJ OLC has released no records responsive to the Request.

       40.        To date, DOJ OPA has not acknowledged receipt of the Request, responded to the

Knight Institute’s requests for expedited processing and a fee waiver, or released any records

responsive to the Request.

       41.        By letter dated August 15, 2017, DOS acknowledged receipt of the Request and

assigned it reference number F-2017-14346. DOS granted the Knight Institute’s request for

expedited processing and a fee waiver. To date, DOS has released no records responsive to the

Request.

                                      CAUSES OF ACTION

       1.         Defendants’ failure to make records responsive to the Request promptly available

violates FOIA, 5 U.S.C. § 552(a)(3)(A), and Defendants’ corresponding regulations.




                                                 11
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page35 of 302
                                             JA-33
        Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 12 of 13




       2.      Defendants’ failure to process the Request as soon as practicable violates FOIA, 5

U.S.C. § 552(a)(6)(E)(iii), and Defendants’ corresponding regulations.

       3.      DOJ’s, USCIS’s, and CBP’s failure to grant the Knight Institute’s request for

expedited processing violates FOIA, 5 U.S.C. § 552(a)(6)(E), and Defendants’ corresponding

regulations.

       4.      DOJ’s, USCIS’s, and CBP’s failure to grant the Knight Institute’s request for a

waiver of search, review, and duplication fees violates FOIA, 5 U.S.C. § 552(a)(4)(A)(ii)(II), (iii),

and Defendants’ corresponding regulations.

       5.      ICE has wrongly withheld responsive agency records to which the Knight Institute

is entitled under FOIA.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

       A.      Order Defendants to conduct a thorough search for responsive records;

       B.      Order Defendants to process and release any responsive records immediately;

       C.      Enjoin Defendants DOJ, USCIS, and CBP from charging Plaintiff search, review,

               and duplication fees relating to the Request;

       D.      Retain jurisdiction of this action to ensure no agency records are wrongfully

               withheld, and order Defendants to disclose any wrongfully withheld records;

       E.      Award Plaintiff its reasonable costs and attorney’s fees incurred in this action; and

       F.      Grant such other and further relief as the Court may deem just and proper.




                                                 12
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page36 of 302
                                 JA-34
      Case 1:17-cv-07572-ALC Document 42 Filed 03/14/18 Page 13 of 13




Dated: March 12, 2018                 Sincerely,

                                      /s/ Jameel Jaffer

                                      Jameel Jaffer (JJ-4653)
                                      Alex Abdo (AA-0527)
                                      Carrie DeCell (CD-0731)
                                      Knight First Amendment Institute at
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                                      Counsel for Plaintiff

                                      /s/ Catherine Crump

                                      Catherine Crump (CC-4067)
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                                      Counsel for Plaintiff




                                    13
Case 20-3837, Document 41, 02/23/2021, 3042809, Page37 of 302
                            JA-35
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 1 of 9




                 EXHIBIT B
                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page38 of 302
                                                                    JA-36
                  Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 2 of 9

KNIGHT
FIRST AMENDMENT
INSTITUTE
  at Columbia University


Caroline M. DeCell
Staff Attorney




                                                                               August 7, 201 7



                     Dr.James V.M.L. H olzer
                     Deputy ChiefFOIA Officer
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                     National R ecords Center, FOIA/PA Office
                     P. 0. Box 648010
                     Lee's Summit, MO 64064-80 l 0
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                     Office of Public Affairs
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Case 20-3837, Document 41, 02/23/2021, 3042809, Page39 of 302
                                            JA-37
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 3 of 9




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   Office of Information Programs and
   Services
   A/GIS/IPS/RL
   SA-2, Suite 8100
   Washington, DC 20522-0208


            Re:       Freedom of Information Act Request
                      Expedited Processing Requested

   To Whom It May Concern:

      The Knight First Amendment Institute at Columbia University (“Knight
   Institute” or “Institute”) submits this request pursuant to the Freedom of
   Information Act (“FOIA”), 5 U.S.C. § 552, for records concerning the
   exclusion or removal of individuals from the United States based on their
   speech, beliefs, or associations.

                                       I. Background

      During his 2016 presidential campaign, then-candidate Donald Trump
   evoked a Cold War era “ideological screening test” for admission into the
   United States and proclaimed that a “new screening test” involving
   “extreme, extreme vetting” was overdue.2 A week after his inauguration,

   1 The Knight First Amendment Institute is a New York not for profit organization based

   at Columbia University that works to preserve and expand the freedoms of speech and the
   press through strategic litigation, research, and public education.
   2 Karen DeYoung, Trump Proposes Ideological Test for Muslim Immigrants and Visitors to the U.S.,

   Wash. Post (Aug. 15, 2016), https://perma.cc/G9SC EPHT.



                                                  2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page40 of 302
                                            JA-38
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 4 of 9




   President Trump issued Executive Order 13,769, declaring that the United
   States “must ensure that those admitted to this country do not bear hostile
   attitudes toward it and its founding principles” and “cannot, and should not,
   admit those who do not support the Constitution.” Exec. Order No. 13,769,
   82 Fed. Reg. 8,977 (Jan. 27, 2017).

      The President issued a revised order on March 6, 2017. It directed the
   Secretary of State, the Attorney General, the Secretary of Homeland
   Security, and the Director of National Intelligence to develop a more robust
   vetting program for aliens seeking entry into the United States, involving,
   among other things, “collection of all information necessary for a rigorous
   evaluation of all grounds of inadmissibility.” Exec. Order No. 13,780, 82
   Fed. Reg. 13,209, 13,215 (Mar. 6, 2017).

      The Knight Institute seeks to inform the public about any new vetting
   policies and about the government’s understanding of its authority to base
   immigration decisions on individuals’ speech, beliefs, or associations. It also
   seeks to report on the government’s use of existing statutory provisions,
   including the “endorse or espouse provisions” and the “foreign policy
   provision,”2 to exclude or remove individuals from the United States on
   these grounds.

                                  II. Records Requested

     The Knight Institute requests the following records created on or after
   May 11, 2005:

            1. All directives, memoranda, guidance, emails, or other
                communications sent by the White House3 to any federal agency

   1 Any alien who “endorses or espouses terrorist activity or persuades others to endorse or
   espouse terrorist activity,” 8 U.S.C. § 1182(a)(3)(B)(i)(VII), as well as any alien who is a
   representative of “a political, social, or other group that endorses or espouses terrorist
   activity,” 8 U.S.C. § 1182(a)(3)(B)(i)(IV)(bb) (together, the “endorse or espouse provisions”)
   is deemed inadmissible. The endorse or espouse provisions provide a basis for removal as
   well. See 8 U.S.C. § 1225(c) (expedited removal of arriving aliens); 8 U.S.C. § 1227(a)(4)(B)
   (removal of admitted aliens); see also 8 U.S.C. § 1158(b)(2)(A)(v) (removal of refugees
   otherwise qualified for asylum on similar grounds).
   2 Any “alien whose entry or proposed activities in the United States . . . would have

   potentially serious adverse foreign policy consequences” is inadmissible, 8 U.S.C. §
   1182(a)(3)(C)(i), even, under certain circumstances, where the determination of
   inadmissibility is based on “beliefs, statements or associations [that] would be lawful within
   the United States,” 8 U.S.C. § 1182(a)(3)(C)(iii). See also 8 U.S.C. §§ 1225(c)(1), 1227(a)(4)(C)
   (providing for expedited removal and removal on the same grounds).
   3 The term “White House” includes, but is not limited to, the Executive Office of the

   President, the Office of the President, the White House Office, the Office of Counsel to the
   President, the National Security Council, the Office of the Vice President, the Cabinet, as
   well as any government officer who directly advises the President or the Vice President as
   to the legality of, or authority to undertake, any executive action.



                                                  3
Case 20-3837, Document 41, 02/23/2021, 3042809, Page41 of 302
                                          JA-39
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 5 of 9




                since January 19, 2017, regarding consideration of individuals’
                speech, beliefs, or associations in connection with immigration
                determinations, including decisions to exclude or remove
                individuals from the United States.

            2. All memoranda concerning the legal implications of excluding
                or removing individuals from the United States based on their
                speech, beliefs, or associations.

            3. All legal or policy memoranda concerning the endorse or
                espouse provisions, or the foreign policy provision as it relates to
                “beliefs, statements or associations.”

            4. All records containing policies, procedures, or guidance
                regarding the application or waiver of the endorse or espouse
                provisions or the foreign policy provision. Such records would
                include policies, procedures, or guidance concerning the entry
                or retrieval of data relevant to the endorse or espouse provisions
                or the foreign policy provision into or from an electronic or
                computer database.

            5. All Foreign Affairs Manual sections (current and former) relating
                to the endorse or espouse provisions or the foreign policy
                provision, as well as records discussing, interpreting, or
                providing guidance regarding such sections.

            6. All records concerning the application, waiver, or contemplated
                application or waiver of the endorse or espouse provisions to
                exclude or remove individuals from the United States, or the
                application, waiver, or contemplated application or waiver of the
                foreign policy provision to exclude or remove individuals from
                the United States based on “beliefs, statements or associations,”
                including:

                a. Statistical data or statistical reports regarding such
                    application, waiver, or contemplated application or waiver;

                b. Records reflecting the application, waiver, or contemplated
                    application or waiver of the endorse or espouse provisions or
                    foreign affairs provision by an immigration officer, a border
                    officer, a Department of Homeland Security official, or a
                    Department of Justice official;

                c. Records concerning any determination made by the
                    Attorney General pursuant to 8 U.S.C. § 1225(c) regarding

   1 As used herein, the term “exclude” includes denying a visa, revoking a visa, or otherwise

   deeming inadmissible for entry into the United States.



                                               4
Case 20-3837, Document 41, 02/23/2021, 3042809, Page42 of 302
                                      JA-40
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 6 of 9




                   the admissibility of arriving aliens under the endorse or
                   espouse provisions or the foreign policy provision;

               d. Department of Homeland Security and Department of
                   Justice records concerning consultation between the
                   Secretary of State, the Secretary of Homeland Security,
                   and/or the Attorney General (or their designees) relating to
                   any waiver or contemplated waiver of the endorse or espouse
                   provisions pursuant to 8 U.S.C. §§ 1158(b)(2)(v),
                   1182(d)(3)(A), or 1182(d)(3)(B)(i); and

               e. Notifications or reports from the Secretary of Homeland
                   Security or the Secretary of State concerning waivers of the
                   endorse or espouse provision pursuant to 8 U.S.C. §
                   1182(d)(3)(B)(ii).

      Where a document contains information that falls into one or more of
   the categories described above, we seek the entirety of that document. If
   processing the entirety of a given document would be unusually
   burdensome, we ask that you give us an opportunity to narrow our request.
   Please disclose all segregable portions of otherwise exempt records. See 5
   U.S.C. § 552(b).

       We also ask that you provide responsive electronic records in their native
   file format or a generally accessible electronic format (e.g., for tabular data,
   XLS or CSV). See 5 U.S.C. § 552(a)(3)(B). Alternatively, please provide the
   records electronically in a text-searchable, static-image format (e.g., PDF), in
   the best image quality in the agency’s possession, and in separate, Bates-
   stamped files.

                III. Application for Expedited Processing

      The Knight Institute requests expedited processing pursuant to 5 U.S.C.
   § 552(a)(6)(E). There is a “compelling need” for the records sought because
   the information they contain is “urgent[ly]” needed by an organization
   primarily engaged in disseminating information “to inform the public about
   actual or alleged Federal Government activity.” 5 U.S.C.
   § 552(a)(6)(E)(v)(II).

          A. The Knight Institute is primarily engaged in disseminating
              information in order to inform the public about actual or alleged
              government activity.

      The Knight Institute is “primarily engaged in disseminating
   information” within the meaning of FOIA. 5 U.S.C. § 552(a)(6)(E)(v)(II).

     The Institute is a newly established organization at Columbia University
   dedicated to defending and strengthening the freedoms of speech and the


                                           5
Case 20-3837, Document 41, 02/23/2021, 3042809, Page43 of 302
                                              JA-41
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 7 of 9




   press in the digital age. Research and public education are central to the
   Institute’s mission. Obtaining information about government activity,
   analyzing that information, and publishing and disseminating it to the press
   and the public are among the core activities the Institute was established to
   perform. See ACLU v. DOJ, 321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004)
   (finding public interest group that “gathers information of potential interest
   to a segment of the public, uses its editorial skills to turn the raw material
   into a distinct work, and distributes that work to an audience” to be
   “primarily engaged in disseminating information”).

             B. The records sought are urgently needed to inform the public about
                actual or alleged government activity.

      The requested records are urgently needed to inform the public about
   actual or alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). The
   records sought concern the government’s exclusion and removal of
   individuals from the United States based on their speech, beliefs, or
   associations. Such activity is ongoing, and the President has promised
   “strong programs” to ensure that the only individuals allowed in the United
   States are those who “want to love our country.”2 To this end, the President
   has mandated more robust vetting standards for all immigration programs,
   and has directed the Secretary of Homeland Security to report periodically
   on the development of these standards from now until October 2, 2017.
   Exec. Order No. 13,780, 82 Fed. Reg. at 13,215.

      President Trump’s executive orders on immigration have already been
   the subject of widespread debate,3 and the development of new vetting
   policies will ensure continued public interest in the issue. Yet, lack of
   transparency with respect to current policies and practices stymies



   1Mike McPhate, Columbia University To Open a First Amendment Institute, N.Y. Times (May 17,
   2016), https://perma.cc/YC9M LUAD; James Rosen, New Institute Aspires To Protect First
   Amendment in Digital Era, McClatchy DC (May 20, 2016), https://perma.cc/ZS2K FPED.
   2 Trump Defends Immigration Restrictions, Wants People ‘Who Love Our Country,’ Chi. Trib. (Feb.

   6, 2017), http://trib.in/2vIQeuw.
   3 See, e.g., Mark Berman, To Argue for Stricter Vetting of Immigrants, Trump Invokes Attacks Carried

   Out by U.S. Citizens, Wash. Post (Feb. 28, 2017), https://perma.cc/PA4P 9KPP; Lauren
   Gambino & Tom McCarthy, Trump Pressing Ahead with ‘Extreme Vetting’ in Spite of Court Battles,
   The Guardian (June 6, 2017), https://perma.cc/Q6WT XCRX; Jonathan E. Meyer, The
   Consequences of Extreme Vetting, Politico (May 5, 2017), https://perma.cc/9F5P 65PQ; S.A.
   Miller & Dave Boyer, Trump Signs New Extreme Vetting Order, Wash. Times (Mar. 6, 2017),
   https://perma.cc/2XME QKFH; Michael Price, Does the President’s Immigration Order Violate
   the Rule Against Ideological Exclusion?, Lawfare (Feb. 1, 2017), https://perma.cc/9BKA X86L;
   Yeganeh Torbati, State Department Proposes Collecting Immigrants’ Social Media Handles in Move
   Toward ‘Extreme Vetting,’ Bus. Insider (May 4, 2017), https://perma.cc/H4Q9 648S; Trump
   Administration’s Threat To Impose Ideological Test for Immigrants Evokes Dark Chapter in U.S. History,
   Says PEN America, PEN America (Jan. 27, 2017), https://perma.cc/BVS8 8AV4.


                                                     6
Case 20-3837, Document 41, 02/23/2021, 3042809, Page44 of 302
                                     JA-42
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 8 of 9




   meaningful debate over the form that the new “extreme vetting” policies
   may take.

      The public’s interest in the records is even greater because current
   practices may violate constitutional rights. The First Amendment
   encompasses the right “to receive suitable access to social, political, esthetic,
   moral, and other ideas and experiences,” Red Lion Broad. v. FCC, 395 U.S.
   367, 390 (1969), and this “right to receive information” is implicated where
   the government excludes a non-citizen from the United States based on her
   speech or beliefs, Kleindiest v. Mandel, 408 U.S. 753, 763 65 (1972). At
   present, the public can neither determine the degree to which its First
   Amendment rights are being abridged under existing policies, nor assess
   how proposed policies could further curtail these rights moving forward.

       For these reasons, the Knight Institute is entitled to expedited processing
   of this request.

            IV. Application for Waiver or Limitation of Fees

      The Knight Institute requests a waiver of document search, review, and
   duplication fees on the grounds that disclosure of the requested records is in
   the public interest and that disclosure is “likely to contribute significantly to
   public understanding of the operations or activities of the government and
   is not primarily in the commercial interest of the requester.” 5 U.S.C.
   § 552(a)(4)(A)(iii). For the reasons explained above, disclosure of the records
   would be in the public interest. Moreover, disclosure would not further the
   Knight Institute’s commercial interest. The Institute will make any disclosed
   information available to the public at no cost. Thus, a fee waiver would fulfill
   Congress’s legislative intent in amending FOIA to ensure “that it be liberally
   construed in favor of waivers for noncommercial requesters.” Judicial Watch,
   Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (citation omitted).

      In addition, the Knight Institute requests a waiver of search and review
   fees on the ground that it qualifies as an “educational . . . institution” whose
   purposes include “scholarly . . . research” and the records are not sought for
   commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). The Institute has a substantial
   educational mission. Situated within a prominent academic research
   university, the Institute will perform scholarly research on the application of
   the First Amendment in the digital era. The Institute is in the midst of
   inaugurating a research program that will bring together academics and
   practitioners of different disciplines to study contemporary First
   Amendment issues and offer informed, non-partisan commentary and
   solutions. It will publish that commentary in many forms             in scholarly
   publications, in long-form reports, and in short-form essays.

     Finally, the Knight Institute requests a waiver of search and review fees
   on the ground that it is a “representative of the news media” within the



                                          7
Case 20-3837, Document 41, 02/23/2021, 3042809, Page45 of 302
                                       JA-43
 Case 1:17-cv-07572-ALC Document 42-2 Filed 03/14/18 Page 9 of 9




   meaning of FOIA and the records are not sought for commercial use. 5
   U.S.C. § 552(a)(4)(A)(ii)(II). The Institute qualifies as a “representative of the
   news media” because it is an “entity that gathers information of potential
   interest to a segment of the public, uses its editorial skills to turn the raw
   materials into a distinct work, and distributes that work to an audience.” 5
   U.S.C. § 552(a)(4)(A)(ii); see Nat’l Sec. Archive v. DOD, 880 F.2d 1381, 1387
   (D.C. Cir. 1989) (finding that an organization that gathers information,
   exercises editorial discretion in selecting and organizing documents,
   “devises indices and finding aids,” and “distributes the resulting work to the
   public” is a “representative of the news media” for purposes of FOIA); Serv.
   Women’s Action Network v. DOD, 888 F. Supp. 2d 282, 287 88 (D. Conn.
   2012); ACLU, 321 F. Supp. 2d at 30 n.5. Courts have found other non-profit
   organizations with research and public education missions similar to that of
   the Knight Institute to be representatives of the news media. See, e.g., Elec.
   Privacy Info. Ctr. v. DOD, 241 F. Supp. 2d 5, 10 15 (D.D.C. 2003) (finding
   non-profit group that disseminated an electronic newsletter and published
   books was a “representative of the news media” for purposes of FOIA); Nat’l
   Sec. Archive, 880 F.2d at 1387; Judicial Watch, Inc. v. DOJ, 133 F. Supp. 2d 52,
   53 54 (D.D.C. 2000) (finding Judicial Watch, self-described as a “public
   interest law firm,” a news media requester).

      For these reasons, the Knight Institute is entitled to a fee waiver.

                                   *       *       *

      Thank you for your attention to our request. We would be happy to
   discuss its terms with you over the phone or via email to clarify any aspect
   of the request or, where reasonable, to narrow it.

      I certify that the foregoing is true and correct.




                                           Sincerely,

                                           /s/ Caroline M. DeCell
                                           Caroline M. DeCell
                                           Knight First Amendment Institute at
                                             Columbia University
                                           314 Low Library
                                           535 West 116th Street
                                           New York, NY 10027
                                           carrie.decell@knightcolumbia.org
                                           (212) 854-9600


                                           8
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page46 of 302
                                            JA-44
         Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 1 of 22




                        THE UNITED STATES DISTRICT COURT
                       FOR SOUTHERN DISTRICT OF NEW YORK


                                               )
KNIGHT FIRST AMENDMENT                         )
INSTITUTE                                      )
                                               )
                                                )
                Plaintiff,                      )
                                               )
                        v.                      )
                                                )       Case Number: 17-cv-07572
 UNITED STATES DEPARTMNET OF                    )
 HOMELAND SECURITY, ET AL.                      )
                                               )
                                               )
                Defendants.                    )



                             DECLARATION OF ERIC F. STEIN

       Pursuant to 28 U.S.C. § 1746, I, Eric F. Stein, declare and state as follows:

       1.      I am the Director of the Office of Information Programs and Services (“IPS”) of

the United States Department of State (the “Department”) and have served in this capacity since

January 22, 2017. Previously, I was the Acting Director since October 16, 2016, and Acting Co-

Director since March 21, 2016. I am the Department official immediately responsible for

responding to requests for records under the Freedom of Information Act (the “FOIA”), 5 U.S.C.

§ 552, the Privacy Act of 1974, 5 U.S.C. § 552a, and other applicable records access provisions.

Prior to serving in this capacity, from April 2013, I worked directly for the Department’s Deputy

Assistant Secretary (“DAS”) for Global Information Services (“GIS”) and served as a senior

advisor and deputy to the DAS on all issues related to GIS’ offices and programs, which includes

IPS. As the IPS Director, I have original classification authority and am authorized to classify


                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                             1:17-cv-07572
                                                                                   Second Stein Declaration
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page47 of 302
                                                    JA-45
          Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 2 of 22




and declassify national security information. I make the following statements based upon my

personal knowledge, which in turn is based upon information furnished to me in the course of

my official duties. I am familiar with the efforts of Department personnel to process the subject

request, and I am in charge of coordinating the agency’s search and recovery efforts with respect

to that request.

        2.         The core responsibilities of IPS include: (1) responding to records access requests

made by the public (including under the FOIA, the Privacy Act, and the mandatory

declassification review requirements of the Executive Order governing classified national

security information), by members of Congress, by other government agencies, and those made

pursuant to judicial process such as subpoenas, court orders, and discovery requests; (2) records

management; (3) privacy protection; (4) national security classification management and

declassification review; (5) corporate records archives management; (6) research; (7) operation

and management of the Department’s library; and (8) technology applications that support these

activities.

        3.         This declaration explains the Department’s search for records responsive to the

Plaintiff’s FOIA request and describes the types of withholdings the Department claims on those

records.1 A Vaughn index (Exhibit 1) provides a detailed description of the information withheld

and the justifications for those withholdings.

              I. ADMINISTRATIVE PROCESSING OF PLAINTIFF’S REQUEST

        4.         On August 7, 2017 (Exhibit 2), Knight First Amendment Institute (“Plaintiff”)

submitted a FOIA request to the Department seeking:



1
 Plaintiff is not challenging any of the Exemption 6 redactions, so documents where the Department relied on
Exemption 6 as a basis for all redactions are not included in this Declaration and Vaughn.
                                                Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                     1:17-cv-07572
                                                                                           Second Stein Declaration
Case 20-3837, Document 41, 02/23/2021, 3042809, Page48 of 302
                                   JA-46
 Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 3 of 22




     1. All directives, memoranda, guidance, emails, or other
     communications sent by the White House to any federal agency
     since January 19, 2017, regarding consideration of individuals’
     speech, beliefs, or associations in connection with immigration
     determinations, including decisions to exclude or remove
     individuals from the United States.
     2. All memoranda concerning the legal implications of excluding
     or removing individuals from the United States based on their
     speech, beliefs, or associations.
     3. All legal or policy memoranda concerning the endorse or
     espouse provisions, or the foreign policy provision as it relates to
     "beliefs, statements or associations."
     4. All records containing policies, procedures, or guidance
     regarding the application or waiver of the endorse or espouse
     provisions or the foreign policy provision. Such records would
     include policies, procedures, or guidance concerning the entry or
     retrieval of data relevant to the endorse or espouse provisions or
     the foreign policy provision into or from an electronic or computer
     database.
     5. All Foreign Affairs Manual sections (current and former)
     relating to the endorse or espouse provisions or the foreign policy
     provision, as well as records discussing, interpreting, or providing
     guidance regarding such sections.
     6. All records concerning the application, waiver, or contemplated
     application or waiver of the endorse or espouse provisions to
     exclude or remove individuals from the United States, or the
     application, waiver, or contemplated application or waiver of the
     foreign policy provision to exclude or remove individuals from the
     United States based on "beliefs, statements or associations,"
     including:
                    a. Statistical data or statistical reports regarding such
            application, waiver, or contemplated application or waiver;
                    b. Records reflecting the application, waiver, or
            contemplated application or waiver of the endorse or
            espouse provisions or foreign affairs provision by an
            immigration officer, a border officer, a Department of
            Homeland Security official, or a Department of justice
            official;
                    c. Records concerning any determination made by
            the Attorney General pursuant to 8 U.S.C. § 1225(c)
            regarding the admissibility of arriving aliens under the
            endorse or espouse provisions or the foreign policy
            provision;
                    d. Department of Homeland Security and
            Department of Justice records concerning consultation
            between the Secretary of State, the Secretary of Homeland
                               Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                    1:17-cv-07572
                                                                          Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page49 of 302
                                             JA-47
             Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 4 of 22




                       Security, and/or the Attorney General (or their designees)
                       relating to any waiver or contemplated waiver of the
                       endorse or espouse provisions pursuant to 8 U.S.C. §§
                       1158(b)(2)(v), 1182(d)(3)(A), or 1182( d)(3)(B)(i); and
                               e. Notifications or reports from the Secretary of
                       Homeland Security or the Secretary of State concerning
                       waivers of the endorse or espouse provision pursuant to 8
                       U.S.C. § 1182(d)(3)(B)(ii)

Through discussions with Plaintiff to clarify the request, Plaintiff agreed to eliminate the

italicized portions of the request. Plaintiff’s request covered the time period from May 11,

2005, to present.

        5.       By letter dated August 15, 2017 (Exhibit 3), IPS acknowledged receipt of

Plaintiff’s FOIA request and assigned it Case Control Number F-2017-14346.

        6.       By letter dated June 28, 2018 (Exhibit 4), the Department produced responsive

documents to Plaintiff. The Department processed 243 responsive documents, releasing 90 in

full, withholding 126 in part, denying 16 in full, and referring 11 to other U.S. Government

agencies for direct reply. By letters dated November 9, 2018 (Exhibit 5), and February 26, 2019

(Exhibit 6), the Department issued re-releases of documents where it was determined that

additional information could be released, additional exemptions applied to portions previously

withheld, or where law enforcement sensitive information was inadvertently released that should

have been redacted.

        7.       By letter dated July 31, 2018 (Exhibit 7), the Department made a supplemental

production of two of the documents that were sent to other federal agencies for direct reply to

Plaintiff.

                                     II. THE SEARCH PROCESS

        8.       When the Department receives a FOIA request, IPS evaluates the request to

determine which offices, overseas posts, or other records systems within the Department may

                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                    Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page50 of 302
                                             JA-48
         Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 5 of 22




reasonably be expected to contain the records requested. This determination is based on the

description of the records requested and requires a familiarity with the holdings of the

Department’s records systems, applicable records disposition schedules, and the substantive and

functional mandates of numerous Department offices and Foreign Service posts and missions.

        9.      After reviewing Plaintiff’s request, IPS determined that the following offices or

records systems were reasonably likely to have documents responsive to Plaintiff’s request: the

Bureau of Consular Affairs, the Office of the Legal Adviser, the Executive Secretariat, and the

Bureau of Administration. A description of these components and their record systems, and how

they were searched, is provided below. IPS concluded that no other offices or records systems

were reasonably likely to maintain documents responsive to Plaintiff’s request.

        10.     When conducting a search in response to a FOIA request, the Department relies

on the knowledge and expertise of the employees of each bureau/office/post to determine the

files and locations reasonably likely to house responsive records and the best means of locating

such records, as these employees are in the best position to know how their files are organized.

Likewise, those employees are also in the best position to determine which search terms would

yield potentially responsive records, because they are most knowledgeable about the

organization of the records systems in use. In this case, wherever possible, the Department relied

on the expertise of individuals with knowledge about the communications of the Department’s

principal officers.

                                  Bureau of Consular Affairs

        11.     The Bureau of Consular Affairs (“CA”) is responsible for the welfare and

protection of U.S. citizens abroad, for the issuance of passports and other documentation to

citizens and nationals, and for the protection of U.S. border security and the facilitation of


                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                    Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page51 of 302
                                             JA-49
         Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 6 of 22




legitimate travel to the United States. The Office of Visa Services in the Bureau of Consular

Affairs (“CA/VO”) manages all aspects of visa services for foreign nationals who wish to enter

the United States. The CA/VO Special Assistant, who was knowledgeable of both the FOIA

request and of CA/VO’s records systems, determined that the only CA/VO components

reasonably likely to contain responsive records were the CA Office of Legal Affairs and the

Office of Screening, Analysis and Coordination.

                                    CA Office of Legal Affairs

        12.       The Bureau of Consular Affairs’ Office of Legal Affairs (“CA/VO/L”) provides

specific guidance on matters of visa law and regulations. CA/VO/L renders advisory opinions to

U.S. Embassies and Consulates abroad on questions involving proper visa classification, specific

grounds of visa ineligibility, and other legal issues concerning immigrant and nonimmigrant visa

classifications, including diplomatic visas. It consists of two divisions: the Legislation and

Regulations Division (“CA/VO/L/R”) and the Advisory Opinions Division (“CA/VO/L/A”).

The Legislation and Regulations Division reviews and prepares for publication all visa

regulations and general instructions (including revisions to the Department’s Foreign Affairs

Manual), interprets those provisions of the Immigration and Nationality Act (“INA”) relating to

issuance and refusal of visas, and recommends and analyzes proposed amendments to existing

immigration laws.

        13.       The CA/VO/L Deputy Director searched his electronic files and emails using the

following keywords: “endorse,” “espouse,” “speech,” or “3C.” No date restrictions were applied

to this search.

        14.       The CA/VO/L/R Division Chief is responsible for revisions to the Department’s

Foreign Affairs Manual (“FAM”), specifically sections of chapter 9 of the FAM. The FAM is


                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                    Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page52 of 302
                                              JA-50
            Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 7 of 22




organized by volume, chapter, subchapter, and number. The Division Chief manually searched a

shared electronic database that contains current and archived FAMs. The time period searched

was January 2005 through February 2018, the date of the first search. She also searched her

email records using the search terms “endorse” or “espouse.” No date restrictions were applied

to this search.

                         Office of Screening, Analysis, and Coordination

        15.       The Office of Screening, Analysis, and Coordination within the Office of Visa

Services (“CA/VO/SAC”) is CA’s primary interlocutor with other U.S. Government agencies

involved in the national security screening of foreign travelers. The office responds to all

security investigation requests, coordinating with law enforcement and intelligence agencies,

Department bureaus, and other U.S. Government partners on visa matters involving national

security, technology transfer, counterintelligence, human rights violations, and U.S. sanctions.

The office also provides guidance and recommendations on visa policy related to national

security exclusions, and represents CA on U.S. Government steering groups related to screening,

tracking, and watchlisting.

        16.       The CA/VO/SAC Counterterrorism Division Chief searched a classified

SharePoint site containing memos related to INA(a)(3)(B) dated late 2012 to present, as well as

the Digital Asset Management System (“DAMS”), which CA uses to route memos for signature.

DAMS contains final, signed memos related to INA(a)(3)(B). She used the search terms

“endorsing,” “espousing,” “espouses,” “endorses.” No date restrictions were applied to these

searches.

                                   The Office of the Legal Adviser

        17.       The Office of the Legal Adviser (“L”) furnishes advice on all legal issues,

domestic and international, arising in the course of the Department’s work. This includes
                                          Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                               1:17-cv-07572
                                                                                     Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page53 of 302
                                             JA-51
         Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 8 of 22




assisting Department principals and policy officers in formulating and implementing the foreign

policies of the United States, and promoting the development of international law and its

institutions as a fundamental element of those policies. The Office is organized to provide direct

legal support to the Department’s various bureaus, including both regional and geographic

offices (those which focus on specific areas of the world) and functional offices (those which

deal with specific subject matters such as economics and business, international environmental

and scientific issues, or internal management). A paralegal, who was knowledgeable of both the

FOIA request at issue and L’s records systems, determined that based on the subject of the

request the only L component reasonably likely to maintain responsive records was the Office of

Consular Affairs (“L/CA”).

       18.     L/CA provides legal advice and representation relating to the performance of

consular functions by the Department of State. These functions include: adjudication and

revocation of visas and passports; the protection of U.S. nationals and their property abroad; loss

or acquisition of U.S. nationality; passport, visa and terrorism-related information sharing;

international children’s issues; and enforcement and administration of immigration laws. L/CA’s

roles include negotiation and implementation of international agreements on consular relations;

working on proposed immigration-related legislation; drafting Department regulations and

guidance; and participating in interagency initiatives.

       19.     The L/CA Office Management Specialist searched the unclassified office shared

drive, which includes the archived email files of 23 Attorney-Advisers who work or previously

worked in L/CA, using the following phrases or search terms: “endorse and espouse,” “endorse

or espouse,” “espouse and endorse,” “espouse or endorse,” “1st Amendment,” “First

Amendment,” “would have potentially serious adverse foreign policy consequences,” “freedom


                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                             1:17-cv-07572
                                                                                   Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page54 of 302
                                                JA-52
            Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 9 of 22




of speech,” “freedom of belief,” “freedom of association,” “freedom of expression,” or

“protected speech.” The time period searched was May 11, 2005, through March 27, 2018.

       20.      An L/CA Attorney-Adviser searched her unclassified and classified email records

using the search terms “speech,” “express,” “belief,” “member,” or “association.” No date

restrictions were applied to this search.

       21.      A second L/CA Attorney-Adviser searched his unclassified email records using

the search terms “potentially serious adverse” or “serious adverse foreign.” He searched his

classified email records using the search terms: “potentially serious adverse,” “serious adverse

foreign,” “First Amendment,” or “1st Amendment.” The time period searched was May 11,

2005, to March 6, 2018.

       22.      He and another Attorney-Adviser conducted a manual search of the office’s paper

files, which are organized by subject. They searched files with subjects likely to include

responsive records, specifically: 3B, 3C, 3D, 212f, incitement, interpretation, application, serious

adverse consequences, party membership, Application/Interpretation, and 212(a)(3)(B). No date

restrictions were applied to this search.

       23.      A third L/CA Attorney-Adviser searched her unclassified and classified email

records, specifically the folders labeled “Visa Inadmissibilities” and “Visa Sanctions.” She

manually reviewed each of the emails located in the unclassified “Visa Inadmissibilities” folder

for any documents responsive to Plaintiff’s FOIA request, and searched the classified “Visa

Inadmissibilities” folder using the search terms: “endorse,” “espouse,” “First Amendment,” or

“1st Amendment.” She also searched the unclassified and classified “Visa Sanctions” folders

using the search terms “association” or “waiver.” No date restrictions were applied to these

searches.


                                            Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                 1:17-cv-07572
                                                                                       Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page55 of 302
                                            JA-53
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 10 of 22




                                   Bureau of Administration

       24.     The Bureau of Administration (“A Bureau”) provides support programs to the

Department of State and U.S. embassies and consulates. These programs include: procurement;

supply and transportation; diplomatic pouch and mail services; official records, publishing, and

library services; language services; setting allowance rates for U.S. Government personnel

assigned abroad and providing support for Department assisted overseas schools; domestic real

property and facilities management; domestic emergency management; support for White House

travel abroad; and logistical support for special conferences.

       25.     The Office of Global Information Services in the A Bureau (“A/GIS”) is

responsible for the Department’s information access and management programs. A/GIS, which

is comprised of Directives Management (“DIR”), Global Publishing Solutions (“GPS”), the

Privacy Office (“PRV”), and the Office of Information Programs and Services (“IPS”), offers a

variety of products and services to the Department, the U.S. Government, and the public. The

responsibilities of A/GIS include, among others: ensuring that statutes, executive orders,

delegations of authority and other agencies’ directives are reflected appropriately in Department

policy and procedures; providing design, print, and copier management services to the

Department domestically and abroad; administering the Department’s records management,

privacy, classification, declassification, and public access programs; and serving as the primary

point of contact for anyone seeking access to Department records and responding to requests

from the foreign affairs and national security community, the Congress, the courts, foreign

governments, and the public.

       26.     An IPS Paralegal, who was knowledgeable of both the request and the relevant

records systems and collections of materials, conducted a search of the Department’s internal

website for all Foreign Affairs Manuals and Foreign Affairs Handbooks using the search terms:
                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                             1:17-cv-07572
                                                                                   Second Stein Declaration
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page56 of 302
                                                    JA-54
          Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 11 of 22




“endorse or espouse,” “serious adverse foreign policy consequences,” “INA 212(a)(3)(B),” and

“INA 212(a)(3)(C).” No date restrictions were applied to this search.

                                        Office of the Executive Secretariat

         27.      The Executive Secretariat Staff (“S/ES-S”) is responsible for the coordination of

the work of the Department internally, serving as the liaison between the Department’s bureaus

and the offices of the Secretary, the Deputy Secretary, and the Under Secretaries. It is generally

responsible for coordinating search responses for the Office of the Secretary of State (“S”), the

Office of the Deputy Secretary of State (“D”), the Office of the Under Secretary for Political

Affairs (“P”), and the Counselor of the Department (“C”).

         28.      An S/ES-S Management Analyst, who was knowledgeable of both the FOIA

request and the S/ES records systems, conducted searches of the Secretariat Tracking and

Retrieval System (“STARS”)2 and Everest3 using the following search terms: “beliefs statements

or associations,” “endorse or espouse,” “endorses or espouses,” “8 U.S.C. § 1182(a)(3)(C)(i),” “8

U.S.C. § 1182(a)(3)(C)(iii),” “8 U.S.C. § 1182(a)(3)(B)(i)(IV)(bb),” “8 U.S.C. §

1182(a)(3)(B)(i)(VII),” and“8 U.S.C. § 1182(d)(3)(B)(ii).” The time period searched was

January 1, 2005, through March 5, 2018.




2
  STARS is an automated system used to track, control, and record documents containing substantive foreign policy
information passing to, from, and through the offices of the Secretary of State, the Deputy Secretary of State, the
Under Secretaries of State, and the Counselor of the Department. Original documents are indexed, scanned, and
stored as images in STARS. For searches of STARS, the search terms are applied to a descriptive abstract attached
to each document. Each abstract is created by a Technical Information Specialist when the document is added to the
database; this abstract is designed to capture the subject matter of the related document. The abstracts are the only
portion of STARS database whose text can be searched. Information in STARS covers the period January 1, 2002
through December 31, 2015.
3
  Everest is a Microsoft SharePoint based enterprise system used to task, track, control, and archive documents
containing substantive foreign policy information passing to, from, and through the offices of the Secretary of State,
the Deputy Secretaries of State, and other Department principal officers. The documents in Everest are full-text
searchable. Everest includes all information found in STARS for the period 2002-2015, and information not in
STARS for the period 2015 to the present.
                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                         1:17-cv-07572
                                                                                              Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page57 of 302
                                             JA-55
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 12 of 22




                             III. FOIA EXEMPTIONS CLAIMED

                         FOIA Exemption 1 – Classified Information

       29.     5 U.S.C. § 552(b)(1) states that the FOIA does not apply to matters that are:

               (A) specifically authorized under criteria established by an
               Executive order to be kept secret in the interest of national defense
               or foreign policy and (B) are in fact properly classified pursuant to
               such Executive order . . . .

       30.     The Department withheld certain information under FOIA Exemption 1, 5 U.S.C.

§ 552(b)(1), pursuant to E.O. 13526 sections 1.4(b), (c), (d), and (e). Section 1.4 provides that:

               Information shall not be considered for classification unless . . . it
               pertains to one or more of the following: (b) foreign government
               information; (c) intelligence activities (including covert action),
               intelligence sources or methods, or cryptology; (d) foreign
               relations or foreign activities of the United States, including
               confidential sources; [or] (e) scientific, technological, or economic
               matters relating to the national security, including defense against
               transnational terrorism

       31.     The withheld information includes information classified at the SECRET and

CONFIDENTIAL levels. Section 1.2 of E.O. 13526 states:

               “Secret” shall be applied to information, the unauthorized
               disclosure of which reasonably could be expected to cause serious
               damage to the national security that the original classification
               authority is able to identify or describe.

               “Confidential” shall be applied to information, the unauthorized
               disclosure of which reasonably could be expected to cause damage
               to the national security that the original classification authority is
               able to identify or describe.

       32.     Section 6.1(l) of E.O. 13526 defines “damage to the national security” as follows:

               “Damage to the national security” means harm to the national
               defense or foreign relations of the United States from the
               unauthorized disclosure of information, taking into consideration
               such aspects of the information as the sensitivity, value, utility, and
               provenance of that information.


                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                             1:17-cv-07572
                                                                                   Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page58 of 302
                                             JA-56
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 13 of 22




       33.     The information withheld under Exemption 1, 5 U.S.C. § 552(b)(1), continues to

meet the classification criteria of E.O. 13526 and the Department has not previously authorized

or officially acknowledged public release of this information.

                      Section 1.4(b) – Foreign Government Information

       34.     The Department withheld foreign government information. Section 6.1(s) of E.O.

13526 defines “foreign government information” as follows:

               “Foreign government information” means:

               (1) information provided to the United States Government by a
               foreign government or governments, an international organization
               of governments, or any element thereof, with the expectation that
               the information, the source of the information, or both, are to be
               held in confidence;
               (2) information produced by the United States Government
               pursuant to or as a result of a joint arrangement with a foreign
               government or governments, or an international organization of
               governments, or any element thereof, requiring that the
               information, the arrangement, or both, are to be held in confidence
               ....
       35.     Section 1.1(d) of E.O. 13526 states:

               The unauthorized disclosure of foreign government information is
               presumed to cause damage to the national security.

       36.     The ability to obtain information from foreign governments is essential to the

formulation and successful implementation of U.S. foreign policy. Release of foreign

government information provided in confidence, either voluntarily by the Department or by

order of a court, would cause foreign officials to believe that U.S. officials are not able or willing

to observe the confidentiality expected in such interchanges. Governments could reasonably be

expected to be less willing in the future to furnish information important to the conduct of U.S.

foreign relations, and in general less disposed to cooperate with the United States in the

achievement of foreign policy objectives of common interest. In view of the important
                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                    Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page59 of 302
                                             JA-57
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 14 of 22




relationship between the United States and the foreign governments identified in the responsive

documents, protecting foreign government information (including in some cases protecting even

the fact that information has been provided or the source of information), is important to our

international relationships and conduct of foreign relations. Information withheld in this case is

currently and properly classified pursuant to Section 1.4(b) of E.O. 13526 and is, therefore,

exempt from disclosure under FOIA Exemption 1.

        Section 1.4(c) – Intelligence Activities and Intelligence Sources and Methods

       37.     The Department also withheld certain information that relates directly to

intelligence activities, sources, or methods. Disclosure of this information could enable foreign

governments or persons or entities opposed to United States foreign policy objectives to identify

U.S. intelligence activities, sources, or methods and to undertake countermeasures that could

frustrate the ability of the U.S. Government to acquire information necessary to the formulation

and implementation of U.S. foreign policy. Because disclosure “reasonably could be expected to

result in damage to the national security”, information withheld in these documents is currently

and properly classified pursuant to Section 1.4(c) of E.O. 13526 and is, therefore, exempt from

disclosure under FOIA Exemption 1.

        Section 1.4(d) – Foreign Relations or Foreign Activities of the United States

       38.     The Department withheld information that, if released, reasonably could be

expected to cause damage to U.S. foreign relations. Diplomatic exchanges are premised upon,

and depend upon, an expectation of confidentiality. Mutual trust between governments in this

realm is vital to U.S. foreign relations. The inability of the United States to maintain

confidentiality in its diplomatic exchanges would inevitably chill relations with other




                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                             1:17-cv-07572
                                                                                   Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page60 of 302
                                              JA-58
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 15 of 22




governments, and could reasonably be expected to damage U.S. national security by diminishing

our access to vital sources of information.

       39.     Some of the withheld information is classified and concerns both confidential

sources and sensitive aspects of U.S. foreign relations, including, in particular, issues relating to

identifying potential threats to U.S. national security. Release of this classified information has

the potential to inject friction into, or cause damage to, a number of our bilateral relationships

with countries whose cooperation is important to U.S. national security, including some in which

public opinion might not currently favor close cooperation with the United States. Release of

information revealing confidential sources reasonably could be expected to risk the safety of

those confidential sources. Failure to preserve the expected confidentiality could jeopardize

future access not only to the sources of the withheld information, but also to others who might

provide sensitive information to U.S. officials that is important to U.S. national security interests.

For these reasons, the Department withheld certain information in this case that is currently and

properly classified pursuant to Section 1.4(d) of E.O. 13526 and is, therefore, exempt from

disclosure under FOIA Exemption 1.

                Section 1.4(e) -- Scientific, Technological, or Economic Matters
                                Relating to the National Security;

       40.     The Department withheld certain information that relates to scientific,

technological, or economic matters, the release of which “reasonably could be expected to result

in damage to the national security.” The withheld information relates to economic matters, and

specifically, details about acts of public corruption and the methods by which certain types of

sanctions are determined. Information withheld in these documents is currently and properly

classified pursuant to Section 1.4(e) of E.O. 13526 and is, therefore, exempt from disclosure

under FOIA Exemption 1.

                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                    Second Stein Declaration
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page61 of 302
                                                   JA-59
         Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 16 of 22




                           FOIA Exemption 3 – Exempt by Statute

        41.      5 U.S.C. § 552(b)(3) states that the FOIA does not apply to matters that are:

                 specifically exempted from disclosure by statute (other than
                 Section 552(b) of this title), provided that such statute—(A)(i)
                 requires that the matters be withheld from the public in such a
                 manner as to leave no discretion on the issue; or (ii) establishes
                 particular criteria for withholding or refers to particular types of
                 matters to be withheld; and (B) if enacted after the date of
                 enactment of the Open FOIA Act of 2009, specifically cites to this
                 paragraph.

                      Section 222(f) – Immigration and Nationality Act

        42.      The Department withheld certain information under FOIA Exemption 3 as

required by Section 222(f) of the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1202(f),

which states in pertinent part:

                 The records of the Department of State and of diplomatic and
                 consular offices of the United States pertaining to the issuance or
                 refusal of visas or permits to enter the United States shall be
                 considered confidential and shall be used only for the formulation,
                 amendment, administration, or enforcement of the immigration,
                 nationality, and other laws of the United States, except that - (1) in
                 the discretion of the Secretary of State certified copies of such
                 records may be made available to a court which certifies that the
                 information contained in such records is needed by the court in the
                 interest of the ends of justice in a case pending before the court.
                 (Emphasis added).
Section 222(f) of the INA qualifies as a withholding statute under FOIA Exemption 3, 5 U.S.C. §

552(b)(3).4 “Under section 222(f) the Secretary of State has no authority to disclose material to

the public. In that sense the confidentiality mandate is absolute; all matters covered by the

statute ‘shall be considered confidential.’” Medina-Hincapie v. Dep't of State, 700 F.2d 737, 742

(D.C. Cir. 1983). Section 222(f) applies not only to the information supplied by the visa



4
 See Medina-Hincapie v. Dep’t of State, 700 F.2d 737, 741-42 (D.C. Cir. 1983); see also Beltranena v. U.S. Dep’t
of State, 821 F. Supp. 2d 167, 177 (D.D.C. 2011).

                                              Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                   1:17-cv-07572
                                                                                         Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page62 of 302
                                              JA-60
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 17 of 22




applicant, but also applies to any “information revealing the thought-processes of those who rule

on the application.” Id. at 744.


                        Section 3024(i) – National Security Act of 1947
       43.     The Department withheld certain information under Exemption 3 as required by

the National Security Act of 1947, 50 U.S.C. § 3024(i)(1), because the information withheld, if

released, could reasonably be expected to lead to the unauthorized disclosure of intelligence

sources and methods. Documents contain currently and properly classified information

pertaining to intelligence activities, sources and methods; and foreign relations and foreign

activities of the United States. Information pertaining to intelligence sources and methods is

protected by statute, 50 U.S.C.A. § 3024(i)(1).

                                          FOIA Exemption 5

       44.     The Department withheld certain information under 5 U.S.C. § 552(b)(5), which

states that the FOIA does not apply to:

               inter-agency or intra-agency memoranda or letters which would
               not be available by law to a party other than an agency in litigation
               with the agency....

       45.     FOIA Exemption 5, 5 U.S.C. § 552(b)(5), protects from disclosure information

that is normally privileged in the civil discovery context, including information that is protected

by the deliberative process privilege, attorney-client privilege, attorney work product privilege,

and Presidential communications privilege. All of the information withheld under Exemption 5

exists in inter- or intra-agency documents that have not been disseminated outside of the

executive branch.

                                   Deliberative Process Privilege




                                          Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                               1:17-cv-07572
                                                                                     Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page63 of 302
                                             JA-61
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 18 of 22




       46.     The deliberative process privilege protects the confidentiality of candid views and

advice of U.S. Government officials in their internal deliberations related to policy formulation

and administrative direction. For example, certain information withheld in this case reflects the

internal exchange of ideas and recommendations when Department officials are formulating a

strategy for official action. Disclosure of material containing the details of internal discussions

held in the course of formulating a policy could reasonably be expected to chill the open and

frank exchange of comments and opinions that occurs between Department officials at these

critical times. In addition, disclosure of these details would severely hamper the ability of

responsible Department officials to formulate and carry out executive branch programs. The

Department has withheld information in a number of documents in this case, as detailed in the

attachment, on the basis of this exemption pursuant to the deliberative process privilege.

Disclosure of this information, which is pre-decisional and deliberative, and contains selected

factual material intertwined with opinion, would inhibit candid internal discussions and the

expression of recommendations and judgments regarding current problems and preferred courses

of action by Department personnel. The withheld information is, accordingly, exempt from

release under Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege.

                                    Attorney-Client Privilege

       47.     The Department has also withheld certain information pursuant to the attorney-

client privilege that reflects consultations undertaken in confidence between government

attorneys and other executive branch officials for the purpose of obtaining legal advice. In each

instance where such information was withheld, the withheld information reflects the two-way

confidential communications that occur between attorneys and their clients when seeking and

providing legal advice, and includes facts divulged to one or more of the attorneys for the


                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                    Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page64 of 302
                                            JA-62
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 19 of 22




purposes of obtaining legal advice, as well as opinions given by the attorneys based upon and

reflecting those facts. The withheld information reflects confidential communications with

government attorneys who are providing legal advice to executive branch officials, and that

confidentiality has been maintained. For these reasons, portions of the withheld information are

exempt from release under Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the attorney-client

privilege.

                               Attorney Work-Product Privilege

       48.     The Department withheld material prepared in anticipation of litigation, pursuant

to the attorney work-product privilege. The work product doctrine protects both deliberative and

factual materials prepared in anticipation of litigation. In the one document the Department

withheld under this privilege, Department attorneys assessed ongoing litigation and the effect of

policy options on that litigation and potential future litigation. Release of the document would

chill Department counsel who defend the Department’s legal position in litigation in the future.

For these reasons, portions of the withheld information are exempt from release under

Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the attorney work-product privilege.

                             Presidential Communication Privilege

       49.     The Department withheld information in six documents pursuant to the

Presidential communications privilege to protect communications between the President's

advisors and their staff and State officials, and communications between close advisors preparing

information or advice for potential presentation to the President. The communications were

authored by, or solicited and received by, senior presidential advisors and staff with broad and

significant responsibility for gathering information in the course of preparing advice for potential

presentation to the President in matters that implicate the President’s decisions concerning


                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                             1:17-cv-07572
                                                                                   Second Stein Declaration
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page65 of 302
                                             JA-63
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 20 of 22




foreign policy or national security concerns. In this case, disclosure of the information withheld

under the presidential communications privilege would reveal the process by which the President

receives national security advice from close advisors. For these reasons, the withheld

information is exempt from release under Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the

presidential communications privilege.

                     FOIA Exemption 7 – Law Enforcement Information

       50.     The Department withheld certain information under FOIA Exemption 7, which

protects from disclosure all “records or information compiled for law enforcement purposes” that

could reasonably be expected to cause one of the six harms outlined under 5 U.S.C. § 552(b)(7).

Before an agency can invoke exemptions pertaining to the specific harms enumerated in FOIA

Exemption 7, it must first demonstrate that the records or information at issue were compiled for

law enforcement purposes.

       51.     The law to be enforced for FOIA Exemption 7 purposes includes administrative,

regulatory, civil, and criminal law. Records pertaining to routine agency activities can qualify

for FOIA Exemption 7 protection when those activities involve a law enforcement purpose.

Although the records must be created for some law enforcement purpose, there is no requirement

that the matter culminate in actual administrative, regulatory, civil, or criminal enforcement

proceedings. In this case, the harm that could reasonably be expected to result from disclosure

concerns revealing sensitive law enforcement techniques and procedures related to enforcement

of the Immigration and Nationality Act (“INA”).

       52.     The Department is on the front line of enforcing the U.S. Government’s

immigration laws and regulations. The Department interprets and applies immigration laws and

regulations, and acts as a point of contact for the public. The Department also liaises with the

Department of Homeland Security and other U.S. Government agencies with roles in
                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                    Second Stein Declaration
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page66 of 302
                                               JA-64
          Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 21 of 22




administration and enforcement of U.S. immigration laws. The Department routinely uses non-

public law enforcement databases to support its core duties of enforcing U.S. immigration laws.

               FOIA Exemption 7(E) – Law Enforcement Techniques and Procedures

         53.      5 U.S.C. § 552(b)(7)(E), states in relevant part that the FOIA does not apply to

records or information that “would disclose techniques and procedures for law enforcement

investigations or prosecution, or would disclose guidelines for law enforcement investigations or

prosecutions if such disclosure could reasonably be expected to risk circumvention of the

law . . . .”

         54.      The Department has asserted FOIA Exemption 7(E), 5 U.S.C. § 552(b)(7)(E), to

protect from disclosure details of investigative techniques, procedures, and guidelines used

during the course of the certain investigations and law enforcement activities. In this case, the

Department withheld certain techniques used to investigate visa applicants, details regarding the

use of certain law enforcement databases used to assist the Department in issuing or denying

visas, codes used in connection with investigating potential security threats, and procedures for

finding and evaluating sources of information. While the protection of Exemption 7(E) is

generally limited to techniques and procedures that are not well known to the public, even

commonly known procedures may be protected from disclosure if the disclosure could reduce or

nullify their effectiveness. The release of information about the techniques at issue in this case

could enable terrorists and other bad actors to avoid detection or develop countermeasures to

circumvent the ability of the Department to effectively use these important law enforcement

techniques, thereby allowing circumvention of the law.

         55.      The Department withheld portions of documents under FOIA Exemption 7(E),

because disclosure could reveal investigative techniques related to the visa process. For each of

these withholdings, the Director determined that release of the requested information would risk
                                          Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                               1:17-cv-07572
                                                                                     Second Stein Declaration
      Case 20-3837, Document 41, 02/23/2021, 3042809, Page67 of 302
                                            JA-65
        Case 1:17-cv-07572-ALC Document 93 Filed 02/26/19 Page 22 of 22



circumvention of the law. Accordingly, the Department properly withheld this information

pursuant to Exemption 7(E), 5 U.S.C. § 552(b)(7)(E).

                                       V. CONCLUSION

       56.    In summary, the Department conducted thorough searches of all Department

locations that were reasonably likely to contain records responsive to Plai ntiffs FOIA request.

The Department has carefully reviewed all of the documents addressed herein for reasonable

segregation of non-exempt information and has implemented segregation when possible.

Otherwise, the Department determined that no segregation of meaningful information in the

documents could be made without disclosing information warranting protection under the law.




                                                 ***


       I declare under penalty of perjury that the forego ing is true and correct to the best of my

knowledge.



                Executed this ~          day of February 2019, Washington, D.C.




                                           Eric F. Stein




                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              I: l 7-cv-07572
                                                                                   Second Stein Declaration
                          Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 1 of 23




                                                  Exhibit 1
                                    Department of State Vaughn Index
            Knight First Amendment Institute at Columbia University v. DHS (Case No. 17-cv-07572)

Doc. No.             Doc. Type                Page(s)       Date/ Date Range       Author(s)/Recipient(s)           Review           Exemptions




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                                                                                                                    Result




                                                                                                               II
(1-8) Foreign Affairs Manual 9 FAM 302.6
C06533909           Manual             45             11/18/2015             Department of State     Release (b)(7)(E)
C06533920                              48             10/20/2016             (“DOS”) officials       in Part
C06533941                              47             12/21/2015                                     (“RIP”)
C06533947                              46             3/1/2016
C06533951                              45             11/24/2015
C06533970                              46             2/23/2016
C06534007                              46             5/17/2016
C06571131                              48             11/21/2017
DESCRIPTION: These records are multiple versions of Foreign Affairs Manual (“FAM”), Volume 9, Section 302.6, portions of which were withheld
under FOIA Exemption 7(E), 5 U.S.C. § 552(b)(7)(E).
                                                                                                                                                           JA-66




Volume 9 of the FAM establishes procedures for providing visa services to foreign nationals who wish to enter the United Stat es. These
processes involve interpretation and application of immigration laws and regulations, including the Immigration and Naturalization Act (“INA”),
and also involve cooperation with other law enforcement agencies such as the Department of Homeland Security (“DHS”). Therefore Volume 9
meets the threshold requirement of FOIA Exemption 7 – that the record serve a law enforcement purpose.

In addition, the redacted portions specifically meet the requirements of Exemption 7(E) because they disclose law enforcement investigation
techniques, procedures, and guidelines:

     9 FAM 302.6-2(B)(1)b. reveals interagency cooperation procedures during the process of checking for terrorism-related ineligibilities.

     9 FAM 302.6-2(B)(3)b.(3) was redacted in subsections c.(2), d., e.(5)-(6), i.(1)(c)(i)-(ii), and (5)(b) because those sections identify the
     situations that trigger the process of checking for terrorism-related ineligibilities and reveal the techniques used during that process to
     determine whether an individual is ineligible to receive visas because of their involvement with terrorist activities.
                                                                                                                                                                   Case 20-3837, Document 41, 02/23/2021, 3042809, Page68 of 302




                                                                                   Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                        1:17-cv-07572
                                                                                                                                         Vaughn Index
                     Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 2 of 23

                                                                   2

9 FAM 302.6-2(B)(4)b. defines terrorist activity, adding specific details and clarifications about how they fit into the security investigation
process.

9 FAM 302.6-2(B)(4)c.(4) provides details about the conditions under which to apply a presumption of inadmissibility due to involvement in
terrorist activity, and how to account for that presumption when assessing a visa applicant.

9 FAM 302.6-2(B)(4)d.(3)-(5) provides information about the Palestine Liberation Organization that is used as a guideline for determining
whether an applicant is associated with the organization and therefore inadmissible.

9 FAM 302.6-2(B)(4)e. (2) and (5) gives guidelines for when spouses and children trigger the requirement for further security investigation
and how to conduct that process.

9 FAM 302.6-2(B)(5)c. (2)-(4) proves guidelines on how to identify individuals who qualify for the African National Congress (“ANC”)
exemption.

9 FAM 302.6-2(B)(5)e. (1)(a)-(e), (3), and (4) provides information about the listed groups that is used as a guideline for determining
whether an applicant is associated with the organizations and therefore exempt.

9 FAM 302.6-2(B)(5)f. (1), (2) (portions), and (3) through (6) provides information about how to assess whether to exempt an applicant
                                                                                                                                                      JA-67




associated with the Kosovo Liberation Army.

9 FAM 302.6-2(C) provides guidelines for when further investigation is required and what procedures to follow.

9 FAM 302.6-2(E) provides procedures for flagging certain ineligibilities or potential ineligibilities in a database.

9 FAM 302.6-3(B)(2)b.(4) lists credible sources of evidence that may be used in recommending a finding, including sources that are not
public knowledge.

9 FAM 302.6-3(B) describes guidelines for situations in which an individual may cease to be inadmissible.

9 FAM 302.6-3(C) provides guidelines for when a certain type of investigation is required.
                                                                                                                                                              Case 20-3837, Document 41, 02/23/2021, 3042809, Page69 of 302




9 FAM 302.6-3(E) provides procedures for flagging certain ineligibilities or potential ineligibilities in a database.


                                                                              Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                   1:17-cv-07572
                                                                                                                                         Exhibit 1
                          Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 3 of 23

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     9 FAM 302.6-4(B) provides guidelines for how to vet applications when the applicant is from a state sponsor of terrorism.

     9 FAM 302.6-4(C) provides guidelines for when a certain type of investigation is required.

     9 FAM 302.6-4(E) provides procedures for flagging certain ineligibilities or potential ineligibilities in a database.

Disclosure of any of the above information could reasonably be expected to risk circumvention of the law because terrorists and other bad
actors could use it to conceal derogatory information, provide fraudulent information, or otherwise circumvent the security checks put in place
to ensure that terrorists and other bad actors cannot gain visas into the United States.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(9-11) Foreign Affairs Manual 9 FAM 40.32
C06533937            Manual                    20 1/2/2015           DOS officials                      RIP                  (b)(7)(E)
C06567707                                      22 5/3/2005
C06567710                                      6     12/19/1994
DESCRIPTION: These records are three versions of 9 FAM 40.32, earlier iterations of sections that are now incorporated into 9 FAM 302.6. As
established above, Volume 9 of the FAM serves a law enforcement purpose, and therefore, these records meet the threshold requirement of
Exemption 7.
                                                                                                                                                           JA-68




Furthermore, the redacted portions specifically meet the requirements of Exemption 7(E), 5 U.S.C. § 552(b)(7)(E) because they disclose law
enforcement investigation techniques, procedures, and guidelines about the following topics:

         x   guidelines for conducting the security investigation process, including whether certain procedures are mandatory, and what
             information to include in a request for those procedures (C06533937: N1.1.b, N2.8.a.(3)(a)-(b); C06567707: N3, N5.1.e; C06567710:
             N3, N11)
         x   interagency cooperation procedures during the process of checking for ineligibilities (C06533937: N1.1.c; C06567707: N2.1.c)
         x   guidelines for identifying material support (C06533937: N2.3)
         x   procedures for investigating whether an applicant is a member of a terrorist organization (C06533937: N2.4.e-f; C06567707:
             N5.4.c; C06567710: N6.2)
         x   procedures for finding and evaluating sources of information ( C06533937: N2.8.e-f)
                                                                                                                                                                   Case 20-3837, Document 41, 02/23/2021, 3042809, Page70 of 302




         x   guidelines for identifying a specific type of terrorist action (C06533937: N3.2.d; C06567707: N4; C06567710: N4, N5, N7)



                                                                                   Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                        1:17-cv-07572
                                                                                                                                              Exhibit 1
                          Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 4 of 23

                                                                       4


         x   provides information about the Palestine Liberation Organization that is used as a guideline for determining whether an applicant
             is associated with the organization and therefore inadmissible. (C06533937: N3.3.c; C06567707: N7.1, N7.2-2, N7.2-3; C06567710:
             N8.1, N8.2)
         x   guidelines for when spouses and children trigger the requirement for certain law enforcement procedures and how to conduct
             those procedures. (C06533937: N3.4.c, N3.4.e; C06567707:N8.b, N8.d)

Disclosure of any of the above information could reasonably be expected to risk circumvention of the law because terrorists and other bad
actors could use it to conceal derogatory information, provide fraudulent information, or otherwise circumvent the security checks put in place
to ensure that terrorists and other bad actors cannot gain visas into the United States.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(12) Foreign Affairs Manual 9 FAM 302.14
C06571135            Manual                      40 12/13/2017       -                               RIP                   (b)(7)(E)
DESCRIPTION: This record is a version of 9 FAM 302.14. As established above, Volume 9 of the FAM serves a law enforcement purpose, and
therefore, this record meets the threshold requirement of Exemption 7.

Furthermore, the redacted portions specifically meet the requirements of Exemption 7(E), 5 U.S.C. § 552(b)(7)(E) because they disclose law
enforcement investigation techniques, procedures, and guidelines about the following topics:
                                                                                                                                                          JA-69




    x   guidelines for conducting the security investigation process, including whether certain procedures are mandatory, and what information
        to include in a request for those procedures (302.14-2(C); 302.14-3(B)(3)e; 302.14-3(B)(3)g; 302.14-3(C); 302.14-6(B)(2)c; 302.14-6(C);
        302.14-7(C); 302.14-8(C))
    x   provides procedures for flagging certain ineligibilities or potential ineligibilities in a database or databases (302.14-2(E); 302.14-3(B)(2);
        302.14-3(E); 302.14-4(E); 302.14-5(E); 302.14-6(B)(2)b; 302.14-6(B)(3)c; 302.14-6(E); 302.14-7(E); 302.14-8(E);302.14-9(E))
    x   procedures for investigating whether an applicant needs to be flagged in a database (302.14-3(B)(3)c; 302.14-6(B)(3)c)
    x   procedures for investigating a visa that is flagged and may need to be revoked (302.14-3(B)(3)f)
    x   guidelines for when spouses and children trigger the requirement for further investigation and how to conduct that process (302.14-
        3(B)(3)i)
    x   guidelines for when lawful permanent residents trigger the requirement for certain law enforcement procedures (302.14-3(B)(3)h)
    x   procedures for using certain sources of information (302.14-3(B)(3)j)
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page71 of 302




    x   guidelines for evaluating/investigating coursework and intent to return to Iran (302.14-7(B)(3)(1)


                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 5 of 23

                                                                    5

Disclosure of any of the above information could reasonably be expected to risk circumvention of the law because terrorists and other bad
actors could use it to conceal derogatory information, provide fraudulent information, or otherwise circumvent the security checks put in place
to ensure that terrorists and other bad actors cannot gain visas into the United States.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(13) Cable – Exemption Authority for Individuals Associated with the African National Congress
C06568888          Cable              8                6/8/2011               DOS/U.S.          RIP              (b)(7)(E)
                                                                              Embassy Port
                                                                              Au Prince and
                                                                              All Diplomatic
                                                                              and Consular
                                                                              Posts
DESCRIPTION: The Department sent this cable to all diplomatic and consular posts to notify them of a change in the FAM related to the African
National Congress (9 FAM 40.32 N5.3).

The Department withheld some of the information under Exemption 7(E), 5 U.S.C. § 552(b)(7)(E). As established above, Volume 9 of the FAM
serves a law enforcement purpose, and therefore, this record meets the threshold requirement of Exemption 7.
                                                                                                                                                       JA-70




Furthermore, the redacted portions specifically meet the requirements of Exemption 7(E) because they disclose law enforcement investigation
techniques, procedures, and guidelines about the following topics:

         x   guidelines for conducting the security investigation process, including whether certain security procedures are mandatory in
             certain situations, and what information to include in a request for additional security procedures
         x   procedures for investigating whether an applicant is a member of the African National Congress
         x   procedures for finding and evaluating sources of information
         x   guidelines for identifying specific types of action that may trigger ineligibilities

Disclosure of any of the above information could reasonably be expected to risk circumvention of the law because terrorists and other bad
actors could use it to conceal derogatory information, provide fraudulent information, or otherwise circumvent the security checks put in place
to ensure that terrorists and other bad actors cannot gain visas into the United States.
                                                                                                                                                               Case 20-3837, Document 41, 02/23/2021, 3042809, Page72 of 302




The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
                                                                               Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                    1:17-cv-07572
                                                                                                                                          Exhibit 1
                          Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 6 of 23

                                                                       6

(14-38) Implementation Guidelines for Visa Restrictions
C06567720        Report             2                  Undated             DOS officials         RIP            (b)(7)(E)
C06567737        Report             2                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06567766        Report             2                  Undated                                                  (b)(7)(E)
C06567796        Report             1                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06567839        Report             2                  Undated                                                  (b)(7)(E)
C06567882        Report             3                  Undated                                                  (b)(1) (1.4(b) & (d)); (b)(7)(E)
C06567904        Report             3                  Undated                                                  (b)(7)(E)
C06567915        Report             2                  Undated                                                  (b)(7)(E)
C06568365        Report             2                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06568375        Report             2                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06568456        Report             1                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06568890        Report             2                  Undated                                                  (b)(1) (1.4(b) & (d)); (b)(7)(E)
C06568896        Report             2                  Undated                                                  (b)(1) (1.4(b) & (d)); (b)(7)(E)
C06568902        Report             2                  Undated                                                  (b)(7)(E)
C06568905        Report             2                  May-14                                                   (b)(7)(E)
C06568918        Report             2                  Undated                                                  (b)(7)(E)
C06568937        Report             3                  Undated                                                  (b)(7)(E)
C06568940        Duplicate of       3                  Undated                                                  (b)(7)(E)
                                                                                                                                                          JA-71




                 C0659475
C06568948        Report             2                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06569423        Report             2                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06569454        Report             2                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06569459        Report             2                  Undated                                                  (b)(1) (1.4(d)); (b)(7)(E)
C06569478        Report             3                  Undated                                                  (b)(7)(E)
C06570384        Report             2                  Undated                                                  (b)(7)(E)
C06570543        Report             2                  Undated                                                  (b)(7)(E)
DESCRIPTION: These attachments provide implementation guidelines for the visa restrictions proposed in various Action Memoranda.

The Department withheld parts of these implementation guidelines under Exemption 7(E). As established above, visa processing is a law
enforcement activity, and therefore, these records detailing how to process visa restrictions serve a law enforcement purpose and meet the
threshold requirement of Exemption 7. Furthermore, the specific portions withheld contain techniques used to identify individuals whose
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page73 of 302




names need to be added to the lookout system, procedures for adding those individuals to the system, procedures for performing security
investigations into those individuals, and guidelines for how to apply the restrictions to a particular type of visa. Disclosure of any of the above
                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
                          Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 7 of 23

                                                                      7

information could reasonably be expected to risk circumvention of the law because terrorists and other bad actors could use it to conceal
derogatory information, provide fraudulent information, or otherwise circumvent the security checks put in place to ensure th at terrorists and
other bad actors cannot gain visas into the United States.

In addition, the Department withheld portions of some of the documents (C06567882, C06568890, C06568896, C06567737, C06567796,
C06568365, C06568375, C06568456, C06569423, C06569454, C06569459) under Exemption 1, pursuant to E.O. 13526, sectio n 1.4(d), which
pertains to foreign relations or foreign activities of the United States. The fact that these specific individuals or countries were considered for
sanctions, and the reason for those sanctions, if revealed, could damage or impair foreign relations and national security. Disclosure of the fact
that these restrictions were being considered could negatively affect the foreign policy environment, not only in the countries most involved,
but also in others that consider themselves similarly placed. Therefore, the information remains properly classified.

Finally, the Department withheld portions of certain documents (C06567882, C06568890, C06568896) under Exemption 1, pursuant to E.O.
13526, section 1.4(b), which pertains to foreign government information. The withheld information contains foreign government information
about the reason for the proposed visa restrictions that was provided to the United States in the expectation of confidence. The disclosure of
such information would weaken the relationship with the government that provided the information, as well as other countries considering
sharing similar information with the United States in the future. Therefore, the information remains properly classified.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
                                                                                                                                                         JA-72




(39) Draft of Presidential Proclamation 8697
C06569343            Draft             3                Undated               White House         Deny in    (b)(5) (Deliberative Process
                                                                                                  full       Privilege (“DPP”), Presidential
                                                                                                  (“DIF”)    Communications Privilege
                                                                                                             (“PCP”))
DESCRIPTION: This is a draft of Presidential Proclamation 8697 that was attached to an Action Memorandum about a waiver of possible visa
ineligibility (C06569320).

The Department withheld the draft text in full, under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. The
wording of this Proclamation differs from the final version, and in the place of dates in the last paragraph there are “XX” notations. Release of
this information would reveal the authors’ preliminary thoughts and ideas regarding what information to include in the final exemption notice,
and could reasonably be expected to have a chilling effect on the open and frank expression of ideas, recommendations, and opinions that
occurs when Department officials are drafting visa and immigration policies. Disclosure of this information would also impede the ability of
                                                                                                                                                                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page74 of 302




responsible government officials to formulate and carry out executive branch programs by inhibiting candid internal discussio n and the
expression of recommendations and judgments regarding a preferred course of action.
                                                                                 Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                      1:17-cv-07572
                                                                                                                                            Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 8 of 23

                                                                    8



The Department also withheld the draft text in full, under FOIA Exemption 5, pursuant to the Presidential communications privilege. The
withheld communication was authored by the White House and circulated to senior agency officials for their advice. Disclosure of the
information withheld under the Presidential communications privilege would reveal the process by which the President receives national
security advice from close advisors, and would reveal information about the advice itself. In order to protect communications between the
President’s close advisors and executive branch officials, the Department withheld the document in full.

This is an internal executive branch document that was not widely distributed, and was not disseminated outside of the executive branch.

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no meaningful, non-exempt
information that can be reasonably segregated and released.
(40-41) Memorandum for Philip A. McNamara: Request for State Views

C06569220          Cover Sheet        1                10/17/2011             DOS                    RIP          (b)(5) (DPP)
C06569223          Memorandum         1                                       DOS /DHS               RIP          (b)(5) (DPP)

DESCRIPTION: These documents relate to DHS requests for State Department views on granting an exemption from INA terrorism-related
inadmissibility grounds for certain groups.
                                                                                                                                                      JA-73




In two documents (C06569220 and C06569223), the Department withheld the name of an organization under FOIA Ex emption 5, 5 U.S.C. §
552(b)(5), pursuant to the deliberative process privilege. This organization was not granted the proposed exemption. This information is
predecisional and deliberative, as it pre-dates DHS’s ultimate decision. Release of the withheld information would impede the ability of
responsible government officials to formulate and carry out executive branch programs by inhibiting candid internal discussio n and the
expression of recommendations and judgments regarding a preferred course of action. These are internal government documents that were
not disseminated outside of the government.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.

(42) Inadmissibility Based on Endorsing or Espousing Terrorist Activity: First Amendment Concerns
C06534021           Legal             11               August 22, 2017          Office of the Legal DIF             (b)(5) (Attorney-Client
                                                                                                                                                              Case 20-3837, Document 41, 02/23/2021, 3042809, Page75 of 302




                    Memorandum                                                  Adviser                             Privilege (“ACP”), Attorney
                                                                                                                    Work Product (“AWP”), DPP,
                                                                                                                    PCP)
                                                                              Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                   1:17-cv-07572
                                                                                                                                         Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 9 of 23

                                                                     9

DESCRIPTION: This memorandum was solicited by senior Presidential advisors to use in the context of a high-level, inter-agency meeting
involving lawyers, discussing visa policy. It contains a legal analysis of the First Amendment and some proposed courses of actions. This is an
internal government document that has not been disseminated outside of the government.

The Department withheld the text under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of this
information would reveal the authors’ preliminary thoughts and ideas regarding what policy to pursue with respect to the “endorse or espouse”
provision, and could reasonably be expected to have a chilling effect on the open and frank expression of ideas, recommendations, and opinions
that occurs when interagency officials are drafting visa and immigration policies. Disclosure of this information would also impede the ability of
responsible government officials to formulate and carry out executive branch programs by inhibiting candid internal discussio n and the
expression of recommendations and judgments regarding a preferred course of action.

The Department also withheld the text in full, under FOIA Exemption 5, pursuant to the Presidential communications privilege. The withheld
communication was solicited and received by senior Presidential advisors and staff with broad and significant responsibility for gathering
information in the course of preparing advice for potential presentation to the President in matters that implicate the President’s decisions
concerning foreign policy and national security concerns. Disclosure of the information withheld under the presidential communications
privilege would reveal the process by which the President receives national security advice from close advisors, and would reveal information
about the advice itself. In order to protect communications between the President’s close advisors and executive branch officials, the
Department withheld the document in full.
                                                                                                                                                        JA-74




The Department also withheld the text in full, under FOIA Exemption 5, pursuant to attorney-client privilege and attorney work product
privilege. The withheld communication is a confidential memorandum containing legal advice written by attorneys for their client, the U.S.
executive branch. Furthermore, the document was prepared by those attorneys in anticipation of litigation as it specifically discusses both
ongoing litigation and the likelihood of future litigation.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no meaningful, non-exempt
information that can be reasonably segregated and released.
(43-45) Travel Sanctions Against Persons Who Participate in Serious Human Rights Violations and Other Abuses
C06569352          Action             2                February 22, 2011    DOS                  RIP           (b)(5) (ACP, DPP, PCP)
                   Memorandum                                               officials/Secretary
                                                                            of State
C06569349          Legal              5                Undated                                   DIF           (b)(5) (ACP, DPP, PCP)
                   Memorandum
                                                                                                                                                                Case 20-3837, Document 41, 02/23/2021, 3042809, Page76 of 302




C06569347                              3                 Undated                                       DIF            (b)(5) (DPP, PCP); (b)(7)(E)
                                                                                Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                     1:17-cv-07572
                                                                                                                                           Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 10 of 23

                                                                      10

                   Draft Procedures
                   for
                   Implementation
DESCRIPTION: Senior Presidential advisors solicited this memorandum to advise the President on whether to exercise authority to bar entry into
the United States to aliens who participate in serious human rights violations. This memorandum and its attachments are internal government
documents that were not disseminated widely, and have not been disseminated outside of the executive branch.

The Department withheld parts of the Action Memorandum (C06569352) and all of the Legal Memorandum (C06569349) and Draft Procedures
(C06569347) under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege and the Presidential communicati ons
privilege. Release of this information would reveal the authors’ preliminary thoughts and ideas regarding what policy to pursue with respect to
barring entry to the United States, and could reasonably be expected to have a chilling effect on the open and frank expression of ideas,
recommendations, and opinions that occurs when interagency officials are drafting visa and immigration policies. Disclosure of this information
would also impede the ability of responsible government officials to formulate and carry out executive branch programs by inhibiting candid
internal discussion and the expression of recommendations and judgments regarding a preferred course of action. Furthermore, the withheld
communication was solicited and received by senior Presidential advisors and staff with broad and significant responsibility for gathering
information in the course of preparing advice for potential presentation to the President in matters that implicate the President’s decisions
concerning foreign policy and national security concerns. Disclosure of the information withheld under the Presidential communications
privilege would reveal the process by which the President receives national security advice from close advisors, and would reveal information
about the advice itself. In order to protect communications between the President’s close advisors and executive branch officials, the
                                                                                                                                                          JA-75




Department withheld one document in part and two documents in full.

The Department also withheld the legal memorandum (C06569349) in full and the action memorandum (C06569352) in part , under FOIA
Exemption 5, pursuant to the attorney-client privilege. The withheld communication is a confidential memorandum containing legal advice
written by attorneys for their clients, senior officials in the U.S. executive branch. The advice reflects the facts provided to those attorneys and
disclosure would chill the attorney-client relationship, making clients less likely to provide full and detailed information to their counsel.

The Department also withheld parts of the draft implementation guidelines (C06569347) and the action memorandum (C06569352) under
Exemption 7(E), 5 U.S.C. § 552(b)(7)(E). As established above, visa processing is a law enforcement activity, and therefore, these records
detailing how to process visa restrictions serve a law enforcement purpose and meet the threshold requirement of Exemption 7. Furthermore,
the specific portions withheld contain techniques used to identify individuals whose names need to be added to the lookout system, procedures
for adding those individuals to the system, and procedures for performing security investigations into those individuals. Disclosure of any of the
above information could reasonably be expected to risk circumvention of the law because terrorists or other bad actors could use it to conceal
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page77 of 302




derogatory information, provide fraudulent information, or otherwise circumvent the security checks put in place to ensure that terrorists and
other bad actors cannot gain visas into the United States.

                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
                              Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 11 of 23

                                                                              11



    The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
    exempt information that can be reasonably segregated and released.
    (46-59) Action Memoranda Making Visa Policy With Regard to Syria
    C06569424         Action             3                7/8/2013              NEA, CA/Secretary RIP               (b)(1) (1.4(b) & (d));
                      Memorandum                                                                                    (b)(3) (INA 222f)
    C06595510         Duplicate of
                      C06569424          3

                        Action
    C06567735           Memorandum            3                  8/26/2005 (signed         NEA, CA/Secretary                      (b)(7)(E)
                        Duplicate of                             9/7/2005)
    C06568882           C06567735             3
                        Duplicate of
    C06569457           C06567735             3
                        Near duplicate of
    C06569422           C06567735             2
                        (missing
                        clearance page)
                                                                                                                                                                    JA-76




    C06567734           Action                3                  6/26/13                   NEA, CA/Secretary                      (b)(1) (1.4(d)); (b)(6)1
                        Memorandum
    C06569455           Duplicate of          3                  6/26/13
                        7734
    C06569419           Near Duplicate        2                  6/26/13
                        of 7734 (no
                        clearance page)

    C06568355           Cover Sheet           1                  12/12/2013                NEA, CA, H /                           (b)(1) (1.4(d));
    C06569453           Action                4                  12/9/2013                 Secretary                              (b)(3) (INA 222f); (b)(6)
                        Memorandum
                                                                                                                                                                            Case 20-3837, Document 41, 02/23/2021, 3042809, Page78 of 302




1
  Plaintiff is not challenging any of the Exemption 6 redactions. The Department has listed Exemption 6 for the sake of completeness, but does not include a
further description of the information withheld on Exemption 6 grounds.
                                                                                            Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                                   1:17-cv-07572
                                                                                                                                                        Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 12 of 23

                                                                      12

C06567730           Duplicate of        4                 12/9/2013
                    9453

C06595528           Action              4                 8/14/2014               NEA, H/Secretary                      (b)(1) (1.4(d));
                    Memorandum                                                                                          (b)(3) (INA 222f); (b)(6)

C06595505           Action              4                 8/15/2016               NEA/Secretary                         (b)(1) (1.4(d));
                    Memorandum                                                                                          (b)(3) (INA 222f); (b)(6)

DESCRIPTION: These approved action memoranda concern visa decisions related to Syrian individuals, mostly named.

In most of the action memoranda (C06569424/C06595510/C06569453/C06567730/C06595528/C06595505), and the cover sheet (C06568355)
the Department withheld information about individual visa decisions and individual s’ visa statuses under Exemption 3, 5 U.S.C. § 552(b)(3),
pursuant to the Immigration and Nationality Act (“INA”) Section 222(f), codified at 8 U.S.C. § 1202(f) (hereinafter “INA 222f”). The Department
had to withhold this information pursuant to INA 222f, because it is information pertaining directly to the issuance or refusal of a visa or permit
to enter the United States.

In one action memorandum (C06569424/C06595510), the Department withheld the majority of one paragraph under Exemption 1, pursuant to
E.O. 13526, section 1.4(b), which pertains to foreign government information. This paragraph contains foreign government information that
                                                                                                                                                          JA-77




was provided to the United States in the expectation of confidence. Release of the foreign government information in this document, either
voluntarily by the Department or by order of a court, would cause foreign officials to believe that U.S. officials are not able or willing to observe
the confidentiality expected in such interchanges. The disclosure of such information would weaken the relationship with the government that
provided the information, as well as other countries considering sharing similar information with the United States in the future.

Additionally, in many of the action memoranda (C06569424, C06595510, C06567734, C06569455, C06569419, C06569453, C06567730,
C06595528, C06595505) and the one cover sheet (C06568355), the Department withheld information under Exemption 1, pursuant to E.O.
13526, section 1.4(d), which pertains to foreign relations or foreign activities of the United States. The frank discussion of foreign policy
considerations for these sanctions, if revealed, could damage or impair foreign relations and national security. The reasoning could negatively
affect the foreign policy environment, not only in Syria, but also in other countries that consider themselves similarly placed. Therefore, the
information remains properly classified.

In one of the action memoranda (C06567735, and the identical copies C06568882, C06569422, C06569457), the Department withheld one
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page79 of 302




sentence under Exemption 7(E). As established above, visa processing is a law enforcement activity, and therefore, these records detailing how
to process visa restrictions serve a law enforcement purpose and meet the threshold requirement of Exemption 7. Furthermore, the specific

                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 13 of 23

                                                                      13

portions withheld contain procedures for performing security investigations. Disclosure of this information could reasonably be expected to risk
circumvention of the law because terrorists and other bad actors could use it to conceal derogatory information, provide fraudulent
information, or otherwise circumvent the security checks put in place to ensure that terrorists and other bad actors cannot gain visas into the
United States.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(60-61) Syria Information Memorandum
C06569415           Cover Sheet      1                7/22/2013             DOS                  RIP         (b)(1) (1.4(d)); (b)(5) (DPP)

C06595525           Information         4                 7/18/2013              NEA/Secretary                        (b)(1) (1.4(b) & (d));
                    Memorandum                                                                                        (b)(5) (DPP); (b)(6)

DESCRIPTION: This Information Memorandum for the Secretary relates to a policy that was considered with respect to Syria that relates to visa
restrictions.

In the information memorandum (C06595525), the Department withheld three paragraphs under Exemption 1, pursuant to E.O. 13526, section
1.4(b), which pertains to foreign government information. These paragraphs contain foreign government information that was provided to the
                                                                                                                                                          JA-78




United States in the expectation of confidence. The disclosure of such information would weaken the relationship with the government that
provided the information, as well as other countries considering sharing similar information with the United States in the future.

Additionally, in both documents the Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(d), which
pertains to foreign relations or foreign activities of the United States. The frank discussion of the foreign policy options under consideration, if
revealed, could damage or impair foreign relations and national security. The reasoning could negatively affect the foreign policy environment,
not only in Syria, but also in other countries that consider themselves similarly placed. Therefore, the information remains properly classified.

The Department also withheld parts of both documents under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process
privilege. The proposed course of action was not adopted. Both this draft and the portion of the legal background that discusses the details of
the proposal are pre-decisional and deliberative with respect to a final decision about this foreign policy choice having to do with Syria. Release
of this information would reveal the authors’ preliminary thoughts and ideas regarding what to do and why, and could reasonably be expected
to have a chilling effect on the open and frank expression of ideas, recommendations, and opinions that occurs when Department officials are
formulating foreign policy. Disclosure of this information would also impede the ability of responsible government officials to formulate and
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page80 of 302




carry out executive branch programs by inhibiting candid internal discussion and the expression of recommendations and judgments regarding a
preferred course of action. These are both internal Department documents that were not disseminated outside of the government.
                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 14 of 23

                                                                     14



The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(62-67) Action Memorandum on Proposed Legislative Policy for Group(s)
C06569231          Cover Sheet                 1     1/12/2012       DOS                             RIP      (b)(1) (1.4(d)), (b)(5) (DPP)
C06569243          Letter                      1     1/12/2012       Secretary Clinton/Another       DIF      (b)(1) (1.4(d)), (b)(5) (DPP)
                                                                     Agency Head

C06569247           Action Memorandum             3     1/11/2012         Legal Adviser Harold Koh            RIP     (b)(1) (1.4(b) & (d));
                                                                                                                      (b)(5) (ACP, DPP); (b)(6)

C06569279           Background                    1                                                           RIP     (b)(1) (1.4(d)); (b)(5) (DPP)
                    Memorandum


C06569281           Legislative Options           6                                                           RIP     (b)(1) (1.4(d)), (b)(5) (ACP,
                    Memorandum                                                                                        DPP)

C06569277           Letter                        2                       Another Agency Head/                DIF
                                                                                                            (b)(1) (1.4(c) & (d));
                                                                                                                                                          JA-79




                                                                          Secretary Clinton                 (b)(3) (Nat’l Sec’y Act of 1947);
                                                                                                            (b)(5) (DPP)
DESCRIPTION: This package addresses an interagency proposal to exempt (from the INA’s terrorism-related inadmissibility grounds) some
groups that were and/or are considered Tier III undesignated terrorist organizations.

In the action memorandum (C06569247), the Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(b),
which pertains to foreign government information. These paragraphs contain foreign government information that was provided to the United
States in the expectation of confidence. The disclosure of such information would weaken the relationship with the government that pro vided
the information, as well as other countries considering sharing similar information with the United States in the future.

In all of these documents, the Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(d) , which pertains to
foreign relations or foreign activities of the United States. The frank discussion of the foreign policy considerations of these proposed
exemptions to Tier III status, if revealed, could damage or impair foreign relations and national security. The reasoning could negatively affect
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page81 of 302




the foreign policy environment, not only in the named countries, but also in other co untries that consider themselves similarly placed.
Therefore, the information remains properly classified.
                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 15 of 23

                                                                     15



The Department also withheld portions of all of these documents under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative
process privilege. Release of this information would reveal the authors’ preliminary thoughts and ideas regarding what policy to pursue with
respect to this proposed exemption, and could reasonably be expected to have a chilling effect on the open and frank expression of ideas,
recommendations, and opinions that occurs when interagency officials are drafting legislative and national security policies. Disclosure of this
information would also impede the ability of responsible government officials to formulate and carry out executive branch programs by
inhibiting candid internal discussion and the expression of recommendations and judgments regarding a preferred course of action. These are
internal government documents that were not disseminated outside of the executive branch.

The Department also withheld portions of two of the memoranda (C06569247/C06569281) under FOIA Exemption 5, pursuant to attorney-
client privilege. The withheld communications are confidential memoranda containing legal advice written by attorneys for their client, the
Secretary of State. The advice reflects the facts provided to those attorneys and disclosure would chill the attorney-client relationship, making
clients less likely to provide full and detailed information to their counsel.

The Department withheld one document in full (C06569277) under Exemption 1, pursuant to E.O 13526, section 1.4(c) , which pertains to
intelligence activities (including covert action), intelligence sources or methods, or cryptology. This exemption was asserted to protect classified
intelligence methods and sources, and controlled access and dissemination control markings. The Department also withheld this document in
full under Exemption 3, pursuant to the National Security Act of 1947. This exemption was asserted to protect intelligence sources and
methods, including locations of sensitive facilities, intelligence targets and interests, and dissemination controls. This document is withheld in
                                                                                                                                                         JA-80




full because there is no meaningful non-exempt information that can be reasonably be segregated from any exempt information.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(68-77) Action Memoranda Imposing or Lifting Visa Restrictions on Various Countries
C06595500          Action Memorandum           4     7/15/2015       NEA, CA/Secretary               RIP        (b)(1) (1.4(d));
                                                                                                                (b)(3) (INA 222f); (b)(6)
C06567810          Action Memorandum           4     12/21/2017      EUR/Secretary                   RIP        (b)(1) (1.4(b) & (d)); (b)(7)(E)
C06595498          Action Memorandum           4     3/6/2014        EUR, CA/Secretary               RIP        (b)(1) (1.4(d)); (b)(6)
C06567867          Action Memorandum           3     6/10/2011       WHA/Secretary                   RIP        (b)(1) (1.4(b) & (d)); (b)(6)
C06567859          Additional Background       2     Undated                                         RIP        (b)(1) (1.4(b) & (d))
C06567793          Action Memorandum           5     1/23/2012       AF/Secretary                    RIP        (b)(1) (1.4(b) & (d)); (b)(6)
C06595539          Action Memorandum           4     3/24/2014       WHA, CA, DRL/Secretary          RIP        (b)(1) (1.4(d)); (b)(6)
                                                                                                                                                                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page82 of 302




C06595501          Duplicate of 5539           4     3/24/2014       WHA, CA, DRL/Secretary          RIP        (b)(1) (1.4(d)); (b)(6)
C06595494          Action Memorandum           3     1/7/2011        EAP, CA/Secretary               RIP        (b)(1) (1.4(d)); (b)(6)
                                                                                 Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                      1:17-cv-07572
                                                                                                                                            Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 16 of 23

                                                                     16

C06568895            Action Memorandum            3     2/17/2011         EAP, CA/Secretary                  RIP(b)(1) (1.4(d)); (b)(6);
                                                                                                                (b)(7)(E)
DESCRIPTION: These action memoranda approved imposing or lifting visa restrictions on individuals from various countries.

In several of the action memoranda (C06567810, C06567867, C06567793) and in the additional background attachment (C06567859) the
Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(b), which pertains to foreign government
information. These paragraphs contain foreign government information that was provided to the United States in the expectation of
confidence. The disclosure of such information would weaken the relationship with the government that provided the information, as well as
other countries considering sharing similar information with the United States in the future.

In all of these documents, the Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(d) , which pertains to
foreign relations or foreign activities of the United States. The frank discussion of the foreign policy considerations animating these proposed
changes to visa policy, if revealed, could damage or impair foreign relations and national security. Release of the reasoning could negatively
affect the foreign policy environment, not only in the named countries, but also in other countries that consider themselves similarly placed.
Therefore, the information remains properly classified.

The Department withheld portions of one action memorandum (C06595500) under FOIA Exemption 3, 5 U.S.C. § 552(b)(3), pursuant to INA
222f. The withheld portions relate to the visa status of the individuals being considered, and therefore pertain directly to the issuance or refusal
of a visa or permit to enter the United States, the decision to deny visas to the cited individuals.
                                                                                                                                                         JA-81




In one of the action memoranda (C06567810), the Department also withheld information under Exemption 7(E). As established ab ove, visa
processing is a law enforcement process, and therefore, this record serves a law enforcement purpose and meets the threshold requirement of
Exemption 7. Furthermore, the specific portions withheld contain procedures for processing specific types of visas. This document also
contains information about criminal law information sharing and investigation techniques. Disclosure of this information could reasonably be
expected to risk circumvention of the law because terrorists or other bad actors could use it to conceal derogatory information, provide
fraudulent information, or otherwise circumvent the security checks put in place to ensure that terrorists cannot gain visas into the United
States.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.

(78-80) Inadmissibility Determination for Venezuelan Nationals
                                                                                                                                                                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page83 of 302




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C06595564            Memorandum                   5     5/25/2016                                            RIP
                                                                                 Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                      1:17-cv-07572
                                                                                                                                            Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 17 of 23

                                                                      17

                                                                           WHA, H, DRL, CA/Under         (b)(1) (1.4(c), (d), & (e));
C06595542            Memorandum                    5     5/25/2016         Secretary Shannon             (b)(3) (INA 222f); (b)(6)
                                                                                                         (b)(1) (1.4(c), (d), & (e));
C06595547         Memorandum               4     1/12/2016                                               (b)(3) (INA 222f); (b)(6)
                                                                                                         (b)(1) (1.4(c), (d), & (e));
                                                                                                         (b)(3) (INA 222f); (b)(6)
DESCRIPTION: These action memoranda concern inadmissibility determinations for three Venezuelan nationals.

The Department withheld information in these documents about which individuals’ visa statuses were affected, under Exemption 3, 5 U.S.C. §
552(b)(3), pursuant to INA 222f. The Department had to withhold this information pursuant to INA 222f, because it is information pertaining
directly to the issuance or refusal of a visa or permit to enter the United States.

In all of the documents, the Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(d), which pertains to
foreign relations or foreign activities of the United States. The frank discussion of foreign policy considerations for these sanctions, if revealed,
could damage or impair foreign relations and national security. The reasoning could negatively affect the foreign policy environment, not only
in the named countries, but also in other countries that consider themselves similarly placed. Therefore, the information remains properly
classified.

In all of the documents, the Department withheld information under Exemption 1, pursuant to E.O. 13526, sections 1.4(c) and (e), which pertain
                                                                                                                                                           JA-82




to intelligence activities (including covert action), intelligence sources or methods, or cryptology; and to scientific, technological, or economic
matters relating to the national security, including defense against transnational terrorism. These documents both involve a discussion of the
acts of corruption allegedly committed by the individuals in question. Releasing this information would reveal the sources and methods by
which the United States collects intelligence. Furthermore, the withheld description of corruption shows the methods by which certain types of
sanctions are decided, which is an economic matter related to national security. Therefore, the information remains properly classified.

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(81-83) Action Memo (Kosovo Liberation Army)
C06569136          Action Memorandum           3     4/20/2011       EUR/Deputy Secretary             RIP                (b)(5) (DPP); (b)(6)
                                                                     Steinberg
C06569118          Attachment: Report          3     4/18/2011       EUR                              RIP                (b)(1) (1.4(b) & (d))
                                                                                                                                                                   Case 20-3837, Document 41, 02/23/2021, 3042809, Page84 of 302




C06569125            Attachment: Report            6     1/21/2010         -                                   DIF                (b)(1) (1.4(b), (c), &
                                                                                                                                  (d))
                                                                                   Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                        1:17-cv-07572
                                                                                                                                              Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 18 of 23

                                                                      18

DESCRIPTION: This Action Memorandum (“AM”) approved the Department’s support for DHS granting an exemption to the Kosovo Liberation
Army from the Immigration and Nationality Act’s terrorism-related provisions. The AM is accompanied by three attachments. The first
attachment (C06569056) was a Memorandum for Christopher Button, Acting Executive Secretary for the Department of Homeland Security
(“DHS”) that was released in full. The second attachment (C06569118) is entitled “Policy Justification for Exemption of Certain Aliens Affiliated
with the Kosovo Liberation Army (KLA).” The third attachment (C06569125) provides background information about the KLA.

In the AM (C06569136), the Department withheld part of a paragraph under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative
process privilege. This section describes interagency deliberations about whether DHS should take the recommended action, an d the factors
DHS is considering. This information is predecisional, as it pre-dates DHS’s ultimate decision. Furthermore, release of this information would
stifle the deliberative process in the future, making it less likely that drafters of future AMs will feel comfortable including a full description of
other agencies’ deliberations in their written explanations to senior policy makers. Therefore, release of the withheld information would
impede the ability of responsible government officials to formulate and carry out executive branch programs by inhibiting candid internal
discussion and the expression of recommendations and judgments regarding a preferred course of action. These are internal government
documents that were not disseminated outside of the executive branch.

The Department withheld information in the first attachment (C06569118) under FOIA Exemption 1, 5 U.S.C. § 552(b)(1). The document is
properly marked classified at the Secret level under Sections 1.4(b) and (d) of E.O 13526, which pertain to foreign government information and
foreign relations or foreign activities of the United States. The document contains foreign government information that was provided to the
United States in the expectation of confidence. It also provides a frank assessment of the policies of this organization which, if revealed, would
                                                                                                                                                          JA-83




damage or impair foreign relations and national security. The fact that certain actions were being considered could negatively affect the foreign
policy environment, not only in the countries most involved, but also in others that consider themselves similarly placed. Therefore, the
information remains properly classified.

The Department withheld the second attachment (C06569125) in full under FOIA Exemption 1, 5 U.S.C. § 552(b)(1) , . The document is currently
and properly classified at the Secret level under Sections 1.4(b), (c), and (d) of E.O 13526, which pertain to foreign government information;
intelligence activities (including covert action), intelligence sources or methods, or cryptology; and foreign relations or foreign activities of the
United States. The document contains foreign government information that was provided to the United States in the expectation of confidence.
It also contains classified intelligence methods and sources used to collect information about the KLA. Finally, it contains a frank assessment of
the policies in regard to this organization and other countries which, if revealed, would damage or impair foreign relations and national security.
Therefore, the information remains properly classified.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page85 of 302




exempt information that can be reasonably segregated and released.
(84) Fiji Action Memorandum

                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
                          Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 19 of 23

                                                                       19

C06595502            Action Memorandum             3
                                                1/7/2011        EAP, CA/Under Secretary              RIP        (b)(1) (1.4(d)); (b)(6)
                                                10/10/2014      Sherman
DESCRIPTION: This action memorandum approved imposing and then lifting visa restrictions on individuals from Fiji.

In this document, the Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(d), which pertains to foreign
relations or foreign activities of the United States. The frank discussion of foreign policy considerations for these sanctions, if revealed, could
damage or impair foreign relations and national security. The reasoning could negatively affect the foreign policy environment, not only in the
named countries, but also in other countries that consider themselves similarly placed. Therefore, the information remains properly classified.

The Department conducted a thorough, line-by-line review of these withholdings and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(85-88) Waiver of Possible Visa Ineligibility of [Redacted]
C06569320           Action Memorandum              3    5/7/2012     SCA, EUR/Deputy Secretary       RIP        (b)(1) (1.4(b) & (d));
                                                                     Nides                                      (b)(3) (INA 222f); (b)(6)

C06569414            Profile                       2                                                           DIF        (b)(1) (1.4(b), (c), & (d));
                                                                                                                          (b)(3) (INA 222f); (b)(6)
                                                                                                                                                           JA-84




C06569321            Authority and                 2                                                           RIP        (b)(1) (1.4(b) & (d))
                     Justification for Waiver of
                     Visa Restrictions

C06569318          Cover Sheet             1    5/8/2012                                               RIP      (b)(1) (1.4(d))
DESCRIPTION: This action memorandum package approved waiver of a possible visa ineligibility for an individual.

The Department withheld information in these documents about which individuals’ visa statuses were affected, under Exemption 3, 5 U.S.C. §
552(b)(3), pursuant to INA 222f. The Department had to withhold this information pursuant to INA 222f, because it is information pertaining
directly to the issuance or refusal of a visa or permit to enter the United States.

In all of the documents, the Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(d), which pertains to
foreign relations or foreign activities of the United States. The frank discussion of foreign policy considerations for this waiver, if revealed, could
damage or impair foreign relations and national security. The reasoning could negatively affect the foreign policy environment, not only in the
                                                                                                                                                                   Case 20-3837, Document 41, 02/23/2021, 3042809, Page86 of 302




named countries, but also in other countries that consider themselves similarly placed. Therefore, the information remains properly classified.


                                                                                   Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                        1:17-cv-07572
                                                                                                                                              Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 20 of 23

                                                                    20

In three of the documents (C06569320, C06569414, and C06569321) the Department withheld information under Exemption 1, pursuant to E.O.
13526, section 1.4(b), which pertains to foreign government information. These paragraphs contain foreign government information that was
provided to the United States in the expectation of confidence. The disclosure of such information would weaken the relationship with the
government that provided the information, as well as other countries considering sharing similar information with the United States in the
future.

In the profile (C06569414), the Department withheld information under Exemption 1, pursuant to E.O. 13526, sections 1.4(c), which pertains to
intelligence activities (including covert action), intelligence sources or methods, or cryptology. This document involves a discussion of
background information on the individual that would reveal the sources and methods by which the United States collects intelligence.
Therefore, the information remains properly classified.

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(89-95) Draft Notices from the Office of the Secretary: Exercise of Authority under INA Section 212(d)(3)(B)(i)
C06569081           Memorandum           2                    Undated         USCIS/DOS                 DIF          (b)(5) (DPP); (b)(6)
C06569151                                6
C06569164                                4
C06569179                                5
C06569199                                5
                                                                                                                                                        JA-85




C06569216                                5
C06569226                                5
DESCRIPTION: The Department of Homeland Security withheld the draft notices in full, under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant
to the deliberative process privilege.

The Department withheld these draft, unsigned notices in full, under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative
process privilege. These draft notices are pre-decisional and deliberative with respect to a final decision on whether to issue a notice and what
to include in the final notice. Release of this information would reveal the authors’ preliminary thoughts and ideas regarding what notices to
issue and what information to include in the final exemption notice, and could reasonably be expected to have a chilling effect on the open and
frank expression of ideas, recommendations, and opinions that occurs when Department officials are drafting visa and immigration policies.
Disclosure of this information would also impede the ability of responsible government officials to formulate and carry out executive branch
programs by inhibiting candid internal discussion and the expression of recommendations and judgments regarding a preferred course of
action. These are all internal Department documents that were not disseminated outside of the executive branch.
                                                                                                                                                                Case 20-3837, Document 41, 02/23/2021, 3042809, Page87 of 302




                                                                                Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                     1:17-cv-07572
                                                                                                                                           Exhibit 1
                        Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 21 of 23

                                                                   21

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no meaningful, non-exempt
information that can be reasonably segregated and released.
(96) Informal Legal Opinion on Section 212(d)(3)(B)(i)
C06568577          Legal                                                      DOJ Office of Legal    DIF            (b)(5) (ACP, DPP, PCP)
                   Memorandum                                                 Counsel/ DOS
DESCRIPTION: The Department of Justice (DOJ) withheld this document, under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the
deliberative process, the attorney-client, and Presidential communications privileges.

The Department withheld the text under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of this
information would reveal the authors’ preliminary thoughts and ideas regarding what policy to pursue with respect to a policy on waiving
inadmissibilities in certain situations, and could reasonably be expected to have a chilling effect on the open and frank expression of ideas,
recommendations, and opinions that occurs when interagency officials are drafting visa and immigration policies. Disclosure of this information
would also impede the ability of responsible government officials to formulate and carry out executive branch programs by inhibiting candid
internal discussion and the expression of recommendations and judgments regarding a preferred course of action.

The Department also withheld the text in full, under FOIA Exemption 5, pursuant to the Presidential communications privilege. The withheld
communication was solicited and received by senior presidential advisors and staff with broad and significant responsibility for gathering
information in the course of preparing advice for potential presentation to the President in matters that implicate the President’s decisions
concerning foreign policy and national security concerns. Disclosure of the information withheld under the presidential communications
                                                                                                                                                       JA-86




privilege would reveal the process by which the President receives national security advice from close advisors, and would reveal information
about the advice itself. In order to protect communications between the President’s close advisors and executive branch officials, the
Department withheld the document in full. This document was not widely disseminated within the executive branch and was not disseminated
outside of the executive branch.

The Department also withheld the text in full, under FOIA Exemption 5, pursuant to attorney-client privilege. The withheld communication is a
confidential memorandum containing legal advice written by attorneys for their client, the U.S. executive branch. Releasing the legal advice
that reflects facts provided by a client undermines the attorney-client relationship.

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no meaningful, non-exempt
information that can be reasonably segregated and released.

(97) Memorandum for Acting Assistant Secretary
                                                                                                                                                               Case 20-3837, Document 41, 02/23/2021, 3042809, Page88 of 302




C06570336     Memorandum             06/04/2015              1               DOJ National Security        DIF              (b)(5) (ACP, DPP)
                                                                             Division/DOS
                                                                               Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                    1:17-cv-07572
                                                                                                                                          Exhibit 1
                        Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 22 of 23

                                                                    22



DESCRIPTION: DOJ withheld the draft text in full, under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege.

The Department withheld the text under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of this
information would reveal the authors’ preliminary thoughts and ideas regarding what policy to pursue with respect to a proposed exemption
from the INA terrorism-related inadmissibility grounds, and could reasonably be expected to have a chilling effect on the open and frank
expression of ideas, recommendations, and opinions that occurs when interagency officials are drafting visa and immigration policies.
Disclosure of this information would also impede the ability of responsible government officials to formulate and carry out executive branch
programs by inhibiting candid internal discussion and the expression of recommendations and judgments regarding a preferred course of
action. This document was not widely disseminated within the executive branch and was not disseminated outside of the executive branch.

The Department also withheld the text in full, under FOIA Exemption 5, pursuant to attorney-client privilege. The withheld communication is a
confidential memorandum containing legal advice written by attorneys for their client, the U.S. executive branch. Releasing the legal advice
that reflects facts provided by a client undermines the attorney-client relationship.

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no meaningful, non-exempt
information that can be reasonably segregated and released.
(98) Draft Press Guidance




                                                                           -
                                                                                                        -
                                                                                                                                                       JA-87




C06567845         Draft                10/2009              1               DOS                      RIP            (b)(5) (DPP)

DESCRIPTION: This document contains draft press guidance relating to visa revocations for Guineans.

The Department withheld the text under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of this
information would reveal the authors’ preliminary thoughts and ideas regarding what the final press guidance should be regarding a decision in
the process of being made, and could reasonably be expected to have a chilling effect on the open and frank expression of ideas,
recommendations, and opinions that occurs when interagency officials are making decisions that require drafting press guidance. Disclosure of
this information would also impede the ability of responsible government officials to formulate and carry out executive branch programs by
inhibiting candid internal discussion and the expression of recommendations and judgments regarding a preferred course of action. This
document was not widely disseminated within the executive branch and was not disseminated outside of the executive branch.

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no additional meaningful, non-
                                                                                                                                                               Case 20-3837, Document 41, 02/23/2021, 3042809, Page89 of 302




exempt information that can be reasonably segregated and released.
(99) List of Names Proposed for Visa Restrictions

                                                                               Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                    1:17-cv-07572
                                                                                                                                          Exhibit 1
                         Case 1:17-cv-07572-ALC Document 93-1 Filed 02/26/19 Page 23 of 23

                                                                      23

C06567771         Name List                                     2               DOS                          RIP              (b)(1)(1.4(d));
                                                                                                                              (b)(3) (INA 222f); (b)(6)

DESCRIPTION: This document contains a list of names proposed for visa restrictions.

The Department withheld information under Exemption 1, pursuant to E.O. 13526, section 1.4(d), which pertains to foreign relations or foreign
activities of the United States. The frank discussion of the details of the visa restrictions, if revealed, could damage or impair foreign relations
and national security. The discussion could negatively affect the foreign policy environment, not only in the named countries, but also in other
countries that consider themselves similarly placed. Therefore, the information remains properly classified.

Also, the Department withheld information about individuals holding valid or expired U.S. visas under Exemption 3, 5 U.S.C. § 552(b)(3),
pursuant to the Immigration and Nationality Act (“INA”) Section 222(f), codified at 8 U.S.C. § 1202(f) (hereinafter “INA 222f”). T he Department
had to withhold this information pursuant to INA 222f, because indications that individuals currently hold a visa, information about the type of
visa, the visa number, and the visa’s expiration date is information pertaining directly to the issuance or refusal of a visa or permit to enter the
United States.

The Department conducted a thorough, line-by-line review of this withholding and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
                                                                                                                                                          JA-88
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page90 of 302




                                                                                  Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                                                                       1:17-cv-07572
                                                                                                                                             Exhibit 1
            Case 20-3837, Document 41, 02/23/2021, 3042809, Page91 of 302
                                                             JA-89
              Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 1 of 8

KNIGHT
FIRST AMENDMENT
INSTITUTE
 at Columbia University

CAROLINE M, OECELL
Staff Attorney



                                                                  August 7, 20 17
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                  Dr.Jam es V.M.L. Holzer
                  Deputy ChiefF OIA Officer
                  The Privacy Office
                                                                                                                                   I
                                                                                                                                   !
                  U.S. Depart ment of Homel and Security
                  245 Murray Lane SW                                                                                               I
                                                                                                                                   I
                  STOP- 0655                                                                                                       !
                  Washington, DC 20528-0653
                  Email: foia@hq.dhs.gov                                                                                           I
                     FOIA Officer
                                                                                                                                       I
                     U.S. Customs and Border Prolection                                                                                I
                     1300 Pennsylvania Avenue NW                                                                                   (
                     Room 3.3D                                                                                                         '
                     Washington, DC 20229

                     FOIA Officer
                     U.S. Immigration and Customs Enforc ement
                     Freedom oflnfor mation Act Office
                     500 12th Street SW
                     STOP-5009
                     Washington, DC 20536-5009
                     Email: ice-foia@dhs.gov

                     FOIA Officer
                     U.S. Citizenship and Immigration Services
                     National Records Center, FOIA/ PA Office
                     P. 0. Box 6480!0
                     Lee's Summit, MO 64064-80 I 0
                     Email: uscis.foia@uscis.dhs.gov

                     Director of Public Affairs
                     Office of Public Affairs
                     U.S. Depart ment ofJustice
                     950 Pennsylvania Avenue NW'
                     Washington, DC 20530

                                                                                                                   11,;- 9 2017

                                                                            854-9600 I fintname. Jastname @knlgbtc olumbla.o rg
           S3S West 116th Street, 314 Low Ubrary, New York, NY 10027 I (2U)
                                                                                                        Second Stein Declaration
                                                                                                                  1:17-cv-07572
                                                                                                                       Exhibit 2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page92 of 302
                                            JA-90
 Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 2 of 8




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   Office of Information Programs and
   Services
   A/GlS/l PS/RL
   SA-2, Suite 8100
   Washington, DC 20522-0208


            Re:       Freedom of Informa tion Act Reques t
                      Expedit ed Process ing Request ed

    To Whom It May Concern:

       The Knight First Amendm ent Institute at Columbi a University ("Knight
    Institute" or "Institute") submits this request pursuant to the Freedom of
    Information Act ("FOIA"), 5 U.S.C. § 552, for records concerni ng the
    exclusion or removal of individuals from the United States based on their
    speech, beliefs, or associations. 1

                                        I. Backgro und

       During his 2016 presidential campaign, then-cand idate Donald Trump
    evoked a Cold War- era "ideological screening test" for admission into the
    United States and proclaimed that a "new screening test" involving
    "extreme, extreme vetting" was overdue.2 A week after his inauguration,


    1 The Knight First Amendmen t Institute is a New York not-for-pro fit organizatio n based

    at Columbia University that works to preserve and expand the freedoms of speech and the
    press through strategic litigation, research, and public education.
    2 Karen DeYoung, Trump Proposes Ideological Testfor Muslim Immigrants and Visitors lo the U.S.,

    Wash. Post (Aug. 15, 2016), https:/ /perma.cc /G9SC-EP HT.                             .



                                                  2

                                                                                       Second Stein Declaration
                                                                                                 1:17-cv-07572
                                                                                                      Exhibit 2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page93 of 302
                                              JA-91
 Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 3 of 8




   President Trump issued Executive Order 13,769, declaring that the United
   States "must ensure that those admitted to this country do not bear hostile
   attitudes toward it and its founding principles" and "cannot , and should not,
   admit those who do not support the Constitution." Exec. Order No. 13,769,
   82 Fed. Reg. 8,977 Gan. 27, 2017).

      The President issued a revised order on March 6, 20 I 7. It directed the
   Secretary of State, the Attorney General, the Secretary of Homela nd
   Security, and the Director of National Intelligence to develop a more robust
   vetting program for aliens seeking entry into the United States, involving,
   among other things, "collection of all information necessary for a rigorous
   evaluation of all grounds of inadmissibility." Exec. Order No. 13,780, 82
   Fed. Reg. 13,209, 13,215 (Mar. 6, 2017).

      The Knight Institute seeks to inform the public about any new vetting
   policies and about the government's understanding of its authority to base
   immigration decisions on individuals' speech, beliefs, or associations. It also
   seeks to report on the government's use of existing statutory provisions,
   including the "endorse or espouse provisions" and the "foreign policy
                                                    1

   provision," to exclude or remove individu
              2                                als from   the United States on
   these grounds.

                                   II. Record s Re queste d

      The Knight Institute requests the following records created on or after
    May 11, 2005:

               l. All directives, memoranda, guidance, emails, or other
                  communications sent by the White House to any federal agency
                                                        3



                                                                                   10 endorse or
    1   Any alien who "endorses or espouses terrorist activity or persuades others
                                                                                           who is a
    espouse terrorist activity," 8 U.S.C. § 11 82(a)(3)(B)(i)(VII), as well as any alien
                                                        group   that endorses or espouses   terrorist
    representative of "a political, social, or other
                                                                                       provisions")
    activity," 8 U.S.C. § l 182(a)(3)(B)(i)(IV)(bb) (together, the "endorse or espouse
                                                                                         removal as
    is deemed inadmissible. The endorse or espouse provisions provide a basis for
                                                                                       l 227(a)(4)(B)
    well. See 8 U.S.C. § l 225(c) (expedited removal of arriving aliens); 8 U.S.C. §
                                                                                         of refugees
    (removal of admitted aliens); iee also 8 U.S.C. § l 158(b)(2)(A)(v) (removal
    otherwise qualified for asylum on similar grounds).
                                                                                                     have
    2 Any "alien whose entry or proposed activities in the United States .. . would
               y serious  adverse foreign    policy   conseque     nces" is inadmissi ble,   8 U.S.C. §
    potentiall
                                                                                                 tion of
    1182(a)(3)(C )(i), even, under ccnain circumstances, where the determina
                                                                                                   within
    inadmissibility is based on "beliefs, statements or associations [that) would be lawful
                                  §  I 182(a)(3)(C)(iii). See also 8 U.S.C. §§ l 225(c)(l), l 227(a)(4)(C)
    the United States," 8 U.S.C.
    (providing for expedited removal and removal on the same grounds).
                                                                                             of the
    3 The term "White House" includes, but is not limited to, the Executive Office
                                                                                             to the
    President, the Office of the President, the White House Office, the Office of Counsel
                              Security  Council, the Office of the Vice President, the Cabinet,  as
    President, the National
                                                                                       President as
    well as any government officer who directly advises the President or the Vice
    to the legality of, or authority to undertake, any executive action.


                                                      3

                                                                                            Second Stein Declaration
                                                                                                      1:17-cv-07572
                                                                                                           Exhibit 2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page94 of 302
                                          JA-92
 Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 4 of 8




                since January 19, 20 I 7, regarding consideration of individuals'
                speech, beliefs, or associations in connection with immigration
                determinations, including decisions to exclude 1 or remove
                individuals from the United States.

           2. All memoranda concerning the legal implications of excluding
              or removing individuals from the United States based on their
              speech, beliefs, or associations.

           3. All legal or policy memoranda concerning the endorse or
              espouse provisions, or the foreign policy provision as it relates to
              "beliefs, statements or associations."

           4. All records containing policies, procedures, or guidance
              regarding the application or waiver of the endorse or espouse
              provisions or the foreign policy provision. Such records would
              include policies, procedures, or guidance concerning the entry
              or retrieval of data relevant to the endorse or espouse provisions
              or the foreign policy provision into or from an electronic or
              computer database.

            5. All Foreign Affairs Manual sections (current and former) relating
               to the endorse or espouse provisions or the foreign policy
               provision, as well as records discussing, interpreting, or
               providing guidance regarding such sections.

            6. All records concerning the application, waiver, or contemplate d
               application or waiver of the endorse or espouse provisions to
               exclude or remove individuals from the United States, or the
               application, waiver, or contemplated application or waiver ofthe
               foreign policy provision to exclude or remove individuals from
               the United States based on "beliefs, statements or associations,"
               including:

                 a. Statistical data or statistical reports regarding such
                    application, waiver, or contemplate d application or waiver;

                 b. Records reflecting the application, waiver, or contemplate d
                    application or waiver of the endorse or espouse provisions or
                    foreign affairs provision by an immigration officer, a border
                    officer, a Department of Homeland Security official, or a
                    Department ofJustice official;

                 c. Records concerning any determinatio n made by the
                    Attorney General pursuant to 8 U.S.C. § I 225(c) regarding

    1 As used herein, the term "exclude" includes denying a visa, revoking a visa, or otherwise

    deeming inadmissible for entry into the United States.



                                                4

                                                                                   Second Stein Declaration
                                                                                             1:17-cv-07572
                                                                                                  Exhibit 2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page95 of 302
                                       JA-93
 Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 5 of 8




                  the admissibility of arriving aliens under the endorse or
                  espouse provisions or the foreign policy provision;

              d. Department of Homeland Security and Department of
                 Justice records concerning consultation between the
                 Secretary of State, the Secretary of Homeland Security,
                  and/or the Attorney General (or their designees) relating to
                  any waiver or contemplated waiver ofthe endorse or espouse
                 proVIs1ons pursuant to 8 U.S.C. §§ l 158(b)(2)(v),
                  I l 82(d)(3)(A), or 1 l 82(d)(3)(B)(i); and

              e. Notifications or reports from the Secretary of Homeland
                 Security or the Secretary of State concerning waivers of the
                 endorse or espouse provision pursuant to 8 U.S.C. §
                 11 ~2(d)(3)(B)(ii).

      Where a document contains information that falls into one or more of
   the categories described above, we seek the entirety of that document. If
   processing the entirety of a given document would be unusually
   burdensome, we ask that you give us an opportunity to narrow our request.
   Please disclose all segregable portions of otherwise exempt records. See 5
   u.s.c. § 552(b).
       We also ask that you provide responsive electronic records in their native
   file format or a generally accessible electronic format (e.g., for tabular data,
   XLS or CSV). See 5 U.S.C . § 552(a)(3)(B). Alternatively, please provide the
   records electronically in a text-searchable, static-image format (e.g., PDF), in
   the best image quality in the agency's possession, and in separate, Bates-
   stamped files.

                III. Application for Expedited Processing

      The Knight Institute requests expedited processing pursuant to 5 U .S.C .
   § 552(a)(6)(E). There is a "compelling need" for the records sought because
   the information they contain is "urgentQy)" needed by an organization
   primarily engaged in disseminating information "to inform the public about
   actual or alleged Federal Government activity." 5 U .S.C.
   § 552(a)(6)(E)(v)(II).
          A. The Knight Institute is primarily engaged in disseminating
             information in order to iriform the public about actual or all.eged
             government actiuiry.

      The Khight Institute is "primarily engaged in disseminating
   information" within the meaning ofFOIA. 5 U.S.C. § 552(a)(6)(E)(v)(II).

     The Institute is a newly established organization at Columbia University
   dedicated to defending and strengthening the freedoms of speech and the


                                            5

                                                                              Second Stein Declaration
                                                                                        1:17-cv-07572
                                                                                             Exhibit 2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page96 of 302
                                               JA-94
 Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 6 of 8




   press in the digital age. Research and public education are central to the
   Institute's mission. 1 Obtaining information about government activity,
   analyzing that information, and publishing and disseminating it to the press
   and the public are among the core activities the Institute was established to
   perform. See ACLU v. DO], 321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004)
   (finding public interest group that "gathers information of potential interest
   to a segment of the public, uses its editorial skills to turn the raw material
   into a distinct work, and distributes that work to an audience" to be
   "primarily engaged in disseminating information").

             B. The records sought are urgent{y needed to inform the public about
                actual or alleged government activiry.

      The requested records are urgently needed to inform the public about
   actual or alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). The
   records sought concern the government's exclusion and removal of
   individuals from the United States based on their speech, beliefs, or
   associations. Such activity is ongoing, and the President has promised
   "strong programs" to ensure that the only individuals allowed in the United
   States are those who "want to love our country." 2 To this end, the President
   has mandated more robust vetting standards for all immigration programs,
   and has directed the Secretary of Homeland Security to report periodically
   on the development of these standards from now until October 2, 2017.
   Exec. Order No. 13,780, 82 Fed. Reg. at 13,215.

      President Trump's executive orders on immigration have already been
   the subject of widespread debate,3 and the development of new vetting
   policies will ensure continued public interest in the issue. Yet, lack of
   transparency with respect to current policies and practices stymies




   1 Mike McPhate, Columbia Uniumi!)' To Open a First Amendment Institute, N.Y. Times (May 17,

   2016), https:/ /penna.cc/YC9M-LUAD;James Rosen, .Nw Jnstitutt Aspires To Protect First
   Amendment in Digital Era, McClatchy DC (May 20, 2016), https:/ /pcrma.ec/ZS2K-FPED.
    2 Trump Defends Immigration Restrictions, Wants People 'H1zo Love Our Country,' Chi. Trib. (Feb.
    6, 2017), http:/ /trib.in/2v1Qeuw.
    3 See, e.g., Mark Berman, To Argue for Stn'cter Vetting ofImmigrants, Trump Jrwokes Attacks Carried
    Out fry U.S. Citi<.ens, Wash. Post (Feb. 28, 2017), https://perma.cc/PA4P-9KPP; Lauren
    Gambino & Tom McCarthy, Trump Pressing Ahead with 'Extreme Vetting' in Spite ofCourt Battles,
    The Guardian Oune 6, 2017), https:/ /pcnna.cc/Q6WT-XCRX;Jonathan E. Meyer, Tu
    Consequences of Extreme Vetting, Politico (May 5, 2017), https:/ /pcrma.cc/9f5P-65PQ; S.A.
    Miller & Dave Boyer, Trump Signs .Nw Extreme Vetting Order, Wash. Times (Mar. 6, 2017),
    https:/ /perma.cc/2XME-QKFH; Michael Price, Does the President's Immigration Order Violate
    the Rule Against Ideological Exclusion?, Lawfare (Feb. I, 2017), https:/ /perma.cc/9BKA-X86L;
    Y cganch Torbati, State Department Propous Collecting Immigrants' Social Media Handles in Move
    Toward 'Extreme Vetting,' Bus. Insider (May 4, 2017), hnps://perma.cc/H4Q9-648S; Trump
    Administration's Threat To Impose Ideological Testfor Immigrants Evokes Dark Chapter in U.S. History,
    Says PENAmerica, PEN America Oan. 27, 2017), https://penna.cc/BVS8-8AV4.


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                                                                                            Second Stein Declaration
                                                                                                      1:17-cv-07572
                                                                                                           Exhibit 2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page97 of 302
                                      JA-95
 Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 7 of 8




    meaningful debate over the form that the new "extreme vetting" policies
    may take.

      The public's interest in the records is even greater because current
   practices may violate constitutional rights. The First Amendment
   encompasses the right "to receive suitable access to social, political, esthetic,
   moral, and other ideas and experiences," Red Lion Broad. v. FCC, 395 U.S.
   367, 390 ( 1969), and this "right to receive information" is implicated where
   the government excludes a non-citizen from the United States based on her
   speech or beliefs, Kleindiest v. Mandel, 408 U.S. 753, 763- 65 (1972). At
   present, the public can neither determine the degree to which its First
   Amendment rights are being abridged under existing policies, nor assess
   how proposed policies could further curtail these rights moving forward.

       For these reasons, the Knight Institute is entitled to expedited processing
   of this request.

             IV. Application for Waiver or Limitation of Fees

       The Knight Institute requests a waiver of document search, review, and
    duplication fees on the grounds that disclosure of the requested records is in
    the public interest and that disclosure is "likely to contribute significantly to
    public understanding of the operations or activities of the government and
    is not primarily in the commercial interest of the requester." 5 U.S.C.
    § 552(a)(4)(A)(iii). For the reasons explained above, disclosure of the records
    would be in the public interest. Moreover, disclosure would not further the
    Knight lnstitute's commercial interest. The Institute will make any disclosed
    information available to the public at no cost. Thus, .a fee waiver would fulfill
    Congress's legislative intent in amending FOIA to ensure "that it be liberally
    construed in favor of waivers for noncommercial requesters." Judicial Watch,
    Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (citation omitted).

       In addition, the Knight Institute requests a waiver of search and review
    fees on the ground that it qualifies as an "educational ... institution" whose
    purposes include "scholarly ... research" and the records are not sought for
    commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(Il). The Institute has a substantial
    educational mission. Situated within a prominent academic research
    university, the Institute will perform scholarly research on the application of
    the First Amendment in the digital era. The Institute is in the midst of
    inaugurating a research program that will bring together academics and
    practitioners of different disciplines to study contemporary First
    Amendment issues and offer informed, non-partisan commentary and
    solutions. It will publish that commentary in many forms - in scholarly
    publications, in long-form reports, and in short-form essays.

       Finally, the Knight Institute requests a waiver of search and review fees
    on the ground that it is a "representative of the news media" within the



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                                                                           Second Stein Declaration
                                                                                     1:17-cv-07572
                                                                                          Exhibit 2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page98 of 302
                                       JA-96
 Case 1:17-cv-07572-ALC Document 93-2 Filed 02/26/19 Page 8 of 8




   meaning of FOIA and the records are not sought for commercial use. 5
   U .S.C. § 552(a)(4)(A)(ii)(II). The Institute qualifies as a "representative of the
   news media" because it is an "entity that gathers information of potential
   interest to a segment of the public, uses its editorial skills to turn the raw
   materials into a distinct work, and distributes that work to an audience." 5
   U.S.C . § 552(a)(4)(A)(ii); see Nat'l Sec. Archive v. DOD, 880 F.2d 1381, 1387
   (D.C. Cir. 1989) (finding that an organization that gathers information,
   exercises editorial discretion in selecting and organizing documents,
   "devises indices and finding aids," and "distributes the resulting work to the
   public" is a "representative of the news media" for purposes of FO IA); Sero.
   Women's Action Network v. DOD, 888 F. Supp. 2d 282, 287- 88 (D. Conn.
   2012); ACLU, 321 F. Supp. 2d at 30 n.5. Courts have found other non-profit
   organizations with research and public education missions similar to that of
   the Knight Institute to be representatives of the news media. See, e.g., Eke.
   Privacy Info. Ctr. v. DOD, 241 F. Supp. 2d 5, l 0-1 5 (D.D.C. 2003) (finding
   non-profit group that disseminated an electronic newsletter and published
   books was a "representative of the news media" for purposes ofFOIA); Nat'!
   Sec. Archive, 880 f .2d at 1387;Judicial Watch, Inc. v. DO], 133 F. Supp. 2d 52,
   53- 54 (D.D.C. 2000) (finding Judicial Watch, self-described as a "public
   interest law firm," a news media requester).

      For these reasons, the Knight Institute is entitled to a fee waiver.

                                   *       *        *

      Thank you for your attention to our request. We would be happy to
   discuss its terms with you over the phone or via email to clarify any aspect
   of the request or, where reasonable, to narrow it.

      I certify that the foregoing is true and correct.




                                            Sincerely,

                                            Isl Caroline M. DeCell
                                            Caroline M. DeCell
                                            Knight first Amendment Institute at
                                              Columbia University
                                            314 Low Library
                                            535 West I 16th Street
                                            New York, NY 10027
                                            carrie.decell@knightcolumbia.org
                                            {212) 854-9600


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                                                                            Second Stein Declaration
                                                                                      1:17-cv-07572
                                                                                           Exhibit 2
               Case 20-3837, Document 41, 02/23/2021, 3042809, Page99 of 302
                                                             JA-97
C06397196 Case 1:17-cv-07572-ALC Document 93-3 Filed 02/26/19 Page 1 of 1

                                                                                   United States Department of State

                                                                                   Washington, D. C. 20520


                                                                                        AUG 1 5 2017


         Dear Requester,

                  RE:    Po1 ,·l'J I Mtt••oS, di ru~v'-\, '-....,-; \5' S:b,.~'\.-'"oi'- s 'e.rc... (ol'\u,.,.;"'    ~.. f      u h,\;o"
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                        bt\;~"-\,ot'       <:.\l•Li""'""l
         This is in response to your request dated o $ I o., /                ~i),, ,
                                                                       which was received on
          or,0~1~01, . WehaveassignedCaseCo'ntrofNumber f,~0,1 - l~J'ib
         and ~ill begin the processing of your request based upon the information provided in
         your communication.

         The cut-off date is the date the search is initiated unless you have provided a specific
         timeframe.

         After consideration of your request for expedited processing under the Department's
         rules governing Freedom of Information Act requests, we have determined that your
         request does warrant expedited processing.

         We have considered your request for a fee waiver. Based upon the information provided
         in your letter, your request for a fee waiver has been granted; therefore, your request will
         be processed at no charge to you.

         We will notify you as soon as responsive material has been retrieved and reviewed.

         Should you want to contact us, you may call our FOIA Requester Service Center at
         (202) 261-8484 or send an email to FOIAstatus@state.gov. Please refer to the Case
         Control Number in any communication.


        _Sincerely,                    ,\.t)~
        Requester Communications Branlif
        Office of Information Programs & S ices



         Office ofInformation Programs and Services                                                                Inquiries:
         U.S. Department ofState, SA-2                                                                Phone: l-202-261-8484
         Washington, DC 20522-8100                                                                     FAX: l-202-261-8579
                 Website: www.foia.state.gov                                                   E-mail: FO!AStatus@stale.gov




                                                                                                        Second Stein Declaration
                                                                                                                  1:17-cv-07572
                                                                                                                       Exhibit 3
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page100 of 302
                                                   JA-98
           Case 1:17-cv-07572-ALC Document 93-4 Filed 02/26/19 Page 1 of 1


                                                                 United States Department of State

                                                                 Washington, D.C. 20520


                                                                 June 28, 2018

                                                                  Case No.:       F-2017-14346

Caroline M. DeCell
Knight First Amendment Institute at Columbia University
314 Low Library
535 West 116th Street
New York, NY 10027

Dear Ms. DeCell:

In response to your client's request dated August 7, 2017, under of the Freedom of Information
Act (the "FOIA"), 5 U.S.C. § 552, the Department has located 243 responsive documents. 1 After
reviewing these documents, we have determined that 90 may be released in full, 126 may be
released in part, 16 must be denied in full, and 11 originated with other U.S. Government
agencies and have been referred to those agencies for review and direct reply to you.

An enclosure explains the FOIA exemptions and other grounds for withholding material. For t he
documents withheld in full, we have cited FOIA Exemptions I, 3, 5, 6, and 7, 5 U.S.C §§
552(b)(l), (b)(3), (b)(5), (b)(6), and (b)(7)(E). Where we have made excisions, the applicable
exemptions are marked on each document. All non-exempt material that is reasonably
segregable from the exempt material has been released.

This production completes the processing of your request. If you have any questions, your
attorney may contact Ellen Blain, Assistant U.S. Attorney at (212) 637-2743 or
ellen.blain@usdoj.gov. Please refer to the associated case number, F-2017-14346, and the civil
action number, l: l 7-cv-07572, in all communications regarding this case.




                                                c::;_~wt
                                                 Eric F . Stein, Director
                                                 Office oflnformation Programs and Services

Enclosures: As stated

1 The Department initially reported that there were 72 documents, but when the records were ingested into our

document review system packages of documents that had been counted as one document were broken up into their
component parts, resulting in a greater number of documents. All I ,Tl 9 potentially responsive pages have been
processed.


                                                                                         Second Stein Declaration
                                                                                                   1:17-cv-07572
                                                                                                        Exhibit 4
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page101 of 302
                                          JA-99
        Case 1:17-cv-07572-ALC Document 93-5 Filed 02/26/19 Page 1 of 1


                                                         United States Department of State

                                                         Washington, D.C. 20520


                                                         November 9, 2018

                                                         Case No.:    F-2017-14346


Caroline M. DeCell
Knight First Amendment Institute at Columbia University
314 Low Library
535 West I 16th Street
New York, NY I 0027

Dear Ms. DeCell:

I refer you to our letter dated July 31, 2018, regarding the release of material under of the
Freedom of Information Act (the "FOIA"), 5 U.S.C. § 552. Upon further review of 49 records,
we determined that additional information may be released.

Furthermore, we determined that additional exemptions apply to some of the portions previously
withheld, as noted in the enclosed. Where we have made excisions, the applicable exemptions
are marked on each document. All non-exempt material that is reasonably segregable from the
exempt material has been released.

An enclosure explains the FOIA exemptions and other grounds for withholding material. If you
have any questions, your attorney may contact Assistant U.S. Attorney, Ellen Blain at (202) 637-
2743 or ellen.blain@usdoj .gov. Please refer to the associated case number, F-2017-14346, and
the civil action number, 1: 17-cv-07572, in all communications regarding this case.


                                            Sincerely,



                                           q,~nn~&
                                            Chief, Programs and Policies Division
                                            Office of Information Programs and Services

Enclosures: As stated




                                                                          Second Stein Declaration
                                                                                    1:17-cv-07572
                                                                                         Exhibit 5
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page102 of 302
                                         JA-100
       Case 1:17-cv-07572-ALC Document 93-6 Filed 02/26/19 Page 1 of 1


                                                         United States Department of State

                                                         Washington, D.C.    20520


                                                         February 26, 2018

                                                         Case No. :   F-2017-14346

Caroline M. DeCell
Knight First Amendment Institute at Columbia University
314 Low Library
535 West 116th Street
New York, NY 10027

Dear Ms. DeCell:

I refer you to our letter dated November 8, 2018, regarding the release of material under the
Freedom of Information Act (the "FOIA"), 5 U.S.C. § 552. Upon further review of 29 records,
we determined that additional information may be released. The Department has also identified
18 documents in which law enforcement information was inadvertently released, and this
information is now redacted in the enclosed material. Furthennore, we determined that
additional exemptions apply to some of the portions previously withheld, as noted in the
enclosed. Where we have made excisions, the applicable exemptions are marked on each
document. We have released all non-exempt material that is reasonably segregable from the
exempt material.

An enclosure explains the FOIA exemptions and other grounds for withholding material. If you
have any questions, your attorney may contact Assistant U.S. Attorney, Ellen Blain at (202) 637-
2743 or ellen.blain@usdoj .gov. Please refer to the associated case number, F-2017- 14346, and
the civil action number, l: l 7-cv-07572, in all communications regarding this case.




                                            Sincerely,                  /



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                                            Chief, Programs and Policies Division
                                            Office of Info1mation Programs and Services

Enclosures: As stated




                                                                            Second Stein Declaration
                                                                                      1:17-cv-07572
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     Case 20-3837, Document 41, 02/23/2021, 3042809, Page103 of 302
                                          JA-101
        Case 1:17-cv-07572-ALC Document 93-7 Filed 02/26/19 Page 1 of 1

                                                         United States Department of State

                                                         Washington, D.C. 20520


                                                         July 31, 2018

                                                         Case No.:       F-2017-1 4346

Caroline M. DeCell
Knight First Amendment Institute at Columbia University
314 Low Library
535 West I 16th Street
New York, NY 10027

Dear Ms. DeCell:

I refer you to our letter dated June 28, 2018, regarding the release of material under the Freedom
of Information Act (the "FOIA"), 5 U.S.C. § 552. One document sent to another U.S .
Government agency for direct reply must be denied in full. The document is withheld in full
under FOIA Exemptions 1 and 3, 5 U.S.C §§ 552(b)(l) and (b)(3). The Exemption 3 statute is
Section 102A(i)(l) of the National Security Act of 1947, 50 U.S.C. § 3024(i)(l). Another
document sent to a U.S. Government agency for direct reply can be released in full. All released
material is enclosed.

An enclosure explains the FOIA exemptions and other grounds for withholding material. If you
have any questions, your attorney may contact Assistant U.S . Attorney, Ellen Blain at (202) 637-
2743 or ellen.blain@usdoj.gov. Please refer to the associated case number, F-20 17-14346, and
the civil action number, 1: 17-cv-07572, in all communications regarding this case.


                                           Sincerely,

                                            ili J CL{_ r.     ~ fb~
                                           Eric F. Stein, Director
                                           Office of Information Programs and Services

Enclosures: As stated




                                                                            Second Stein Declaration
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                                                                                           Exhibit 7
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page104 of 302
                                             JA-102

            Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 1 of 9



                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA UNIVERSITY,
                                                               No. 1:17-cv-07572-ALC
                        Plaintiff,

        V.


 U.S. DEPARTMENT OF HOMELAND
 SECURITY, U.S. CUSTOMS AND
 BORDER PROTECTION, U.S.
 IMMIGRATION AND CUSTOMS
 ENFORCEMENT, U.S. CITIZENSHIP AND
 IMMIGRATION SERVICES, U.S.
 DEPARTMENT OF JUSTICE, and U.S.
 DEPARTMENT OF STATE,

                        Defendants.


  DECLARATION OF CARRIE DECELL IN SUPPORT OF PLAINTIFF'S CROSS-
  MOTION FOR PARTIAL SUMMARY JUDGMENT AND SUMMARY JUDGMENT

       Pursuant to 28 U.S.C. § 1746, I, Carrie DeCell, declare and state as follows:

       1.      I am a staff attorney at the Knight First Amendment Institute at Columbia

University ("Knight Institute" or "Institute"). I have served in this role since July 31, 2017.

       2.      Along with my colleagues, I submitted identical Freedom of Information Act

("FOIA") requests (the "Request") to the Department of Homeland Security ("DHS"), Customs

and Border Protection ("CBP"), Immigration and Customs Enforcement ("ICE"), U.S. Citizenship

and Immigration Services ("USCIS"), Department of Justice ("DOJ"), and Department of State

("DOS") (collectively, "Defendants") on August 7, 2017. The Request sought, among other things,

agency records concerning the exclusion or removal of individuals from the United States based

on their speech, beliefs, or associations, and records concerning any new policies for "vetting"
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page105 of 302
                                           JA-103

        Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 2 of 9



individuals on these grounds.

       3.       The Knight Institute requested expedited processing of the Request on the ground

that the records sought were urgently needed to inform the public about government activity,

particularly with respect to the "extreme vetting" program President Trump has ordered federal

agencies to develop.

       4.       Seeking the immediate release of all agency records responsive to the Request, as

required by FOIA, 5 U.S.C. § 552, the Knight Institute filed a complaint in this Court on October

4, 2017. The Institute filed an amended complaint on March 14, 2018.

       5.       I represent the Knight Institute in this action and have served as the primary contact

for Defendants' counsel since the beginning of the litigation.

       6.       The purpose of this declaration is to provide the Court with information regarding

the parties' negotiations over the scope of the Request and Defendants' responses to the Request.

                       Communications Relating to Narrowing the Request

       7.       On January 25, 2018, I spoke with Defendants' counsel by phone to discuss

provisional modifications to the Request and a processing schedule for Defendants. My co-

counsel, Megan Graham, and two students of the Samuelson Law, Technology & Public Policy

Clinic at UC Berkeley School of Law ("Samuelson Clinic") joined the call. During the call, the

Knight Institute agreed to narrow the Request on a provisional basis as follows:

            •   Item 1: Defendants' counsel asked whether Defendants could search for responsive

                records on White House systems alone, rather than searching each Defendant's

                systems for communications received from the White House. We agreed to this

                proposal, provided Defendants' counsel gave assurances that the records produced

                from the White House systems were comprehensive of all records responsive to




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       Case 20-3837, Document 41, 02/23/2021, 3042809, Page106 of 302
                                              JA-104

            Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 3 of 9



                 Item 1 of the Request. Defendants' counsel agreed to provide an explanation of the

                 White House record retention policy so we could assess the comprehensiveness of

                 Defendants' response to this Item of the Request.

             •   Items 2-5: We provisionally agreed to narrow these Items of the Request to final

                 policy memoranda and equivalent records. We agreed that Defendants would not

                 have to conduct an email search for records responsive to these Items of the

                 Request.

             •   Item 6: Defendants' counsel had previously explained that USCIS would have to

                 conduct a manual search of individual Alien Files ("A-Files") for records

                 responsive to certain parts of Item 6. We provisionally agreed to narrow this Item

                 to subparts (a) and (e), explaining that we were most interested in obtaining

                 statistical information, not information from individual A-Files. We agreed to limit

                 the Defendants' initial searches for material responsive to Item 6( a) to records

                 created on or after January 19, 2012. We agreed that for Item 6(e), initially only

                 DOS and DHS would search for responsive records.

       8.        On a February 6, 2018 call with Defendants' counsel, joined by Ms. Graham and

the Samuelson Clinic students, I provisionally agreed that Defendants could search for records

responsive to Item 5 of the Request on DOS systems alone. We declined to narrow the search for

records responsive to Item 6(a) to USCIS systems alone.

       9.        To date, I have not received an explanation of the White House record retention

policy, or any assurance from Defendants' counsel that the records Defendants processed in

response to Item 1 of the Request are comprehensive of all records responsive to that Item of the

Request.




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     Case 20-3837, Document 41, 02/23/2021, 3042809, Page107 of 302
                                           JA-105

        Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 4 of 9



                 Communications Relating to ICE's Response to the Request

       10.     On September 29, 2017, ICE sent the Knight Institute a "final response" to the

Request "for 1. All directives, memoranda, guidance, emails, or other communications sent by the

White House to any federal agency since January 19, 2017, regarding consideration of individuals'

speech, beliefs, or associations in connection with immigration determinations, including

decisions to excludel [sic] or remove individuals from the United States (please see request for

more details)." See First Arn. Compl. Ex. C, ECF No. 42-3, at 3. Because the letter mentioned no

other Item of the Request and contained no other indication that it constituted a response to the

entire Request, I understood the letter as a response to Item 1 of the Request alone. Along with the

letter, ICE released 1,666 pages of records responsive to the Request but withheld 1,653 of those

pages in full, claiming FOIA exemptions.

       11.     During a call on December 21, 2017, Defendants' counsel informed me ofICE's

position that the Knight Institute had failed to exhaust its administrative remedies with respect to

ICE's September 29, 2017 response. That same day, out of an abundance of caution, I submitted

an administrative appeal requesting review ofICE's response to Item 1 of the Request, on the view

that ICE had responded only as to that Item.

        12.    In ICE' s December 28, 2017 letter to the Court indicating its intent to pursue a

motion to dismiss, ICE characterized its September 29, 2017 response as a final response to the

entire Request. Based on that characterization, I amended the Knight Institute' s administrative

appeal by letter dated January 5, 2018, to request review ofICE's response to the entire Request.

        13.    Rather than litigate a motion to dismiss ICE from this action, the Knight Institute

negotiated with Defendants' counsel a stipulation of voluntary dismissal without prejudice ofICE.

The parties filed the stipulation of voluntary dismissal on January 11, 2018, and the Court




                                                 4
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page108 of 302
                                            JA-106

          Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 5 of 9



dismissed I CE from the action without prejudice on January 16, 2018.

       14.     During the January 25, 2018 call on which the parties negotiated significant

modifications to the Request as a whole, Defendants' counsel stated that she would confirm

whether ICE was processing the Knight Institute's administrative appeal as of the date of dismissal.

I therefore understood that Defendants' counsel continued to represent ICE with respect to its

handling of the Request and believed that she would inform ICE of the ways in which we had

provisionally agreed to narrow the Request.

       15.     On February 6, 2018, I received ICE's response to the Knight Institute's amended

administrative appeal, in which ICE denied our challenge to the withholdings in its September 29,

2017 response but agreed to conduct a new or modified search, remanding the Request to ICE's

FOIA Office for further processing and retasking.

        16.    Also on February 6, 2018, during my call with Ms. Graham, the Samuelson Clinic

students, and Defendants' counsel, Defendants' counsel informed us that ICE had already

remanded the appeal to the FOIA Office, completed its new search, and located approximately

14,000 pages of potentially responsive records. Defendants' counsel further informed us that ICE

had begun to process the records and scheduled an initial production for March 7, 2018, and that

ICE proposed to process the records at a rate of 500 pages per month and make productions on the

seventh day of each month thereafter.

       17.     On February 13, 2018, I received an email from ICE confrrming that it had located

approximately 14,000 pages of potentially responsive documents, and that it would commit to

processing at least 500 pages per month. ICE indicated that the first production would be made on

March 7, 2018, with subsequent productions on the seventh day of each month thereafter.

       18.     By letter dated March 7, 2018, ICE informed me that it had processed 560 pages of




                                                 5
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page109 of 302
                                          JA-107

        Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 6 of 9



records and referred eighty-seven of those pages to other agencies. Along with the letter, ICE

released 463 pages, redacting certain pages and withholding others in their entirety on the basis of

FOIA Exemptions 5, 6, 7(C), and 7(E).

       19.     With the consent of ICE and the other Defendants, the Knight Institute filed an

amended complaint on March 14, 2018, in which it challenged the timeliness and

comprehensiveness ofICE's response to the Request.

       20.     On April 11, 2018, Ms. Graham and I spoke with Defendants' counsel to discuss

the possibility of modifying the scope of the Request in order to expedite ICE's processing.

Defendants' counsel explained that ICE had conducted its new search based on the original

Request, not the Request as modified on the January 25, 2018 call. I responded that the Knight

Institute would provisionally agree to accept ICE' s response to the modified Request, or to narrow

the scope of the potentially responsive records it had already located on an Item-by-Item basis.

       21.     By letter dated April 30, 2018, ICE informed me that it had processed an additional

1,124 pages for release and referred 728 of those pages to other agencies. Along with the letter,

ICE released 395 pages, redacting certain of those pages and withholding others in their entirety

on the basis ofFOIA Exemptions 5, 6, 7(C) and 7(E).

       22.     In May 2018, Defendants' counsel and I reached an agreement allowing ICE to

conduct a "re-review" of the records it had identified post-remand as responsive to the initial

Request to determine which of those records were responsive to the provisionally narrowed

Request. ICE would then process only those records responsive to the provisionally narrowed

Request.

       23.     By letter dated June 29, 2018, ICE informed me that following its re-review, it had

identified only ninety-nine pages of records responsive to the provisionally narrowed Request. ICE




                                                 6
         Case 20-3837, Document 41, 02/23/2021, 3042809, Page110 of 302
                                            JA-108

           Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 7 of 9



referred forty-nine pages to other agencies for processing and released fifty pages to the Knight

Institute, redacting certain of those pages on the basis ofFOIA Exemptions 5, 6, 7(C) and 7(E).

         24.   During a call with Defendants' counsel on August 16, 2018, and as reflected in a

follow-up email that day, I requested that Defendants provide draft search descriptions and Vaughn

indices, see Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), to enable the Knight Institute to

narrow possible challenges to Defendants' responses to the Request and to streamline any

remaining litigation.

         25.   By email dated October 4, 2018, Defendants' counsel informed me that ICE had

agreed to produce a draft Vaughn index by December 4, 2018. By email dated October 12, 2018,

Defendants' counsel sent me ICE's draft search description.

         26.   By email dated December 5, 2018, Defendants' counsel informed me that ICE's

FOIA review database had "a technical issue" that made producing a draft Vaughn index "rather

difficult if not impossible," and asked whether the Knight Institute could provide CD copies of all

productions ICE had made in this matter. With the help of the Knight Institute' s paralegal, I sent

Defendants' counsel the requested CD copies by overnight FedEx on December 7, 2018, and

received confirmation that they were delivered on December 10, 2018. Nonetheless, ICE never

produced the requested draft Vaughn index to the Knight Institute.

                Communications Relating to OLC's Response to the Request

         27.   By letter dated May 30, 2018, OLC informed me that it had processed 111 pages

of responsive records but had withheld all 111 pages in full on the basis of FOIA Exemptions 5

and 6.

         28.   By letter dated July 16, 2018, OLC informed me that it had identified an additional

seventeen pages of responsive records but had withheld all seventeen pages in full on the basis of




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     Case 20-3837, Document 41, 02/23/2021, 3042809, Page111 of 302
                                          JA-109

        Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 8 of 9



FOIA Exemption 5.

       29.     By email dated November 2, 2018, Defendants' counsel sent me OLC' s draft search

description and draft Vaughn index.

                Communications Relating to DOS's Response to the Request

       30.     By letter dated June 28, 2018, DOS informed me that it had located 243 records

responsive to the Request. Along with the letter, DOS released ninety records in full, withholding

126 records in part and sixteen records in full on the basis of FOIA Exemptions 1, 3, 5, 6, and

7(E). DOS further informed me that it had referred eleven records to other agencies for review.

       31.     By email dated November 9, 2018, Defendants' counsel sent me a supplemental

release from DOS. The accompanying response letter explained that, upon further review of forty-

nine records, DOS had determined that additional information could be released, and that

additional exemptions applied to some portions of records that had previously been withheld.

       32.     Attached hereto as Exhibit A is a true and correct copy of one record contained in

DOS' s November 9, 2018 supplemental release, titled "Action Memo for the Secretary"

(C06569352).

       33.     Attached hereto as Exhibit B is a true and correct copy of another record contained

in DOS's November 9, 2018 supplemental release, titled "9 FAM 302.6" (C06533909).

       34.     By email dated February 26, 2019, Defendants' counsel sent me another

supplemental release from DOS. The accompanying response letter explained that, upon further

review of twenty-nine records, DOS had determined that additional information could be released,

that law enforcement information had previously been inadvertently released in eighteen records,

and that additional exemptions applied to some portions of records that had previously been

withheld.




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      Case 20-3837, Document 41, 02/23/2021, 3042809, Page112 of 302
                                          JA-110

        Case 1:17-cv-07572-ALC Document 102 Filed 03/28/19 Page 9 of 9



       I declare under penalty of perjury that the foregoing is true and con-ect to the best of my

knowledge and belief.



Executed: March 28, 2019
                                                   Carrie DeCell
                                                   Knight First Amendment Institute
                                                      at Columbia University
                                                   475 Riverside Drive, Suite 302
                                                   New York, NY 10115
                                                   carrie.decell@knightcolumbia.org
                                                   (646) 745-8500




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Case 20-3837, Document 41, 02/23/2021, 3042809, Page113 of 302
                            JA-111

 Case 1:17-cv-07572-ALC Document 102-1 Filed 03/28/19 Page 1 of 3




                  EXHIBIT A
               Case 20-3837, Document 41, 02/23/2021, 3042809, Page114 of 302
                                                  JA-112

                 Case
CO 6 5 6 9 3 52:IED   1:17-cv-07572-ALC
                    U.S.                     Document
                         Department of State Case        102-1 Filed
                                                  No. F-2017-14346   03/28/19
                                                                   Doc          Page Date:
                                                                       No. C06569352 2 of 311/08/2018




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                                                                United States Department of State

                                                                Washington, D.C 20520

             sm-~ITIVE BUT UNCLA:SSSIFIED'.t~'>#                February 22, 2011

             ACTION MEMO FOR THE SECRETARY
                                                                         !RELEASE IN PART B5,B7(E)I
             FROM:       DRL- Michael Posner              ~ Xl ~
                         S/WCI-Diane F. Orentlicher, Acting LJl
                         CA-Michael D. Kirby, Acting
                         L - Harold Hongju Koh

             SUBJECT: Travel Sanctions against Persons Who Participate in Serious Human
                      Rights Violations and other Abuses

            Recommendation

                   That you approve the attached memorandum to the NSS requesting the
            President exercise his authori~der the Immigration and Nationality Act, to bar
            entry into the United States o~\!re  who participate in serious human rights
            violations and related abuses.

                          Approve      ~                 Disapprove______                     ~~
                  That you approve the attached draft procedures for implementation of the
            Proclamation Barring Entry to Aliens who are Involved in Various Human Rights
            and Humanitarian Law Abuses.

                          Approve __~ - - - - -          Disapprove _ _ _ _ __

            Background
                  The National Security Staff (NS S) has asked the Department of State to
            present legal options for barring entry into the United States to aliens who
            participate in serious human rights and humanitarian law violations and related
            abuses. I                                                                                   B5




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    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06569352 Date: 11/08/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page115 of 302
                                                 JA-113

              Case
CO 65 6 9352:IED   1:17-cv-07572-ALC
                 U.S.                     Document
                      Department of State Case        102-1 Filed
                                               No. F-2017-14346   03/28/19
                                                                Doc          Page 3
                                                                    No. C06569352   of 311/08/2018
                                                                                  Date:




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                  The President of the United States has authority under Section 212(f) of the
             Immigration and Nationality Act (INA), by proclamation, to bar entry into the
             United States to aliens whose en "would be detrimental to the interests ofth
             United States."
                                                                                                 B5
                                                                                                 B7(E)




                   Implementation procedures have been drafted to provide guidance for how
             this authority would be utilized.
                                             I




                                                                                                         B5




            Attachments:
                  Tab I - Proposed Memorandum to NSS
                  Tab 2 - Proposed Implementation Procedures
                  Tab 3 - Background on Sanctions Authority




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    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06569352 Date: 11/08/2018
Case 20-3837, Document 41, 02/23/2021, 3042809, Page116 of 302
                           JA-114

Case 1:17-cv-07572-ALC Document 102-2 Filed 03/28/19 Page 1 of 46




                  EXHIBIT B
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page117 of 302
                                                 JA-115

             CaseU.S.
CO 6533 90 9 IED   1:17-cv-07572-ALC
                      Department of State Document   102-2 FiledDoc
                                          Case No. F-2017-14346  03/28/19   Page 2 of 46
                                                                    No. C06533909 Date:_11/09/2018

                              SENSITI',;'E BUT UNCLASSIFIED (SEIU)
                           U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas

                                                                       !RELEASE IN PART B7(E)I

                            9 FAM 302.6
                   (U) INELIGIB ILITIES BASED ON
                   TERRORI SM-RELAT ED GROUNDS
                                      (CT:VISA-1; 11-18-2015)
                                     (Office of Origin: CA/VO/L/R)
       Taxonomy: ineligibilities


       9 FAM 302.6-1 (U) STATUTOR Y
       REGULATO RY AUTHORIT IES

       9 FAM 302.6-l(A) (U) Immigrat
       (CT:VISA-1;    11-18-2015)
       (U) INA 101(b)(1) (8 U.S.C. 1101(b                                    8 u.s.c.
       1182(a)(3)(B)); INA 212(a)(3)(F) (8                         (3)(f)); INA 212(d)(3)(A) (8
       U.S.C. 1182(d)(3)(A)); INA 212    (3)                        182(d)(3)(B)); INA 219 (8
       u.s.c. 1189).


       (CT:VISA-1;    11
       (U) 8 U.S.C. 23




       (U) For_,.-.,         s Authorization Act, Fiscal Years 1992 and 1993, Public Law
                                                                                 I
       102-138,      c        ; Homeland Security Act of 2002, Public Law 107-296;
       Consolidat      pp    riations Act, 2008, Public Law 110-161, at section 691 of Title
       VI of Divisio    (the Department of State, Foreign Operations, and Related
       Programs App opriations Act, 2008); An Act to Remove the African National
       Congress from Treatment as a Terrorist Organization for Certain Acts or Events,
       Provide Relief for Certain Members of the African National Congress Regarding
       Admissibility, and for Other Purposes, Public Law 110-257.




                                                                             9 FAM 302.6 Page 1 of 45
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    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page118 of 302
                                                        JA-116

             CaseU.S.
CO 6533 90 9=IED  1:17-cv-07572-ALC
                      Department of State Document   102-2 Filed
                                          Case No. F-2017-14346  03/28/19
                                                                Doc         Page 3Date:
                                                                    No. C06533909  of 4611/09/2018


                              SENS!Tl'IE BUT UNCLASSIFIED (SBU}
                           U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas
       9 FAM 302.6-2 (U) TERRORIST ACTIVITIES - l"'A
       212(A)(3)(B)
       9 FAM 302.6-2(A) (U) Grounds
       (CT:VISA-1;      11-18-2015)
       (U) Section 212(a)(3)(B)(i) of the Immigration and Nationality Act
       ineligible any alien who:
          ( 1) (U) has engaged _in a terrorist activity;
          (2) (U) you know, or have a reasonable ground to belie
              likely to engage after entry in any terrorist activ.· ·
          (3) (U) has, under circumstances indicating an int
              serious bodily harm, incited terrorist activ·
          ( 4) (U) is a representative of:
                 (a) (U) a terrorist organization; or
                 (b) (U) a political, social, or ot             group tha w1a11,ses or espouses
                     terrorist activity;
          (5) (U) is a member of a terrorist
          (6) (U) is a member of a tor""laic                    niz · , unless the alien can
              demonstrate by clear                                evI ence that the alien did not know,
              and should not rea   ab                              n, that the organization was a

           (7)                                        rr:     st activity or persuades others to endorse
                                             tivity         support-a terrorist org_anization;
           (8)                                    type training from or on behalf of any
                                                time the training was received, was a terrorist

           (9)              ~ - ~ r child of an alien who is inadmissible, if the activity
                             lien to be found inadmissible occurred within the last 5 years.
                                         \




                          .6-2(B) (U) Application

       9 FAM 302.6-2(8)(1) (U) Summary
       (CT:VISA-1; 11-18-2015)
       (Previous Location: 9 FAM 40.32 N1.1(a) and (c)'CT:VISA-1902;                    09-26-2012)
       a. (U) Section 212(a)(3)(B) of the INA describes visa ineligibilities re_lated to
          terrorism. The ineligibilities hinge on terrorism-related definitions that were
          significantly expanded by post-9/11 legislation, most significantly, the USA
                                                                                   9 FAM 302.6 Page 2 of 45
                               SENS! I Iv.E 81:JT-UNCLASSIFIED (6D1:1)
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     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page119 of 302
                                                JA-117

             CaseU.S.
CO 6533 90 9=IED  1:17-cv-07572-ALC
                      Department of State Document   102-2 Filed
                                          Case No. F-2017-14346  03/28/19
                                                                Doc         Page 4Date:
                                                                    No. C06533909  of 4611/09/2018


                             SENSITI'/E BUT UNCLASSIFIED (SBU)
                         U.S. Department of State Foreign Affairs Manual Volume 9
                                                  Visas
          PATRIOT Act (2001) and the REAL ID Act (2005). As a result of these
          amendments, the scope of activities covered by the phrase "engage in terrorist
          activity" is broad. As defined in INA 212(a)(3)(B)(vi), the term "terrorist
          organization" encompasses both organizations that have been designated
          previously by the Department of State as terrorist organizations and
          organizations that have never been so designated by the Department of State
          or any other U.S. Government agency, but that have engaged in any of the
          activities listed in INA 212(a)(3)(B)(iv)(I)-(IV). Because terms i INA
          212(a)(3)(B) are defined broadly, you must take particular care i eliciting as
          much pertinent information from visa applicants as possible, · u g the
          names of all groups potentially covered by these provisio      · ti      the
          applicant may be linked, for example, by current memb                       ncial
          contributions or other support. You must also inquir · to
          activities of those organizations, bearing in mind th                       t
          organization" in INA 212(a)(3)(B)(vi), describ~d in                   )(3)
          paragraph i and other FAM provisions referenaa~eE
       b. (U) The Department of Homeland Security (            ~.._..., in the
          adjudication process. Section 428 of the Hom                    of 2002 (Public ·
          Law 107-296) gives the Secretary of      eland             authority to refuse
          visas in accordance with the law. T    Me orand         Understanding (MOU)           •      1



          Between the Secretaries of State            and Security Concerning the
          Implementation of Section 428" ex ·ci     ckno ledges that the Secretary of
          Homeland Security may ref        ·sas de         ly                             B7(E)        1




                                          ) Background
       (CT:VI
       (Previo                      40.32 Nl.2 CT:VISA-1902;          09-26-2012)
       a. (U) T           r ·on Act of 1990 (Public Law 101-649) generally amended INA
           212(a)     ep    ng the previous 43 classes of excludable aliens with nine broad
           classes, e h with subclasses. New INA 212(a)(3)(B), "Terrorist Activities,"
         · incorporat   aspects of former INA 212(a)(27) and INA 212'(a)(29).
       b. (U) The Antiterrorism and Effective Death Penalty Act of 1996 (Public Law 104-
          132) expanded the scope of INA 212(a)(3)(B) to make inadmissible
          representatives and members of organizations designated by the Secretary
          under INA 219 as Foreign Terrorist Organizations (FTOs).
       c. (U) The Illegal Immigration Reform and Immigrant Responsibility Act of 1996
          (Public Law 104-208) amended INA 212(a)(3)(B)(i) again to make inadmissible
                                                                            9 FAM 302.6 Page 3 of 45
                            SENS!Tl'IE BUT UNCLASSIFIED -fS8U~
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     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page120 of 302
                                                    JA-118

                CaseU.S.
CO 6 5 3 3 9 O9 IED   1:17-cv-07572-ALC
                         Department of State Document   102-2 FiledDoc
                                             Case No. F-2017-14346  03/28/19   Page 5Date:
                                                                       No. C06533909  of 4611/09/2018



                                SENSITrtE BUT UNCLASSIFIED (SBU)
                             U.S. Department of State Foreign Affairs Manual Volume 9
                                                      Visas
          any alien who, "under circumstances indicating .an intention to cause death or
          serious bodily harm," incited terrorist activity. The new provision applied
          retroactively to all such incitement activities, regardless of when they occurred.
       d. (U).The Uniting and Strengthening America by Providing Appropriate Tools
          Required to Intercept and Obstruct Terrorism Act of 2001 ("USA PATRIOT Act")
          (Public Law 107-5.6 ), enacted after the terrorist attacks on September 11,
          2001, expanded the scope of INA 212(a)(3) in several important respects:
          (1) (U) It gave the Secretary of State new authority to designat
              organizations as terrorist organizations for purposes of I   2
              certain criteria are met. Organizations so designated      ·-----
              "Terrorist Exclusion List" or "TEL";
          (2) (U) It defined "terrorist organization" for the fir                              e
               categories. The first category is Foreign Terro                             s)
               designated under INA 219 (see INA 212(a)                              ; the
               second is entities designated under the T                             (TEL)
               authority included in the USA PATRIOT A
               212(a)(3)(B)(vi) (II)). The third category, eferred o          undesignated
               terrorist organizations," includes    ities th           in specified "terrorist
               activities" listed in the INA, but  t have not         esignated under FTO
               or TEL authorities (Tier III) ( e   A       (a)(3)(B)(vi)(III) ); and
          (3) (U) It created INA 212(a (3)(                     with Terrorist Organizations,"
              which made aliens who        be      as         d with a terrorist organization,
              and who are engaged      ike ~..........~ag in certain activities that endanger
              the United States, i dm                   certain circumstances.
       e. (U) The Emergency          uppl        ~•nnropriations Act for Defense, the Global
          War on Terror, a                            2005 ("REAL ID Act") (Public Law 109-13)
          at sections 103                           B further expanded the scope of INA
          212(a)(3)(B) b
          (1) (U)                   "terr   ·st organization" to capture undesignated groups
              with                          ngage in terrorist activity";
          (2) ..-..,-.,              er for an alien suspected of "engaging in terrorist
                                escape inadmissibility based on an alleged lack of knowledge
                               a undesignated terrorist organization or how any contribution
                          eria upport might be used by a terrorist organization (see (5), (6),
                            below);
          (3) (U) Making inadmissible "representatives" of all three types of terrorist
              organizations, regardless of alien's knowledge or intent. Previously, only
              representatives of groups designated under INA section 219 (Tier I) were
              specified;
          ( 4) (U) Making inadmissible all representatives of "a political, social, or other
               group that endorses or espouses terrorist activity." Previously the
               Secretary of State had to find that the group's public endorsement of acts
                                                                               9 FAM 302.6 Page 4 of 45
                          SENSI I IvE BUT UNCLASSIFIED . (SOU)
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    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
               Case 20-3837, Document 41, 02/23/2021, 3042809, Page121 of 302
                                                 JA-119

                CaseU.S.
CO 6 5 3 3 9 O9 IED   1:17-cv-07572-ALC
                         Department of State Document   102-2 FiledDoc
                                             Case No. F-2017-14346  03/28/19   Page 6Date:
                                                                       No. C06533909  of 4611/q9/2018 .

                              SENSITl'JE BUT UNCLASSIFIED (SBU) ·
                          U.S. Department of State Foreign Affairs Manual Volume 9
                                                   Visas
               of terrorist activity undermines U.S. efforts to reduce or eliminate terrorist
               activities;
          (5) (U) Eliminating the knowledge defense to inadmissibility for members of
              entities designated for the Terrorism Exclusion List (TEL) (Tier II) and
              raising the standard to "clear and convincing evidence" for an alien to avoid
              inadmissibility for being a member of an undesig.nated terrorist
              organization on the grounds that he did not know, and should not
              reasonably have known, that the organization was a terroris rganization;
          (6) (U) Raising the standard to "clear and convincing evide
              avoid inadmissibility for soliciting funds or members f
              terrorist organization on the grounds that he did no
              reasonably have known, that the organization was a                     orga    ation;
          (7) (U) Expanding the "material support" bar to a                         r knowingly
              providing support to any terrorist organizati n                           except, with
              respect to undesignated terrorist organiz                            lien presents
              "clear and convincing evidence" that the                            ledge of any
              terrorist activity. The amendment elimin                          nient that the
              alien intended to support terroris    tivity;
          (8) (U) Making inadmissible any al         wh commit          act the alien knows or
              reasonably should know prov                 rial support to an undesignated
              terrorist organization or                          esignated terrorist
              organization, unless th                 e         ate "by clear and convincing
              evidence" that he did                     sho Id not reasonably have known,
              that the organizati            terro       rganization. Prior to amendment, the
              provision did no incl             ial support afforded to a member of an
              undesignated e               niz      n. The REAL ID Act added the "clear and
              convincin               tan     d or an alien attempting to prove lack of
              knowled                  · nat    a
                                                group's terrorist activity;
          (9) (                  dmissi e ny alien who "endorses or espouses terrorist
                                           hers to endorse or espouse terrorist activity or
                                        ganization." Before amendment, the provision
                                     ns who used their position of prominence to endorse or
                               rist activity or to persuade others to support terrorist activity
                           · t rganization in a way the Secretary of State determined
                        ines U.S. efforts to reduce or eliminate terrorist activities; ·
          (l0)(U) M ing inadmissible any alien who has "received military-type
              training" from or on behalf of a terrorist organization; and
          (ll)(U) Applying the terrorism provisions of the REAL ID Act amendments to
               actions taken by an alien before, on, or after the date of enactment, May
               11, 2005.
       f. (U) The Consolidated Appropriations Act, 2008, Public Law 110-161, 121 Stat.
          1844, at section 691 of Title VI of Division J (the Department of State, Foreign
                                                                             9 FAM 302.6 Page 5 of 45
                           SENSITI'JE BUT UNCLASSIFIED (SBU)
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    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                Case 20-3837, Document 41, 02/23/2021, 3042809, Page122 of 302
                                                  JA-120

                CaseU.S.
CO 6 5 3 3 9 O9 IED   1:17-cv-07572-ALC
                         Department of State Document   102-2 FiledDoc
                                             Case No. F-2017-14346  03/28/19   Page 7Date:
                                                                       No. C06533909  of 4611/09/2018

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                           U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas
          Operations, and Related Programs Appropriations Act, 2008) amended the
          discretionary authority of the Secretary of Homeland Secwrity and the Secretary
          of State, under INA 212(d)(3)(B)(i), to exempt an alien from most of the
          terrorism-related bars to admissibility under INA 212(a)(3)(B) and to exempt a
          group from treatment as an undesignated terrorist organization under INA
          212(a)(3)(B)(vi) (III). The amendment also provided that certain groups should
          not be considered terrorist organizations on the basis of any act or event
          occurring before the amendment's enactment on December 26,          07, and that
          the Taliban must be considered to be a designated foreign terrori
          organization, under INA 212(a)(3)(B)(vi)( I), for immigration•~ <~       (See 9
          FAM 302.6-2(8)(3) paragraph i) The amendments were
          enactment and apply to acts before or after enactment.

       9 FAM 302.6-2(8)(3 ) (U) Definitions
       (CT:VISA-1; . 11-18-2015)
       (Previous Location: 9 FAM 40.32 N2 CT:VISA-1 I
       a. (U) This section explains terms used in INA 2     a)(3)(            in alphabetical order.
          Where listed terms are specifically d    d in the                  the statutory
          reference follows immediately after
       (Previous Location: 9 FAM 40.32 N2.
       b. (U) CLEAR AND CONVIN-.,-.EV
          (1) (U) The phrase "cle                        evidence" appears several times in
              INA 212(a)(3)(B) w               nee       designated terrorist organizations.
              The INA places e bu                 roof on the applicant to establish that he or
              she did not                      n    ave reasonably known, that the
                                         orga · ation was, in fact, a terrorist organization.
                (Ap .                     to know that designated terrorist organizations are
                                             ardless of their actual knowledge or belief).
          (2)                       CllllllliMW the following in determining whether a visa
                            ,......-.m..:..:_onstrate by "clear and convincing evidence" that he or
                               kno , and should not reasonably have known, that an
                          at       organization was a terrorist organization:
                        )     s particular to the individual, such as residence, profession,
                        ucation, and people with whom and groups with which the applicant
                          associated;
                (b) (U) The public availability of information about the organization and
                    more specifically, about the activities that make it a terrorist
                    organization under the INA's broad definition; and
                (c) (U) The extent to which the organization is actively and overtly
                    engaged in the activities that make it a terrorist organization under the
                    INA.
                                                                              9 FAM 302.6 Page 6 of 45
                           SENSITIVE BUT UNCLASSIFIED- (SIU 1)
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    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page123 of 302
                                                  JA-121

             CaseU.S.
CO 6533 90 9=IED  1:17-cv-07572-ALC
                      Department of State Document   102-2 Filed
                                          Case No. F-2017-14346  03/28/19
                                                                Doc         Page 8Date:
                                                                    No. C06533909  of 4611/09/2018


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                           U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas
            (3)                                                                                          B7(E)




        (Previous Location: 9 FAM 40.32 N2.2 CT:VISA-1902;              09-26-2012)
       c. (U) ENDORSING OR ESPOUSING TERRORISM:
            (1) (U) An alien is inadmissible under INA 212(a)(3)(B)(i)(VII) i the aHen
                endorses or espouses terrorist activity or persuades others to ndorse or
                support terrorist activity or a terrorist organization.




        (Previous Location: 9 FAM 40.32 N2.3
       d.




            (4)
            (5)                 of funds or other material financial benefit;
                          e documentation· or identification;
            (7) (U) Weapons including chemical, biological, or radiological weapons;
                                                           r
            (8) (U) Explosives; or
            (9) (U) Training.
        (Previous Location: 9 FAM 40.32 N2.4 CT:VISA-1992;              05-23-2013)
        e. (U) MEMBER OF A TERRORIST ORGANIZATION:
                                                                              9 FAM 302.6 Page 7 of 45
                                SENSITftlE B_UT UNCLASSIFIED (SBY)
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     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                Case 20-3837, Document 41, 02/23/2021, 3042809, Page124 of 302
                                                   JA-122

           CaseU.S.
CO65339Q9=IED   1:17-cv-07572-ALC
                    DepartmentofState Document   102-2 Filed
                                      Case No. F-2017-14346  03/28/19 Page 9Date:
                                                            DocNo._C06533909 of 4611/09/2018


                               !l:NSl'fl'IE BUT UNCLASSIFIED (S8U)
                            U.S. Department of State Foreign Affairs Manual Volume 9
                                                     Visas
          (1) {U) Aliens who are members of designated FTOs or entities on the
              Terrorism Exclusion List are inadmissible. The INA does not require the
              alien to know that the organization has been designated. Members of
              undesignated terrorist organizations are inadmissible, but there is a narrow
              exception based on lack of knowledge (see 9 FAM 302.6-2(8)(3) paragraph
              i).
          '(2) (U) Evidence of membership in a terrorist organization might include the
               individual's taking of an oath or performance of some act th is a
               prerequisite of membership. A formal induction is not necess y for a
               finding of membership.
          (3) {U) Membership m·ust be determined in light of all r.
              including, but not limited to, the following:
                (a) {U) Acknowledgment of membership;
                (b) (U) Frequent association with other
                ( c) {U) Participation in the organization                                      eve   if lawful;
                (d) {U) Actively working to further the                                         's aims and methods in
                    a way suggesting close af                                                     mbership;
                (e)                                                        the organization, past or present;
                 (f)   {U) Receiving fin     ·
                       scholarships, pe
                 (g) {U) Contribu ·               1'...111!...t-.Lht.•....,·,..,.rga ization;

                 (h) {U) Determinat                                 p by a competent court;
                 (i)   (Ul Volunt                              bols of the organization; or
                 (j)   {U) R                          awards given by the organization.
          (4)                                 ssarily determines that an alien was a member of

          (5)                                                                                                           B7(E)




          (6)


                                                                                                  9 FAM 302.6 Page 8 of 45
                                SENSl'fl'IE BUT UNCLASSIFIED .~......._,
                                                    8
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                Case 20-3837, Document 41, 02/23/2021, 3042809, Page125 of 302
                                                  JA-123

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 10Date:
                                                                     No. C06533909  of 4611/09/2018




                               SENSITIVE BUT UNCLASSIFIED (SBU)
                            U.S. Department of State Foreign Affairs Manual Volume 9
                                                                                                              I
                                                                                                          B7(E)




          (7)           o e at ormer mem ers wi sti        e inadmissible if they have
                  previously provided material support (such as membership fees), raised
                  money, or solicited members for the organization.
        (Previous Location: 9 FAM 40.32 N2.5 CT:VISA-1902;               09-26-
       f. {U) INCITEMENT OF TERRORISM:
          (1) {U) ']ncitement with intent to cause bodily harm" re
              inadmissible under INA 212(a)(3)(B)(i)(III) if n..lllllllltl
              activity under circumstances indicating an inte ion t
              serious bodily harm.
          (2) {U) "Incited" in the context of INA 212(                         that induces or
              otherwise moves another person' to unde                        tivity. Normally
              speech will not rise to the level of'· citing              re is a clear link
              between the speech and an act        effort to u         e the terrorist activity.
              It connotes speech that is no        el     expression of views but that
              directs or induces action, typi   ly      volatile situation.
          (3) {U) The applicant may                                activity even if a terrorist~
              attack does not actua                              se an attempt to commit such
              activity was thwart
          ( 4) {U) An applica who          · ed" terrorist activity must also have acted
               in circumsta                    ention to ·cause death ·o r serious bodily
               harm to be admi       le un    NA 212(a)(3)(8). In other words, the
               alien's. spe h must n only have induced others to undertake terrorist
               activi      ut must a o ave been made with the specific intent that such
                             Id ult· death or serious bodily injur.y .
          (5) .             ..--.a~n the requisite intent to cause bodily harm could be
                                    owing situations:
                                 pread opposition to Country A's policies and actions lead to
                         eri   of protests, some violent, outside Country A's embassy in
                         untry B. The applicant goes to the embassy, stands on a box, and
                      sH uts to the crowd to join him in standing up to Country A and
                      humiliating it. Shortly afterwards, when he sees an embassy vehicle
                      approaching, he yells: "Don't let them in! Make them pay for what
                      they have done!" The crowd blocks the car and removes occupants
                      (including a diplomat working at Country A's embassy), from the car,
                      beating them severely and taking them hostage.
                      {U)   Analysis: Diplomatic hostage-taking and violent attacks on
                                                                               9 FAM 302.6 Page 9 of 45
                           SENSITI'IE BUT UNCLASSIFIED ·{&B 1!)
                                                    9
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page126 of 302
                                                 JA-124

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 11
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018         _


                              SENSITfllE BUT UNCLASSIFIED{SBU)
                         , U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas
                   diplomats ·are terrorist activities. Given the alien's urging the crowd to
                   stop the embassy vehicle and "make them pay," you would have
                   reasonable ground to believe that the applicant's speech incited
                   terrorist activity. The alien's "make them pay" statement, when
                   viewed against the backdrop of previous violent protests and his
                   general comments about standing up to Country A and humiliating it,
                   would provide you with reasonable ground to believe that the applicant
                   intended to cause death or serious bodily harm.
               (b) {U) The applicant is an ardent nationalist whose opinion oiced to a
                   particular audience regularly blame "foreigners" for               try's
                   problems and who argues that the only solution                        lems is
                   that "foreigners" should be driven out of the co                        orts
                   say that some of those in the targeted aud·                              asing
                   weapons and seeking to obtain and manu                                   ce
                   notify the applicant or those associate                           hat they
                   are investigating several of those in                              or
                   weapons-related offenses. At the e               ~1111i1i1111• cularly strong
                   anti-foreign sentiment, the applicant                          ech entitled "A
                   Call to Action." With the kno     dge th                  er investigation are
                   in the audience, the applic     beg· s his s         with: "The time has
                   come for action!" He the·             s throughout his speech that "The
                   only solution to the count           lems is to purge our great land of
                   these foreigners o        df                 whatever means necessary."
                   Shortly thereafte             t   ei      e target audience detonate a
                   truck bomb ou 'de       esta       frequented by foreign nationals,
                   killing sev·eral fo        ·onals nd injuring many restaurant
                   employees.
                    {U) A             use     any explosive with intent to endanger,
                    directl               the safety 9f one or more individuals or to cause
                                      e     property is a terrorist activity. In the example,
                                        foster anti-foreign sentiments and then, during a
                                      period, urges students to act to drive "foreigners"
                            ~~try "through whatever means necessary." Under these
                            ances, you would have reasonable ground to believe that the
                           n speech incited terrorist activity. The fact that the applicant
                      ew at several students likely had access to weapons and/or
                       losives and that those students were in attendance at his special
                    le ure would provide you with reasonable ground to believe that the
                    applicant intended to cause death or serious bodily harm.
                    {U) NOTE: The USA PATRIOT Act amended INA 212(a)(3)(B)'s
                    definition of "engaging in terrorist activity" also to include incitement
                    (see INA 212(a)(3)(B)(iv)(I)). As a result, a person who is
                    inadmissible under INA 212(a)(3)(B)(i)(III) for inciting terrorist
                    activity will also now be inadmissible under INA 212(a)(3)(B)(i)(I) for
                                                                             9 FAM 302.6 Page 10 of 45
                              SENSITfllE BUT UNCLASSIFIED {SBU)
                                                   10
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
               Case 20-3837, Document 41, 02/23/2021, 3042809, Page127 of 302
                                                    JA-125

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 12
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                               SENSITI'IE BUT UNCLASSIFIED {SBUt
                            U.S. Department of State Foreign Affairs Manual Volume 9
                                                     Visas
                    engaging in a terrorist activity.
       (Previous Location: 9 FAM 40.32 N2.6 CT:VISA-1902;                  09-26-2012)
       g. {U) REPRESENTATIVE: A "representative" is defined in INA 212(a)(3)(B)(v)
          as "an officer, official, or spokesman of an organization, and any person who
          directs, counsels, commands, or induces an organization or its members to
          engage in terrorist activity."                               ·
       (Previous Location: 9 FAM 40.32 N2.7 CT:VISA-1902;                  09-26-2012 .
       h. {U) SUBGROUP: A group (Group X), even if not organized,
          "subgroup" of another organization (Group Y) if there are_r~;1'flllllliil          unds
          to believe-that either (1) Group X as a whole or (2) the                              X
          are affiliated with Group Y. If a subgroup engages in ter                           then
          both groups are terrorist organizations. (See 9 FAMlllllllll!IIIIM2                 raph
          i(l)(c)). A subgroup relationship may be found wh e the a                      onable
          grounds to believe that Group X is subordinat ______ ffiliat            w1 , Group Y
          and Group X is depende_   n t on, or otherwise r                         · in whole or in
          part to support or maintain its operations. A                           up X would be a
          subgroup of Group Y if the latter establishes r                   elines that Group X
          generally follows and Group X relies         roup Y               ce of funds for Group
          X operations.
       _(Previous Location: 9 FAM 40.32 N2 . . C                            05-23-2013)
       i.   {U) TERRORIST ORGAN!                    N:
            (1) (U) "Terrorist org                  ~e-1ed in INA 212(a)(3)(B)(vi), includes
                both designat                      aniza    s (paragraphs a and b, below) and
                undesignate                          tions (paragraph c, below):
                (a) (U)                                          ted by the Secretary of State as a "foreign
                    terro                            ·on"      0) under INA 219. This designation has
                                                          he INA, including penalties under U.S. criminal
                                                       g ge in certain activities in connection with these
                                          11111aiiii1.-oe rendered inadmissible under the INA.
                             ,.......-.n.;;:__s currently designated as FTOs and information about the
                                                ocess can be found on the S/CT website.
                              ganization designated by the Secretary of State for inclusion
                       the errorist Exclusion List (TEL), pursuant to INA
                       2(a)(3)(B)(vi)(II). The TEL designation is for immigration purposes
                     o y. Information about the designation process can be found on the
                     S/CT website.
                (c) (U) An organization that has not been designated but is a group of
                    two or more individuals, whether organized or not, that engages in, or
                    has a subgroup (see 9 ·FAM 302.6-2(8)(3) paragraph h) that engages
                    in, terrorist activities described in the INA 212(a)(3)(B)(iv)(I) - (VI).
                    With respect to undesignated terrorist organizations:
                                                                                 9 FAM 302.6 Page 11 of 45
                                SENSIT!vE BUT UNCLASSIFIED (6BU)
                                                    11
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page128 of 302
                                                     JA-126

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 13Date:
                                                                     No. C06533909  of 4611/09/2018

                                 SENSITl¥E BIJT UNCLASSIFIED (SBU)
                              U.S. Department of State Foreign Affairs Manual Volume 9
                                                                                                           B7(E)
                     (i)




                     (ii)




                     (iii)    (U) Where a finding of inadmissibility woul · v
                              undesignated terrorist organization,                           e the
                              finding by demonstrating, by clear a                     dence (see
                              9 FAM 302.6-2(B)(3) paragrap           t                 not know,
                              and should not reasonably ha                             nization
                              was a terrorist organization (e                      0
                              representatives of unde · nate
                              who persuade others       upport a           gnated terrorist
                              organization, and t      wh eceive mI Itary-type training on
                              behalf of an undesi a         rrorist organization, for whom there
                              is no such def                                 ·
          (2) (U) Pursuant to secti                    o   isca     ar 2008 Department of State,
              Foreign Operations            a                ams Appropriations (Division J of the
              Omnibus Appropriat1                             ) ("FY08 Appropriations Act"), the
              following group                            ed terrorist organizations under INA
              212(a)(3)(                                ts that occurred prior to December 26,
              2007:
               •   (U                           ·on/Karen Liberation Army (KNU/KNLA)
               • t                           ont/Chin National Army (CNF/CNA)
                        ~. .-~nal          League f_
                                                   o r Democracy· (CNLD)
                                   New Land Party (KNLP)
                                 n Liberation Party (ALP)
                            Tibetan Mustangs
               •   (U) Cuban Alzados
              • · (U) Karenni National Progressive Party
               •   (U) "Appropriate groups affiliated with" the Hmong
              •    (U) "Appropriate groups affiliated with" the Montagnards
              As a result of this legislation, an alien who did any of the following prior to
              December 26, 2007, is no longer inadmissible on account of the following
                                                                               9 FAM 302.6 Page 12 of 45
                          SENSITIVE BUT UNCLASSIFIED. (SBU)
                                                   12
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                Case 20-3837, Document 41, 02/23/2021, 3042809, Page129 of 302
                                                   JA-127

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 14Date:
                                                                     No. C06533909  of 4611/09/2018

                               SENSITIVE BUT UNCLASSIFIED {SBl:J)
                            U.S. Department of State Foreign Affairs Manual Volume 9
                                                     Visas
                terrorism-related grounds of inadmissibility:
                •    (U) Solicited funds or other things of value on behalf of one of these
                     named groups (INA 212(a)(3)(B)(iv)(IV)(cc))
                •    (U) Solicited an individual for m}embership in one of these named
                     groups (INA 212(a)(3)(B)(iv)(V)(cc))
                •    {U) Committed an act that provided material support, including transfer
                     of funds, false documentation, weapons or training to on  f these
                     named terrorist groups (INA 212(a)(3)(B)(iv)(VI)(dd))
                •    (U) Is a representative of one of1 these named grou
                     212(a)(3)(B)(i)(IV)(aa))
                •    (U) Is a member of one of these named terr
                     212(a)(3)(B)(i)(VI))                     ~....._
                •    (U) Persuaded others to endorse or su
                     terrorist groups (INA 212(a)(3)(B)(i)(
                •    (U) Received military-type training fr
                     groups (INA 212(a)(3)(B)(i)(VI )
          (3) (U) Pursuant to 691(d) of the                                    , as of December 26,
              2007, the Taliban must be tr t                      · nated terrorist organization
              described in INA 212(a)(3)(B) ")                       ") for purposes of
              immigration law.
          ( 4) (U) Public Law No. 1                             U.S.C. 1182 note, added the
               African National Co  es                    f groups in subparagraph b, above,
               that are not co idere err          · t organizations.
          (5) (U) In dete                         a     rganization may be an undesignated
              terrorist or                i.e.,     t it "engaged in terrorist activities" as
              described i                      )(B)(iv)(I) - (VI). Post must evaluate
              infor                           e visa interview, take advantage of available local
                                           te, and check relevant databases, including:
                            ~aw.i·~ed  Nations 1267 Committee's list of individuals and
                               belo ging or related to the Taliban, Osama Bin Laden and the
                                 rganization.
                         ) Te rorists and groups identified under E.O. 13224.
                (U                                                                                       B7(E)   I




          (6)                                                                                        B7(E)




                                                                             9 FAM 302.6 Page 13 of 45
                           SENSITl'IE BUT UNCLASSIFIED fSBU)
                                                   13
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page130 of 302
                                                     JA-128

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 15
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                                  Sl!NS!Tllll! l!SUT UNCLASSIFIED (&RU)
                               U.S. Department of State Foreign Affairs Manual Volume 9
                                                        Visas
       9 FAM 302.6-2(6)(4) (U) Inadmissibility Under INA
       212(a)(3)(B)
       {CT:VISA-1; 11-18-2015) (Previous Location: 9 FAM 40.32 N3.1 CT:VISA-1942;
       1-1-15-2012)                                                 .
       a. (U) OVERVIEW:
          (1) (U) INA 212(a)(3)(B) generally identifies as grounds for inadmissibility
              "engaging in terrorist activities" and having certain links to " rrorist
              organizations." The standards apply even if the relevant cts r
              associations preceded enactment of the law and regar le~~~Y link to
              a·n actual terrorist attack. The section defines "terr                'to
              include a broad range of violent acts (see INA 212(a                     · e also
              making inadmissible representatives and mem~IIIIII"-.            engaging in
              listed activities; those endorsing, espousing, o                rrorism; those
              who have received military-type training f                    a ations; and
              immediate family members of any cover                         certain
              exceptions.
           (2) (U) It also explicitly makes PLO of ·cers, o
               spokesmen inadmissible. INA 2       a)(3)(B)            mes "engaging in
               terrorist activities," which cov    br:      range of activities that support or
               promote the commission of te            ctivities or groups that engage in
               them (see INA 212(a)(3         (ivJ      9 F:     302.6-2(B)(4) paragraph b ·
               for more detail.
       (Previous Location: 9 FAM
        b. (SBU) TERRORIST: CT                  TY: ':ferrorist activity" (INA 212(a)(3)(B)(iii))
           means any of the t ·s                          un·lawful where committed, or which
           would be unlaw                               e United States under the laws of the
           United States o                                                                                   B7(E)
                                                                                                 The
                                                terrorist activities:
           (1)                    · · eking or sabotage of any conveyance (including an aircraft,
                                 hie ,
                                ·zing or detaining, and threatening to kill, injure, or continue
                         in,   y person in order to compel a third party (including          ,
                  gove mental organizations) to act or to refrain from acting as a condition
                  for rel sing the detained individual;
           (3) (SBU) A violent attack upon an internationally protected person (as
               defined in 18 U.S.C. 1116(b)(4)) or upon his or her liberty (questi9ns as to
               whether a person is an internationally protected person should be referred
               to the Office of the Legal Adviser);
           ( 4) . (SBU) An assassination

                                                                                 9 FAM 302.6 Page 14 of 45
                                   SENSITIVE BUT UNCLASSIFIED (SBY)
                                                   14
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page131 of 302
                                                    JA-129

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 16Date:
                                                                     No. C06533909  of 4611/09/2018

                              SENSl'flVI! BUT UNCLASSIFIED (58ll)
                          U.S. Department of State Foreign Affairs Manual Volume 9
                                                   Visas
                                                                                                           B7(E)


          (5) {SBU) The use of any biological or chemical agent, nuclear weapon or
              device, or explosive or firearm or ot_h er weapon or dangerous device (other
              than for mere personal monetary gain) with intent to endanger, directly or
              indirectly, the safety of another individual or individuals or to cause
              substantial property damage; or
          (6) {SBU) A threat, attempt, or conspiracy to do any of the abo
        {Previous Location: 9 FAM 40.32 N3.2 CT:VISA-2173;                09-16-
       c. {U) ENGAGED IN TERRORIST ACTIVITY:
          (1) {U) After defining the violent acts that constitut                                 eINA
              212(a)(3)(B)(iii)) , the .INA identifies the acts t
              inadmissible because of their connections to th                             r to those
              who commit them. (See definition of "en                                     y" INA
              212(a)(3)(B)(iv)) .
          (2) {U) An alien is inadmissible on any of the                      below if either
              the alien has engaged in terroris    ivity in               u or the
              Secretary of Homeland Securit      the ttorne        eral knows or has
              reason to believe that the ali           y is engaged in, or likely after entry
              to engage in, a terrorist activit       INA 12(a)(3)(B)(i)(I) -(II)).
          (3) {U) An alien is inadmi       ·              ga      n terrorist activity" if the alien
              acts, as an individu I                       r of a group, to:
               (a) {U) Com       ·                  omm1     terrorist activity, under
                   circu                               n intention to cause death or serious
                   bodil
               (b)    U                        a te rorist activity;
                                               on on potential targets for terrorist activity;
                                          r other things of value for a terrorist activity or
                           111!!11111-.i~ividual to engage in terrorist activity;
                                 · it funds or ot'her things of value for, or solicit any individual
                        -..,,,.......,.ership in, a terrorist organization. If the terrorist
                       gani ation is undesignated at the time the solicitation occurred, (see
                        AM 302.6-2(B)(3) paragraph i(3));
               (f)   {U) Commit an act that the actor knows, or reasonably should know,
                     affords material support for the commission of a terrorist activity;
               (g) {U) Commit an act that the actor knows, or reasonably should know,
                   affords material support to any individual who the actor knows, or
                   reasonably should know, has committed or plans to commit a terrorist
                   activity; or

                                                                              9 FAM 302°.6 Page 15 of 45
                           SENSITIVE 8U'f UNCLASSIFIED (SBY)
                                                   15
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page132 of 302
                                                 JA-130

            CaseU.S.
CO 6533 90 9FIED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 17
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                                SENSITI¥E BYT UNCLASSIFIED (SBU)
                           U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas
                  (h) {U) Commit an act that the actor knows, or reasonably should know,
                      affords material support to an entity that was a terrorist organization
                      (i.e., engaged in terrorist activity) at the time the material support
                      was provided or to a member of a terrorist organization, without
                      regard to how the contribution was to be used. If the terrorist
                      organization was undesignated at the time material support was
                        rovided see 9 FAM 302.6-2 B 3 ara ra h i 3 .
                                                                                                         B7(E)
           (4)                                                                                              I




          , (5) {U) Current representatives o         h
                  (a) {U) A terrorist orga                        or undesignated; there is no
                      defense based o                           oncerning the organization's
                      activities); or
                  (b) {U) A                          ther similar group that endorses or espouses
                      terr ·                   die                  he group's endorsement or
                                                         f whether t_
                      esp                            . efforts.
           (6) {U}                         a terrorist organization are inadmissible. (See 9
               F                            aph e) If the terrorist organization is
                                         is not admissible if the applicant can demonstrate
                                       mg evidence" that he or she did not know, and should
                               ~-~e known, that the organization was a terrorist
                                See 9 FAM 302.6-2(8)(3) paragraph b).
                          o    g or espousing terrorist activity or persuading others to
                   endo e or espouse terrorist activity or support a terrorist organization,
                   wheth designated or undesignated renders an alien is inadmissible. (See
                 . 9 FAM 302.6-2(8)(3) paragraph c)
           (8) {U) Military-type training, received _from or on behalf of any organization
               that, at the time the training was received, was a terrorist organization,
               makes an alien inadmissible. "Military-type training," as defined in 18
               U.S.C. 2339D(c)(l), includes training· in means or methods that can cause
               death or serious bodily- injury, destroy or damage property, or disrupt

                                                                             9 FAM 302.6 Page 16 of 45
                                 SENSITl'JE RUT UNCLASSIFIED (&RU)
                                                    16
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page133 of 302
                                                  JA-131

               CaseU.S.
CO 6 5 3 3 9 O9=IED 1:17-cv-07572-ALC
                        Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19   Page 18
                                                                     No. C06533909   of 46
                                                                                   Date: 11/09/2018
                                   \



                              SENSITl'/E     eui:: UNCLASSIFIED        (SHU)
                           U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas
                 services to critical infrastructure, or training on the use, storage,
                 production, or assembly of any explosive, firearm or other weapon,
                 including any weapon of mass destruction.
        (Previous Location: 9 FAM 40.32 N3.3 CT:VISA-1942;              11-15-2012)
       d. (U) PALESTINE LIBERATION ORGANIZATION (PLO) AND OTHER
          PALESTINIAN ENTITIES:
          (1) (U) Any alien who is an ·officer, official, representative, or s kesperson of
              the PLO is considered to be engaged in terrorist activity and       refore
              inadmissible. See INA 212(a)(3)(B)(i). This provision a              ly to those
              individuals who are currently PLO officers, officials, r
              spokespersons. Although not covered by the PLO-s
              officers, officials, representatives, or spokesper       Ii
              inadmissible under the other provisions of INA                        0
              Officials" would be individuals with substan · e
              responsibility in the PLO. Members of th                            ttee, PLO
              Representatives at Missions around the                           sentatives to
              the United Nations and other Internation                         rly would be
              inadmissible under this provision.
           (2) (U) Applicants who no longer
               persons who may be viewed                               mbers or employees,
               but are not officers, offici Is, r    es tativ , or spokespersons, are not
               inadmissible under the             ec ·c p     n. You should be alert to the
               possibility that applic              e nt o past associations with the PLO
               ma be inadmissibl                          3 B for other reasons.
                                                                                                         B7(E)
           (3)




       (Previou                 FAM 40.32 PN3.1 CT:VISA-2074;            03-18-2014)
                        mpo ition of the Palestine Liberation Organization (PLO)
                 (a)




                                                                             9 FAM 302.6 Page 17 of 45
                               SENSITI'IE BUT_ UNCLASSIFIED (iBU)
                                                    17
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page134 of 302
                                                    JA-132

CO 6533 90 9Case 1:17-cv-07572-ALC
            IED U.S. Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19  Page 19Date:
                                                                  No. C06533909  of 4611/09/2018


                                 Sl:NSl'flVI: 8U'f UNCLASSIFIED (SBIJ)
                              U.S. Department of State Foreign Affairs Manual Volume 9

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               (b)




                     (i)       (SBU)
                     (ii)      (SBU)
                     (iii)     (SBU)
                     (iv)      (SBU)
                     (v)
                     (vi)




       (Previous Lo         tion: 9 FAM 40.32 PN3.2 CT:VISA-2074;           03-18-2014)
          (5) (U) Implications for Other Palestinian Entities:
               (a) (SBU)




                           SENSITIJJE BUT UNCLASSIFIED (SBU)
                                                   18
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page135 of 302
                                                   JA-133

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 20Date:
                                                                     No. C06533909  of 4611/09/2018


                                SENSITl'JE BUT UNCLASSIFIED-fS8 11 }
                             U.S. Department of State Foreign Affairs Manual Volume 9
                                                      Visas
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               (c)     SBU




        (Previous Lo    tion: 9 FAM 40.32 N3.4 CT:VISA-1902;              09-26-2012)
       e. (U) SPOUSE AND CHILDREN O.F AN INADMISSIBLE ALIEN:
          (1) (U) Spouses and children of aliens found inadmissible under INA
              212(a)(3)(B) are also inadmissible if the activity causing the alien to be
              inadmissible occurred within the last five years. However, there are
              exceptions to this inadmissibility.
          (2) (U) INA lOl(b)(l) defines child as an unmarried person under twenty-one
                                                                              9 FAM 302.6 Page 19 of 45
                           SENSITI'IE BUT UNCLASSIFIED (SHY)
                                                   19
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                Case 20-3837, Document 41, 02/23/2021, 3042809, Page136 of 302
                                                   JA-134

CO 6 5 3 3 9 0 9 Case 1:17-cv-07572-ALC
                 FIED U.S. Department of State Document   102-2 FiledDoc
                                                Case No. F-2017-14346 03/28/19   Page 21
                                                                         No. C06533909   of 46
                                                                                       Date: 11/09/2018


                                   Sl:NSITI'JE BUT UNCLASSIFIED {SBU)
                             U.S. Department of State Foreign Affairs Manual Volume 9
                                                      Visas
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              ( 4) (U) This ground of inadmissibility does not apply to a spouse or child who
                   did not know or should not reasonably have known of the alien's activity
                   that caused the alien to be· found inadmissible. It also does not apply if
                   you or the Secretary of Homeland Security finds that there a e reasonable
                   grounds to believe the spouse or child has renounced the ac ity causing
                   the alien to be found inadmissible. The statutory excep · to pouse and
                   child inadmissibility applicable in cases where the spo            didn't
                   know of the terrorist activity or renounced the activ·               A
                   212(a)(3)(B)(ii).
              (5)




         (CT:VISA-
         (Previous                           2 N4.1 CT:VISA-1942;        11-15-2012)
         a.                   ...IIMl~RSUS WAIVER: Both of these discretionary authorities
                                rece e an immigration benefit, even though the alien would
                                  ·fy for the benefit. One significant difference is that when
                           e     thority, the Department first determines that the alien is not
                          receive a benefit (e.g., a visa) and then follows the applicable
              procedure or obtaining a waiver of the disqualification from the Department of
              Homeland Security (OHS). The waiver authority, found in INA 212(d)(3)(A), is
              available only for non-immigrant visas. In contrast, when exemption authority
              is exercised, the Secretary, following interagency consultations, determines
              that the disqualification (which must arise under the INA's terrorism-related
              grounds for inadmissibility) "shall not apply" i17 the particular case. Exemptions
              are available for both NIV and IV cases, as well as other immigration-related
              benefits. These authorities are further discussed below.
                                                                               9 FAM 302.6 Page 20 of 45
                                   SENSITI\IE BUT UNCLASSIFIED {58U)
                                                    20
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                Case 20-3837, Document 41, 02/23/2021, 3042809, Page137 of 302
                                                    JA-135

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 22 of 46
                                                                     No. C06533909 Date: 11/09/2018




                                SENSITIVE BYT UNCLASSIF IED (SBU)
                             U.S. Department of State Foreign Affairs Manual v ·o lume 9
                                                      Visas
        (Previous Location: 9 FAM 40.32 N4.2 CT:VISA-194 2;                 11-15-2012)
       b. (U) EXEMPTION AUTHORITY FOR INDIVIDUA LS UNDER INA
          212(d)(3)(B )(i):
           (1) (U) Under INA 212(d)(3)(B) (i), the Secretaries of Homeland Security and
               State, in consultation with each other and the Attorney General, each are
               authorized to conclude, in their sole and unreviewable discretion, that
               almost any of the terrorism-rela ted provisions under INA 21 a)(3)(B)
               should not apply to an alien. If the alien is in the United -Sta s, however,
               and removal proceedings have commenced, only the Se           tar of
               Homeland Security has the authority to apply the exe
          (2) (U) INA 212(d)(3)(B) (i) exemptions cannot be gran
                (a) (U) Aliens for whom there are reasonable
                    engaged in (present activities) or likely to
                                                                         ••'1
                                                                           ngag
                    activities) terrorist activity (INA 212(                (i)(II)
                (b) (U) Members of Tier I and Tier.II te
                    by the State Department) (INA 212(
                ( c)   (U) Representativ es of Tier                                organizations
                       (designated by the State                                 ( a )(3)( B)(i)(IV)( aa));
                (d) (U) Aliens who vol                         owingly engaged in terrorist activity
                    on behalf of a Ti                                  212(a)(3)(B) (i)(I), as
                    defined by INA
                (e) (U) Aliens w
                    terrorist                                   rs to do so on behalf of a Tier I or
                    Tier II                                       II));
                (f)    (U)                  lunt · y and knowingly received military-type
                                              I or I terrorist organization (INA

          (3)                               ote that with respect to past activities, the
                                         emption authority relate only to aliens with ties to
                                       and Tier II) terrorist organizations . The exemption
                                  y overcome inadmissibilit y for any past terrorist activity
                                1 h .an undesignated (Tier III) terrorist organization.

          ( 4) (U)      including "voluntarily or knowingly" in the statute, Congress made
               clear t t exemptions may be used to overcome inadmissibilit y for past
               terrorist activity associated with a designated (Tier I or II) terrorist
               organization, if the alien acted under duress or without the relevant
               knowledge.
          (5) (U) Although exercises of the exemption authority require action by the
              Secretary following interagency consultations and, theref9re, will not be
              commonplace , you may recommend that the Department pursue an

                                           .                                    9 FAM 302.6 Page 21 of 45
                           SENSITIVE BUT UNCLASSIF IED (SBY)-
                                                   21
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page138 of 302
                                                      JA-136

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 23Date:
                                                                     No. C06533909  of 4611/09/2018




                                   SENSITIVE BUT UNCLASSIFIED (SBU)
                                U.S. Department of State Foreign Affairs Manual Volume 9
                                                         Visas.
                   exemption from provisions of INA 212(a)(3)(8) for a nonimmigrant visa
                   applicant, if politically j.ustified, or an immigrant visa applicant. Such
                   requests must be submitted to the Department with a detailed assessment
                   explaining why an exemption is appropriate and any balancing
                   considerations.
        (Previous Location: 9 FAM 40.32 N4.3 CT:VISA-1992;                   05-23-2013)
       c. (U) EXEMPTION AUTHORITY FOR INDIVIDUALS ASSOCIAT D WITH
           THE AFRICAN NATIONAL CONGRESS:
           ( 1) (U) In General:
                   (a) (U) Under Public Law No. 110-257, codified at                                ote, the
                       Secretaries of State and Homeland Security, in c                                each
                       other and the Attorney General, each are                                       e, in
                       their sole and unreviewable discretion, th                               (B), and
                       (3)(8) (other than clause (i)(II)) of I                                  pply to an
                       alien with respect to activities under                                  th the
                       African National Congress in oppositi                                 in South
                       Africa. This authority operate the sa                                individual
                       exemption authority describ                n 9 FA              )(5) paragraph b,
                       but for activities that mav.                                  this law, o"nly this
                       exemption should be con                              mption under the Public Law
                       may cover both terrorism-                            me of the criminal-related
                       grounds of inadmi                        es           also establishes that the ANC
                       must not be trea          ,.....,..,.,'llai"st o anization, for purposes of section
                       212(a)(3)(8) o                               n past actions. See 9 FAM 302.6- ·
                       2(B)(3) par grap
                   (b) (U) Eff                              , the Secretary of State, following
                       consul                            retary of Homeland Security and the
                       Attorn                      ercised her discretionary authority under Public
                              1                  t mine that INA 212(a)(2)(A)(i)(I ), (2)(8), and
                                                 clause (i)(II)) shall not apply to individuals for
                                               ken in association with the African National Congress
                                 in        sition to apartheid rule in South Africa (the "ANC
                                     al exemption"). The ANC categorical exemption sets out
                                       for eligibility, described below, that must be applied by
                             nsular officers and other relevant U.S. Government officials in
                           a ordance with the procedures below. Please see CAWeb Exemption
                           Authorities for the complete text.
        (Previous Location: 9 FAM 40.32 PN1.1 CT:VISA-1849;                   07-26-2012)
           (2) (SBU) I                                                                                     I   B7(E)
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                   (a) (SBU) I
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                                                          .                       9 FAM 302.6 Page 22 of 45
                            SENSITIVE BUT UNCLASSIFIED (SBU}
                                                   22
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page139 of 302
                                                      JA-137

            CaseU.S.
CO65 33 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 24
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018                __ _


                                      SENSITIVE BUT UNCLASSIFIED (SBl:J)
                                U.S. Department of State Foreign Affairs Manual Volume 9
                                                         Visas ·
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               (c) (SBU)          I




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               (d)        SBU




        (Previous Location: 9 FAM 40.32 PN1.2 CT:VISA-~
                                                      .. aCJ,a.
           (3) (U) Requirements for ANC Exemptio
               (a) (SBU) As required by the Public Law,
                   applicant's activities were:
                         (i)     (SBU) Undertaken ·
                         (ii)    (SBU) In opposition
               (b) (SBU) "Undertake 1                                       ANC - If the applicant's
                   activities were n    soc,                              C, the exemption does not
                   apply to the ap ·can                                   ssociation in question:
               ( c) (SBU) "In                                                                ·   that the
                    individ
                    opposi




                         (ii)    (SBU) The Public Law also precludes any exemption if you know
                                 or have a reasonable ground to believe the applicant is engaged
                                                                                  9 FAM 302.6 Page 23 of 45
                                      SENSITI'JE BUT UNCLASSIFIEDiSB~
                                                   23
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page140 of 302
                                                      JA-138

               CaseU.S.
CO 6 5 3 3 9 O9FIED 1:17-cv-07572-ALC
                        Departr:iient of State Document  102-2 FiledDoc
                                               Case No. F-2017-14346 03/28/19   Page 25
                                                                        No. C06533909   of 46
                                                                                      Date: 11/09/2018


                                  SENSITPIE Bl:JT UNCLASSIFIED (SBU)
                               U.S. Department of State Foreign Affairs Manual Volume 9 ·
                                                        Visas
                               in or is likely to engage in terrorist activity as defined in clause
                               (iv) of INA 212(a)(3)(B) ·after entry into the United States.
        (Previous Location: -9 FAM 40.32 PN1.3 CT:VISA-2074;                 03-18-2014)

           (4)   ,----a...-..,,.._____.___,~ - - - - - - - - - - - - - - - - ~ - ~                            B7(E)




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                  (b)    SBU

                  (c) (SBU)

                  (d) (SBU)




                        (iv)    (SBU)

                  (f) · (SBU)

                        (SBU)

                                                                                  9 FAM 302.6 Page 24 of 45
                                   SENSITIVE BUT UNCLASSIFIED (SBU)
                                                    24
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page141 of 302
                                                       JA-139

            Case_U.S.
CO 6533 90 9FIED 1:17-cv-07572-ALC
                      Department of State Document  102-2 FiledDoc
                                          Case No. F-2017-14346 03/28/19   Page 26
                                                                   No. C06533909   of 46
                                                                                 Date: 11/09/2018


                                      SENSITIVE BUT UNCLASSIFIED (SHU)
                                U.S. Department of State Foreign Affairs Manual Volume 9
                                                                                                              B7(E)




                (g)       SBU

                        (i)         SBU




                         (ii)        SBU

                                    (A)
                                                                                                    ; nor




                                            (2)   (SBU)I

                •       (SBU)   I




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                •       (SBU)



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                                          SENSITIVE BUT UNCLASSIFIED (SBU)
                                                    25
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                   Case 20-3837, Document 41, 02/23/2021, 3042809, Page142 of 302
                                                               JA-140

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 27
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                                    SENSITIVE BUT UNCLASSIFIED (SBU)
                                U.S. Department of State Foreign Affairs Manual Volume 9
                                                         Visas
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                                 (3)     (SBU)



                        (iii)    (SBU)

                        (iv)     (SBU)




        (Previous Location: 9 FAM 40.32 N4.4                                 ......lilllii1li.'1. 5-2012)
       e. (U) EXEMPTION AUTHORITY F                                                       ERRORIST
             ORGANIZATIONS (TIER III) U                                         )(3)(B)(i).: The
             Secretaries of State and Ho                  nd                   sultation with each other
             and the Attorney General,                n                        heir sole and unreviewable
             discretion, to exempt a                                        ted as an undesignated
             terrorist organization, wI
             (1)                                          ge    · terrorist activity against the United
                                                                 untry; and
             (2)                                      rposefully engaged in a pattern or practice of
                                                       ected at civilians.
        f.                                          ITV FOR KURDISTAN DEMOCRATIC PARTY,
                                 .......-..c~o    GRESS, AND PATRIOTIC UNION OF KURDISTAN:
                                    9 FA         40.32 PN2.4 CT:VISA-2074; 03-18-2014)
             (1)
                          BU) The KDP, the PUK, and, for a period prior to 2004 (but not for
                        a    period after 2004 ), the INC, were found to fall within the INA
                        definition of a "terrorist organization," pursuant to INA
                        212(a)(3)(B)(vi)(III), ("Tier III").
                                                                                                                       B7(E)   I




                                                                                           9 FAM 302.6 Page 26 of 45
                                       SENSITI\'~ l!!SUT UNCLASSIFIED (5Bl::t)
                                                    26
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page143 of 302
                                                  JA-141

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 28
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                             51!NSITI"irE BUT UNCLASSIFIED ""(SBU)-
                          u.s .. Department of State Foreign   Affairs Manual Volume 9
                                                     Visas
                   ~-------------~Ithe Secretaries of Homeland                                                 . B7(E)
                    Security and State granted exemptions under INA section
                    212(d)(3)(B)(i) for a category of qualified individuals, as described ·
                    above, from grounds of inadmissibility applicable as a result of any
                    activity or association relating to the KDP, the PUK, and the INC (the
                    "categorical exemptions").
               (c) SBU) This guidance is intended for consular officers considering visa
                   applications of those who may fall within the scope of th categorical
                   exemptions.
                    (SBU) The categorical exemptions allow the V,i,sa
                    guidance from the Visa Office, consular officers
                    particular alien, meets the conditions of the categ                              s.
               (d) (SBU) The categorical exemptions set ou                                         that must
                   be met by any individual being conside d                                      nderthe
                   terms of the categorical exemptions,         i                                al must be
                   determined by consular or DHS offic Is, as a                             with respect
                   to applicants for visas or other immi    tion be                         e full texts of
                   the categorical exemptions ar: et out         xhi                     this Note. The
                   terms of these three exem       ns are iden
               (e) (SBU) Note that there is c                  ssional reporting requirement for
                   individuals exempted unde h                 teg ·cal exemptions relating to the
                   KDP, INC, and PU        rt                        .6-2(B)(6) paragraph c. Not
                   later than 90 da                          of ch fiscal year, the Secretaries of
                   State and Hom                              st submit a report to specified
                                 I co                        individuals exempted under INA

       (Previous Location                          T:VISA-1992;         05-23-2013)
           (2) (U) In Ge        al: In Se    mber 2009, the Secretary of Homeland Security
               and                f Stat granted an exemption under Immigration and
               Nati                      ection 212(d)(3)(B)(i) covering the category of
                          ,......._~eet certain conditions, as determined by consular or DHS
                            appr priate; from certain inadmissibility grounds in Section
                                 f the INA with respect to any activities or associations
                       to     · Kurdistan Democratic Party (KDP), the Patriotic Union of
               Kur    an (PUK) or the Iraqi National Congress (INC) (hereinafter the
               "categ ical exemption"). Please see CAWeb Exemptions for the full text of
               the exemption.
        (Previous Location: 9 FAM 40.32 PN2.1 CT:VISA-1942;                 11-15-2012)
           (3) (U) Procedures:
               (a) (SBU)~
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                                                                                9 FAM 302.6 Page 27 of 45
                              SENSITI'IE BUT UNCLASSIFIED (SBU)
                                                    27
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page144 of 302
                                                JA-142

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 29
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                             SENSITI'/E BUT UNCLASSIFIED (SBU)
                         U.S. Department of State Foreign Affairs Manual Volume 9
                                                  Visas
                                                                                                       B7(E)




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                                                                           9 FAM 302.6 Page 28 of 45
                             SEl~S!Tl\?E BUT UNCLASSIFIED fSB~
                                                   28
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page145 of 302
                                                  JA-143

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 30
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                                !l!NSll'IVE BUT UNCLASSIFIED (SOU)
                             U.S. Department of State Foreign Affairs Manual Volume 9
                                     ·                Visas
        (Previous Location: 9 FAM 40.32 PN2.2 CT:VISA-1849;               07-26-2012)
            ( 4) {SBU) Threshold Requirements Under the Categorical Exemption:
                (a) (SBU                                                                                  B7(E)




                     (ii)    {SBU)



                     (iii)     SBU

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                     (iv)      SB




                                                                               9 FAM 302.6 Page 29 of 45
                                 SEN~!Tl\"E BUT UNCLASSIFIED (SOU)
                                                    29
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page146 of 302
                                                            JA-144

            CaseU.S.
CO 6533 90 9FIED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 31
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                                     Sl!N!ITI'it'E BUT UNCLASSIFIED {SBtJ}
                               U.S. Department of State Foreign Affairs Manual Volume 9

                                                                                                               B7(E)




                       (vii)       (SBU) The applicant fully disclosed, in app!ic ·
                                   interviews with U.S. Government represent~~,o.c!'i--..-
                                   the nature and circumstances of activitie
                                   within the scope of INA 212(a)(3)(B);
                       (viii) (SBU)



                       (ix)         SBU)

                       (x)         (SBU)

                 (b)




        g. (U) APP                                       PTION FOR INDIVIDUALS ASSOCIATED
           WITH                                           ARMY (KLA):
         (Previous                                    .32 PN6.1 CT:VISA-2240; 01-02-2015)
                       ~.._----           ------""-
           ( 1) : -IIIL.S==    ~    =    ~      =================--




                 (a) (         U)




                 (b) (SBU)

                 (c) (SBU)

                                                                                   9 FAM 302.6 Page 30 of 45
                                        !l!N!ITl~I! BUT UNCLASSIFIED ,..._.......__.
                                                    30
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page147 of 302
                                                           JA-145

            CaseU.S.
CO 6533 90 9FIED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 32
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                                    SENSITI\fE BYT UNCLASSIFIED (SBY)
                               U.S. Department of State Foreign Affairs Manual Volume 9
                                                                                                                      B7(E)




                 (d) (SBU)I~ - - - - - - - - - ~ - - - - ~




                 (e) (SBU)



       (Previous Location: 9 FAM 40.32 PN6.2 CT:VISA- 2
           (2) (SBU




                 (a) (SBU)

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                                                                .......
                 (b) ·(U) The applic                                      nefit or protection under the INA,
                      which may inclu                                     nt visa, and is otherwise eligible for
                      the benefit
                 (c)

           (U)




                           )       applicant has fully disclosed, to the best of his or her
                           owledge, in all relevant applications and interviews with U.S.
                        g ernment representatives and agents, the nature and circumstances
                        of activities or associations falling within the scope of INA section
                        212(a)(3)(B).
                 (e)

           (U) (NOTE: a conviction is not 'required; rather, an indictment will suffice to
               make the applicant ineligible for the exemption. If you are unsure whether
                                                                                          9 FAM 302.6 Page 31 of 45
                                    S&NSITl'J& BUT UNCLASSIFIED {SBU}
                                                    31
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page148 of 302
                                                        JA-146

             Case U.S.
CO 6533 90 9IFIED 1:17-cv-07572-ALC
                       Department of State Document   102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19   Page 33
                                                                     No. C06533909   of 46
                                                                                   Date: 11/09/2018


                                    SENSITI'JE BUT UNCLASSIFIED {58U)
                                 U.S. Department of Sta·te Foreign Affairs Manual Volume 9
                                                           Visas
                  the applicant was or is subject to indictment, email you CA/VO/SAC
                  analyst. See Who's Who in VO for your point of contact in CA/VO/SAC.)
                      (f)   (U) The applicant has not participated in, or knowingly provided
                            material support to, terrorist activities that targeted noncombatant
                            persons or United States interests.
            (U) (NOTE: for fu.rther information on material support, see 9 FAM 302.6-
                2(6)(3).)
                      (g) (U) The applicant has established to your satisfaction th
                          poses no danger to the safety and security of the U
                      (h) (U) The applicant warrants an exemption from
                          inadmissibility provisions in the totality of the cir
            (U) (NOTE: The exemption gives you broad latitud                                    e evant
                factors and determine that an applicant who m                                  pear
                eligible for the exemption should not ben~~(3a("I                              y of
                circumstances.)
                              ~___,___ _ _ _ _ _ _ _____IIL__ ______,.,... . . .       ~_    _ _ _~

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                      (j)    SBU




            (3)   ~     ~   ------------------------~
                      (a)




                      (b) (SBU)




                                                                                    9 FAM 302.6 Page 32 of 45
                                     SENSITI'JE BUT UNCLASSIFIED t581:J}-
                                                    32
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page149 of 302
                                                             JA-147

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 34
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


                                             SENSITIVE BYT UNCLASSIFIED tsBUt
                                      U.S. D_epartment of State Foreign Affairs Manual Volume 9
                  .                                             Visas
       (Pr~vious Location: 9 FAM 40.J2 PN6.4 CT:VISA-2240; 01-02-2015)
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                      (e) {SBU)I                                                                                                I




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        (Previous Location: 9 FAM 40.32 PN6.6 CT:VISA-2240; 01-02-2015)
           (6) {SBU)

                                                                                         9 FAM 302.6 Page 33 of 45
                                             SENsn·r-tE BUT UNCLASSIFIED (SBU)
                                                    33
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page150 of 302
                                                           JA-148

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 35Date:
                                                                     No. C06533909  of 4611/09/2018




                                         SENSITI\JE BUT UNCLASSIFIED (SOU)
                                      U.S. Department of State Foreign Affairs Manual Volume 9

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        9 FAM 302.6-2(8)(6 ) (U) Reports to Congress
        (CT:VISA-1; 11-18-2015)
         (Previous Location: 9 FAM 40.32 NS CT:VISA-2173;                       09-16-2014)
        a. (U) Report on 38 Denials: Section 128 of Public Law 102-138
           1991, added to the law a permanent requirement that the Secret
           report, on a timely basis, to the Judiciary Committees of the ,..liliS.~
           the House Foreign Affairs Committee, and the Senate For


                                                                                ~---
           Committee every denial of a visa "on grounds of terroris                                      with a
           brief description of the factual basis for the denial.
                                                                                       .....
        b. (U) Report on 38 Waivers: The Secretary of St                                     rt on all
             aliens inadmissibility under INA 212(a)(3)(B) rr::..■1a,n,,_,                   nt issued a
             visa, or failed to object to the issuance of a v·                              ed by
             section 51 of the State Department Basic Aut                   i,111111111~ nded by
             Section 231 of the Foreign Relations Authoriza                              r 2003, must
             be submitted to appropriate committ                                   asis. The
             requirement for these reports may                                   723.
        c. (U) Report on Exemptions und               I             (3)(8): Not later than 90
             days after the end of each fi      I yea th             ries of State and Homeland
           · Security must submit a re               e ·ed        ressional committees on all
             individuals exempted u                 .,_.,-.)(B)(i). Exemptions for groups must
             be reported within one                         3)(B)(ii)).

        9 FAM 302.6

                                                         Security Advisory Opinions Required
        (CT:VI
        (Previ                               M 40.32 N1.1(b) CT:VISA-1902;           09-26-2012)
                  -....P--~   ---'-
        a.   SB




                                                                                        9 FAM 302.6 Page 34 of 45
                            SENSITI\JE BUT UNCLASSIFIED (SBl:J)
                                                   34
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
               Case 20-3837, Document 41, 02/23/2021, 3042809, Page151 of 302
                                                       JA-149

            CaseU.S.
CO 6533 90 9=IED 1:17-cv-07572-ALC
                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 36
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018                      .


                                        SENSITIVE BUT UNCLASSIFIED "(SBU} . .
                                 U.S. Department of State Foreign Affairs Manual Volume 9
                                                          Visas
        (Previous Location: 9 FAM 40.32 PN4 CT:VISA-2074; · 03-18-2014)
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                                                    35
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page152 of 302
                                                        JA-150

            Case U.S.
CO 6533 90 9FIED 1:17-cv-07572-ALC
                      Department of State Document   102-2 FiledDoc
                                           Case No. F-2017-14346 03/28/19   Page 37
                                                                    No. C06533909   of 46
                                                                                  Date: 11/09/2018


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                                  U.S. Department of State Foreign Affairs Manual Volume 9
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                                                                                    9 FAM 302.6 Page 36. of 45
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                                                    36
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
                 Case 20-3837, Document 41, 02/23/2021, 3042809, Page153 of 302
                                                       JA-151

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 38Date:
                                                                     No. C06533909  of 4611/09/2018


                                      Sl!!NSl"f'IVE BUT UNCLASSIFIEDT58t:Jt-
                                  u.s. Department of State Foreign Affairs Manual Volume      9
                                                           Visas
            9 FAM 302.6-2(C)(2)                                                                            B7(E)
        I                                     ~ I --~----~I
            (CT:VISA-1; 11-18-2015)
            (Previous Location: 9 FAM 40.32 PN1.4 CT:VISA-1849;                07-26-2012)
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       (Previous Location: 9 FAM 40.32 PN1.5 CT:VISA-1849;                    07-26-2012)
       b. (SBU~                                                                           I




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                                                                                  9 FAM 302:6 Page 37 of 45 ,
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                                                   37
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page154 of 302
                                                JA-152

CO 6533 90 9Case 1:17-cv-07572-ALC
            IED U.S. Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19  Page 39Date:
                                                                  No. C06533909  of 4611/09/2018


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                          u.s. Department of State Foreign Affairs Manual Volume   9
                                                   Visas
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               (c) (SBU}




               (f)   (SBU} Be advised that discussion of the visa status or visa application
                     of an individual visa applicant is governed by the confidentiality.
                     provisions in INA Section 222(f).



                                                                           9 FAM 302.6 Page 38 of 45
                                SENSITIVE BUT UNCLASSIFIED T98U)-
                                                   38
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page155 of 302
                                                   JA-153

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 40Date:
                                                                     No. C06533909  of 4611/09/2018




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                           u.s.   Department of State Foreign Affairs Manual Volume 9
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        (CT:VISA-1; 11-18-2015)
        (Previous Location: 9 FAM 40.32 PN2.3 CT:VISA-1849;               07-26-2012)
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                                                                              9 FAM 302.6 Page 39 of 45
                              SENSITIVE BUT UNCLASSIFIED (SBU)
                                                   39
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
               Case 20-3837, Document 41, 02/23/2021, 3042809, Page156 of 302
                                                      JA-154

                Case U.S.
CO 6 5 3 3 9 O9 FIED 1:17-cv-07572-ALC
                          Department of State Document   102-2 FiledDoc
                                               Case No. F-2017-14346 03/28/19   Page 41
                                                                        No. C06533909   of 46
                                                                                      Date: 11/09/2018


                                 SENSITIVE BYT UNCLASSIFIEDT5Bl:J}-
                              u.s.   Department of State· Foreign Affairs Manual Volume 9
                                                          Visas
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         i.   (SBU)


         9 FAM 302.6-2(C)(4) (U) Exemption Authorit
         or Activities Associated with the Kosovo Lib ra
         (CT:VISA-1; 11-18-2015)
         (Previous Location: 9 FAM 40.32 N7 CT:VISA-204
         a. On June 4, 2012, Homeland Security Secreta                         wing
            consultations with the Secretary of State and                     eral, exercised
            her authority under INA section 212(d) 3)(B)(i               ply certain
            inadmissibility grounds under INA se     n 212(a) _ _,,_. r certain activities or
            associations relating to the Kosov             Army        ). Prior to applying
            this "exemption" to a visa applica          are several issues that must be
            considered. These are descri ed be           dif   for immigrant and non-
            immigrant visa applicants.
         b. The exemption cannot      ap · d to      ·mmigrant or non-immigrant visa
            applicant you know or ha         nable ounds to believe is engaged in or is
            likely to engage aft  ntr             ited States in any terrorist activity, as
            defined in INA s                     ).




         9 FA                                 (U) Waivers for Immigrants
         (CT:VJ,,.,\-""-             -20 5)
         (Previous oc                 FAM 40.6 Exhibit I CT:VISA-2316; 08-19-2015)
         (U) No wai        r is available for immigrant visa applicants .
                                                                               .
         9 FAM 302.6-2(D)(2) (U) Waivers for Nonimmigrants
         (CT: VISA-1; 11-18-2015)
         (Previous Location: 9 FAM 40.32 N4.1(b) CT:VISA-1942;                     11-15-2012)
         {U) You may request that a finding of INA 212(a)(3)(B) inadmissibility be waived
         for a nonimmigrant in a particular case. Such requests must be submitted to the
         Department with a detailed assessment explaining why a waiver is appropriate and
                                                                                    9 FAM 302.6 Page.40 of 45
                                     Sl!NSITI\fE BYT UNCLASSIFIED (SBU)
                                                    40
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page157 of 302
                                                JA-155

            Case U.S.
CO 6533 90 9FIED 1:17-cv-07572-ALC
                      Department of State Document  102-2 FiledDoc
                                          Case No. F-2017-14346 03/28/19   Page 42
                                                                   No. C06533909   of 46
                                                                                 Date: 11/09/2018       __


                               SENSITl1l'E BUT UNCLASSIFIED {SOU)
                          U.S. Department of State Foreign Affairs Manual Volume 9
                                                   Visas
        any balancing considerations. Where appropriate, the Department will forward the
         request with a recommendation to Department of Homeland Security (DHS)      ,
        Washington to grant the waiver. You may not request waivers from DHS attaches
        ·at post.
        (U) NOTE: The Department may request a waiver from OHS on its own initiative
        if it believes a waiver is appropriate under the circumstances in a particular case.
        The Department will advise you whenever a waiver has been approved, and you
        must annotate the visa in accordance with 9 FAM 403.8. ·


        9 FAM 302.6-3 (U) ASSOCIATION
        TERRORIST ORGANIZATIONS - I

        9 FAM 302.6-3(A) (U) Grounds
        (CT:VISA-1;     11-18-2015)
         (U) Section 212(a)(3)(F) of the Immigration and
         inadmissible any alien who the Secretar    State,    rc
         Secretary of Homeland Security, deter         s been     ciated with a terrorist
         organization and intends while in the n      ates to engage solely, principally, or·
         incidentally in activities that could en    he w fare, safety, or security of the
         United States.




         9 FAM 302.6-3                              ground and Summary
         (CT: VISA-1; 11-
         (Previous Loe · n_:                Nl CT:VISA-1443;        06-15-2010)
         a. (U) Sub                           n 212(a)(3) of the Immigration and Nationality Act
            (IN            ,......-.,,s~ec I0n 411(a)(2) of the Uniting and Strengthening
            Ame               id1        ppropriate Tools Required to Intercept and Obstruct
            Ter                   ctober 26, 2001 (Public Law 107-56) (USA PATRIOT ACT). It
            was                   he Executive· Branch and modeled in part on former INA
            212(        and (28).
         b. (U) Subse ion (f) was added to provide a flexible legal basis for denying entry
            to aliens who have been associated with terrorist organizations and whose
            travel to the United States would be inconsistent with the welfare, safety, or.
            security of the United States. To ensure its use only in appropriate
            circumstances, it applies only if the Secretary of State, after consultation with
            the Secretary of Homeland Security, or Secretary of Homeland Security after
            consultation with the Secretary of State, determines that the alien has been
            associated with a terrorist organization and intends while in the United States
                                                                            9 FAM 302.6 Page 41 of 45
                               SENSI nvl! 8tJT UNCLASSIFIED (6B1:1)
                                                    41
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page158 of 302
                                                JA-156

CO 6 5 3 3 9 O9Case 1:17-cv-07572-ALC
               IED U.S. Department of State Document  102-2 FiledDoc
                                            Case No. F-2017-14346 03/28/19  Page 43Date:
                                                                     No. C06533909  of 4611/09/~018

                              SENSITl'JE R11T UNCLASSIFIED -{SBU}
                           U.S. Department of State Foreign Affairs Manual Volume 9
                                                    Visas
           to engage solely, principally, or incidentally in activities ·that could endanger the
           welfare, safety, or security of the United States. The Secretary of State's
           authority to make such a determination has not been delegated to consular
           officers·. Thus this provision can be used to deny visas only when such use is
           approved by the Department after a determination is made by the Secretary or
           an official to whom the Secretary's authority has been delegated.

        9 FAM 302.6-3(8)(2 ) (U) Recommendin g a Finding
        {CT:VISA-1; 11-18-2015)
        (Previous Location: 9 FAM 40.36 N2 CT:VISA-1649;               05-13-
        a. {U) The authority to determine whether an alien is inad
           212(a)(3)(F) rests with the Secretary of State or th~-~                               nd
           Security, each in consultation with the other. Acco                                   hat
           an individual may be inadmissible under this pro is                             er the
           matter back to us for decision.
        b. {U) You should address the following in any
           inadmissibility under this provision:
           (1) {U) Terrorist organization{s              olved:    1


                                                                       -   -ganization involved
               has been designated as a for ·                   t organization under INA 219 as a
               Terrorist Exclusion List (TEL)                ion under INA 212(a)(3)(B)(vi)( II)
               or under Executive Orde 322                     b     defined by INA
               212(a)(3)(B)(vi) (III)           II       rro      organization, provide the name
               of the organization n           !ffllll1eikvant designation(s). If an organization
               has not been design            er an         these authorities, explain why the
               organization is nsid                    terrorist organization and provide as
               much infor                            arding the nature and structure of the
                                       tiviti    Include information on the nature, timing,
                                          es surrounding the organization's terrorist

                                          rganization" is defined in INA 212(a)(3)(B)(vi) and·
                           ,...llliijJ~finition of "engaged in terrorist activity" under INA
                                    nd "terrorist activity" as defined in INA 212(a)(3)(B)(iii);
                                the alien's association: We believe that for an alien to
                      EJmis 1ble under INA 212(a)(3)(F), the association must be
                        ful. Therefore, provide informati_on concerning:
                (a) {U) The frequency, duration, and level of the alien's contacts with the
                    organization;
                (b) {U) The nature and purpose of the alien's contacts with the
                    organization; and
                (c) {U) The alien's awareness of association. Because terrorist
                    organizations often operate in secret, provide your assessment of:

                                                                               9 FAM 302.6 Page 42 of 45
                            SENSITrlE BtJT UNCLASSIFIED (SBtJ)
                                                   42
    UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page159 of 302
                                                      JA-157

            Case U.S.
CO 6533 90 9FIED 1:17-cv-07572-ALC
                      Department of State Document   102-2 FiledDoc
                                           Case No. F-2017-14346 03/28/19   Page 44
                                                                    No. C06533909   of 46
                                                                                  Date: 11/09/2018


                                   SENS!Tllt/E BUT UNCLASSIFIED '{'SBi:1-)
                                U.S. Department of State Foreign Affairs Manual Volume 9
                                                         Visas
                      (i)        (U) Whether the alien knew or should have known that the
                                 organization was a terrorist organizatio~ (see 9 FAM 302.6-
                                 2(6)(3) paragraph e for relevant factor~ to consider);
                     . (ii)      (U) Whether the alien knew or should have known that the
                                 person(s) with whom the alien had contact was a member,
                                 representative, or affiliate of a terrorist organization; and
                      (iii)      (U) Whether the alien knew or should have known that the
                                 person(s) with whom the alien had contact was en ged in
                                 terrorist activity;
            (3) (U) Alien's activities in the United States: Provide a
                possible regarding the alien's proposed activities in
                explain why these activities are cause for conce      i.e.
                determination .required under subsection F sho cl b                           d
            (4)
                                                                                           -------- B7(E)




                .(U) NOTE: Subsection (F) ap           n alien who "has been" associated
                with a terrorist organiza ·                     en that association occurred.
                Therefore, an alien w              on        a terrorist group took place
                prior to enactment f                 could be found inadmissible. On the
                other hand, the ina          y can     triggered only if the alien intends
                while in the Uni d St             ge in activities that could endanger the
                                                  United States.




                                                                          05-13-2011)
         a. (U) ---r1
            State
                                         alien inadmissible under subsection (F), the Secretary of
                                      Security, each in consultation with the other (or their
            delege                 find:
            (1) (U)           at the alien has been associated with a terrorist organization; and
            (2) (U) That the alien intends while in the United States to engage solely,
                principally, or incidentally in activities that could endanger the welfare,
                safety, or security of the United States.
         b. (U) Within the Department, Consular Affairs will normally take the lead in
            coordinating th~ necessary interagency consultations and ensuring that a
            determination, if made, is made by an appropriate Department official with
            delegated authority. Generally, a determination will be made only if INA
                                                                                  9 FAM 302.6 Page 43 of 45
                                    SENSITl'il'E. BUT UNCLASSIFIED "(S01:J)-
                                                    43
     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page160 of 302
                                                 JA-158

            Case U.S.
CO 6533 90 9F)ED 1:17-cv-07572-ALC
                      Department of State Document  102-2 FiledDoc
                                          Case No. F-2017-14346 03/28/19   Page 45
                                                                   No. C06533909   of 46
                                                                                 Date: 11/09/2018


                             SENSITftlE BYT UNCLASSIFIED~
                          U.S. Department of State Foreign Affairs Manual Volume 9
                                                   Visas
           212(a)(3)(B) is not applicable.
       c. (U) As noted above, we believe that "associated with~' requires a meaningful
          association. Generally, to be found inadmissible, an alien must have had
          contact over a period of time with individuals who the alien knew or should
          have known were members or representat_ives of a terrorist organization. A
          single meeting with a terrorist operative could be sufficient for finding that an
          alien has been "associated with" a terrorist organization, however. For
          example, we would likely find an alien was associated with a terr ist
          organization if the alien had made a commitment at a single mee g with a
          known recruiter for a terrorist organization to act on the or a          's behalf.
        d. (U) A finding that an alien "intends while in the United
           activities that could endanger the welfare, safety, or secu
           States" can be made in appropriate cases by inferri                             from
           the relevant facts and circumstances. For example                        s extensive
           knowledge of explosives who has been meeti              rly wit          nown
           members of a terrorist organization and seek o trav        o th         d States
           could be found inadmissible under subsection ). Simil                lien who has
           received flight training, or has received counte urveill          ining from a
           terrorist organization (as defined in      212(a)(           could be found to
           have such an intent based on thes        do    r relevan facts, and therefore be
           found inadmissible under subsecti
        e. (U) It is not necessary t                              gage in activities that would
           be illegal or otherwise                     the     s and regulations in the United
           States for us to find t                         under INA 212(a)(3)(F). For
           example, an alien                    atten     ight school in the United States - a
           lawful activity -                         issible under subsection (F) if the facts
           are sufficient                            or her delegate to determine that the
           alien has bee                 ith a rrorist organization and that the alien's
           attendan                         I could endanger the security of the United States.



                                  )
                               FAM 40.36 NS CT:VISA-1443;           06-15-2010)

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     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
              Case 20-3837, Document 41, 02/23/2021, 3042809, Page161 of 302
                                                 JA-159

            CaseU.S.
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                     Department of State Document  102-2 FiledDoc
                                         Case No. F-2017-14346 03/28/19   Page 46
                                                                  No. C06533909   of 46
                                                                                Date: 11/09/2018


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        (CT:VISA-1; 11-18-2015)
        (Previous Location: 9 FAM 40.36 N4 CT:VISA-1443;              06-15-2010)
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         9 FAM 302.6-3(0) (U) Waivers

         9 FAM 302.6-3(0)(1) (U) Waivers fo
         {CT:VISA-1; 11-18-2015)
         (Previous Location: 9 FAM 40.6 Exhibi~                             8-19-2015-2010)
         {U) No waiver is available for immigr       t

         9 FAM 302.6-3(0)(2)                                     Nonimmigrants
        - (CT:VISA-1; 11-18-
          (Previous Location:                                              08-19-20.15)
         {U) An INA 212(d)-..--- ✓                    able for nonimmigrant-visa applicants.




                                                                              9 FAM 302.6 Page 45 of 45
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     UNCLASSIFIED U.S. Department of State Case No. F-2017-14346 Doc No. C06533909 Date: 11/09/2018
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page162 of 302
                                           JA-160
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 1 of 8




                          THE UNITED STATES DISTRICT COURT
                         FOR SOUTHERN DISTRICT OF NEW YORK


                                                )
KNIGHT FIRST AMENDMENT                          )
INSTITUTE                                       )
                                                )
                                                )
                 Plaintiff,                     )
                                               )
                         V.                     )
                                                )        Case Number: 17-cv-07572
 UNITED STATES DEPARTMEN T OF                   )
 HOMELAND SECURITY,E T AL.                      )
                                               )
                                               )
                 Defendants.                   )



                              DECLARATI ON OF ERIC F. STEIN

       Pursuant to 28 U.S.C. § 1746, I, Eric F. Stein, declare and state as follows:

        1.     I am the Director of the Office of Information Programs and Services ("JPS") of

the United States Department of State (the "Department") and have served in this capacity since

January 22, 2017. Previously, I was the Acting Director since October 16, 2016, and Acting Co-

Director since March 21, 2016. I am the Department official immediately responsible for

responding to requests for records under the Freedom oflnformation Act (the "FOIA"), 5 U.S.C.

§ 552, the Privacy Act of 1974, 5 U.S.C. § 552a, and other applicable records access provisions.

As the IPS Director, I have original classification authority and am authorized to classify and

declassify national security information. Prior to serving in this capacity, from April 2013, I

worked directly for the Department's Deputy Assistant Secretary ("DAS") for Global

Information Services ("GIS") and served as a senior advisor and deputy to the DAS on all issues

                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1: 17-cv-07572
                                                                                    Second Stein Declaration
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page163 of 302
                                           JA-161
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 2 of 8



related to GIS' offices and programs, which includes IPS. The core responsibilities of IPS

include: (1) responding to records access requests made by the public (including under the

FOIA, the Privacy Act, and the mandatory declassification review requirements of the Executive

Order governing classified national security information), by members of Congress, by other

government agencies, and those made pursuant to judicial process such as subpoenas, court

orders, and discovery requests; (2) records management; (3) privacy protection; (4) national

security classification management and declassification review; (5) corporate records archives

management; (6) research; (7) operation and management of the Department's library; and (8)

technology applications that support these activities.

       2.      I am familiar with the efforts of Department personnel to process the subject

request, and I am in charge of coordinating the agency's search and recovery efforts with respect

to that request. I make the following statements based upon my personal knowledge, which in

turn is based upon information furnished to me in the course of my official duties.

       3.      This declaration further describes the justification for the Exemption 5 and

Exemption 7(E) withholdings that Plaintiff is still challenging.

                                       FOIA Exemption 5

       4.      Plaintiff continues to challenge the Department's Exemption 5 withholdings in six

documents. These documents were used to assist in the coordination between the President and

other members of the Executive Branch in carrying out their responsibilities regarding

immigration enforcement. These documents contain information covered by various privileges

encompassed in Exemption 5: deliberative process privilege, attorney client privilege,

presidential communications privilege, and attorney work product privilege.




                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1:17-cv-07572
                                                                                   Second Stein Declaration
                                                  2
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page164 of 302
                                           JA-162
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 3 of 8



        5.     Document C06534021 is a memorandum entitled "Inadmissibility Based on

Endorsing or Espousing Terrorist Activity: First Amendment Concerns." This memorandum

was solicited for a meeting of the National Security Council (NSC) Lawyer's Group headed by a

Deputy Legal Advisor to the National Security Council. The Deputy Legal Advisor was acting

at the direction of John Eisenberg, the Assistant to the President, Deputy Counsel to the

President for National Security Affairs, and Legal Advisor to the National Security Council, a

senior presidential advisor with broad and significant responsibility for gathering information in

the course of preparing advice for potential presentation to the President. This document is

deliberative and predecisional with respect to visa policies considered by the President regarding

the "endorse or espouse" provisions of the Immigration and Nationality Act. To the best of my

knowledge, the analysis has not been publicly adopted formally or informally. The document

offers legal analysis of a range of possible policy options, and this analysis was not binding on

the Department or the President, and therefore is not working law. The document was kept

confidential and was not widely disseminated; it was disseminated only to the attendees of the

NSC Lawyer's Group, a select group of senior agency counsel, including the acting Assistant

Legal Adviser of the Office of Consular Affairs at the State Department who retrieved the

memorandum for this search. For these purposes, the members of the NSC Lawyer's Group are

government officials and employees, and therefore their communications fall within the scope of

governmental privileges. The document was prepared by U.S. Immigration and Customs

Enforcement attorneys with input from the members of the Lawyers Group in order to provide

legal advice for possible presentation to the President through Mr. Eisenberg. Finally, civil

litigation has frequently challenged aspects of this administration's immigration policy (see, e.g.,

Washington v. Trump, 847 F.3d 1151 (9th Cir. 2017); Trump v. Hawaii, 138 S. Ct. 2392 (2018);

                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1: l 7-cv-07 572
                                                                                   Second Stein Declaration
                                                  3
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page165 of 302
                                           JA-163
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 4 of 8



Ramos v. Nielsen, 336 F. Supp. 3d 1075 (N.D. Cal. 2018)), and this memorandum explicitly

assesses the litigation risk of policy decisions in this area of immigration law. Because the entire

memorandum consists of deliberative, legal analysis that is subject to the above-mentioned

privileges, no part of the memorandum is segregable for release. Any limited factual material is

inextricably intertwined with the deliberative and legal privileges. Therefore, this document was

withheld in full under FOIA Exemption 5.

        6.     Document C06569352 is an approved Action Memorandum entitled "Travel

Sanctions Against Persons Who Participate in Serious Human Rights Violations and Other

Abuses" that was withheld in part under FOIA Exemptions 5 and 7(E). Document C06569347

is Tab 2 to the memorandum. The subject of the Action Memorandum is "Proposed

Implementation Procedures," and the record bears the title "Procedures for Implementation of

the 212(f) Proclamation Barring Entry of Aliens Involved in Various Human Rights and

Humanitarian Law Abuses." This document was withheld in full under FOIA Exemption 5, with

portions also withheld under FOIA Exemption 7(E). Document C06569349 is Tab 3 to the

memo, entitled "Background on Sanctions Authority" that was withheld in full under FOIA

Exemption 5. This action memorandum was drafted in response to the request of the National

Security Council Staff for "legal options for barring entry into the United States to aliens who

participate in serious human rights and humanitarian law violations and related abuses" so that

they could present those options to the President. The analysis in the memorandum and the two

attachments to the memorandum is predecisional with respect to the President's final decision on

whether to exercise his authority to bar entry in the United States of aliens who participate in

serious human rights violations, which resulted in Presidential Proclamation 8697. To the best of

my knowledge, the analysis in this memorandum and its attachments has not been publicly

                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              1: l 7-cv-07572
                                                                                   Second Stein Declaration
                                                  4
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page166 of 302
                                           JA-164
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 5 of 8



adopted formally or informally. The documents offer legal and policy analysis of a range of

possible policy options, including discussion of how to implement those options and potential

iriteragency coordination. This analysis of proposals was not binding on the Department or the

President, and therefore is not working law. As the released portion of the memorandum makes

clear, the memorandum was provided at the request of the National Security Council Staff in

order to advise the President in his creation of the policy announced in Presidential Proclamation

8697. The document was kept confidential and was not widely disseminated; it was created by

the relevant equity holders at the Department and used by the Secretary to brief the National

Security Council Staff. Portions of the Memorandum and the entirety of "Background on

Sanctions Authority" contain legal advice given by the Legal Adviser, Harold Koh, to the

Secretary of State and the President. Because the entirety of the two tabs consists of deliberative

analysis that is subject to the above-mentioned privileges, no part of the tabs is segregable for

release. The Action Memorandum has already been segregated to release all non-privileged

information, and no further segregation is possible without harm to the privileges and law

enforcement sensitive information contained in the redacted portions. Any limited factual

material under the redactions is inextricably intertwined with the deliberative and legal

privileges. Therefore, the two tabs were withheld in full under FOIA Exemption 5, as were

portions of the Action Memorandum.

       7.      Document C06568577 is a two-page memorandum from the Department of

Justice's Office of the Legal Counsel entitled "Informal Legal Opinion on Section

212(d)(3)(B)(i) of the Immigration and Nationality Act." This informal opinion, distributed to

the National Security Council, evaluates conflicting legal views among agencies on an

interpretation of INA§ 212(d)(3)(B)(i). The President and National Security Council used this

                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                               1: l 7-cv-07572
                                                                                    Second Stein Declaration
                                                   5
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page167 of 302
                                           JA-165
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 6 of 8



informal opinion to inform decisions on a policy related to a specific geographical region, the

details of which are classified. To the best ofmy knowledge, the analysis in this memorandum

and its attachments has not been publicly adopted formally or informally. The analysis

specifically acknowledged different viable legal interpretations and was not binding on the

agencies, and therefore is not working law. The document was kept confidential and was not

widely disseminated; it was created by attorneys in the Office of the Legal Counsel and used to

brief the National Security Council Staff. Because the entire memorandum consists of

deliberative, legal analysis that is subject to the above-mentioned privileges, no part of the

memorandum is segregable for release. Any limited factual material is inextricably intertwined

with the deliberative and legal privileges. Therefore, this document was withheld in full under

FOIA Exemption 5.

       8.      Document C06570336 is a one-paragraph inter-agency Executive Branch

memorandum from the Deputy Assistant Attorney General of the Department of Justice's

National Security Division ("NSD") entitled "Memorandum for Michele T. Bond Acting

Assistant Secretary Department of State." The analysis in this memorandum offers the National

Security Division's legal views on a proposed exemption under INA§ 212(d)(3)(B) for material

support provided to a terrorist organization under duress. To the best of my knowledge, the

analysis in this memorandum and its attachments have not been publicly adopted formally or

informally and was provided prior to any exemption from INA§ 212(d)(3)(B) being enacted.

Accordingly, this memorandum is a pre-decisional record. Furthermore, NSD's views did not

bind the Department of State to take an action, and so are not working law. Because the entire

memorandum reflects NSD's deliberative, legal analysis and evaluation of a proposed exemption

from an existing law, this record is subject to the deliberative process privilege. There is no non-

                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                               1: 17-cv-07572
                                                                                     Second Stein Declaration
                                                   6
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page168 of 302
                                           JA-166
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 7 of 8



exempt information in the memorandum that could be segregated for release. Any limited

factual material is inextricably intertwined with NSD's deliberative process and the Department

of State's attorney client privilege, and would provide no informational value if disclosed. Thus,

this memorandum is protected in full by the deliberative process privilege and attorney client

privilege of Exemption 5 of the FOIA.

                    FOIA Exemption 7(E} - Law Enforcement Information

       9.      The Department withheld certain information under FOIA Exemption 7, which

protects from disclosure all "records or information compiled for law enforcement purposes" that

could reasonably be expected to cause one of the six harms outlined under 5 U.S.C. § 552(b)(7).

The Department is a mixed-function agency and enforcement of the Immigration and Nationality

Act falls squarely within the Department's law enforcement functions. The withheld information

details investigation techniques used to assess the core national security concerns that arise in

processing visa applications, such as triggers for further security investigations or checking for

terrorism ineligibilities. These sections describe the proactive steps consular officers take to

prevent criminals, terrorists, and other bad actors from entering the United States.

        10.    The Department reviewed the documents line by line, and released information

wherever possible. The information that is redacted, including in 9 FAM 302.6-2(B)(3), does not

appear unredacted elsewhere, and is more specific and technical than information that was

released. Withheld section headings contain specific law-enforcement-sensitive information that

must not be released.

                                        V. CONCLUSION

        11.    In summary, the Department has carefully reviewed all of the documents

addressed herein for reasonable segregation of non-exempt information and has implemented

                                         Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                               l:17-cv-07572
                                                                                    Second Stein Declaration
                                                   7
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page169 of 302
                                          JA-167
        Case 1:17-cv-07572-ALC Document 112 Filed 05/03/19 Page 8 of 8



segregation when possible. Otherwise, the Department determined that no segregation of

meaningful information in the documents could be made without disclosing information

warranting protection under the law.




                                                 ***


       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



                  Executed this   3 ,J     day of May 2019, Washington, D.C.




                                           Eric F. Stein




                                        Knight First Amendment Institute at Columbia University v. DHS et al.
                                                                                              l:17-cv-07572
                                                                                   Second Stein Declaration
                                                  8
      Case 20-3837, Document 41, 02/23/2021, 3042809, Page170 of 302
                                           JA-168
         Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 1 of 20

                             UNITED STATES DISTRJCT COURT
                            SOUTHERN DISTRICT OF NEW YORK

KNIGHT FIRST AMENDMENT INSTITUTE
AT COLUMBIA UNIVERSITY,

                             Plaintiff,
                                                                17 Civ. 7572 (ALC)
                      -v-

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.

                            Defendants.



                      DECLARATION OF JILL A. EGGLESTON
                 IN SUPPORT OF UNITED STATES CITIZENSHIP AND
                            IMMIGRATION SERVICES
                       MOTION FOR SUMMARY JUDGMENT

I, JILL A. EGGLESTON, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury:

  I. I am the Assistant Center Director in the Freedom of Information and Privacy Act
     ("FOINPA.') Unit, National Records Center ("NRC" ), United States Citizenship and
     Immigration Services (" USCJS"), within the United States Department of Homeland
     Security (" DI-IS"), in Lee' s Summit, Missouri. I have held the position of Assistant Center
     Director since February 4, 2008. I am also an attorney, licensed to practice law by the State
     of Kansas in 1983. Prior to joining OHS, I served for 19 ½ years as Associate General
     Counsel for the Defense Finance and Accounting Service (" DFAS") of the U.S. Department
     of Defense (" DoD" ). As part of my duties with the OFAS, among other things, I provided
     legal advice to the agency on the release of information sought under the FOIA and PA.

  2. As the Chief FOIA Officer for USCIS, I supervise over 200 information access
     professionals at the NRC who are responsible for the orderly processing of all public,
     congressional, judicial, and inter-/intra-agency requests or demands for access to USCIS
     records and information pursuant to the FOIA, Privacy Act, Executive Orders, departmental
     directives, regulations and compulsory legal process.

  3. This declaration is submitted in support of USCIS's litigation in this matter. This declaration
     describes, generally, agency procedures for processing FOIA requests for access to agency
     records and, more specifically, agency action taken in response to the Plaintiffs FOIA
     request. The statements contained in this declaration are based on my personal knowledge,
     my review of relevant documents kept by USCIS in the course of ordinary business, and
     upon infomiation provided to me by other USCIS employees in the course of my official
     duties.
    Case 20-3837, Document 41, 02/23/2021, 3042809, Page171 of 302
                                        JA-169
       Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 2 of 20

                  USCIS'S STANDARD FOIA OPERATING PROCEDURES

4. USCIS routinely and consistently processes FOIA requests in compliance with OHS
   implementing regulations found at 6 C.F.R. Part 5 and Management Directive No. 0460.1:

           a) after determining the nature, scope, and contours of a valid FOIA request, a
           preliminary search is conducted to locate potentially responsive records;

           b) because FOIA requests are generally processed by the NRC on a first-in/first-out
           basis, the request is logged in the approximate order of its receipt into a
           computerized case tracking and retrieval system which automatically assigns a
           control number and tracks the me created;

           c) an acknowledgement letter is contemporaneously mailed to the requester,
           advising of the control number, processing fee arrangement, processing options, and
           contact information, and addressing any collateral requests made by requester;

           d) during any abeyance in processing, periodic system inquiries are conducted to
           maintain updated infommtion concerning the disposition of agency records that are
           subject to the pending fOIA request;

           e) if relevant records are in the possession of an office or agency other than the
           responding office, a request for the production of the records is sent to the records'
           custodian(s) at that time;

            f) during the course of processing, the fOIA request and any responsive records are
            subjected to rigorous analyses to arrive at the proper final agency determination;
            and finally;

            g) the NRC sends its response to the requester, granting or denying, in whole or in
            part, access to requested records, and advising of any additional rights that may
            have vested in the requester by virtue of the final agency detennination.

5. In an effort to process FOIA requests in a manner designed to be fair and expeditious, USCIS
   has adopted a policy of processing such requests on a first-in/first-out basis. This process is
   further enhanced by the implementation of a regulation providing for expedited processing of
   requests under given circumstances, and the adoption of a multi-track system of processing
   which not only allows the agency to process requests on a first-in/first-out basis within each
   track, but also permits the USCIS to respond to relatively simple requests more quickly than
   requests involving complex and/or voluminous records. The NRC's first-in/first-out and
   multi-track processing protocol is consistent with the requirements set forth in Open America
   v. Watergate Special Prosecution Force, 547 F.2d 605 (D.C. Cir. 1976).


                                              2
    Case 20-3837, Document 41, 02/23/2021, 3042809, Page172 of 302
                                        JA-170
         Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 3 of 20

         PROCESSING OF PLAINTIFF KNIGHT FJRST AMENDMENT INSTITUTE'S

                                         FOIA REQUEST


6. On August 7. 20 I 7, the NRC received a FOIA request submitted by Plaintiff, Knight First
   Amendment Institute at Columbia University ("Plaintiff'). Plaintiffs request sought the
   following records:

    I.      All directives, memoranda, guidance, emails, or other communications sent by the
            White House to any federal agency since January 19, 2017, regarding consideration
            of individuals' speech, beliefs, or associations in connection with immigration
            determinations, including decisions to exclude or remove individuals from the
            United States.

    2.      All memoranda concerning the legal implications of excluding or removing
            individuals from the United States based on their speech, beliefs, or associations.

    3.      All legal or policy memoranda concerning the endorse or espouse provisions, or the
            foreign policy provision as it relates to " beliefs, statements or associations."

    4.      All records containing policies, procedures, or guidance regarding the application or
            waiver of the endorse or espouse provisions or the foreign policy provision. Such
            records would include policies, procedures, or guidance concerning the entry or
            retrieval of data relevant to the endorse or espouse provisions or the foreign policy
            provision into or from an electronic or computer database.

    5.      All Foreign Affairs Manual sections (current and fom1er) relating to the endorse or
            espouse provisions or the foreign policy provision, as well as records discussing,
            interpreting, or providing guidance regarding such sections.

    6.      All records concerning the application, waiver, or contemplated application or
            waiver of the endorse or espouse provisions to exclude or remove individuals from
            the United States, or the application, waiver, or contemplated application or waiver
            of the foreign policy provision to exclude or remove individuals from the United
            States based on "beliefs, statements or associations," including:

             a.    Statistical data or statistical reports regarding such application, waiver, or
                   contemplated application or waiver;
             b.    Records reflecting the· application, waiver, or contemplated application or
                   waiver of the endorse or espouse provisions or foreign affairs provision by
                   an immigration officer, a border officer, a Department of Homeland
                   Security official or a Department of justice official;

                                              3
    Case 20-3837, Document 41, 02/23/2021, 3042809, Page173 of 302
                                         JA-171
         Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 4 of 20

            c.      Records concerning any determination made by the Attorney General
                    pursuant to 8 U.S.C. § 1225(c) regarding the admissibility of arriving aliens
                    under the endorse or espouse provisions or the foreign policy provision;

            d.      Department of Homeland Security and Department of Justice records
                    concerning consultation between the Secretary of State, the Secretary of
                    Homeland Security, and/or the Attorney General ( or their designees)
                    relating to any waiver or contemplated waiver of the endorse or espouse
                    provision pursuant to 8 U.S.C. §§ I I 58(b)(2)(v), I I 82(d)(3)(A), or
                    I 182(d)(3)(B)(i); and

            e.      Notifications or reports from the Secretary of Homeland Security or the
                    Secretary of State concerning waivers of the endorse or espouse provision
                    pursuant to 8 U.S.C. § I 182(d)(3)(B)(ii).

   USCIS assigned control number COW2017000956 to Plaintiff's FOIA request.

7. Plaintiff filed this FOIA suit against USCIS seeking injunctive relief in an action styled
   Knight First Amendment Institute v. DHS, I 7-cv-7572 (ALC) on October 4, 2017 (Dkt. I).
   Plaintiffs lawsuit alleged USCIS violated FOIA by failing to timely respond to its FOIA
   request. FOIA only allows twenty business days for an agency response to a FOIA request.
   5 U.S.C. § 552(a)(6)(A). Due to the complexity of Plaintiffs FOIA request, USCIS could
   not complete a FOIA search and response within the limited time period permitted by FOIA.

8. Through an agreement reached between the parties on February 14, 2018, Plaintiff's request
   was modified to exclude draft documents and emails and limited to the following USCIS
   records:

    I.    All final policy or legal memorandums concerning the legal implications of excluding
          or removing individuals from the United States based on their speech, beliefs, or
          associations.
              -Final records only since May 11 , 2005.

    2.    All final policy or legal memorandums concerning the endorse or espouse provisions,
          or the foreign policy provision as it relates to "belief's, statements or associations."
              -Final records only since May 11 , 2005.

    3.    All final policy, procedures or guidance regarding the application or waiver of the
          endorse or espouse provisions or the foreign policy provision.
             -Final records only since May 11, 2005.

    4.    Statistical data or statistical reports regarding such application, waiver, or
          contemplated application or waiver.
                                               4
    Case 20-3837, Document 41, 02/23/2021, 3042809, Page174 of 302
                                        JA-172
       Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 5 of 20


   The statistical data/reports were limited to final reports or final documents containing data
   that were already compiled as part of USCIS's normal business since January 12, 2012.

9. After carefully reviewing the categories of records in Plaintiffs revised FOIA request,
   USCJS determined certain records related to its enforcement of the Immigration and
   Nationality Act ("INA''), particularly its provisions on terrorism-related inadmissibility
   grounds ("TRIG"), found in INA§ 212, codified in 8 U.S.C. § 1182, were responsive to
   Plaintiffs request, which, generally, sought a variety of records related to excluding or
   removing individuals from the United States based on their activities and associations, as
   more specifically described in paragraph 8, supra. An alien's activities and associations
   could result in him or her being deemed inadmissible to the United States pursuant to the
   TRIG grounds enumerated in INA § 212. The TRIG grounds for inadmissibility include, but
   are not limited to, individuals who:

       •   Engaged in terrorist activity;
       •   Are engaged or are likely to engage in terrorist activity after entry;
       •   Incited terrorist activity with intent to cause serious bodily harm or death;
       •   Are representatives or current members of a terrorist organization;
       •   Endorsed or espoused terrorist activity;
       •   Received military-type training from or on behalf of a terrorist organization; or
       •   Are spouses or children of anyone who has engaged in terrorist activity within the
           last five years (with certain exceptions).

I 0. Since no one central file or database contained all responsive records related to Plaintiffs
     complex FOIA request, USCIS FOIA staff at the NRC had to staff the records search to
     numerous USCIS agency program offices and enlist their assistance in searching for
     responsive records. USCIS program offices that assisted in conducting a comprehensive
     FOIA search included the Office of Chief Counsel; Office of Policy and Strategy; Field
     Operations Directorate; Office of Fraud Detection and National Security; Office of Refugee,
     Asylum and International Operations; and the Office of Human Capital and Training. These
     offices searched various USCIS computer databases as well as personal and hardcopy files
     seeking potentially responsive records which they forwarded to NRC FOIA staff for review
     and processing.

11. The NRC compiled over 2,200 pages of potentially responsive records from the USCIS
    program offices described, supra. NRC FOIA staff determined 1,278 pages of records were
    responsive to Plaintiffs FOIA request. The NRC provided Plaintiff a continuing (rolling)
    production of responsive records, which commenced on May 30, 2018, with a final records
    production made to Plaintiff on June 29, 2018. USCIS released 551 pages of records to
    Plaintiff on May 30, 2018, and released an additional 727 pages of records on June 29,
    20 I 8. In response to Plaintiffs FOIA request, USC IS released a total of 957 pages of

                                              5
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page175 of 302
                                                 JA-173
             Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 6 of 20

       records in their entirety to Plaintiff. 357 pages were withheld in part subject to various FOIA
       exemptions.

   12. Subsequent to filing this lawsuit, Plaintiff and USCIS engaged in further negotiations to
       narrow the scope of any disputes. Plaintiff agreed to not challenge USCIS' s FOIA records
       search nor its application of FOIA Exemption 6 (5 U.S.C. § 552 (b)(6)) to any of the
       withheld records. Plaintiff informed USC IS that it intends to challenge usc1s·s application
       of FOIA Exemptions 5 and 7(E) to the withheld records (5 U.S.C. § 552 (b)(S) and (7)(E)).
       USCIS only applied FOIA Exemptions 5, 6 and 7(E) to certain records released to Plaintiff
       in response to its FOIA request.

                                                  VAUGHN INDEX

   13. USCIS is providing as part of the text of this declaration a Vaughn index ' justifying the
       FOIA exemptions it applied only on those pages of records that expressly remain in dispute
       in this litigation. USCIS specifically denotes those pages in the Vaughn index, il?fi'a, by
       reference to the page numbers of each disputed record, as provided to Plaintiff by USCI S on
       a compact disc containing .pdf files of the documents. Plaintiff received two such discs from
       USCIS, one on or about May 30,2018, and the other on or about June 29, 2018. See ii 11 ,
       supra. The Vaughn index, which I have reviewed in conjunction with the records and that I
       incorporate into my Declaration, justifies USCIS's application of Exemptions 5 and 7(E) to
       the records that remain in dispute in this action. The Vaughn index describes the records and
       withholdings in the order in which they were provided to Plaintiff.

        DESCRIPTION OF FREEDOM OF INFORMATION ACT WITHHOLDINGS

                                             FOIA Exemption 5

                                     (codified at 5 U.S.C. § 552(b)(S))

   14. FOIA Exemption 5 protects "inter-agency or intra-agency memorandums or letters which
       would not be available by law to a party other than an agency in litigation with the agency."
       Id.

   15. To qualify for Exemption 5 protections, a document must satisfy two conditions. The
       document's source must be a government agency and it must fall within the ambit of a
       privilege against discovery recognized under Exemption 5.

   16. The three primary and most frequently invoked privileges that have been held to be
       incorporated into Exemption 5 are the deliberative process privilege, the attorney work-
       product privilege, and the attorney-client privilege.

1
   See Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973) (a Vaughn index is a document that agencies prepare in FOIA
litigation to describe the withheld records. and justify each withholding of information under a FOIA exemption; no
specific format is required, it can be, as here, submitted as a Declaration).

                                                        6
    Case 20-3837, Document 41, 02/23/2021, 3042809, Page176 of 302
                                        JA-174
       Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 7 of 20


17. The most commonly invoked privilege within Exemption 5 is the deliberative process
    privilege, which is designed to protect the decision making processes of government
    agencies. The privilege protects not merely documents, but also the integrity of the
    deliberative process itself where the exposure of that process would result in harm and
    would have a chilling effect on the ability of the government to engage in internal debate
    and deliberations when developing agency policy. Agency records produced to Plaintiff that
    were predecisional and deliberative, as further described herein, were withheld pursuant to
    Exemption 5's deliberative process privilege.

                                      FOIA Exemption 7(E)

                               (codified at 5 U.S.C. § 552(b)(7)(E))

18. FOIA Exemption 7(E) protects from disclosure records or information compiled for law
    enforcement purposes and would disclose techniques, procedures or guidelines for law
    enforcement investigations or prosecutions.

19. Exemption 7(E) applies to categorical protections of law enforcement techniques and
    procedures, and it does not require that the disclosure will cause harm.

20. USC IS has responsibility to enforce federal immigration law pursuant to the INA through its
    adjudications of applications and petitions submitted to USCIS by individuals seeking
    immigration benefits from the United States government. Primarily, the records described
    herein are used to train USCIS immigration officers how to screen for possible terrorism ties
    and terrorism-related inadmissibility grounds pursuant to the INA when interviewing
    applicants and adjudicating petitions and applications from individuals seeking immigration
    benefits from USCIS. Thus, these records were compiled for law enforcement purposes.

21. Exemption 7(E) applies even if the law enforcement procedures or techniques are generally
    known, as disclosure of the specific procedures or techniques may reduce or nullify their
    effectiveness.

    A. May 30, 2018, Records Production



                DESCRIPTION OF RECORDS EXEMPT FROM DISCLOSURE

22. Pages 5-7, 16-17, 22- 26, 34-36, 43-46; from November 2015 edition of the USCIS
    Academy Terrorist-Related Inadmissibility Grounds (TRIG) Instructor Guide.

   These 16 pages of records, which are part of an instructor manual used to train newly hired
   USCIS immigration officers, were partially withheld pursuant to Exemption 7(E) because
   these pages describe guidelines as well as techniques and procedures for law enforcement




                                              7
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page177 of 302
                                       JA-175
      Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 8 of 20

   investigations, e.g., used by USCIS immigration officers to identify terrorist organizations,
   determine if an individual applicant provided material support to a terrorist organization,
   carried out a TRIG activity, whether he or she is exempt from TRIG inadmissibility, and
   describes procedures used to document TRIG exemptions in an individual's alien file. The
   redacted pages also depict various applicant scenarios encountered by officers in which law
   enforcement techniques, procedures, and guidelines may be applied to determine if an
   individual is inadmissible or meets an exemption under TRIG. The release of this
   information could reasonably be expected to risk the circumvention of law by enabling
   applicants to tailor their testimony, conceal terrorism ties, and avoid government detection,
   thus rendering the relevant procedures and guidelines useless. Such records are, therefore,
   appropriately exempt pursuant to Exemption 7(E).

23. Pages 52-56; copy of a memorandum, dated February 8, 2017, and entitled "Briefing
    Memo for the Acting Director: Recommendation to Eliminate the USCIS Terrorism-
    Related Inadmissibility Grounds (TRIG)," which included a draft copy of a proposed
    new USCIS policy, entitled "Policy Memorandum: Revised Guidance for Processing
    Cases Involving Terrorism-Related Inadmissibility Grounds and Elimination of the
    Hold Policy for Such Cases."

   These five pages of records were partially withheld pursuant to Exemption S's deliberative
   process privilege. Exemption 5 protects from disclosure records reflecting internal agency
   memoranda that are pre-decisional and deliberative in nature. These pages contain
   discussions and recommendations from USCIS staff to senior agency management
   regarding the current and future posture of the USCIS TRIG Hold Policy and contain
   recommendations for senior agency staff regarding a proposed revision to the USC IS TRIG
   implementation policy. Released portions of this memo describe its purpose as follows:
   " [t]his paper provides information regarding cases currently being held by USCIS pursuant
   to the existing USCIS TRIG hold policy and a review of relevant considerations for
   determining whether these cases should continue to be held or released for adjudication."
   Included with this internal agency memorandum is a draft copy of a proposed agency policy
   for revising the way USCIS processes cases involving possible terrorist ties pursuant to
   TRIG, as set forth in the INA and its implementing regulations. Release of this record
   would disclose sensitive deliberative and predecisional internal agency discussions related
   to the TRIG Hold Policy. Disclosure of these sensitive, predecisional and deliberative
   records could have a chilling effect on the ability of agency personnel to formulate new
   government policy. Such records are appropriately exempt pursuant to Exemption S' s
   deliberative process privilege.

24. Pages 59-63, Senior Policy Council-Briefing Paper: TRIG Exemptions & INA§ 318

   These 5 pages of records were partially withheld pursuant to the deliberative process
   privilege of Exemption 5. This internal agency briefing paper was prepared by agency
   personnel for senior agency management and discussed specific TRJG exemptions and how
   they could be interpreted and applied to specific types of applicants who seek immigration

                                             8
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page178 of 302
                                                    JA-176
            Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 9 of 20

       benefits from USCIS. The memo included various scenarios and presented options for
       action by senior management when making the final agency policy determination. This
       briefing paper concludes with a specific course of action recommended by the drafters for
       senior agency management's consideration and final detem1ination on formulation of new
       agency policy regarding application of TRIG exemptions to cases presented to USCIS
       immigration officers for adjudication. Disclosure of these sensitive, predecisional and
       deliberative records could have a chilling effect on the ability of agency personnel to
       formulate new government policy. Such records are appropriately exempt pursuant to
       Exemption S's deliberative process privilege.

   25. Pages 64-70, Options Paper: Exercise of Authority Relating to the Terrorism-Related
       Inadmissibility Grounds.

       These seven pages of records were partially withheld pursuant to the deliberative process
       privilege of Exemption 5. This internal agency memorandum was prepared by agency
       personnel for senior agency management and discussed options for implementing an
       Executive Order that directed the Secretaries of State and OHS to consider rescinding the
       TRIG exemptions pennitted by Section 212 of the INA (EO 13780 - Protecting the Nation
       from Foreign Terrorist Entry into the United States, March 9, 2017). Specifically, the paper
       presented three options for an agency response to the Executive Order. The memorandum
       presented senior USCIS management with three options for a final agency decision for
       issuing a new agency policy that implemented the Executive Order. This is a predecisional
       and deliberative internal agency memorandum that is properly exempt from disclosure
       pursuant to Exemption 5. Disclosure of these sensitive, predecisional and deliberative
       records could have a chilling effect on the ability of agency personnel to formulate new
       government policy.

   26. Pages 78-95, 97-109, Terrorism-Related Inadmissibility Grounds Exemptions -
       Group-Based Exemptions officer training manual provisions.

       These 31 pages of material from a USCIS immigration officer tra111111g manual were
                                                              2
       partially withheld pursuant to Exemptions 5 and 6. USCIS withdraws Exemption 5 as
       originally applied to these pages but continues to hold the material as exempt, asserting they
       are exempt pursuant to Exemption 7(E). The withheld material discusses specific TRIG
       exemptions for 21 different militant groups that either Congress, the DHS Secretary or the
       Secretary of State determined should be exempt from application of the TRIG bases for
       inadmissibility under the INA. In addition, certain situational exemptions were discussed as
       well, e.g. the various support under duress TRIG exemptions and the voluntary medical
       support exemption. The withheld sections on these pages discuss why these particular
       groups and situations warrant an exemption from the TRIG bases for inadmissibility. This
       information is used to train USCIS immigration officers how to correctly grant an applicant

2
  Plaintiff has agreed to not challenge USCIS's application of Exemption 6 to the records in this case, see~ 12, supra.
The "Case Examples" sections on these pages were withheld pursuant to both Exemptions 5 and 6. USCIS withdraws
Exemption 5 as applied to the Case Examples sections on these pages but continues to hold these personal records as
exempt material pursuant to Exemption 6.
                                                           9
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page179 of 302
                                        JA-177
      Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 10 of 20

   an exemption to the TRIG bases. Such information, if disclosed, could be used by applicants
   to illegally represent themselves to USCIS immigration officers as being eligible for a TRIG
   exemption and enable them to obtain immigration benefits, including admission to the
   United States, to which they are not entitled. The withheld information serves as guidelines
   as well as techniques and procedures for law enforcement that are utilized by USCIS
   immigration officers to enforce the INA, and, accordingly, should be exempt from
   disclosure pursuant to Exemption 7(E).

27. Pages 125-133, 135-136, 146-153, 157-162, 165-178, 186-196, 206-207, 209, 211,
    from the USCIS Refugee, Asylum and International Operations Directorate (RAIO)
    Officer Training - Combined Training course manual on National Security, dated
    January 24, 2013.

   These 53 pages were withheld in part pursuant to Exemption 7(E). The redacted pages are
   from a I 00 page USCIS training manual on national security. The training manual is used
   to train newly hired USCIS asylum and refugee officers. The training manual ' s objectives
   are to prepare officers to identify national security issues such as when an applicant' s
   activities and associations render him or her a national security concern, including when
   such concerns may establish a link to a TRIG or other security-related inadmissibility
   ground or bar.

   The partially redacted pages contained information such as sens1t1ve law enforcement
   database codes used to flag possible terrorist suspects, discussed various indicators used to
   identify possible national security and terrorism links when screening applicants, issues to
   probe during applicant interviews and when analyzing their applications and petitions for
   immigration benefits, discussed when to deny or hold applications due to possible national
   security concerns, discussed the TRIG standards and when a bar might be assessed to an
   applicant, and revealed model applicant scenarios that officers might face during applicant
   encounters and recommended techniques and procedures for processing applicants who pose
   possible national security/terrorism ties.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national security.
   The withheld material includes guidelines and techniques and procedures for law
   enforcement investigations utilized by USCIS immigration officers to screen immigration
   applicants and thus was appropriately withheld pursuant to FOIA Exemption 7(E).




                                              10
    Case 20-3837, Document 41, 02/23/2021, 3042809, Page180 of 302
                                         JA-178
      Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 11 of 20

28. Pages 234, 242-244, 246-247, 254, 257, 260-264, 270-275, from the USCIS Terrorism
    Related Inadmissibility Grounds (TRIG) Instructor Guide, created in March 2017.
    The Guide was prepared by the USCIS Academy Training Center, Federal Law
    Enforcement Training Center, North Charleston, SC.

   These 18 pages records were partially withheld pursuant to Exemption 7(E) because they
   are manual sections that describe techniques, procedures, and guidelines used to train
   USCIS employees to identify terrorist organizations, recognize terrorism-related
   inadmissibility grounds, recognize whether an individual provides material support to a
   terrorist group, and recognize applicable TRIG exemptions when processing an individual's
   application or petition for admissibility or other immigration benefits. The release of this
   information could reasonably be expected to risk the circumvention of law and render the
   relevant techniques, procedures, and guidelines useless. The release of this information
   could be used to tailor an applicant's testimony or conceal his or her record in order to avoid
   government detection and illegally meet admissibility requirements. Such records are,
   therefore, appropriately exempt pursuant to Exemption 7(E).

29. Pages 295-296, 300-304, 309, 31 I, 313-315, 319-322, from the USCIS Terrorism
    Related Inadmissibility Grounds (TRIG) Participant Guide, created in March 2017.
    The Guide was prepared by the USCIS Academy Training Center, Federal Law
    Enforcement Training Center, North Charleston, SC.

   These I 6 pages were partially redacted from the March 2017 version of the TRIG participant
   guide pursuant to Exemption 7(E). Withheld material consisted of model questions and key
   words that help USCIS immigration officers screen applicants for possible terrorism ties.
   Other withheld information consisted of training scenarios that were depicted in the guide' s
   appendix that described potential applicant testimonies and questions officers should ask
   that were designed to uncover possible terrorism ties. All such information was withheld
   pursuant to Exemption 7(E), as they are guidelines, techniques and procedures for law
   enforcement investigations, e.g., enforcement of the [NA by users immigration officers.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration bene fits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national security.
   The withheld material includes guidelines, techniques and procedures for law enforcement
   investigations utilized by USCIS immigration officers to screen immigration applicants and
   thus was appropriately withheld pursuant to FO[A Exemption 7(E).




                                              II
         Case 20-3837, Document 41, 02/23/2021, 3042809, Page181 of 302
                                                     JA-179
           Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 12 of 20

    30. Pages 323-435 consist of slides from a USCIS training PowerPoint presentation
        entitled Terrorism Related Inadmissibility Grounds (TRJG), Course 234, dated March
        21, 2017, prepared by the USCIS Academy, and used to train USCIS immigration
        officers.3

       This PowerPoint presentation, which USCIS produced to Plaintiff in May 20 I 8, was
       erroneously included in the June 29, 2018, production to Plaintiff as well. Accordingly,
       USCIS refers the Court to the description of this PowerPoint and its eight withholdings,
       infra, subsection B, ~ 38, pages 361 - 439, which I adopt and incorporate here by reference.

    31. Pages 469-470, 487-488, 494, 525, 527, 529, consist of slides from an earlier edition
        (November 2015) of the USCIS training PowerPoint presentation entitled Terrorism
        Related Inadmissibility Grounds (TRIG), Course 234, which is described at pages 323-
        435, supra, and infra, subsection B, ~ 38, pages 361-439. The PowerPoint presentation
        was prepared by the USCIS Academy and used to train USCIS immigration officers.~

       These eight slides were partially withheld pursuant to Exemption 7(E). This PowerPoint
       training presentation on TRIG is similar lo the other TRIG training PowerPoint
       presentations described in this index. Its purpose is stated in the PowerPoint presentation,
       e.g. , "Upon completion of this module, you will be able to identify TRIG grounds of
       inadmissibility and determine whether these grounds apply when adjudicating an application
       for an immigration benefit." The partially redacted slides identified, supra, are replete with
       specific questions that USCIS immigration officers are trained to ask applicants when
       screening them for possible ties to terrorism and when assessing TRIG bars. In addition, key
       words that officers are trained to look for during applicant interviews, which, if noted, could
       indicate the applicant might be have ties to terrorism, are also redacted. These slides
       contain details on guidelines, techniques and procedures for law enforcement investigations
       - in this case, enforcement of the INA by USCIS immigration officers. As such, they are
       properly withheld pursuant to Exemption 7(E).

        The withheld information, if disclosed, could be used by future applicants to tailor their
        testimony and applications when seeking immigration benefits so they could hide possible
        terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
        immigration benefits, and illegally remain in the U.S., thus posing a risk to national security.
        The withheld material includes guidelines, technique and procedures for law enforcement
        investigations utilized by USCIS immigration officers to screen immigration applicants and
        thus was appropriately withheld pursuant to FOIA Exemption 7(E).

3
 Portions of one PowerPoint slide in this presentation, which appears at page 421 of the May 2018 production, were
partially withheld pursuant to Exemption 7E, but a copy of the same slide was later released to Plaintiffs in full at page
434 of the June 2018 production, which is described in subsection B, infra.
4
 Portions of one PowerPoint slide in this presentation, which appears at page 524 of the May 2018 production, were
partially withheld pursuant to Exemption 7E, but a copy of the same slide was later released to Plaintiffs in full at page
434 of the June 2018 production, which is described in subsection B, inji·a. This is another copy of the same
PowerPoint slide referenced inn. 3.

                                                           12
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page182 of 302
                                        JA-180
     Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 13 of 20

   All documents provided by USC IS to Plaintiff in the May 2018 records production were
   carefully reviewed by first-line, then supervisory staff, prior to production. USCIS FOIA
   staff ensured that all non-exempt, reasonably segregable information was disclosed as
   required by FOIA. USCIS FOIA staff determined that no further responsive, reasonably
   segregable information could be disclosed from these records other than the information that
   was disclosed. Disclosure of any additional information from the records provided would
   reveal information that is properly exempt from disclosure pursuant to Exemptions 5 and
   7(E), as described, supra.

    B. June 29, 2018, Records Production


          DESCRIPTION OF RECORDS EXEMPT FROM DISCLOSURE

32. Pages 14-17, 19, 26-27 from 2010 edition of the USCIS BASIC Instructor Guide
    manual on Terrorism-Related Grounds of Inadmissibility (BASIC is the USCIS basic
    immigration law and agency adjudication procedures course for newly hired USCIS
    Immigration Service Officers).

   These seven pages from the 20 IO BASIC course instructor guide were partially withheld
   pursuant to Exemption 7(E). The withheld portions of the guide, which was used by
   instructors to train newly hired USCIS immigration officers, instructs the officers on how to
   determine whether an applicant might be inadmissible due to suspected ties to terrorist
   groups or terrorist activities, e.g. triggering application of the Terrorism-Related Grounds of
   Inadmissibility (TRJG) found in section 212 of the Immigration and Nationality Act (£NA),
   which is enforced by USCIS and its officials. The redacted sections contain specific
   examples for issue spotting during applicant interviews that could trigger assessment of a
   TRIG bar to admission, e.g. material support for terrorism questions that should be asked
   and topics to cover during questioning; suggestions on how to spot possible terrorist
   activities by looking for certain key words used by applicants in their immigration
   interviews and applications; and TRIG specific model questions that USCIS immigration
   officers should ask when interviewing applicants.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national security.
   The withheld material is guidelines as well as a technique and procedure for law
   enforcement investigations utilized by USCIS immigration officers to screen immigration
   applicants and thus was appropriately withheld pursuant to FOIA Exemption 7(E).




                                              13
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page183 of 302
                                         JA-181
     Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 14 of 20

33. Pages 47, 49-51, 58-59 from 2010 edition of the USCJS BASIC Participant (student)
    Guide manual on Terrorism-Related Grounds of Inadmissibility.

   These six pages from the 20 IO BASIC course participant guide were partially withheld
   pursuant to Exemption 7(E). The withheld portions of the guide, which was used by students
   taking the newly hired USCIS immigration officers' BASIC course, instructs the student
   officers on how to determine whether an applicant might be inadmissible due to suspected
   ties to terrorist groups or terrorist activities, e.g. triggering application of the Terrorism-
   Related Grounds of Inadmissibility (TRIG) found in section 212 of the Immigration and
   Nationality Act (INA), which is enforced by USCIS and its officials. The redacted sections
   contain specific examples for issue spotting during applicant interviews that could trigger
   assessment of a TRIG bar to admission, e.g. material support for terrorism questions that
   should be asked and topics to cover during questioning; suggestions on how to spot possible
   terrorist activities by looking for certain key words used by applicants in their immigration
   interviews and applications; and TRIG specific model questions that USCIS immigration
   officers should ask when interviewing applicants. Other withheld sections inform officers on
   how to assess whether an applicant might be eligible for an exemption to a TRIG bar and
   how to complete agency records documenting the requirements for determining a whether a
   TRIG exemption applies.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national security.
   The withheld material is a technique and procedure for law enforcement investigations
   utilized by USCIS immigration officers to screen immigration applicants and thus
   appropriately withheld pursuant to FOIA Exemption 7(E).

34. Pages 107-108, 114-115, 124, 146 - 147, 150-152, 154 from a 104 slide USCIS
    training PowerPoint presentation prepared in May 2010 that was used by USCIS
    instructors during training of USCIS immigration officers on how and when to
    determine whether to apply a INA § 212 TRIG bar to a particular applicant seeking
    immigration benefits.

   The 11 PowerPoint slides on these pages were partially withheld pursuant to Exemption
   7(E). As stated in the PowerPoint presentation, its training objective was to assist USCIS
   immigration officers, when making immigration adjudications, and on how to " identify the
   terrorist-related grounds of inadmissibility, determine the applications barred, and identify
   the exceptions to the bars." These training slides were used to train USCIS immigration
   officers on how to enforce the INA, namely determine whether INA § 212 TRIG bars
   applied that would bar an applicant from receiving immigration benefits from the U.S.
   government and that could lead to a determination that the individual was inadmissible and
   lead to his or her removal from the U.S. They are guidelines, techniques, and procedures for
                                              14
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page184 of 302
                                         JA-182
      Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 15 of 20

   law enforcement investigations, e.g. immigration adjudications by USCIS immigration
   officers, and were properly withheld pursuant to Exemption 7(E). Withheld information
   discussed testimony or evidence that an applicant could provide that indicates material
   support for a terrorist group, follow-up questions that immigration officers should ask when
   they spot issues in testimony that could trigger a TRIG bar, factors to be used to identify
   possible participation by an applicant with a terrorist group, and how to identify information
   supplied by an applicant that could make him or her eligible for an exemption to a TRIG
   bar. All withheld information is critical to government screening for potential terrorism ties
   and as such, is an essential part of our national security vetting process and should be
   protected from disclosure to the public.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits from USCIS so they could
   hide possible terrorism ties, avoid government detection, and gain admission to the U.S.,
   illegally obtain immigration benefits, and illegally remain in the U.S., thus posing a risk to
   national security. The withheld material is guidelines, techniques, and procedure for law
   enforcement investigations utilized by USCIS immigration officers to screen immigration
   applicants and thus appropriately withheld pursuant to FOIA Exemption 7(E).

35. Pages 200, 228, 232, 236, 239, 242 from a 72 slide USCIS training PowerPoint
    presentation entitled Terrorism Related Inadmissibility Grounds (TRIG) Training,
    and was presented at the USCIS Academy on May 9, 2012, to USCIS immigration
    service officers.

   The six partially redacted slides identified, supra, were part of a TRIG training delivered to
   USCIS immigration officers. The training was meant to help new USCIS officers identify
   basic principles of TRIG and learn to identify situations during applicant encounters when
   TRIG bars could apply, based on the information provided by applicants seeking
   immigration benefits from USCIS. Sections of the slides withheld included key words used
   by applicants that could identify their associations with terrorist groups; key words used by
   applicants that could identify possible material support to a terrorist group that could trigger
   a TRIG bar; factors to consider when evaluating an applicant that could warrant granting an
   exemption from a TRIG bar; factors to consider when determining whether to grant an
   exemption for material support to a terrorist group; factors to consider when detennining
   whether one's military training might not be sufficient to warrant a TRIG bar; as well as
   other key words and situations that could warrant additional exemptions from TRIG bars.
   All of the withheld factors and key words on the redacted PowerPoint slides are guidelines
   as well as techniques and procedures that USCIS immigration officers utilize to enforce the
   INA. These records are compiled for law enforcement purposes and are appropriately
   exempt from disclosure pursuant to Exemption 7(E).

    The withheld information, if disclosed, could be used by future applicants to tailor their
    testimony and applications when seeking immigration benefits from USCIS so they could
                                              15
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page185 of 302
                                       JA-183
     Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 16 of 20

   hide possible terrorism ties, avoid government detection, and gain admission to the U.S.,
   illegally obtain immigration benefits, and illegally remain in the U.S., thus posing a risk to
   national security. The withheld material serves as guidelines as well as techniques and
   procedures for law enforcement investigations utilized by USCIS immigration officers to
   screen immigration applicants and thus was appropriately withheld pursuant to FOIA
   Exemption 7(E).

36. Pages 259-260, 262-263, 264-267, and 272 from the 2012 edition of the USCIS
    BASIC Instructor Guide manual on Terrorism-Related Grounds of Inadmissibility.

   This USCIS instructor guide is similar to the 20 IO USCIS instructor guide described,
   supra, paragraph 30, pages 14-17, 19, 26-27 of the records provided to Plaintiff. These
   nine pages from the 20 I 2 BASIC course instructor guide were partially withheld pursuant
   to Exemption 7(E). The withheld portions of the guide, which was used by instructors to
   train newly hired USCIS immigration officers, instructs the officers on how to determine
   whether an applicant might be inadmissible due to suspected ties to terrorist groups or
   terrorist activities, e.g. triggering application of the Terrorism-Related Grounds of
   Inadmissibility (TRJG) found in section 212 of the Immigration and Nationality Act (INA),
   which is enforced by USCIS and its officials. The redacted sections contain specific
   examples for issue spotting during applicant interviews that could trigger assessment of a
   TRIG bar to admission, e.g. material support for terrorism questions that should be asked
   and topics to cover during questioning; suggestions on how to spot possible terrorist
   activities by looking for certain key words used by applicants in their immigration
   interviews and applications; and TRIG specific model questions that USCIS immigration
   officers should ask when interviewing applicants.

   The withheld information, ff disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national
   security. The withheld material serves as guidelines as well as techniques and procedures
   for law enforcement investigations utilized by USCIS immigration officers to screen
   immigration applicants and thus was appropriately withheld pursuant to FOIA Exemption
   7(E).

37. Pages 297-298, 300-305, 310 from the 2012 edition of the USCIS BASIC Participant
    (student) Guide manual on Terrorism-Related Grounds of Inadmissibility (BASIC is
    the USCIS basic immigration law and agency adjudication procedures course for
    newly hired USCIS Immigration Service Officers).

    This USCIS BASIC course participant guide is a subsequent edition of the same guide
    described, supra, paragraph 31 , pages 47, 49-51 , 58-59. These nine pages from the 2012
    BASIC course participant guide were partially withheld pursuant to Exemption 7(E). The
                                             16
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page186 of 302
                                       JA-184
     Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 17 of 20

   withheld portions of the guide, which was used by students taking the newly hired USC IS
   immigration officers' BASIC course, instructs the student officers on how to determine
   whether an applicant might be inadmissible due to suspected ties to terrorist groups or
   terrorist activities, e.g. triggering application of the Terrorism-Related Grounds of
   Inadmissibility (TRIG) found in section 212 of the Immigration and Nationality Act (INA),
   which is enforced by USCIS and its officials. The redacted sections contain specific
   examples for issue spotting during applicant interviews that could trigger assessment of a
   TRIG bar to admission, e.g. material support for terrorism questions that should be asked
   and topics to cover during questioning; suggestions on how to spot possible terrorist
   activities by looking for certain key words used by applicants in their immigration
   interviews and applications; and TRIG specific model questions that USCIS immigration
   officers should ask when interviewing applicants. Other withheld sections inform officers
   on how to assess whether an applicant might be eligible for an exemption to a TRIG bar
   and how to complete agency records documenting the requirements for determining a
   whether a TRIG exemption applies.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national
   security. The withheld material serves as guidelines as well as techniques and procedures
   for law enforcement investigations utilized by USCIS immigration officers to screen
   immigration applicants and thus was appropriately withheld pursuant to FOIA Exemption
   7(E).

38. Pages 361-362, 387-388, 396, 435, 437, 439 from a 131 slide USCIS training
    PowerPoint presentation entitled Terrorism Related Inadmissibility Grounds (TRIG),
    Course 234, dated March 21, 2017, prepared by the USCIS Academy, and used to
    train USCIS immigration officers.

   These eight slides were partially withheld pursuant to Exemption 7(E). This PowerPoint
   training presentation on TRIG is similar to the other TRIG training PowerPoint
   presentations described, supra. Its purpose is stated in the PowerPoint presentation, " Upon
   completion of this module, you will be able to identify TRIG grounds of inadmissibility
   and determine whether these grounds apply when adjudicating an application for an
   immigration benefit." The partially redacted slides are replete with specific questions that
   USCIS immigration officers. are trained to ask applicants when screening them for possible
   TRIG bars. In addition, key words that officers are trained to look for during applicant
   interviews, which, if noted, could indicate the applicant might be denied due to TRJG
   issues, are also redacted. These slides contain details on guidelines and techniques and
   procedures for law enforcement investigations - in this case, enforcement of the INA by
   USCIS immigration officers . As such, they are properly withheld pursuant to Exemption
   7(E).
                                            17
   Case 20-3837, Document 41, 02/23/2021, 3042809, Page187 of 302
                                       JA-185
     Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 18 of 20


   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national
   security. The withheld material serves as guidelines as well as techniques and procedures
   for law enforcement investigations utilized by users immigration officers to screen
   immigration applicants and thus was appropriately withheld pursuant to FOIA Exemption
   7(E).

39. Pages 475-476, 483-485, 488-489, 495-497, 501-504, 510-515 from the 2017 edition
    of the Terrorism Related Inadmissibility Grounds (TRIG) Instructor Guide, revision
    date May 2017. Guide prepared by the USCIS Academy Training Center, Federal
    Law Enforcement Training Center, North Charleston, SC.

   These 20 pages were partially redacted from the 2017 version of the TRIG instructor guide
   pursuant to Exemption 7(E). The 2017 version of the TRIG instructor guide is similar to
   the earlier editions of the same guide described in this index. Besides model questions and
   key words that were withheld because they are guidelines and techniques and procedures
   used by USeJS immigration officers to screen applicants for possible terrorism ties,
   training scenarios depicted in the guide' s appendix, that described potential applicant
   testimonies and questions officers should ask, that were designed to uncover possible
   terrorism ties, were also withheld pursuant to Exemption 7(E), as they too are guidelines
   and techniques and procedures for law enforcement investigations.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national
   security. The withheld material includes guidelines and technique and procedures for law
   enforcement investigations utilized by users immigration officers to screen immigration
   applicants and thus was appropriately withheld pursuant to FOIA Exemption 7(E).

40. Pages 529-530, 534-537, 541-542, 544-546, 550-553 from the 2017 edition of the
    Terrorism Related Inadmissibility Grounds (TRIG) Participant Guide, revision date
    May 2017. Guide prepared by the USCIS Academy Training Center, Federal Law
    Enforcement Training Center, North Charleston, SC.

   These I 5 pages were partially redacted from the 2017 version of the TRIG participant
   guide pursuant to Exemption 7(E). The 2017 version of the TRIG participant guide is
   similar to the earlier editions of the same guide described in this index. Besides model
   questions and key words that were withheld because they are guidelines and techniques and
   procedures used by USeJS immigration officers to screen applicants for possible terrorism
                                            18
  Case 20-3837, Document 41, 02/23/2021, 3042809, Page188 of 302
                                      JA-186
    Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 19 of 20

  ties, training scenarios depicted in the guide's appendix, that described potential applicant
  testimonies and questions officers should ask, that were designed to uncover possible
  terrorism ties, were also withheld pursuant to Exemption 7(E), as they too are guidelines
  and techniques and procedures for law enforcement investigations.

  The withheld information, if disclosed, could be used by future applicants to tailor their
  testimony and applications when seeking immigration benefits so they could hide possible
  terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
  immigration benefits, and illegally remain in the U.S., thus posing a risk to national
  security. The withheld material includes guidelines and technique and procedures for law
  enforcement investigations utilized by USCIS immigration officers to screen immigration
  applicants and thus was appropriately withheld pursuant to FOIA Exemption 7(E).

41. Pages 568-577, 580-581, 585, 593, 596-601, 605-606, 608, 610-612, 614-617, 621-
    635, 641-644, 646-653 from the USCIS Refugee, Asylum and International
    Operations Directorate (RAIO) Officer Training - Combined Training course
    manual on National Security, revised Oct. 26, 2015.

   These 56 pages were withheld in part pursuant to Exemption 7(E). The partially redacted
   pages are from a I 02 page USCIS training manual on national security. The training
   manual is used during training for newly hired USCIS asylum and refugee officers. The
   training manual states the training objectives during the national security course are to
   prepare officers to identify national security issues such as when an applicant's activities
   and associations render him or her a national security concern, including when such
   concerns may establish a link to a TRIG or other security-related inadmissibility ground or
   bar.

   The partially redacted pages contained information such as law enforcement database
   codes used to flag possible terrorist suspects, discussed various indicators used to identify
   possible national security and terrorism links when screening applicants, issues to cover
   during applicant interviews and when analyzing their applications and petitions for
   immigration benefits, discussed when to deny or hold applications due to possible national
   security concerns, , discussed the TRIG standards and when a bar might be assessed to an
   applicant, and revealed model applicant scenarios that officers might face during applicant
   encounters and recommended techniques and procedures for processing applicants who
   pose possible national security/terrorism ties.

   The withheld information, if disclosed, could be used by future applicants to tailor their
   testimony and applications when seeking immigration benefits so they could hide possible
   terrorism ties, avoid government detection, and gain admission to the U.S., illegally obtain
   immigration benefits, and illegally remain in the U.S., thus posing a risk to national
   security. The withheld material includes guidelines and techniques and procedures for law
   enforcement investigations utilized by USCIS immigration officers to screen immigration
                                            19
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page189 of 302
                                           JA-187
         Case 1:17-cv-07572-ALC Document 97 Filed 03/15/19 Page 20 of 20

        applicants and thus was appropriately w ithheld pursuant to FOIA Exemptio n 7(E).

        A ll documents provided by USCIS to Plaintiff in the June 20 18 records production were
        care fully reviewed by fi rst-line, then supervisory staff~ prio r to production. USCIS FOIA
        staff ensured that all non-exempt, reasonably segregable information was disclosed as
        required by FOIA. USCIS FOIA sta ff determined that no further respo nsive, reasonably
        segregable information could be disclosed from these records other than the information
        that was disclosed. Disclosure of any additio nal information from the records provided
        would reveal information that is properly exempt fro m disclosure pursuant to Exemption
        7(E), as described, supra.
                                               CONCLUSION

   42. As described in my Declaration, USC IS properly processed Plainti ff's FOIA request and
       provided all responsive, reasonably segregable, non-exem pt in fo rmation. Fo r these
       reasons, USCIS ' s actions in response to Plainti ffs FOIA request were in full compliance
       with FOIA. Therefore, Plaintiffs Com plaint should be dismissed.

I declare under the penalty of perjmy that the foregoing is true and accurate to the best o f my
knowledge and belief.

Executed in Lee's Summit, Missouri




                                                          tor
                                     Freedom of Information Act and Privacy Act Unit
                                     USC IS National Records Center




                                                20
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page190 of 302
                                            JA-188
            Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 1 of 16




                             IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK




KNIGHT FIRST AMENDMENT INSTITUTE
AT COLUMBIA UNIVERSITY,

                Plaintiff,
                                                         Civil Action No. 1:17-CV-07572-ALC
                v.

U.S. DEPARTMENT OF HOMELAND
SECURITY, et al.

                Defendants.



                SECOND DECLARATION OF TONI FUENTES
   IN SUPPORT OF THE U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT'S
               MOTION FOR PARTIAL SUMMARY JUDGMENT

  I.         INTRODUCTION

I, Toni Fuentes, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.       I am the Deputy Officer of the U.S. Immigration and Customs Enforcement ("ICE")

Freedom of Information Act ("FOIA") Office. I have held this position since September 30, 2018,

and am the ICE official immediately responsible for supervising ICE responses to requests for

records under the Freedom of Information Act, 5 U.S.C. § 552 (the FOIA), the Privacy Act, 5

U.S.C. § 552a (the Privacy Act), and other applicable records access statutes and regulations. Prior

to this position, I have held numerous FOIA positions over the past 20 years, including: FOIA

Director for the National Protection and Programs Directorate (''NPPD") at the U.S. Department
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page191 of 302
                                              JA-189
             Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 2 of 16




of Homeland Security ("DHS"); Government Information Specialist for Department of Justice,

U.S. Marshal's Service, Office of General Counsel; Government Information Specialist for the

Department of Defense, Office of the Inspector General's FOIA Office; FOIA Officer, Paralegal

Specialist for Deparbnent of the Navy, NAVAIR/NAWCAD's Office of Counsel; Management

and Program Analyst for Department of Homeland Security, Customs and Border Protection's

FOIA Office; and FOIA Paralegal Specialist for the National Aeronautics and Space

Administration's Office of Chief Counsel.

        2.       The ICE FOIA Office is responsible for processing and responding to all FOIA, 5

U.S.C. § 552, and Privacy Act, 5 U.S.C. § 552a, requests received at ICE. The ICE FOIA Office

mailing address is 500 12th Street, S.W., STOP 5009, Washington, D.C. 20536-5009.

        3.       My official duties and responsibilities include the general management, oversight,

and supervision of the ICE FOIA Office. The ICE FOIA Office is responsible for the receipt,

processing, and response to all FOIA and Privacy Act requests received at ICE. I manage and

supervise a staff of ICE FOIA Paralegal Specialists, who report to me regarding the processing of

FOIA and Privacy Act requests received by ICE. Due to my experience and the nature of my

official duties, I am familiar with ICE's procedures for responding to requests for information

pursuant to provisions of the FOIA and the Privacy Act. In that respect, I am familiar with ICE's

processing of the FOIA request dated August 7, 2017, that the Knight First Amendment Institute

at Columbia University ("Knight Institute" or "Plaintiff') submitted to ICE, which is the subject

of this litigation.

        4.       I make this declaration in my official capacity in support ofICE's motion for partial

summary judgment in the above-captioned action. The statements contained in this declaration
                                       Page 2 of 16

                                                                         Declaration of Toni Fuentes
                                                    KFA/v. DHS, etal, Case No. 1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page192 of 302
                                             JA-190
             Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 3 of 16




are based upon my personal knowledge, my review of records kept by ICE in the ordinary course

of business, and information provided to me by other ICE employees in the course of my official

duties. The documents attached hereto are kept by ICE in the ordinary course of its business

activities.

        5.       This declaration, in accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir.

1973), provides a description of how ICE withheld portions of the records located in response to

the Plaintiff's FOIA request and an explanation of the basis for withholding portions of pages, in

part or in whole, pursuant to Exemptions (b)(S), (b)(6), (b)(7)(C), and (b)(7)(E) of the FOIA.

 II.          PLAINTIFF'S FOIA REQUEST

        6.       As explained in my First Declaration, dated February 26, 2019, in a letter dated

August 7, 2017, Knight Institute submitted the following request:

                      1. All directives, memoranda, guidance, emails, or other
                        communications sent by the White House to any federal agency
                        since January 19, 2017, regarding consideration of individuals'
                        speech, beliefs, or associations in connection with immigration
                        determinations, including decisions to exclude or remove
                        individuals from the United States.

                      2. All memoranda concerning the legal implications of excluding or
                        removing individuals from the United States based on their speech,
                        beliefs, or associations.

                      3. All legal or policy memoranda concerning the endorse or espouse
                        provisions, or the foreign policy provision as it relates to "beliefs,
                        statements or associations."

                      4. All records containing policies, procedures, or guidance regarding
                        the application or waiver of the endorse or espouse provisions or the
                        foreign policy provision. Such records would include policies,
                        procedures, or guidance concerning the entry or retrieval of data
                        relevant to the endorse or espouse provisions or the foreign policy
                        provision into or from an electronic or computer database.
                                             Page3 ofl6

                                                                           Declaration of Toni Fuentes
                                                   KFAI v. DHS, et al., Case No. I: l 7-CV-07572-ALC
Case 20-3837, Document 41, 02/23/2021, 3042809, Page193 of 302
                                JA-191
 Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 4 of 16




         5. All Foreign Affairs Manual sections (current and former) relating
           to the endorse or espouse provisions or the foreign policy provision,
           as well as records discussing, interpreting, or providing guidance
           regarding such sections.

         6. All records concerning the application, waiver, or contemplated
           application or waiver of the endorse or espouse provisions to
           exclude or remove individuals from the United States, or the
           application, waiver, or contemplated application or waiver of the
           foreign policy provision to exclude or remove individuals from the
           United States based on "beliefs, statements or associations,"
           including:

                      a. Statistical data or statistical reports regarding such
                         application, waiver, or contemplated application or
                         waiver;

                      b. Records reflecting the application, waiver, or
                         contemplated application or waiver of the endorse or
                         espouse provisions or foreign affairs provision by an
                         immigration officer, a border officer, a Department
                         of Homeland Security official, or a Department of
                         Justice official;

                      c. Records concerning any determination made by the
                         Attorney General pursuant to 8 U.S.C. § 1225(c)
                         regarding the admissibility of arriving aliens under
                         the endorse or espouse provisions or the foreign
                         policy provision;

                      d. Department of Homeland Security and Department
                         of Justice records concerning consultation between
                         the Secretary of State, the Secretary of Homeland
                         Security, and/or the Attorney General (or their
                         designees) relating to any waiver or contemplated
                         waiver of the endorse or espouse provisions pursuant
                         to 8 U.S.C. §§ 1158(b)(2)(v), 1182(d)(3)(A), or
                         1182(d)(3)(B)(i); and

                      e. Notifications or reports from the Secretary of
                         Homeland Security or the Secretary of State

                               Page 4 of 16

                                                              Declaration of Toni Fuentes
                                      KFAI v. DHS, et al., Case No. 1: 17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page194 of 302
                                            JA-192
            Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 5 of 16




                                      concerning waivers of the endorse or espouse
                                      provision pursuant to 8 U.S.C. §1182(d)(3)(B)(ii).



ID.          ICE'S RESPONSE TO THE REQUEST

       7.       Also as described in my First Declaration, in an email to Knight Institute, dated

August 23, 2017, the ICE FOIA Office acknowledged receipt of the FOIA request and stated that

due to increasing number ofFOIA requests, there may some delay in processing the request. The

email assigned an ICE FOIA case number to Knight Institute's FOIA request ("2017-ICFO-

43023").

       8.       On October 4, 2017, Knight Institute filed a complaint in the United States District

Court for the Southern District of New York. Dkt. 1, Compl.

       9.       Through discussions with plaintiff, ICE began producing documents responsive to

the FOIA request, which consisted of policy documents, correspondence and accompanying

attachments to and from employees in ICE's Office of the Principal Legal Advisor ("OPLA"),

Enforcement and Removal Operations ("ERO"), the Office of Policy ("Policy"), and the Office of

the Director. See Dkt. No. 48 at ,I C(g).

       10.      In June 2018, Knight Institute agreed to narrow the scope of records to only final

policy guidance or memoranda and to exclude all email correspondence (the ''Narrowed Request"),

and ICE agreed to re-review the collected documents to identify materials responsive to the

Narrowed Request. See Dkt. No. 64. As a result of that re-review, ICE determined that 99 pages

of documents were responsive to the Narrowed Request; ICE released 50 pages in whole or in part



                                            Page 5 of 16

                                                                          Declaration of Toni Fuentes
                                                   KFAiv. DHS, et al., Case No. 1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page195 of 302
                                           JA-193
          Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 6 of 16




on July 3, 2018, and referred 49 pages to other agencies, which were released on whole or in part

on August 3, 2018. See Dkt. No. 77.

        11.     In total, the ICE FOIA Office reviewed the collected documents and released four

productions, concluding in July 2018, resulting in a total of 2,574 pages produced to Knight

Institute responsive both to the original FOIA request and the Narrowed Request, applying

withholdings pursuant to FOIA Exemptions 5, 6, 7(C), and 7(E). Records that were referred to

other agencies were also produced to Knight Institute.

IV.           ORGANIZATION OF THE VAUGHN INDEX

        12.     The enclosed Vaughn Index, attached as Exhibit A, encompasses production

releases in September 2017, and in March, April, and July of 2018, which provides a description

of specified redactions and correlates each redaction to the corresponding exemption applied.

        13.     Each record has been assigned a Document Identification number (or bates stamp

number, located at the bottom right hand side of every page) associated with that record. This

number is located in the first column of the Vaughn Index. The second column identifies whether

the records were redacted in full or in part. Column three is titled "Description of Records and

Redactions, and Reasons for Redactions." Within this column, the Plaintiff will find a description

of the record, a description of the type of information that was redacted, and the reason for the

redaction. Specifically, this column highlights the personal privacy and/or law enforcement

interests found within the record and the harm that could occur, should the record be released.

Finally, the fourth column of the Vaughn Index contains the statutory exemption(s) applied to the

redaction(s) within the record(s).


                                           Page 6 of 16

                                                                      Declaration of Toni Fuentes
                                                 KFA/v. DHS, eta/., Case No. 1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page196 of 302
                                             JA-194
          Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 7 of 16




       14.       A Vaughn Index is provided for Exemptions (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E).

A true and correct copy ofDefendant's Vaughn Index is attached at Exhibit A.

              A. Description of Records Released to the Plaintiff by ICE

        15.      The two thousand five hundred and seventy-four (2,574) pages of records released

to the Plaintiff originated from the ICE Office of Enforcement and Removal Operations (ERO),

the ICE Office of Policy, the ICE Office of the Principal Legal Advisor (OPLA), and the ICE

Director's Office. A complete description of these documents, and the bases for the withholding

of information in said documents, is detailed in ICE's Vaughn Index.


 V.           WITHHOLDINGS ASSERTED BY ICE PURSUANT TO FOIA EXEMPTIONS

              A. 5 U.S.C. § 552 EXEMPTION 5

        16.      Exemption 5 of the FOIA allows the withholding of inter- or intra-agency records

that are normally privileged in the civil discovery context. Pursuant to Exemption (b)(5), the three

most frequently invoked privileges are the deliberative process privilege, the attorney work-

product privilege, and the attorney-client privilege.

        17.      ICE applied FOIA Exemption (b)(5) to protect from disclosure documentation

subject to the deliberative process privilege and attorney-client privilege.      Specifically, ICE

withheld internal discussions consisting of comments and proposed edits of draft memoranda and

legislations, and discussion among ICE employees regarding ICE policy statements.

       18.       The aforementioned, withheld communications and records are non-final and pre-

decisional in nature; these communications contemplate: (1) potential immigration enforcement

actions, (2) content of employee guidance, (3) details of agreements with state and local entities,

                                             Page 7 of 16

                                                                          Declaration of Toni Fuentes
                                                   KFA/v. DHS, eta/., Case No. l:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page197 of 302
                                            JA-195
          Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 8 of 16




and (4) possible content of public statements regarding official ICE positions and policies. The

deliberative process privilege protects the integrity of the deliberative or decision-making

processes within the agency by exempting from mandatory disclosure opinions, preliminary

conclusions, and recommendations included within inter-agency or intra-agency memoranda or

letters. The release of this internal information would discourage the expression of candid opinions

and inhibit the free and frank exchange of information among agency personnel. This would result

in a chilling effect on intra- and inter-agency communications. ICE employees must be able to

discuss proposed agency action freely. Further, if draft, un-finalized responses to media inquiries,

and draft information regarding agency policies and enforcement actions were released, the public

could potentially become confused regarding ICE's mission, priorities, and enforcement activities.

       19.     Specifically, emails originating from OPLA regarding draft, proposed responses to

inquiries from federal agencies involve communications between subordinate and supervisory

employees at ICE. These communications set forth the questions posed to ICE, proposed answers,

and summaries of internal meetings, for consideration in evaluating draft responses. The pre-

decisional emails also involve deliberation between supervisory employees representing different

offices or divisions within ICE.      These emails provided non-final opinions regarding the

appropriate ICE response to questions posed by federal agencies.

       20.     Emails originated by OPLA containing substantive comments regarding policy

considerations and enforcement guidance, as well as status updates to supervisory ICE employees

inform the appropriate decision maker(s) within ERO and the Director's Office regarding the

merits of the proposed memoranda and legislation. In the responsive documents, supervisory

employees additionally provided feedback and questions to subordinates regarding their proposed
                                            Page 8 of 16

                                                                         Declaration of Toni Fuentes
                                                  KFA/v. DHS, eta/., Case No. 1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page198 of 302
                                             JA-196
          Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 9 of 16




comments. The withheld email contents are protected by the deliberative process privilege, as

release of these communications would expose ICE's decision-making process in such a way as

to inhibit the free exchange of information among agency personnel.

        21.     The attorney-client privilege applies to a category of records that contains

confidential communications between an ICE attorney and his/her client (employees in ERO and

the Director's Office) relating to a legal matter for which the client has sought professional advice.

This privilege applies to facts that are divulged to the attorney and encompasses the opinions given

by the attorney based upon, and thus reflecting, those facts. Attorney-client communications are

shielded from disclosure in order to encourage a full and frank discussion between the client and

his legal advisor. The attorney-client privilege recognizes that sound legal advice or advocacy

depends upon a lawyer being fully informed by his client. If these communications, as covered by

the attorney-client privilege, were disclosed, this could result in a chilling effect on interactions

and communications between agency employees and their legal counsel.

        22.     Furthermore, certain information has been withheld pursuant to the work product

privilege, which protects documents and other memoranda prepared by an attorney in

contemplation of litigation. The redacted portions contain material prepared by agency attorneys

concerning pending or possible litigation in immigration and federal court. Disclosure of this

information would release specific legal notes, guidance, analysis and strategy involving pending

or anticipated litigation.

              B. 5 U.S.C. § 552 EXEMPTION 6

        23.     Exemption 6 of the FOIA allows the withholding of personnel and medical files

and similar files, the disclosure of which would constitute a clearly unwarranted invasion of
                                             Page 9 of 16

                                                                           Declaration of Toni Fuentes
                                                   KFAiv. DHS, eta/., Case No. 1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page199 of 302
                                            JA-197
         Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 10 of 16




personal privacy. Records that apply to or describe a particular individual, including investigative

records, qualify as "personnel," "medical," or "similar files" under Exemption 6. When applying

this exemption to responsive documentation, the agency must balance the individual's personal

privacy interest against the public need for the information.

       24.     ICE applied FOIA Exemption (b)(6) to protect from disclosure the names, phone

numbers, email addresses, physical work locations, and other personally identifiable information

(PII) of ICE law enforcement officers, and other ICE employees (such as, employees in ERO,

OPLA or the Office of Policy). With respect to aliens and third parties (such as, family members

of aliens or witnesses), PII such as names, dates of birth, home addresses, social security numbers,

alien numbers, driver's license numbers, and passport numbers were redacted from the responsive

documentation. In some instances, redacted information related to an individual's immigration

application(s) and corresponding documentation submitted to OHS/ICE, the release of which

would reveal the individual's identity, as well as to PII pertaining to their family members and

protected information (i.e. information regarding asylum applications). For a complete listing of

all material withheld pursuant to FOIA Exemption (b)(6), please see Defendant's Vaughn index at

Exhibit A.

       25.     The disclosure of such sensitive PII to the public could subject law enforcement

officers and other government personnel to harassing telephone calls and unwarranted hostility,

which could disrupt and impede official law enforcement activity. Law enforcement officers

handle a myriad of tasks relating to the enforcement of federal immigration law, including the

investigation of noncitizens who may be illegally present in the United States. Law enforcement

officers, federal government employees, and state government employees have a privacy interest
                                           Page 10 of 16

                                                                         Declaration of Toni Fuentes
                                                  KFAI v. DHS, et al., Case No. 1: l 7-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page200 of 302
                                             JA-198
         Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 11 of 16




in not being targeted by individuals who may begrudge them for ICE affiliation. The privacy

interests of law enforcement officers and government personnel in the information contained in

the records outweighs any minimal public interest in the disclosure of the information. The

disclosure of this PII serves no public benefit and would not assist the public in understanding how

the agency is carrying out its statutory responsibilities. Further, Plaintiff has not articulated a

public interest or public need to justify release of this information.

       26.      Similarly, the disclosure of alien and third-party information to the public could

constitute an unwarranted invasion of personal privacy and subject the individuals to

embarrassment, harassment, and undue public attention. Aliens and third-party individuals have

a colorable privacy interest in protecting and controlling their personally identifiable information.

The individuals' privacy interest in the information contained in the record outweighs any minimal

public interest in the disclosure of the information. Plaintiff has not articulated a sufficient public

interest or public need to justify release of this information. Moreover, the aliens and third parties

referenced in the records have not consented to the release of their PII.

              C. 5 U.S.C. § 552 EXEMPTION 7 THRESHOLD

        27.     Exemption 7 establishes a threshold requirement, which must be met in order for

certain information in the records subject to this litigation to be withheld on the basis of subparts

(b)(7)(A), (b)(7)(C), and (b)(7)(E). Specifically, the redactions at issue must be contained within

a record of information compiled for a law enforcement purpose.

       28.      The information for which FOIA Exemption (b)(7) has been asserted in the instant

matter satisfies this threshold requirement. Pursuant to the Immigration and Nationality Act,

codified under Title 8 of the U.S. Code, the Secretary of Homeland Security is charged with the
                                            Page 11 of 16

                                                                           Declaration of Toni Fuentes
                                                    KFAiv. DHS, et al., Case No. 1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page201 of 302
                                            JA-199
         Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 12 of 16




administration and enforcement of laws relating to the immigration and naturalization of aliens,

subject to certain exceptions. See 8 U.S.C. § 1103. ICE is the largest investigative ann ofDHS,

and is responsible for identifying and eliminating vulnerabilities within the nation's borders. ICE

is tasked with preventing any activities that threaten national security and public safety by

investigating the people, money, and materials that support illegal enterprises. The records at issue

in this matter pertain to ICE's immigration enforcement actions and information sharing with state

entities in support ofICE's mission.

             D. 5 U.S.C. § 552 (B)(7)(C)

       29.      5 U.S.C § 552 (b)(7)(C) is applied to protect from disclosure records or information

compiled for a law enforcement purpose, to the extent that release of the information could

reasonably be expected to constitute an unwarranted invasion of personal privacy. Prior to

asserting this exemption, consideration was given to the strength and nature of any third-party

privacy interests in ICE's law enforcement files. Having determined that the records at issue were

compiled for law enforcement purposes, and third-party privacy interests existed in the

documentation, the ICE FOIA Office then considered whether release of the information served

to inform the public about ICE's performance of its statutory mission.

       30.      ICE applied Exemption (b)(7)(C) to withhold the names, signatures, phone

numbers, email addresses, physical work locations, and ICE employees (such as, employees in

OPLA, ERO, or the Office of Policy). The disclosure of such sensitive PII could subject ICE

employees to harassing telephone calls and unwarranted hostility, which could disrupt and impede

official law enforcement activity. Law enforcement officers handle a myriad of tasks relating to

the enforcement of federal immigration law, including the investigation of noncitizens who may
                                           Page 12 of 16

                                                                         Declaration of Toni Fuentes
                                                   KFAlv. DHS, et al., Case No. l:l 7-CV-07572-ALC
         Case 20-3837, Document 41, 02/23/2021, 3042809, Page202 of 302
                                              JA-200
          Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 13 of 16




be illegally present in the United States. Law enforcement officers have a privacy interest in not

being targeted by individuals who may begrudge them for ICE affiliation. Plaintiff failed to

articulate a public interest or public need for the release of data such as names, phone numbers,

email addresses, and physical work locations of federal and state government employees. The

disclosure of this PII serves no public benefit and would not assist the public in understanding how

ICE is carrying out its statutory responsibilities.

         31.    With respect to aliens and third parties, names, dates of birth, home addresses,

social security numbers, alien numbers, and passport numbers were redacted from the responsive

documentation. Additionally, large amounts of text were withheld; this redacted information

relates to an individual's immigration application(s) and supporting documentation submitted to

OHS/ICE, the release of which would reveal the individual's identity. For a complete listing of

all material withheld pursuant to FOIA Exemption (b)(7)(C), please see Defendant's Vaughn

index.

         32.    The disclosure of alien and third-party information could constitute an unwarranted

invasion of personal privacy and subject the individuals to embarrassment, harassment, and undue

public attention. Such information, if disclosed to the public or to a third-party requester without

the permission of the individual alien, could expose the alien to identity theft and may reasonably

lead to unwanted contact from persons that might seek to harm the individual alien (or his or her

relatives, including minor children) due to the individual's immigration status in the United States.

         33.    Furthermore, aliens and third-party individuals have a recognized privacy interest

in not being publicly associated with law enforcement investigations through the release of records

compiled for law enforcement purposes. The identities of persons named in law enforcement files
                                             Page 13 of 16

                                                                          Declaration of Toni Fuentes
                                                      KFA/v. DHS, eta/., Case No. l:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page203 of 302
                                              JA-201
         Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 14 of 16




(whether or not the named individual is the target of investigations or law enforcement actions)

are properly withheld under FOIA Exemptions (b)(6) and (b)(7)(C) in recognition of the

stigmatizing connotation carried by the mere mention of individuals in law enforcement files. The

individuals' privacy interest in the information contained in the record outweighs any minimal

public interest in the disclosure of the information. Plaintiff has not articulated a sufficient public

interest or public need to justify release of this information. The disclosure of this PII serves no

public benefit and would not assist the public in understanding how ICE is carrying out its statutory

responsibilities. Finally, the aliens and third-parties mentioned in the law enforcement records did

not consent to the disclosure of their PII.

              E. 5 U.S.C. § 552 (b)(7)(E)

        34.      This exemption protects from disclosure information compiled for law enforcement

purposes where release of the information ''would disclose techniques and procedures for law

enforcement investigations or prosecutions," or where it would "disclose guidelines for law

enforcement investigations or prosecutions if such disclosure could reasonably be expected to risk

circumvention of the law." 5 U.S.C. § 552(b)(7)(E).

        35.      ICE applied FOIA Exemption (b)(7)(E) to protect from disclosure investigative

techniques and law enforcement procedures including the following: internal URLs, IP addresses,

passcodes, internal acronyms, access codes to law enforcement teleconferences, the names of

internal data sharing systems, computer codes and commands, and case numbers.                   FOIA

Exemption (b)(7)(E) was asserted to withhold internal identifying numbers that did not originate

from ICE (such as, FBI case numbers). For a complete listing of all material withheld pursuant to

FOIA Exe,:nption (b)(7)(E), please see Defendant's Vaughn index at Exhibit A.
                                              Page 14 of 16

                                                                           Declaration of Toni Fuentes
                                                     KFA/v. DHS, eta/., Case No. 1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page204 of 302
                                            JA-202
         Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 15 of 16




       36.      Disclosure of internal computer codes, commands, acronyms, and access codes

could assist unauthorized parties in deciphering the meaning of the codes, commands, or

acronyms, gaining improper access to law enforcement databases, and assist in the unauthorized

party's navigation of the law enforcement database. Disclosure of these techniques and practices

for navigating law enforcement databases could permit people seeking to violate or circumvent the

law to take proactive steps to counter operational and investigative actions taken by ICE during

enforcement operations.

        37.     Law enforcement database codes, to include administrative and computer codes,

serve a dual purpose. The codes are not only used for the purposes of indexing, storing, locating,

and retrieving information, but also serve to provide information about the investigation.

Specifically, this information could identify the type and location of the case, the scope and size

of the investigation, agency resources utilized for the investigation, type of activity under

investigation, and location of investigative efforts. The disclosure of this information serves no

public benefit and would not assist the public in understanding how the agency is executing its

statutory responsibilities.

        38.     Disclosure of the internal processes for law enforcement to access and utilize the

agency's databases could assist unauthorized parties in gaining improper access to the database

and assist in the unauthorized party's navigation of the database. If an unauthorized party obtains

access to a database where law enforcement records are housed, he or she could modify data in

circumvention of law enforcement efforts.




                                            Page 15 ofl6

                                                                       Declaration of Toni Fuentes
                                                  KFA/v. DHS, eta/.,CaseNo.1:17-CV-07572-ALC
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page205 of 302
                                           JA-203
           Case 1:17-cv-07572-ALC Document 98 Filed 03/15/19 Page 16 of 16




VI.          SEGREGABILITY

       39.     5 U.S.C. § 552(b) requires that "[a]ny reasonably segregable portion of a record

shall be provided to any person requesting such record after deletion of the portions which are

exempt."

       40.     My staff, under my supervision, has reviewed each record line-by-line to identify

information exempt from disclosure or for which a discretionary waiver of exemption could be

applied.

       41.     With respect to the records that were released in part, all information not exempted

from disclosure pursuant to the FOIA exemptions specified above was correctly segregated and

non-exempt portions were released.

VII.         JURAT CLAUSE

       42.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief. Signed this 15th day of March 2019.




                                  d~~ Toni Fuentes, Deputy FOIA Officer
                                      Freedom of Information Act Office
                                      U.S. Department of Homeland Security
                                      U.S. Immigration and Customs Enforcement
                                      500 12th Street, S.W., Stop 5009
                                      Washington, D.C. 20536-5009




                                           Page 16 of 16

                                                                         Declaration of Toni Fuentes
                                                  KFA/v. DHS, eta/.,CaseNo. l:17-CV-07572-ALC
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 1 of 46




                                  Knight First Amendment Institute v. Department of Homeland Security, et. al.
                                                     Case No. 17-cv-07572 (S.D.N.Y.)

                                             U.S. Immigration and Customs Enforcement Vaughn Index
                                                                                                                     JA-204
                                                                                                                              Case 20-3837, Document 41, 02/23/2021, 3042809, Page206 of 302




Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                 1
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 2 of 46
                               Withholding                                                                                             Exemption(s)
         Page Numbers                                      Description of Records and Redactions, and Reasons for Redactions
                               Full/Partial                                                                                              Applied
       2017-ICFO-43023                        Document: Draft legislation containing comments to language regarding border security,
      September 29, 2017                      immigration and law enforcement personnel, emergency port of entry and infrastructure
          Production                          spending, etc. The document is labeled as a “Draft Copy” in the header of each page.

              Pages                           Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
      30,31,32,52,54,63,64,                   disclosure the name, contact information, telephone numbers, signatures, or initials of
    65,70,72,75,77,78,80,86                   DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
     ,100,116,136,146,151,                    the individual(s) in the records requested outweigh any minimal public interest in the
      154,155,156,158,165,                    disclosure of the information.
      176,185,200,202,211,
      212,213,218,219,220,                    These pages contain personally identifiable information (PII) of ICE employees. Such
      223,225,226,228,234,                    PII includes names, initials, signatures, contact information, phone numbers, postal
      235,249,264,284,287,                    addresses, email addresses, sign in identifiers and/or other identifying information. This
      294,299,302,302,303,                    information was withheld throughout the document set under FOIA exemptions (b)(6)
      304,306,313,324,326,                    and (b)(7)(C).
      327,333,348,350,359,
      360,361,366,367,368,                    Reason: FOIA Exemption 6 protects information about individuals in "personnel and Freedom of
      372,374,376,382,383,                    medical files and similar files" when the disclosure of such information "would constitute Information
                                 Partial      a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal Act 5 U.S.C.
      386,397,412,436,442,
      447,451,452,455,461,                    information that was compiled for law enforcement purposes, when disclosure "could § 552 (b)(6),
                                                                                                                                          (b)(7)(C)
                                                                                                                                                       JA-205




      472,475,476,482,497,                    reasonably be expected to constitute an unwarranted invasion of personal privacy."
      499,508,509,510,515,
      516,517,521,523,525,                    Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
      531,532,535,539,546,                    in these records, which were compiled for law enforcement purposes, could reasonably
      561,585,591,596,600,                    be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
      601,604,610,621,631,                    subjecting ICE personnel to harassment and annoyance in conducting their official duties
      646,649,658,659,734,                    and in their private lives; (2) potentially placing them in danger as targets of law
      741,746,751,760,773,                    enforcement investigations may begrudge personnel for an indefinite time period and seek
      774,780,795,797,806,                    revenge; and (3) possibly minimizing their ability to effectively conduct future
      807,808,813,814,815,                    investigations. The disclosure of this PII serves no public benefit and would not assist
      819,821,823,829,830,                    the public in understanding how the agency is carrying out its statutory responsibilities.
      833,844,859,883,889,                    As a result, the privacy interest in this PII outweighs any minimal public interest that
      894,898,899,902,908,                    could  possibly exist in the disclosure of this information.
                                                                                                                                                                Case 20-3837, Document 41, 02/23/2021, 3042809, Page207 of 302




      919,929,944,947,956,
      957,1032,1039,1049,
     1058,1071,1073,1095,
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                               2
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 3 of 46
                                Withholding                                                                                             Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                              Applied
     1104,1105,1106,1111,
     1112,1113,1119,1121,
     1127,1128,1131,1142,
     1157,1181,1187,1192,
     1196,1197,1200,1206,
     1217,1227,1242,1245,
     1254,1255,1269,1270,
     1330,1337,1342,1347,
     1356,1369,1370,1376,
     1391,1393,1402,1403,
     1404,1409,1410,1411,
     1415,14171419,1425,
     1426,1429,1440,1455,
     1479,1485,1490,1494,
     1495,1498,1504,1515,
     1525,1540,1543,1552,
     1553,1567,1568,1628,
     1635,1640,1645,1654

                                               Document: Draft legislation regarding border security, immigration and law
                                                                                                                                                       JA-206




                                               enforcement personnel, emergency port of entry and infrastructure spending, etc. The
                                               document is labeled as a “Draft Copy” in the header of each page.

                                               Redactions: The information withheld throughout the document under (b)(5) contains
       2017-ICFO-43023                         proposed legislative language that was under review and being changed as ICE offices
      September 29, 2017                       and ICE employees provided edits, comments, and recommendations on the proposed          Freedom of
          Production                           draft.                                                                                   Information
                                   Full
                                                                                                                                        Act 5 U.S.C.
        Pages 30-1,666                         Reason: FOIA Exemption (b)(5): The information being withheld contains pre-              § 552 (b)(5)
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas
                                               and recommendations and hamper the agency’s ability to efficiently and effectively
                                                                                                                                                                Case 20-3837, Document 41, 02/23/2021, 3042809, Page208 of 302




                                               formulate its final positions on issues of public significance. The document also
                                               contains non-final agency decisions, options being considered, and recommendations.


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 3
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 4 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               Document: Internal email between ICE employees discussing review of and edits to draft
                                               PowerPoint presentation titled Immigration Priorities slideshow.

                                               Redactions: The information withheld in the email under (b)(5) contains proposed edits
                                               that were under review and being changed as ICE offices and ICE employees provided
                                               edits, comments, and recommendations on the proposed draft.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

       2018-ICAP-00118                         Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from Freedom of
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of Information
          Pages 18-19                          DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of Act 5 U.S.C.
                                  Partial      the individual(s) in the records requested outweigh any minimal public interest in the § 552 (b)(5),
                                               disclosure of the information.                                                              (b)(6),
                                                                                                                                                           JA-207




                                                                                                                                          (b)(7)(c)
                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page209 of 302




                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 4
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 5 of 46
                               Withholding                                                                                                 Exemption(s)
          Page Numbers                                      Description of Records and Redactions, and Reasons for Redactions
                               Full/Partial                                                                                                  Applied
                                              subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                              and in their private lives; (2) potentially placing them in danger as targets of law
                                              enforcement investigations may begrudge personnel for an indefinite time period and seek
                                              revenge; and (3) possibly minimizing their ability to effectively conduct future
                                              investigations. The disclosure of this PII serves no public benefit and would not assist
                                              the public in understanding how the agency is carrying out its statutory responsibilities.
                                              As a result, the privacy interest in this PII outweighs any minimal public interest that
                                              could possibly exist in the disclosure of this information.

                                              Document: Draft memorandum of agreement (MOA) between ICE Enforcement and
                                              Removal (ERO) Miami Field Office and the American Federal of Government Local 527
                                              employees. The MOA’s purpose is to establish a pilot training program for newly hired
                                              Deportation Officers in the Miami Field Office. The document is watermarked
                                              “DRAFT.”
       2018-ICAP-00118
                                              Redactions: The information withheld in the document under (b)(5) contains proposed Freedom of
          Pages 21-26                         edits that were under review and being changed as ICE offices and ICE employees Information
                                 Partial      provided edits, comments, and recommendations on the proposed draft.                       Act 5 U.S.C.
                                                                                                                                         § 552 (b)(5)
                                              Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                                                                                                                                          JA-208




                                              decisional, draft, and deliberative information. The document is not a final
                                              draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                              recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                              its final positions on issues of public significance. The document also contains non-final
                                              agency decisions, options being considered, and recommendations.
                                              Document: Internal email between ICE employees drafting and discussing a broadcast
                                              message that would inform field offices of a temporary restraining order that impacted
                                              specific sections of Executive Order 13,780.                                               Freedom of
                                                                                                                                         Information
       2018-ICAP-00118
                                              Redactions: The information withheld in the email under (b)(5) contains proposed Act 5 U.S.C.
                                 Partial
                                              language that was under review and being changed as ICE offices and ICE employees § 552 (b)(5),
             Page 50                          provided edits, comments, and recommendations on the proposed draft.                          (b)(6),
                                                                                                                                                                   Case 20-3837, Document 41, 02/23/2021, 3042809, Page210 of 302




                                                                                                                                           (b)(7)(c)
                                              Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                              decisional, draft, and deliberative information. The document is not a final
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                5
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 6 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                                                                                                                                           JA-209




                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page211 of 302




                                               could possibly exist in the disclosure of this information.


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 6
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 7 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               Document: Internal email between DHS employees, including an ICE employee,
                                               discussing the potential impact of a federal district court’s order. The email is authored
                                               by the Acting General Counsel for DHS and is labeled as “Attorney Client
                                               Communication” and “Attorney Work Product.”

                                               Redactions: The information withheld in the email under (b)(5) contains strategy and
                                               possible action items to enact once the federal court’s opinion is received.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.
                                                                                                                                               Freedom of
                                               The attorney-client privilege protects confidential communications between attorneys and        Information
       2018-ICAP-00118
                                               their clients relating to a legal matter for which the client has sought professional advice.   Act 5 U.S.C.
                                  Partial
                                               The attorney-client privilege is not limited to protecting documents created in anticipation    § 552 (b)(5),
            Page 100
                                               of litigation. The attorney-client privilege applies in this instance because the redacted         (b)(6),
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided         (b)(7)(c)
                                                                                                                                                               JA-210




                                               by attorneys (OPLA attorneys) relating to guidance regarding pending litigation.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                                                                                                                                                        Case 20-3837, Document 41, 02/23/2021, 3042809, Page212 of 302




                                               strategy involving pending litigation.


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    7
                                Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 8 of 46
                              Withholding                                                                                                    Exemption(s)
         Page Numbers                                      Description of Records and Redactions, and Reasons for Redactions
                              Full/Partial                                                                                                     Applied
                                             Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                             disclosure the name, contact information, telephone numbers, signatures, or initials of
                                             DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                             the individual(s) in the records requested outweigh any minimal public interest in the
                                             disclosure of the information.

                                             This page may contain personally identifiable information (PII) of ICE employees. Such
                                             PII includes names, initials, signatures, contact information, phone numbers, postal
                                             addresses, email addresses, sign in identifiers and/or other identifying information. This
                                             information was withheld throughout the document set under FOIA exemptions (b)(6)
                                             and (b)(7)(C).

                                             Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                             medical files and similar files" when the disclosure of such information "would constitute
                                             a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                             information that was compiled for law enforcement purposes, when disclosure "could
                                             reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                             Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                             in these records, which were compiled for law enforcement purposes, could reasonably
                                                                                                                                                            JA-211




                                             be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                             conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                             official duties and in their private lives; (2) potentially placing them in danger as targets
                                             of law enforcement investigations may begrudge personnel for an indefinite time period
                                             and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                             investigations. The disclosure of this PII serves no public benefit and would not assist
                                             the public in understanding how the agency is carrying out its statutory responsibilities.
                                             As a result, the privacy interest in this PII outweighs any minimal public interest that
                                             could possibly exist in the disclosure of this information.

                                             Document: Draft memorandum, dated February 2017, to be sent from the Acting
                                             Director of ICE to the Secretary of DHS. The memo is titled “ICE Implementation Plan  Freedom of
      2018-ICAP-00118
                                             for Executive Orders.” The document is watermarked “DRAFT.”                           Information
                                                                                                                                                                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page213 of 302




                                 Partial
                                                                                                                                   Act 5 U.S.C.
        Pages 232-241
                                              Redactions: The information withheld throughout the document under (b)(5) contains a § 552 (b)(5)
                                              implementation plans for Executive Orders 13767 and 13768 that were under review
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                  8
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 9 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               and being changed as ICE employees provided edits, comments, and recommendations
                                               on the proposed statement/draft.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas
                                               and recommendations and hamper the agency’s ability to efficiently and effectively
                                               formulate its final positions on issues of public significance. The document also
                                               contains non-final agency decisions, options being considered, and recommendations.

                                               Document: Internal email, authored by an attorney with the National Security Law
                                               Section (NSLS), between ICE employees discussing the acquisition of translation
                                               services in preparation for a hearing.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.
                                                                                                                                                           JA-212




                                               These pages contain personally identifiable information (PII) of ICE employees. Such Freedom of
       2018-ICAP-00118                         PII includes names, initials, signatures, contact information, phone numbers, postal Information
                                  Partial      addresses, email addresses, sign in identifiers and/or other identifying information. This Act 5 U.S.C.
            Page 245                           information was withheld throughout the document set under FOIA exemptions (b)(6) § 552 (b)(6),
                                               and (b)(7)(C).                                                                              (b)(7)(c)

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page214 of 302




                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 9
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 10 of 46
                                 Withholding                                                                                                    Exemption(s)
          Page Numbers                                        Description of Records and Redactions, and Reasons for Redactions
                                 Full/Partial                                                                                                     Applied
                                                conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                                official duties and in their private lives; (2) potentially placing them in danger as targets
                                                of law enforcement investigations may begrudge personnel for an indefinite time period
                                                and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                                investigations. The disclosure of this PII serves no public benefit and would not assist
                                                the public in understanding how the agency is carrying out its statutory responsibilities.
                                                As a result, the privacy interest in this PII outweighs any minimal public interest that
                                                could possibly exist in the disclosure of this information.

                                                Document: Internal email between ICE employees discussing the acquisition of
                                                translation services in preparation for a hearing.

                                                Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                                disclosure the name, contact information, telephone numbers, signatures, or initials of
                                                DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                                the individual(s) in the records requested outweigh any minimal public interest in the
                                                disclosure of the information.

                                                This page may contain personally identifiable information (PII) of ICE employees. Such
                                                PII includes names, initials, signatures, contact information, phone numbers, postal
                                                                                                                                                               JA-213




                                                addresses, email addresses, sign in identifiers and/or other identifying information. This Freedom of
       2018-ICAP-00118                          information was withheld throughout the document set under FOIA exemptions (b)(6) Information
                                   Partial      and (b)(7)(C).                                                                             Act 5 U.S.C.
            Page 248                                                                                                                       § 552 (b)(6),
                                                Reason: FOIA Exemption 6 protects information about individuals in "personnel and            (b)(7)(c)
                                                medical files and similar files" when the disclosure of such information "would constitute
                                                a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                                information that was compiled for law enforcement purposes, when disclosure "could
                                                reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                              Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                              in these records, which were compiled for law enforcement purposes, could reasonably
                                              be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                                                                                                                                                        Case 20-3837, Document 41, 02/23/2021, 3042809, Page215 of 302




                                              conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                              official duties and in their private lives; (2) potentially placing them in danger as targets
                                              of law enforcement investigations may begrudge personnel for an indefinite time period
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                     10
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 11 of 46
                                 Withholding                                                                                                  Exemption(s)
          Page Numbers                                        Description of Records and Redactions, and Reasons for Redactions
                                 Full/Partial                                                                                                   Applied
                                                and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                                investigations. The disclosure of this PII serves no public benefit and would not assist
                                                the public in understanding how the agency is carrying out its statutory responsibilities.
                                                As a result, the privacy interest in this PII outweighs any minimal public interest that
                                                could possibly exist in the disclosure of this information.

                                                Document: Duplicate internal email on Bates page 245. Authored by an attorney with
                                                the National Security Law Section (NSLS) and discusses the acquisition of translation
                                                services in preparation for a hearing.

                                                Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                                disclosure the name, contact information, telephone numbers, signatures, or initials of
                                                DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                                the individual(s) in the records requested outweigh any minimal public interest in the
                                                disclosure of the information.

                                                This page may contain personally identifiable information (PII) of ICE employees. Such
                                                PII includes names, initials, signatures, contact information, phone numbers, postal
                                                addresses, email addresses, sign in identifiers and/or other identifying information. This
       2018-ICAP-00118                          information was withheld throughout the document set under FOIA exemptions (b)(6)
                                                                                                                                                              JA-214




                                   Partial      and (b)(7)(C).
                                                                                                                                              Freedom of
            Page 253
                                                Reason: FOIA Exemption 6 protects information about individuals in "personnel and             Information
                                                medical files and similar files" when the disclosure of such information "would constitute    Act 5 U.S.C.
                                                a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal         § 552 (b)(6),
                                                information that was compiled for law enforcement purposes, when disclosure "could              (b)(7)(c)
                                                reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                              Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                              in these records, which were compiled for law enforcement purposes, could reasonably
                                              be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                              conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                              official duties and in their private lives; (2) potentially placing them in danger as targets
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page216 of 302




                                              of law enforcement investigations may begrudge personnel for an indefinite time period
                                              and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                              investigations. The disclosure of this PII serves no public benefit and would not assist
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                   11
                                  Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 12 of 46
                                 Withholding                                                                                                  Exemption(s)
          Page Numbers                                        Description of Records and Redactions, and Reasons for Redactions
                                 Full/Partial                                                                                                   Applied
                                                the public in understanding how the agency is carrying out its statutory responsibilities.
                                                As a result, the privacy interest in this PII outweighs any minimal public interest that
                                                could possibly exist in the disclosure of this information.

                                                Document: Duplicate of internal email on Bates page 248 between ICE employees
                                                discussing the acquisition of translation services in preparation for a hearing.

                                                Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                                disclosure the name, contact information, telephone numbers, signatures, or initials of
                                                DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                                the individual(s) in the records requested outweigh any minimal public interest in the
                                                disclosure of the information.

                                                This page may contain personally identifiable information (PII) of ICE employees. Such
                                                PII includes names, initials, signatures, contact information, phone numbers, postal
                                                addresses, email addresses, sign in identifiers and/or other identifying information. This
                                                information was withheld throughout the document set under FOIA exemptions (b)(6)
                                                and (b)(7)(C).                                                                             Freedom of
       2018-ICAP-00118                                                                                                                     Information
                                   Partial      Reason: FOIA Exemption 6 protects information about individuals in "personnel and Act 5 U.S.C.
                                                                                                                                                             JA-215




            Page 256                            medical files and similar files" when the disclosure of such information "would constitute § 552 (b)(6),
                                                a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal        (b)(7)(c)
                                                information that was compiled for law enforcement purposes, when disclosure "could
                                                reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                              Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                              in these records, which were compiled for law enforcement purposes, could reasonably
                                              be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                              conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                              official duties and in their private lives; (2) potentially placing them in danger as targets
                                              of law enforcement investigations may begrudge personnel for an indefinite time period
                                              and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                              investigations. The disclosure of this PII serves no public benefit and would not assist
                                                                                                                                                                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page217 of 302




                                              the public in understanding how the agency is carrying out its statutory responsibilities.
                                              As a result, the privacy interest in this PII outweighs any minimal public interest that
                                              could possibly exist in the disclosure of this information.
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                   12
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 13 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               Document: Internal email authored by an attorney with the National Security Law
                                               Section (NSLS) in September 2017 and provides background, current, and next steps
                                               regarding the current high-interest cases in NSLS.

                                               Redactions: The Information withheld in the email under (b)(5) contains a briefing of
                                               several of NSLS’ high-interest cases.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.
                                                                                                                                             Freedom of
                                               The attorney-client privilege protects confidential communications between attorneys and Information
       2018-ICAP-00118                         their clients relating to a legal matter for which the client has sought professional advice. Act 5 U.S.C.
                                  Partial      The attorney-client privilege is not limited to protecting documents created in anticipation § 552 (b)(5),
         Pages 260-261                         of litigation. The attorney-client privilege applies in this instance because the redacted      (b)(6),
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided      (b)(7)(c)
                                               by attorneys (OPLA attorneys) relating to guidance regarding pending litigation.
                                                                                                                                                            JA-216




                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.
                                                                                                                                                                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page218 of 302




Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 13
                                Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 14 of 46
                               Withholding                                                                                                    Exemption(s)
         Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                               Full/Partial                                                                                                     Applied
                                              Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                              disclosure the name, contact information, telephone numbers, signatures, or initials of
                                              DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                              the individual(s) in the records requested outweigh any minimal public interest in the
                                              disclosure of the information.

                                              These pages contain personally identifiable information (PII) of ICE employees. Such
                                              PII includes names, initials, signatures, contact information, phone numbers, postal
                                              addresses, email addresses, sign in identifiers and/or other identifying information. This
                                              information was withheld throughout the document set under FOIA exemptions (b)(6)
                                              and (b)(7)(C).

                                              Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                              medical files and similar files" when the disclosure of such information "would constitute
                                              a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                              information that was compiled for law enforcement purposes, when disclosure "could
                                              reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                              Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                              in these records, which were compiled for law enforcement purposes, could reasonably
                                                                                                                                                             JA-217




                                              be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                              conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                              official duties and in their private lives; (2) potentially placing them in danger as targets
                                              of law enforcement investigations may begrudge personnel for an indefinite time period
                                              and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                              investigations. The disclosure of this PII serves no public benefit and would not assist
                                              the public in understanding how the agency is carrying out its statutory responsibilities.
                                              As a result, the privacy interest in this PII outweighs any minimal public interest that
                                              could possibly exist in the disclosure of this information.

                                              Document: Duplicate internal email on Bates pages 245 and 253. Authored by an
                                              attorney with the National Security Law Section (NSLS) and discusses the acquisition of Freedom of
       2018-ICAP-00118                        translation services in preparation for a hearing.                                      Information
                                                                                                                                                                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page219 of 302




                                 Partial                                                                                              Act 5 U.S.C.
            Page 263                                                                                                                  § 552 (b)(6),
                                              Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from            (b)(7)(c)
                                              disclosure the name, contact information, telephone numbers, signatures, or initials of
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                   14
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 15 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               This page may contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                                                                                                                                              JA-218




                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Duplicate of internal email on Bates pages 248 and 256 between ICE
                                               employees discussing the acquisition of translation services in preparation for a hearing.
                                                                                                                                       Freedom of
       2018-ICAP-00118                         Author of email is attorney with NSLS.                                                  Information
                                  Partial                                                                                              Act 5 U.S.C.
            Page 266                           Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from § 552 (b)(6),
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page220 of 302




                                               disclosure the name, contact information, telephone numbers, signatures, or initials of   (b)(7)(c)
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    15
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 16 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               This page may contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                                                                                                                                              JA-219




                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Internal email between ICE employees discussing the need for translation
                                               services and additional funding to cover the expense in preparation for an October 2017 Freedom of
       2018-ICAP-00118                         hearing. Author of email is attorney with NSLS.                                         Information
                                  Partial                                                                                              Act 5 U.S.C.
         Pages 270-271                         Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from § 552 (b)(6),
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of   (b)(7)(c)
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page221 of 302




                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    16
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 17 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                                                                                                                                              JA-220




                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Internal email between ICE employees discussing the need for translation
                                               services and additional funding to cover the expense in preparation for an October 2017 Freedom of
       2018-ICAP-00118                         hearing. Author of email is attorney with NSLS.                                         Information
                                  Partial                                                                                              Act 5 U.S.C.
            Page 273                           Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from § 552 (b)(6),
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of   (b)(7)(c)
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page222 of 302




                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    17
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 18 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               This page may contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                                                                                                                                              JA-221




                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Email between ICE employee and third party discussing the need for
                                               translation services and to provide a quote.
                                                                                                                                       Freedom of
       2018-ICAP-00118                         Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from Information
                                  Partial      disclosure the name, contact information, telephone numbers, signatures, or initials of Act 5 U.S.C.
            Page 275                           DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of § 552 (b)(6),
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page223 of 302




                                               the individual(s) in the records requested outweigh any minimal public interest in the   (b)(7)(c)
                                               disclosure of the information.

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    18
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 19 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               This page may contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                                                                                                                                              JA-222




                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Email between ICE employee and third party discussing the need for
                                               translation services and whether services can be provided by particular date.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from Freedom of
       2018-ICAP-00118                         disclosure the name, contact information, telephone numbers, signatures, or initials of Information
                                  Partial      DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of Act 5 U.S.C.
            Page 277                           the individual(s) in the records requested outweigh any minimal public interest in the § 552 (b)(6),
                                               disclosure of the information.                                                            (b)(7)(c)
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page224 of 302




                                              This page may contain personally identifiable information (PII) of ICE employees. Such
                                              PII includes names, initials, signatures, contact information, phone numbers, postal
                                              addresses, email addresses, sign in identifiers and/or other identifying information. This
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    19
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 20 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.
                                                                                                                                                              JA-223




                                               Document: Internal email between two NSLS ICE attorneys sharing a hyperlink
                                               containing web address to a draft document on network that discusses endorse and
                                               espouse.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                                                                                                                       Freedom of
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                                                                                                                       Information
       2018-ICAP-00118                         DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                                                                                                                       Act 5 U.S.C.
                                  Partial      the individual(s) in the records requested outweigh any minimal public interest in the
                                                                                                                                       § 552 (b)(6),
            Page 279                           disclosure of the information.
                                                                                                                                         (b)(7)(c),
                                               This page may contain personally identifiable information (PII) of ICE employees. Such    (b)(7)(E)
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page225 of 302




                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    20
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 21 of 46
                               Withholding                                                                                                    Exemption(s)
          Page Numbers                                      Description of Records and Redactions, and Reasons for Redactions
                               Full/Partial                                                                                                     Applied

                                              Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                              medical files and similar files" when the disclosure of such information "would constitute
                                              a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                              information that was compiled for law enforcement purposes, when disclosure "could
                                              reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                              Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                              in these records, which were compiled for law enforcement purposes, could reasonably
                                              be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                              conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                              official duties and in their private lives; (2) potentially placing them in danger as targets
                                              of law enforcement investigations may begrudge personnel for an indefinite time period
                                              and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                              investigations. The disclosure of this PII serves no public benefit and would not assist
                                              the public in understanding how the agency is carrying out its statutory responsibilities.
                                              As a result, the privacy interest in this PII outweighs any minimal public interest that
                                              could possibly exist in the disclosure of this information.

                                              Redactions: The information withheld under (b)(7)(E) contains a URL address directed
                                                                                                                                                             JA-224




                                              to network servers. The web address within hyperlink provides access to server(s) and
                                              creates opportunities for cyber-attacks on agency server(s), which are used to store a
                                              myriad of information/data related to countless law enforcement cases.

                                              Reason: ICE FOIA applied FOIA Exemption (b)(7)(E) to protect from disclosure
                                              information compiled for law enforcement purposes, the release of which would
                                              disclose investigative techniques and procedures, such as internal database codes. The
                                              disclosure of law enforcement codes could reveal techniques and/or procedures for law
                                              enforcement investigations or prosecutions or disclose guidelines for law enforcement
                                              investigations or prosecutions which are not well known to the public and could
                                              reasonably be expected to risk circumvention of the law. The disclosure of this
                                              information could reasonably be expected to risk the circumvention of law by allowing
                                              individuals to access law enforcement sensitive information as well as personally
                                                                                                                                                                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page226 of 302




                                              identifying information of DHS personnel thereby potentially interfering with ICE
                                              ongoing investigations, obstructing enforcement proceedings, and endangering the
                                              safety of DHS employees. Disclosure could also assist third parties in deciphering the
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                   21
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 22 of 46
                                Withholding                                                                                              Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                               Applied
                                               meanings of the codes and could allow an individual to alter or manipulate law
                                               enforcement databases if they were to gain access to the system. Disclosure of these
                                               techniques and practices in navigating the databases could permit people seeking to
                                               violate or circumvent the law by taking proactive steps to counter operational and
                                               investigative actions taken by ICE during enforcement operations. Further, how law
                                               enforcement officers access databases is a law enforcement technique and procedure
                                               that is not commonly known. The disclosure of this information serves no public
                                               benefit and would not assist the public in understanding how the agency is carrying out
                                               its statutory responsibilities.

                                               Document: Meeting minutes for Homeland Security Investigations Law Division
                                               (HSILD) All-Hands meeting on August 17, 2017.

                                               Redactions: The information withheld under (b)(5) contains status updates regarding a
                                               variety of issues and cases handled by HSILD. The withheld information also includes
                                               recommendations and guidance to attorneys on how to exercise prosecutorial discretion,
                                               how to implement President’s Executive Orders on Immigration, and listing the             Freedom of
       2018-ICAP-00118                         agency’s enforcement priorities.                                                          Information
                                  Partial
                                                                                                                                         Act 5 U.S.C.
         Pages 281-288
                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-               § 552 (b)(5)
                                                                                                                                                         JA-225




                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas
                                               and recommendations and hamper the agency’s ability to efficiently and effectively
                                               formulate its final positions on issues of public significance. The document also
                                               contains non-final agency decisions, options being considered, and recommendations.

                                               Document: Emails between ICE OPLA attorneys. The discussions in the email include
                                               an update to an attached document to reflect recent action by opposing counsel.
                                                                                                                                         Freedom of
                                              Redactions: The information withheld in the email under (b)(5) contains information        Information
       2018-ICAP-00118
                                              showing that a draft document was edited.                                                  Act 5 U.S.C.
                                 Partial
                                                                                                                                         § 552 (b)(5),
         Pages 290-291
                                                                                                                                            (b)(6),
                                                                                                                                                                  Case 20-3837, Document 41, 02/23/2021, 3042809, Page227 of 302




                                              Reason: FOIA Exemption (b)(5): The information being withheld contains pre-                  (b)(7)(c)
                                              decisional, draft, and deliberative information. The document is not a final
                                              draft. Disclosure of this information would chill the free and frank exchange of ideas and
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 22
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 23 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance regarding pending litigation.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                                                                                                                                              JA-226




                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page228 of 302




                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    23
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 24 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Document titled “Hot Lit Report.” The document provides case name,
                                                                                                                                                              JA-227




                                               assigned attorneys, action type, facts, and updates for certain pending ICE cases. The
                                               document is labeled as “Attorney Work Product/Attorney-Client Privileged” and
                                               DRAFT/PRE-DECISIONAL/DELIBERATIVE.” The document is also watermarked
                                               “DRAFT.”
                                                                                                                                       Freedom of
                                               Redactions: The information withheld in this document under (b)(5) contains             Information
       2018-ICAP-00118
                                  Partial      information protected by the attorney-client privilege. The materials reflect opinions, Act 5 U.S.C.
         Pages 293-297                         analysis, guidance and legal advice provided by attorneys in the ICE Office of the § 552 (b)(5),
                                               Principal Legal Advisor (OPLA), regarding pending litigations.                             (b)(6),
                                                                                                                                         (b)(7)(c)
                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page229 of 302




                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    24
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 25 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance regarding pending litigation.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                                                                                                                                              JA-228




                                               strategy involving pending litigation.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page230 of 302




                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    25
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 26 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Email between ICE OPLA attorneys. The discussion in the email involves
                                               Section 235(c) of the Immigration and Nationality Act (INA) and a case where it is
                                               implicated; also whether the attached document reflects current policy or law on Section
                                                                                                                                                           JA-229




                                               235(c). The attached document titled “Removal of National Security Threat Aliens” is
                                               on Bates Pages 299-306. This attached document includes a background on Section
                                               235(c), ICE’s interpretation and implementation of the section, a case study, and OPLA’s
                                               recommendations the use of the section. The document is labeled as “Privileged          Freedom of
                                               Document: Attorney-Client, Attorney Work Product” and is watermarked “DRAFT.”           Information
       2018-ICAP-00118
                                                                                                                                       Act 5 U.S.C.
                                  Partial      Redactions: The information withheld in this document under (b)(5) contains § 552 (b)(5),
         Pages 298-306                         information protected by the attorney-client privilege. The materials reflect opinions,    (b)(6),
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the        (b)(7)(c)
                                               Principal Legal Advisor (OPLA), regarding pending litigations.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page231 of 302




                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 26
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 27 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                                                                                                                                              JA-230




                                               strategy involving pending litigation.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page232 of 302




                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    27
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 28 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Draft document titled “Inadmissibility Based on Endorsing or Espousing
                                               Terrorist Activity: First Amendment Concerns.” The document discusses First
                                               Amendment concerns that may arise in applying the security-related ground of
                                                                                                                                                           JA-231




                                               inadmissibility under Section 212(a)(3)(B)(i)(VII) of the INA. The document is labeled
                                               “FOR OFFICIAL USE ONLY/PRE-DECISIONAL” and “Attorney Work
                                               Product/Attorney-Client Privileged.” The document is also watermarked “DRAFT.”
                                                                                                                                          Freedom of
                                               Redactions: The information withheld in this document under (b)(5) contains Information
       2018-ICAP-00118                         information protected by the attorney-client privilege. The materials reflect opinions, Act 5 U.S.C.
                                   Full        analysis, guidance and legal advice provided by attorneys in the ICE Office of the § 552 (b)(5),
         Pages 307-319                         Principal Legal Advisor (OPLA), regarding a particular section of the INA.                   (b)(6),
                                                                                                                                           (b)(7)(c)
                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page233 of 302




                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 28
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 29 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied


                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.
                                                                                                                                                              JA-232




                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page234 of 302




                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    29
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 30 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Draft legislation regarding border security, immigration and law
                                               enforcement personnel, emergency port of entry and infrastructure spending, etc. The
                                               document is labeled as a “Draft Copy” in the header of each page.

                                               Redactions: The information withheld throughout the document under (b)(5) contains
                                                                                                                                                           JA-233




                                               proposed legislative language that was under review and being changed as ICE offices
                                               and ICE employees provided edits, comments, and recommendations on the proposed              Freedom of
       2018-ICAP-00118                         draft.                                                                                       Information
                                   Full
                                                                                                                                            Act 5 U.S.C.
         Pages 322-463
                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-                  § 552 (b)(5)
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas
                                               and recommendations and hamper the agency’s ability to efficiently and effectively
                                               formulate its final positions on issues of public significance. The document also
                                               contains non-final agency decisions, options being considered, and recommendations.

                                               Document: Memorandum, dated August 9, 2016, addressing a series of interrelated Freedom of
       2018-ICAP-00118
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page235 of 302




                                               questions related to a particular lawful permanent resident (LPR). The document is Information
                                  Partial
                                               labeled “PRIVILEGED AND CONFIDENTIAL // Attorney-Client Communication.” Act 5 U.S.C.
         Pages 465-490
                                               The document is also watermarked “DRAFT.”                                          § 552 (b)(5),

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 30
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 31 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                                                                                                                                 (b)(6),
                                               Redactions: The information withheld in this document under (b)(5) contains                      (b)(7)(c)
                                               information protected by the attorney-client privilege. The materials reflect opinions,
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the
                                               Principal Legal Advisor (OPLA), regarding a pending case.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a pending case. Attorney-client
                                               communications are shielded from disclosure in order to encourage a full and frank
                                                                                                                                                              JA-234




                                               discussion between the client and its legal advisor. If these communications, as covered
                                               by the attorney-client privilege, were disclosed, this could adversely impact the free flow
                                               of advice and information and could chill interactions and communications between
                                               agency employees and their legal counsel.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page236 of 302




                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    31
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 32 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.
                                                                                                                                                           JA-235




                                               Document: Duplicate copy of draft document titled “Inadmissibility Based on Endorsing
                                               or Espousing Terrorist Activity: First Amendment Concerns” starting on Bates page 307.
                                               The document discusses First Amendment concerns that may arise in applying the
                                               security-related ground of inadmissibility under Section 212(a)(3)(B)(i)(VII) of the INA.
                                               The document is labeled “FOR OFFICIAL USE ONLY/PRE-DECISIONAL” and Freedom of
       2018-ICAP-00118                         “Attorney Work Product/Attorney-Client Privileged.”            The document is also Information
                                               watermarked “DRAFT.”                                                                      Act 5 U.S.C.
                                  Partial
                                                                                                                                         § 552 (b)(5),
         Pages 515-523
                                               Redactions: The information withheld in this document under (b)(5) contains                  (b)(6),
                                               information protected by the attorney-client privilege. The materials reflect opinions,     (b)(7)(c)
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the
                                               Principal Legal Advisor (OPLA), regarding a particular section of the INA.
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page237 of 302




Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 32
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 33 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                                                                                                                                              JA-236




                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page238 of 302




                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    33
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 34 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.
                                                                                                                                                           JA-237




                                               Document: Draft document titled “Inadmissibility Based on Money Laundering that
                                               Occurs Entirely Outside of the United States.” The document discusses Section
                                               212(a)(2)(I) of the INA and its applicability to certain individuals. The document is
                                               labeled “SENSITIVE BUT UNCLASSIFIED / DELIBERATIVE & PRE-DECISIONAL
                                               / ATTORNEY WORK PRODUCT.”
                                                                                                                                       Freedom of
       2018-ICAP-00118                         Redactions: The information withheld in this document under (b)(5) contains Information
                                  Partial      information protected by the attorney-client privilege. The materials reflect opinions, Act 5 U.S.C.
    Pages 566-580,884-898                      analysis, guidance and legal advice provided by attorneys in the ICE Office of the § 552 (b)(5)
                                               Principal Legal Advisor (OPLA), regarding a particular section of the INA.
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page239 of 302




                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 34
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 35 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                                                                                                                                              JA-238




                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.

                                               Document: Draft documents titled “Questionnaire for Evaluating Whether an
                                               Organization Is a Totalitarian Party” and “Update on Lawyers Group Analysis of
                                               Immigration Ineligibility Categories.” The documents discuss Section 212(a)(3)(D) of
                                               the INA, and other grounds for finding aliens ineligible to receive visas or to be admitted
                                               into the United States under the INA. Both documents contain comments and/or edits.     Freedom of
       2018-ICAP-00118
                                                                                                                                       Information
                                  Partial
    Pages 581-583,874-875                      Redactions: The information withheld in this document under (b)(5) contains Act 5 U.S.C.
                                               information protected by the attorney-client privilege. The materials reflect opinions, § 552 (b)(5)
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page240 of 302




                                               Principal Legal Advisor (OPLA), regarding a particular section of the INA.


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    35
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 36 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                                                                                                                                              JA-239




                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.

                                               Document: Draft document titled “Application of INA § 212(a)(2)(A)(i)(I) to Foreign
                                               Convictions.” The document discusses Section 212(a)(2)(A)(i)(I) of the INA, which
                                               addresses crimes involving moral turpitude. The document contains comments and/or
                                               edits.                                                                                  Freedom of
       2018-ICAP-00118
                                                                                                                                       Information
                                   Full
                                                                                                                                       Act 5 U.S.C.
         Pages 584-591                         Redactions: The information withheld in this document under (b)(5) contains
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page241 of 302




                                                                                                                                       § 552 (b)(5)
                                               information protected by the attorney-client privilege. The materials reflect opinions,
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the
                                               Principal Legal Advisor (OPLA), regarding a particular section of the INA.
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    36
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 37 of 46
                               Withholding                                                                                                    Exemption(s)
          Page Numbers                                      Description of Records and Redactions, and Reasons for Redactions
                               Full/Partial                                                                                                     Applied


                                              Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                              decisional, draft, and deliberative information. The document is not a final
                                              draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                              recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                              its final positions on issues of public significance. The document also contains non-final
                                              agency decisions, options being considered, and recommendations.

                                              The attorney-client privilege protects confidential communications between attorneys and
                                              their clients relating to a legal matter for which the client has sought professional advice.
                                              The attorney-client privilege is not limited to protecting documents created in anticipation
                                              of litigation. The attorney-client privilege applies in this instance because the redacted
                                              portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                              by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                              Attorney-client communications are shielded from disclosure in order to encourage a full
                                              and frank discussion between the client and its legal advisor. If these communications,
                                              as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                              the free flow of advice and information and could chill interactions and communications
                                              between agency employees and their legal counsel.
                                                                                                                                                             JA-240




                                              The redacted portions are also protected by the work product doctrine. The work product
                                              doctrine protects documents and other memoranda prepared by an attorney in
                                              contemplation of litigation. The redacted portions contain material prepared by agency
                                              attorneys specifically internal attorney notes regarding pending litigation in immigration
                                              and federal court. Disclosure of this information would release specific legal notes and
                                              strategy involving pending litigation.

                                              Document: Internal email between DHS and ICE OPLA attorneys providing
                                              comments/edits regarding a memorandum circulated for review. The memo addresses Freedom of
                                              the impact of the President’s Executive Order on a particular lawful permanent resident Information
       2018-ICAP-00118                        (LPR).                                                                                    Act 5 U.S.C.
                                 Partial
                                                                                                                                        § 552 (b)(5),
                                                                                                                                                                      Case 20-3837, Document 41, 02/23/2021, 3042809, Page242 of 302




         Pages 645-648
                                              Redactions: The information withheld in this document under (b)(5) contains                  (b)(6),
                                              information protected by the attorney-client privilege. The withheld information contains   (b)(7)(c)
                                              specific comments regarding the content of the memo. The materials reflect opinions,
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                   37
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 38 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the
                                               Principal Legal Advisor (OPLA), regarding a pending case.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to a pending case. Attorney-client
                                               communications are shielded from disclosure in order to encourage a full and frank
                                               discussion between the client and its legal advisor. If these communications, as covered
                                               by the attorney-client privilege, were disclosed, this could adversely impact the free flow
                                               of advice and information and could chill interactions and communications between
                                                                                                                                                              JA-241




                                               agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page243 of 302




                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    38
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 39 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                                                                                                                                           JA-242




                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: Internal email between DHS and ICE OPLA attorneys providing
                                               comments/edits regarding a memorandum circulated for review. The memo addresses
                                               the impact of the President’s Executive Order on a particular lawful permanent resident Freedom of
                                               (LPR).                                                                                  Information
       2018-ICAP-00118
                                                                                                                                       Act 5 U.S.C.
                                  Partial      Redactions: The information withheld in this document under (b)(5) contains § 552 (b)(5),
         Pages 652-682                         information protected by the attorney-client privilege. The materials reflect opinions,    (b)(6),
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the        (b)(7)(c)
                                               Principal Legal Advisor (OPLA), regarding a pending case.
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page244 of 302




Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 39
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 40 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to a pending case. Attorney-client
                                               communications are shielded from disclosure in order to encourage a full and frank
                                               discussion between the client and its legal advisor. If these communications, as covered
                                               by the attorney-client privilege, were disclosed, this could adversely impact the free flow
                                               of advice and information and could chill interactions and communications between
                                               agency employees and their legal counsel.

                                               The redacted portions are also protected by the work product doctrine. The work product
                                                                                                                                                              JA-243




                                               doctrine protects documents and other memoranda prepared by an attorney in
                                               contemplation of litigation. The redacted portions contain material prepared by agency
                                               attorneys specifically internal attorney notes regarding pending litigation in immigration
                                               and federal court. Disclosure of this information would release specific legal notes and
                                               strategy involving pending litigation.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page245 of 302




                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    40
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 41 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.
                                                                                                                                                           JA-244




                                               Document: Internal email between DHS and ICE OPLA employees providing
                                               comments/edits to a draft white paper circulated for review. Different iterations of the
                                               same draft white paper start on Bates pages 698, 712, and 736. The white paper discusses
                                               the inadmissibility ground for endorsing or espousing terrorist activity under Section
                                               212(a)(3)(B)(i)(VII) of the INA. These white papers are similar, if not identical, to the
                                                                                                                                       Freedom of
       2018-ICAP-00118                         previous version starting on Bates page 307.                                            Information
                                                                                                                                       Act 5 U.S.C.
      Pages 690,691,696,          Partial      Redactions: The information withheld in this document under (b)(5) contains § 552 (b)(5),
       698-706,711-730,                        information protected by the attorney-client privilege. The materials reflect opinions,    (b)(6),
       736-754,758-761                         analysis, guidance and legal advice provided by attorneys in the ICE Office of the        (b)(7)(c)
                                               Principal Legal Advisor (OPLA), regarding a section of the INA.
                                                                                                                                                                    Case 20-3837, Document 41, 02/23/2021, 3042809, Page246 of 302




                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                 41
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 42 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to the INA. Attorney-client communications are
                                               shielded from disclosure in order to encourage a full and frank discussion between the
                                               client and its legal advisor. If these communications, as covered by the attorney-client
                                               privilege, were disclosed, this could adversely impact the free flow of advice and
                                               information and could chill interactions and communications between agency employees
                                               and their legal counsel.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                                                                                                                                              JA-245




                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).

                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page247 of 302




                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."


Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    42
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 43 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1) conceivably
                                               subjecting ICE personnel to harassment and annoyance in conducting their official duties
                                               and in their private lives; (2) potentially placing them in danger as targets of law
                                               enforcement investigations may begrudge personnel for an indefinite time period and seek
                                               revenge; and (3) possibly minimizing their ability to effectively conduct future
                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.

                                               Document: This memorandum addresses a series of interrelated questions related to a
                                               particular lawful permanent resident (LPR) on Bates pages 767 and 797, and are similar
                                               or identical to memo starting on Bates page 465. The document is labeled “PRIVILEGED
                                               AND CONFIDENTIAL // Attorney-Client Communication.” The document is also
                                               watermarked “DRAFT.” There are also internal emails between DHS and ICE OPLA
                                               employees providing comments/edits to this memo, which was circulated for review.

                                               Redactions: The information withheld in this document under (b)(5) contains
                                                                                                                                                              JA-246




                                               information protected by the attorney-client privilege. The materials reflect opinions,
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the         Freedom of
       2018-ICAP-00118                         Principal Legal Advisor (OPLA), regarding a pending case.                                  Information
                                                                                                                                          Act 5 U.S.C.
                                  Partial
      Pages 765-793,796-                                                                                                                  § 552 (b)(5),
         824,828-858                           Reason: FOIA Exemption (b)(5): The information being withheld contains pre-                   (b)(6),
                                               decisional, draft, and deliberative information. The document is not a final                 (b)(7)(c)
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page248 of 302




                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    43
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 44 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a pending case. Attorney-client
                                               communications are shielded from disclosure in order to encourage a full and frank
                                               discussion between the client and its legal advisor. If these communications, as covered
                                               by the attorney-client privilege, were disclosed, this could adversely impact the free flow
                                               of advice and information and could chill interactions and communications between
                                               agency employees and their legal counsel.

                                               Redaction(s): ICE applied FOIA Exemptions (b)(6) and (b)(7)(C) to protect from
                                               disclosure the name, contact information, telephone numbers, signatures, or initials of
                                               DHS employees to prevent an unwarranted invasion of privacy. The privacy interests of
                                               the individual(s) in the records requested outweigh any minimal public interest in the
                                               disclosure of the information.

                                               These pages contain personally identifiable information (PII) of ICE employees. Such
                                               PII includes names, initials, signatures, contact information, phone numbers, postal
                                               addresses, email addresses, sign in identifiers and/or other identifying information. This
                                               information was withheld throughout the document set under FOIA exemptions (b)(6)
                                               and (b)(7)(C).
                                                                                                                                                              JA-247




                                               Reason: FOIA Exemption 6 protects information about individuals in "personnel and
                                               medical files and similar files" when the disclosure of such information "would constitute
                                               a clearly unwarranted invasion of personal privacy." Exemption 7(C) protects personal
                                               information that was compiled for law enforcement purposes, when disclosure "could
                                               reasonably be expected to constitute an unwarranted invasion of personal privacy."

                                               Under FOIA exemptions (b)(6) and (b)(7)(C), the disclosure of the PII of ICE personnel
                                               in these records, which were compiled for law enforcement purposes, could reasonably
                                               be expected to constitute an unwarranted invasion of personal privacy by: (1)
                                               conceivably subjecting ICE personnel to harassment and annoyance in conducting their
                                               official duties and in their private lives; (2) potentially placing them in danger as targets
                                               of law enforcement investigations may begrudge personnel for an indefinite time period
                                               and seek revenge; and (3) possibly minimizing their ability to effectively conduct future
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page249 of 302




                                               investigations. The disclosure of this PII serves no public benefit and would not assist
                                               the public in understanding how the agency is carrying out its statutory responsibilities.

Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    44
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 45 of 46
                                Withholding                                                                                                 Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                  Applied
                                               As a result, the privacy interest in this PII outweighs any minimal public interest that
                                               could possibly exist in the disclosure of this information.


                                               Document: Draft memorandum discussing whether Taliban is a terrorist organization
                                               under the INA. The document is labeled “ATTORNEY-CLIENT PRIVILEGED
                                               MATERIAL.”

                                               Redactions: The information withheld in this document under (b)(5) contains
                                               information protected by the attorney-client privilege. The materials reflect opinions,
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the
                                               Principal Legal Advisor (OPLA), regarding a particular section of the INA.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate Freedom of
       2018-ICAP-00118
                                               its final positions on issues of public significance. The document also contains non-final Information
                                  Partial
                                               agency decisions, options being considered, and recommendations.                              Act 5 U.S.C.
         Pages 859-869
                                                                                                                                             § 552 (b)(5)
                                                                                                                                                            JA-248




                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.
                                                                                                                                                                     Case 20-3837, Document 41, 02/23/2021, 3042809, Page250 of 302




       2018-ICAP-00118                         Document: Memorandum titled “ICE ability to use 212(a)(3)(C) Foreign Policy Charge.”
                                                                                                                                            Freedom of
                                  Partial
                                                                                                                                            Information
        Pages 870-873
Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                   45
                                 Case 1:17-cv-07572-ALC Document 98-1 Filed 03/15/19 Page 46 of 46
                                Withholding                                                                                                    Exemption(s)
          Page Numbers                                       Description of Records and Redactions, and Reasons for Redactions
                                Full/Partial                                                                                                     Applied
                                               Redactions: The information withheld in this document under (b)(5) contains Act 5 U.S.C.
                                               information protected by the attorney-client privilege. The materials reflect opinions, § 552 (b)(5)
                                               analysis, guidance and legal advice provided by attorneys in the ICE Office of the
                                               Principal Legal Advisor (OPLA), regarding a particular section of the INA.

                                               Reason: FOIA Exemption (b)(5): The information being withheld contains pre-
                                               decisional, draft, and deliberative information. The document is not a final
                                               draft. Disclosure of this information would chill the free and frank exchange of ideas and
                                               recommendations and hamper the agency’s ability to efficiently and effectively formulate
                                               its final positions on issues of public significance. The document also contains non-final
                                               agency decisions, options being considered, and recommendations.

                                               The attorney-client privilege protects confidential communications between attorneys and
                                               their clients relating to a legal matter for which the client has sought professional advice.
                                               The attorney-client privilege is not limited to protecting documents created in anticipation
                                               of litigation. The attorney-client privilege applies in this instance because the redacted
                                               portions constitute and/or reflect opinions, analysis, guidance and legal advice provided
                                               by attorneys (OPLA attorneys) relating to guidance on a particular section of the INA.
                                               Attorney-client communications are shielded from disclosure in order to encourage a full
                                               and frank discussion between the client and its legal advisor. If these communications,
                                                                                                                                                              JA-249




                                               as covered by the attorney-client privilege, were disclosed, this could adversely impact
                                               the free flow of advice and information and could chill interactions and communications
                                               between agency employees and their legal counsel.
                                                                                                                                                                       Case 20-3837, Document 41, 02/23/2021, 3042809, Page251 of 302




Knight First Amendment Institute v. DHS, et. al. - Vaughn Index-
                                                                                                                                    46
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page252 of 302
                                             JA-250

             Case 1:17-cv-07572-ALC Document 109 Filed 04/16/19 Page 1 of 6



                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA UNIVERSITY,
                                                               No. 1:17-cv-07572-ALC
                        Plaintiff,

        V.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY, U.S. CUSTOMS AND
 BORDER PROTECTION, U.S.
 IMMIGRATION AND CUSTOMS
 ENFORCEMENT, U.S. CITIZENSHIP AND
 IMMIGRATION SERVICES, U.S.
 DEPARTMENT OF JUSTICE, and U.S.
 DEPARTMENT OF STATE,

                        Defendants.


         DECLARATION OF CARRIE DECELL IN SUPPORT OF PLAINTIFF'S
                CROSS-MOTION FOR SUMMARY JUDGMENT

       Pursuant to 28 U.S.C. § 1746, I, Carrie DeCell, declare and state as follows:

        1.       I am a staff attorney at the Knight First Amendment Institute at Columbia

University ("Knight Institute" or "Institute"). I have served in this role since July 31, 2017.

       2.        Along with my colleagues, I submitted identical Freedom of Information Act

("FOIA") requests (the "Request") to the Department of Homeland Security ("DHS"), Customs

and Border Protection ("CBP"), Immigration and Customs Enforcement ("ICE"), U.S. Citizenship

and Immigration Services ("USCIS"), Department of Justice ("DOJ"), and Department of State

("DOS") (collectively, "Defendants") on August 7, 2017. The Request sought, among other things,

agency records concerning the exclusion or removal of individuals from the United States based

on their speech, beliefs, or associations, and records concerning any new policies for "vetting"
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page253 of 302
                                          JA-251

        Case 1:17-cv-07572-ALC Document 109 Filed 04/16/19 Page 2 of 6



individuals on these grounds.

       3.      The Knight Institute requested expedited processing of the Request on the ground

that the records sought were urgently needed to inform the public about government activity,

particularly with respect to the "extreme vetting" program President Trump has ordered federal

agencies to develop.

       4.      Seeking the immediate release of all agency records responsive to the Request, as

required by FOIA, 5 U.S.C. § 552, the Knight Institute filed a complaint in this Court on October

4, 2017. The Institute filed an amended complaint on March 14, 2018.

       5.      I represent the Knight Institute in this action and have served as the primary contact

for Defendants' counsel since the beginning of the litigation.

       6.      The purpose of this declaration is to provide the Court with information regarding

ICE's and USCIS's responses to the Request.

                 Communications Relating to ICE's Response to the Request

       7.      On September 29, 2017, ICE sent the Knight Institute a "final response" to the

Request "for 1. All directives, memoranda, guidance, emails, or other communications sent by the

White House to any federal agency since January 19, 2017, regarding consideration of individuals'

speech, beliefs, or associations in connection with immigration determinations, including

decisions to excludel [sic] or remove individuals from the United States (please see request for

more details)." See First Am. Comp!. Ex. C, at 3, ECF No. 42-3. Along with the letter, dated

September 28, 2017, ICE released 1,666 pages of records responsive to the Request but withheld

1,653 of those pages in full, invoking FOIA exemptions. True and correct copies of the September

28, 2017 letter and the first sixteen pages of the accompanying production are attached hereto in

Exhibit A.




                                                 2
      Case 20-3837, Document 41, 02/23/2021, 3042809, Page254 of 302
                                            JA-252

            Case 1:17-cv-07572-ALC Document 109 Filed 04/16/19 Page 3 of 6



       8.       I submitted an administrative appeal requesting review ofICE's response to Item 1

ofthe Request, on the view that ICE had responded only as to that Item. Based on ICE' s subsequent

characterization of its September 29, 2017 response as a final response to the entire Request, I

amended the Knight Institute's administrative appeal by letter dated January 5, 2018, to request

review ofICE's response to the entire Request.

       9.       On February 6, 2018, I received ICE's response to the Knight lnstitute's amended

administrative appeal, in which ICE denied our challenge to the withholdings in its September 29,

2017 response but agreed to conduct a new or modified search, remanding the Request to ICE's

FOIA Office for further processing and retasking.

        10.     Also on February 6, 2018, Defendants' counsel informed me that ICE had already

remanded the appeal to the FOIA Office, completed its new search, and located approximately

14,000 pages of potentially responsive records. Defendants' counsel further informed me that ICE

had begun to process the records and scheduled an initial production for March 7, 2018, and that

ICE proposed to process the records at a rate of 500 pages per month and make productions on the

seventh day of each month thereafter.

       11.      On February 13, 2018, I received an email from ICE confirming that it had located

approximately 14,000 pages of potentially responsive documents, and that it would commit to

processing at least 500 pages per month. ICE indicated that the first production would be made on

March 7, 2018, with subsequent productions on the seventh day of each month thereafter.

       12.      By letter dated March 7, 2018, ICE informed me that it had processed 560 pages of

records and referred eighty-seven of those pages to other agencies. Along with the letter, ICE

released 463 pages, redacting certain pages and withholding others in their entirety on the basis of

FOIA Exemptions 5, 6, 7(C), and 7(E).




                                                 3
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page255 of 302
                                          JA-253

        Case 1:17-cv-07572-ALC Document 109 Filed 04/16/19 Page 4 of 6



       13.     On April 11, 2018, my co-counsel, Megan Graham, and I spoke with Defendants'

counsel to discuss the possibility of modifying the scope of the Request in order to expedite ICE's

processing. Defendants' counsel explained that ICE had conducted its new search based on the

original Request, not the Request as provisionally narrowed by the parties on a January 25, 2018

call. I responded that the Knight Institute would provisionally agree to accept ICE's response to

the modified Request, or to narrow the scope of the potentially responsive records it had already

located on an Item-by-Item basis.

       14.     By letter dated April 30, 2018, ICE informed me that it had processed an additional

1,124 pages for release and referred 728 of those pages to other agencies. Along with the letter,

ICE released 395 pages, redacting certain of those pages and withholding others in their entirety

on the basis of FOIA Exemptions 5, 6, 7(C) and 7(E).

       15.     In May 2018, Defendants' counsel and I reached an agreement allowing ICE to

conduct a "re-review" of the records it had identified post-remand as responsive to the initial

Request to determine which of those records were responsive to the provisionally narrowed

Request. ICE would then process only those records responsive to the provisionally narrowed

Request.

       16.     By letter dated June 29, 2018, ICE informed me that following its re-review, it had

identified only ninety-nine pages of records responsive to the provisionally narrowed Request. ICE

referred forty-nine pages to other agencies for processing and released fifty pages to the Knight

Institute, redacting certain of those pages on the basis ofFOIA Exemptions 5, 6, 7(C) and 7(E).

       17.     Attached hereto as Exhibit Bare true and correct copies of the following records

contained in ICE's March 7, 2018, April 30, 2018, and June 29, 2018 releases: "Removal of

National Security Threat Aliens" and accompanying emails (2018-ICAP-00118, at 298-306);




                                                4
        Case 20-3837, Document 41, 02/23/2021, 3042809, Page256 of 302
                                            JA-254

          Case 1:17-cv-07572-ALC Document 109 Filed 04/16/19 Page 5 of 6



"Inadmissibility Based on Endorsing or Espousing Terrorist Activity: First Amendment Concerns"

and accompanying emails (2018-ICAP-00118, at 693-706); "Memo Discussing Whether the

Taliban Is a Terrorist Organization Under the INA" (2018-rCAP-00118, at 859-69); and "ICE

Ability to Use 212(a)(3)(C) Foreign Policy Charge" (2018-ICAP-00118, at 870-73).

        18.    By email dated March 15, 2019, Defendants' counsel informed me that, in

connection with the preparation of its Vaughn index, ICE had decided to withdraw its application

of Exemption 5 to several pages of previously released records. By email dated March 22, 2019,

Defendants' counsel sent me a supplemental release from ICE containing less-redacted versions

of those records.

                Communications Relating to USCIS's Response to the Request

        19.    By letter dated May 30, 2018, users informed me that it had completed its search,

that it was reviewing and processing records responsive to the Request, and that it would produce

responsive records on a rolling basis. Along with the letter, users released 551 pages of

responsive records, redacting certain of those pages in part on the basis of Exemptions 5, 6, and

7(E).

        20.    By letter dated June 29, 2018, users informed me that it had processed 727 pages

and one Excel spreadsheet responsive to the Request, and that it was producing a subset of those

records in the second and final part of its rolling production. Along with the letter, USeIS released

578 pages and one Excel spreadsheet in their entirety, redacting 149 pages in part on the basis of

Exemption 7(E).

        21.    Attached hereto as Exhibit e are true and correct copies of the following records

contained in USeIS's May 30, 2018 and June 29, 2018 releases: "Briefing Memo for the Acting

Director: Recommendations to Eliminate the users Terrorism-Related Inadmissibility Grounds




                                                 5
     Case 20-3837, Document 41, 02/23/2021, 3042809, Page257 of 302
                                         JA-255

        Case 1:17-cv-07572-ALC Document 109 Filed 04/16/19 Page 6 of 6



(TRIG)"; "Senior Policy Council-Briefing Paper: TRIG Exemptions & INA § 318"; "Options

Paper: Exercise of Authority Relating to the Terrorism-Related Inadmissibility Grounds";

Terrorism Related Inadmissibility Grounds (TRIG) Instructor Guide, version dated May 2017;

Terrorism-Related Inadmissibility Grounds Exemptions - Group-Based Exemptions I Situational

Exemptions; and USCIS Refugee, Asylum and International Operations Directorate (RAIO)

Officer Training - Combined Training Course on National Security, version dated Oct. 26, 2015.

       22.      By letter dated July 27, 2018, USCIS informed me that it had received a referral

from ICE on July 26, 2018, from which it had identified fifteen pages of records responsive to the

Request. USCIS withheld all fifteen pages in full on the basis of Exemptions 7(C) and 7(E). True

and correct copies of the July 27, 2018 letter and the accompanying production are attached hereto

in Exhibit A.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.



Executed: April 16, 2019
                                                    Carrie DeCell
                                                    Knight First Amendment Institute
                                                       at Columbia University
                                                    475 Riverside Drive, Suite 302
                                                    New York, NY 10115
                                                    carrie.decell@knightcolumbia.org
                                                    (646) 745-8500




                                                6
Case 20-3837, Document 41, 02/23/2021, 3042809, Page258 of 302
                           JA-256

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 1 of 37




                 EXHIBIT A
      Case 20-3837, Document 41, 02/23/2021, 3042809, Page259 of 302
                                                  JA-257

      Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 2 of 37



                                         TABLE OF CONTENTS

1.   Letter from Catrina M. Pavlik-Keenan, FOIA Officer, ICE, to Caroline DeCell, Knight
      First Amendment Institute (Sept. 28, 2017) ................................................................. 1–3

2.   ICE Sept. 29, 2017 Production (2017-ICFO-43023), at 1–16 ..................................... 4–19

3.   Letter from Jill A. Eggleston, Director, FOIA Operations, USCIS, to Caroline M. DeCell,
      Knight First Amendment Institute (July 27, 2018) ......................................................... 20

4.   USCIS July 27, 2018 Production ............................................................................. 21–35
      Case 20-3837, Document 41, 02/23/2021, 3042809, Page260 of 302
                                           JA-258

       Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 3 of 37
                                                                   Freedom of Information Act Office

                                                                   U.S. Department of Homeland Security
                                                                   500 12th St SW, Stop 5009
                                                                   Washington, DC 20536


                                                                   U.S. Immigration
                                                                   and Customs
                                                                   Enforcement
                                      September 28, 2017

Caroline DeCell
Knight First Amendment Institute
314 Low Library
535 West 116th Street
New York, NY 10027

RE:    ICE FOIA Case Number 2017-ICFO-43023

Dear Ms. DeCell:

This letter is the final response to your Freedom of Information Act (FOIA) request to U.S.
Immigration and Customs Enforcement (ICE), dated August 07, 2017, for 1. All directives,
memoranda, guidance, emails, or other communications sent by the White House to any federal
agency since January 19, 2017, regarding consideration of individuals’ speech, beliefs, or
associations in connection with immigration determinations, including decisions to exclude1 or
remove individuals from the United States (please see request for more details).

ICE has considered your request under both the FOIA, 5 U.S.C. § 552.

A search of the ICE Office of Policy and Office of The Principal Legal Advisor for records
responsive to your request produced 1666 pages that are responsive to your request. After
review of those documents, ICE has determined that 13 pages will be released in their entirety.
Portions of 1653 pages will be withheld pursuant to Exemptions of the FOIA as described below.

ICE has applied Exemption 5 to protect from disclosure intra-agency documents that contain the
recommendations, opinions, and conclusions of agency employees. The disclosure of these
communications would discourage the expression of candid opinions and inhibit the free and
frank exchange of information and opinions among agency personnel on important agency
decision-making by having a chilling effect on the agency’s deliberative process.

FOIA Exemption 5 protects from disclosure those inter- or intra-agency documents that are
normally privileged in the civil discovery context. The three most frequently invoked privileges
are the deliberative process privilege, the attorney work-product privilege, and the attorney-client
privilege. After carefully reviewing the responsive documents, I have determined that portions
of the responsive documents qualify for protection under the deliberative process privilege, the
attorney-client privilege, and the attorney work-product privilege. The deliberative process
privilege protects the integrity of the deliberative or decision-making processes within the
agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
included within inter-agency or intra-agency memoranda or letters. The release of this internal



                                                 1
      Case 20-3837, Document 41, 02/23/2021, 3042809, Page261 of 302
                                            JA-259

       Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 4 of 37
ICE FOIA Number 2017-ICFO-43023                                                          Page 2 of 3


information would discourage the expression of candid opinions and inhibit the free and frank
exchange of information among agency personnel. The attorney work-product privilege protects
documents and other memoranda prepared by an attorney in contemplation of litigation. The
attorney-client privilege protects confidential communications between an attorney and his client
relating to a legal matter for which the client has sought professional advice. It applies to facts
divulged by a client to his attorney, and encompasses any opinions given by an attorney to his
client based upon, and thus reflecting, those facts, as well as communications between attorneys
that reflect client-supplied information. The attorney-client privilege is not limited to the context
of litigation.

ICE has applied FOIA Exemptions 6 and 7(C) to protect from disclosure the names, e-mail
addresses, and phone numbers of DHS employees contained within the documents.

FOIA Exemption 6 exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right to privacy. The privacy
interests of the individuals in the records you have requested outweigh any minimal public
interest in disclosure of the information. Any private interest you may have in that information
does not factor into the aforementioned balancing test.

FOIA Exemption 7(C) protects records or information compiled for law enforcement purposes
that could reasonably be expected to constitute an unwarranted invasion of personal privacy.
This exemption takes particular note of the strong interests of individuals, whether they are
suspects, witnesses, or investigators, in not being unwarrantably associated with alleged criminal
activity. That interest extends to persons who are not only the subjects of the investigation, but
those who may have their privacy invaded by having their identities and information about them
revealed in connection with an investigation. Based upon the traditional recognition of strong
privacy interest in law enforcement records, categorical withholding of information that
identifies third parties in law enforcement records is ordinarily appropriate. As such, I have
determined that the privacy interest in the identities of individuals in the records you have
requested clearly outweigh any minimal public interest in disclosure of the information. Please
note that any private interest you may have in that information does not factor into this
determination.

ICE has applied FOIA Exemption 7(E) to protect from disclosure internal agency case numbers
contained within the document.

FOIA Exemption 7(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law. I have
determined that disclosure of certain law enforcement sensitive information contained within the
responsive records could reasonably be expected to risk circumvention of the law. Additionally,
the techniques and procedures at issue are not well known to the public.




                                                 2
         Case 20-3837, Document 41, 02/23/2021, 3042809, Page262 of 302
                                           JA-260

          Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 5 of 37
ICE FOIA Number 2017-ICFO-43023                                                        Page 3 of 3


If you are not satisfied with the response to this request, you have the right to appeal following
the procedures outlined in the DHS regulations at 6 C.F.R. § 5.9. Should you wish to do so, you
must send your appeal and a copy of this letter, within 90 days of the date of this letter, to:

                          U.S. Immigration and Customs Enforcement
                          Office of the Principal Legal Advisor
                          U.S. Department of Homeland Security
                          500 12th Street,, S.W., Mail Stop 5900
                          Washington, D.C. 20536-5900

Your envelope and letter should be marked “FOIA Appeal.” Copies of the FOIA and DHS
regulations are available at www.dhs.gov/foia.

Provisions of the FOIA and Privacy Act allow us to recover part of the cost of complying with
your request. In this instance, because the cost is below the $14 minimum, there is no charge.1

If you need any further assistance or would like to discuss any aspect of your request, please
contact the FOIA office refer to FOIA case number 2017-ICFO-43023. You may send an e-mail
to ice-foia@ice.dhs.gov, call toll free (866) 633-1182, or you may contact our FOIA Public
Liaison, Fernando Pineiro, in the same manner. Additionally, you have a right to right to seek
dispute resolution services from the Office of Government Information Services (OGIS) which
mediates disputes between FOIA requesters and Federal agencies as a non-exclusive alternative
to litigation. If you are requesting access to your own records (which is considered a Privacy Act
request), you should know that OGIS does not have the authority to handle requests made under
the Privacy Act of 1974. You may contact OGIS as follows: Office of Government Information
Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College
Park, Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-
877-684-6448; or facsimile at 202-741-5769.

                                              Sincerely,



                                              Catrina M. Pavlik-Keenan
                                              FOIA Officer


Enclosure(s): 1666 page(s)




1   6 CFR § 5.11(d)(4).



                                                 3
Case 20-3837, Document 41, 02/23/2021, 3042809, Page263 of 302
                                 JA-261

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 6 of 37




                                       Page 0001 of 1666

                               Withheld pursuant to exemption

                                           (b)(5) (b)(7)(E)

                     of the Freedom or information and Privacy Act




                                          4
Case 20-3837, Document 41, 02/23/2021, 3042809, Page264 of 302
                                 JA-262

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 7 of 37




                                       Page 0002 of 1666

                               Withheld pursuant to exemption

                                           (b)(5) (b)(7)(E)

                     of the Freedom or information and Privacy Act




                                          5
Case 20-3837, Document 41, 02/23/2021, 3042809, Page265 of 302
                                 JA-263

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 8 of 37




                                       Page 0003 of 1666

                               Withheld pursuant to exemption

                                           (b)(5) (b)(7)(E)

                     of the Freedom or information and Privacy Act




                                          6
Case 20-3837, Document 41, 02/23/2021, 3042809, Page266 of 302
                                 JA-264

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 9 of 37




                                       Page 0004 of 1666

                               Withheld pursuant to exemption

                                               (b)(7)(E)

                     of the Freedom or information and Privacy Act




                                          7
Case 20-3837, Document 41, 02/23/2021, 3042809, Page267 of 302
                                 JA-265

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 10 of 37




                                       Page 0005 of 1666

                               Withheld pursuant to exemption

                                               (b)(7)(E)

                     of the Freedom or information and Privacy Act




                                          8
Case 20-3837, Document 41, 02/23/2021, 3042809, Page268 of 302
                                 JA-266

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 11 of 37




                                       Page 0006 of 1666

                               Withheld pursuant to exemption

                                               (b)(7)(E)

                     of the Freedom or information and Privacy Act




                                          9
Case 20-3837, Document 41, 02/23/2021, 3042809, Page269 of 302
                                 JA-267

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 12 of 37




                                       Page 0007 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         10
Case 20-3837, Document 41, 02/23/2021, 3042809, Page270 of 302
                                 JA-268

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 13 of 37




                                       Page 000B of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         11
Case 20-3837, Document 41, 02/23/2021, 3042809, Page271 of 302
                                 JA-269

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 14 of 37




                                       Page 0009 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         12
Case 20-3837, Document 41, 02/23/2021, 3042809, Page272 of 302
                                 JA-270

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 15 of 37




                                       Page 001 0 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         13
Case 20-3837, Document 41, 02/23/2021, 3042809, Page273 of 302
                                 JA-271

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 16 of 37




                                       Page 0011 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         14
Case 20-3837, Document 41, 02/23/2021, 3042809, Page274 of 302
                                 JA-272

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 17 of 37




                                       Page 0012 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         15
Case 20-3837, Document 41, 02/23/2021, 3042809, Page275 of 302
                                 JA-273

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 18 of 37




                                       Page 0013 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         16
Case 20-3837, Document 41, 02/23/2021, 3042809, Page276 of 302
                                 JA-274

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 19 of 37




                                       Page 0014 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         17
Case 20-3837, Document 41, 02/23/2021, 3042809, Page277 of 302
                                 JA-275

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 20 of 37




                                       Page 0015 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         18
Case 20-3837, Document 41, 02/23/2021, 3042809, Page278 of 302
                                 JA-276

Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 21 of 37




                                       Page 0016 of 1666

                               Withheld pursuant to exemption

                                                 (b)(5)

                     of the Freedom or information and Privacy Act




                                         19
       Case 20-3837, Document 41, 02/23/2021, 3042809, Page279 of 302
                                                 JA-277

        Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19   Page 22 of 37
                                                           U.S. Department of Homeland Security
                                                           National Records Center
                                                                                  P.O. Box 648010
                                                                                  Lee's Summit, MO 64064-8010


                                                                                  U.S. Citizenship
                                                                                  and Immigration
                                                                                  Services

July 27, 2018
                                                                                  COW2018000894

Caroline M. DeCell
Knight First Amendment Institute at
  Columbia University
475 Riverside Drive, Suite 302
New York, NY IOI 15


Dear Caroline M. DeCell:

The United States Citizenship and Immigration Services (USCIS) is providing records in response to a
Freedom of Information Act/Privacy Act (FOIA/PA) referral received in this office on July 26, 2018 from
Immigration and Customs Enforcement (ICE) regarding ICE FOIA request 2018-ICAP-0011. This request is
the subject of litigation, Knight First Amendment Instilute vs. Dep 't ofHomeland Security, et al., 17-cv-7572
(S.D.N.Y.).

We have completed the review of all documents and have identified 15 pages that are responsive to your
request. Enclosed are 15 pages withheld in full. In our review of these pages, we have determined that they
contain no reasonably segregable portion(s) of non-exempt infonnation. We have reviewed and have
determined these pages are exempt pursuant to 5 U.S.C. § 552 (b)(7)(C) and (b)(7)(E) of the FOIA.

The following exemptions are applicable:

Exemption (b)(7)(C) provides protection for personal information in law enforcement records, which could
reasonably be expected to constitute an unwarranted invasion of personal privacy. We have withheld
information relating to third-party individuals. The types of documents and/or information we have withheld
could consist of names, addresses, identification numbers, telephone numbers, fax numbers, or various other
documents that are considered personal.

Exemption (b)(7)(E) provides protection for records or information for law enforcement purposes which would
disclose techniques and procedures for law enforcement investigations or prosecutions, or would disclose
guidelines for law enforcement investigations or prosecutions if such disclosure could reasonably be expected
to risk circumvention of the law. The types of documents and/or infonnation we have withheld could consist
of law enforcement systems checks, manuals, checkpoint locations, surveillance techniques, and various other
documents.

If you have any questions about our response to your FOIA request, please contact Assistant United States
Attorney Ellen Blain, Southern District of New York, 86 Chambers Street, New York, New York 10007.


Sincerely,

,:~-~;~~s c_(S:'!?.l:!.a~
Jill A. Eggleston
Director, FOIA Operations




                                                                                  www.uscis.gov
                                                      20
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page280 of 302
                                            JA-278
PAGE WITHHELD PURSUANT TO           (b)(7)(c)    (b)(7)(e)
              Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 23 of 37




                                                21
                                                                                   1
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page281 of 302
                                            JA-279
PAGE WITHHELD PURSUANT TO             (b)(7)(c)  (b)(7)(e)
              Case 1:17-cv-07572-ALC Document 109-1   Filed 04/16/19 Page 24 of 37




                                                  22
                                                                                     2
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page282 of 302
                                          JA-280
PAGE WITHHELD PURSUANT TO                         (b)(7)(e)
              Case 1:17-cv-07572-ALC (b)(7)(c)
                                      Document 109-1 Filed 04/16/19 Page 25 of 37




                                              23
                                                                                    3
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page283 of 302
                                          JA-281
PAGE WITHHELD PURSUANT TO              (b)(?)(c)    (b)(?)(e)
              Case 1:17-cv-07572-ALC Document 109-1 Filed  04/16/19 Page 26 of 37




                                              24
                                                                                    4
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page284 of 302
                                          JA-282
PAGE WITHHELD PURSUANT TO             (b)(7)(c)        (b)(7)(e)
              Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 27 of 37




                                                  25
                                                                                   5
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page285 of 302
                                          JA-283
PAGE WITHHELD PURSUANT TO                (b)(7)(c)
                                                      (b)(7)(e)
              Case 1:17-cv-07572-ALC Document 109-1 Filed  04/16/19 Page 28 of 37




                                                26
                                                                                    6
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page286 of 302
                                           JA-284
PAGE WITHHELD PURSUANT TO
                                      (b)(7)(c) 109-1 (b)(7)(e)
              Case 1:17-cv-07572-ALC Document          Filed 04/16/19 Page 29 of 37




                                               27
                                                                                      7
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page287 of 302
                                         JA-285
PAGE WITHHELD PURSUANT TO               (b)(7)(c)    (b)(7)(e)
              Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 30 of 37




                                                28
                                                                                   8
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page288 of 302
                                          JA-286
PAGE WITHHELD PURSUANT TO             (b)(7)(c)
              Case 1:17-cv-07572-ALC Document 109-1 (b)(7)(e)
                                                     Filed 04/16/19 Page 31 of 37




                                              29
                                                                                    9
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page289 of 302
                                           JA-287
PAGE WITHHELD PURSUANT TO              (b)(7)(c)
              Case 1:17-cv-07572-ALC Document 109-1 (b)(7)(e)
                                                     Filed 04/16/19 Page 32 of 37




                                                   30
                                                                                    10
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page290 of 302
                                           JA-288
PAGE WITHHELD PURSUANT TO
              Case 1:17-cv-07572-ALC Document
                                      (b)(7)(c) 109-1(b)(7)(e)
                                                        Filed 04/16/19 Page 33 of 37




                                               31
                                                                                       11
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page291 of 302
                                         JA-289
PAGE WITHHELD PURSUANT TO                  (b)(7)(c)   (b)(7)(e)
              Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 34 of 37




                                               32
                                                                                   12
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page292 of 302
                                           JA-290
PAGE WITHHELD PURSUANT TO
              Case 1:17-cv-07572-ALC Document
                                     (b)(7)(c) 109-1   Filed 04/16/19 Page 35 of 37
                                                 (b)(7)(e)




                                               33
                                                                                      13
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page293 of 302
                                           JA-291
PAGE WITHHELD PURSUANT TO            (b)(7)(c)        (b)(7)(e)
              Case 1:17-cv-07572-ALC Document 109-1 Filed 04/16/19 Page 36 of 37




                                                 34
                                                                                   14
           Case 20-3837, Document 41, 02/23/2021, 3042809, Page294 of 302
                                           JA-292
PAGE WITHHELD PURSUANT TO              (b)(7)(c)
              Case 1:17-cv-07572-ALC Document 109-1 (b)(7)(e)
                                                      Filed 04/16/19 Page 37 of 37




                                                   35
                                                                                     15
Case 20-3837, Document 41, 02/23/2021, 3042809, Page295 of 302
                           JA-293

Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 1 of 40




                  EXHIBIT B
      Case 20-3837, Document 41, 02/23/2021, 3042809, Page296 of 302
                                                           JA-294

      Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 2 of 40



                                                TABLE OF CONTENTS

1.   “Removal of National Security Threat Aliens” and accompanying emails (2018-ICAP-
      00118, at 298–306) ..........................................................................................................1–9

2.   “Inadmissibility Based on Endorsing or Espousing Terrorist Activity: First Amendment
      Concerns” and accompanying emails (2018-ICAP-00118, at 693–706) .....................10–23

3.   “Memo Discussing Whether the Taliban Is a Terrorist Organization Under the INA”
      (2018-ICAP-00118, at 859–69) ...................................................................................24–34

4.   “ICE Ability to Use 212(a)(3)(C) Foreign Policy Charge” (2018-ICAP-00118, at 870–
      73) ................................................................................................................................35–38
         Case 20-3837, Document 41, 02/23/2021, 3042809, Page297 of 302
                                                          JA-295

          Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 3 of 40



From:                       I (b)(6);(b)(7}(C) I
Sent:                            12 Jun 2017 11:26:56 -0400
To:
                                  (b }(6);(b }(7)(C)
Cc:
Subject:                         235(c)
Attachments:                     235c Changes with new Rec section (2).doc, March 2007 235(c) Guidance.pdf

(b)(6) ;(b )(7)(C)




                                                       (b}(6); (b}(7)(C); (b}(S)




  (b)(6); (b )(7)(C)
Acting Deputy Chief
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                                                       2018-ICAP-0011 8 298
Case 20-3837, Document 41, 02/23/2021, 3042809, Page298 of 302
                                 JA-296

Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 4 of 40




                                              Page 299

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                                          (b)(5):WIFOran

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                                          2
Case 20-3837, Document 41, 02/23/2021, 3042809, Page299 of 302
                                 JA-297

Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 5 of 40




                                              Page 300

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                                          (b)(5):WIFOran

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                                          3
Case 20-3837, Document 41, 02/23/2021, 3042809, Page300 of 302
                                 JA-298

Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 6 of 40




                                              Page 301

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                                          4
Case 20-3837, Document 41, 02/23/2021, 3042809, Page301 of 302
                                 JA-299

Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 7 of 40




                                              Page 302

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Case 20-3837, Document 41, 02/23/2021, 3042809, Page302 of 302
                                 JA-300

Case 1:17-cv-07572-ALC Document 109-2 Filed 04/16/19 Page 8 of 40




                                              Page 303

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                                          (b)(5):WIFOran

                     of the Freedom of Information and PriYacy Act




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